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IN THE UNITED STATES COURT OF APPEALS FOR
            THE THIRD CIRCUIT
                                No. 22-2230


 KATIE SCZESNY, JAMIE RUMFIELD, DEBRA HAGEN, and MARIETTE
                          VITTI,

                            Plaintiffs-Appellants

                                      v.

THE STATE OF NEW JERSEY, GOVERNOR PHILIP MURPHY (in his official
                     and personal capacities),

                            Defendants-Appellees,

 On appeal from No. 3-22-cv-02314 in the United States District Court of New
   Jersey’s denial of a preliminary injunction pursuant to Fed. R. Civ. P. 65


                    NATIONS IN ACTION’S
                  SUPPLEMENTAL APPENDIX

IN SUPPORT OF PLAINTIFFS-APPELLANTS FOR REVERSAL OF
   DISTRICT COURT’S ORDER APPLYING RATIONAL BASIS
    REVIEW IN DUE PROCESS CHALLENGE TO COVID-19
                INJECTION MANDATES

                                           Deana Pollard Sacks
                                           CA Bar No. 145192
                                           Sacks Law Firm
                                           2323 S. Shepherd Drive, Suite 825
                                           Houston, Texas 77019
                                           Telephone: 713.927.9935
                                           deanapollardsacks@icloud.com
                                           Attorney for Amicus Curiae
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                           AMICUS APPENDIX


AMICUS APPENDIX 4: Plaintiff Psychologist v. Order of Psychologists of
                   Tuscany r.g. 7360/2022 (Ordinary Court of Florence,
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                                                                              Appendix 4
N.R.G. 2022/7360
(TRANSLATION)

                      ORDINARY COURT OF FLORENCE

                                02 second civil section

In the interlocutory proceedings registered under No. r. g. 7360/2022 brought
by ... under the patronage of ... lawyer BENASSI RAUL
(BNSRLA711AlOG687J); electively domiciled at VIALE BELFIORE, 32 50144
FIRENZE at the offices of the lawyer STORI ROBERTO
ATTORNEY

against

ORDER OF PSYCHOLOGISTS OF TUSCANY (F. C. 92009700458)
DEFENDANT

The Judge Dr. Susanna Zanda,
read the urgent precautionary appeal for the suspension of the measure taken by the
Council of the Order of Psychologists of Tuscany dated 19. 10. 2021, by which the
applicant was suspended from the exercise of the profession of psychologist, for
failure to comply with the obligation to vaccinate as per Decree Law No. 44/2021 art.
4 converted into Law No. 76/2021;
noted that the suspension from the practice of the profession is likely to jeopardise
primary individual goods such as the right to his livelihood and the right to work
referred to in Article 4 understood as an expression of the freedom of the person and
his dignity, guaranteed precisely by the freedom from need;
noted that the establishment of an adversarial procedure could cause irreparable
damage to the appellant's primary rights, and it is necessary to proceed 'inaudita
altera parte', in view also of the time which has already elapsed following the
proceedings before the Regional Administrative Court initiated by the appellant and
concluded by judgment No 1565/21 of 6 May 2002, which became final and which
overturned the decision of the Regional Administrative Court of Tuscany (TAR
TOSCANA), which declined jurisdiction precisely on the ground that the appellant's
primary rights had been compromised;
held, therefore, that the decision of the TAR appears to be admissible;
noted that, in fact, the ... cannot practise the profession of psychologist and support
herself with her work for a period of several months from October 2021;
that she has annexed how the exercise of the profession constitutes her only source of
livelihood;
noted that this freedom and right to work, acquired by birth on the basis of Article 4
of the Constitution, is in this case impermissibly 'granted' by the Order to which she
belongs after undergoing an injection treatment against Sars Cov 2, on the basis of
DL 44/21 ;

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given that the purpose of this Decree-law converted into law is to prevent the disease
and ensure safe conditions in the health sector;
noted, however, that this aim is unattainable because it is the AIFA reports themselves
which state that;
considering, in fact, thatAIFA's reports both contemporaneous with the suspension of
Dr.... and the most recent reports of January and May 2022, and even more the
reports of European supervisory institutions such as Euromomo or Eudravigilance,
show a phenomenon opposite to what was intended to be achieved with the
vaccination, that's to say a spread of contagion with the formation of multiple viral
variants and the numerical prevalence of infections and deaths among those
vaccinated with three doses;

considering that Article 32, paragraph 2, of the Italian Constitution is in root not
applicable, even if we want to disregard the violation of the rule of law, precisely
because of the lack of benefits for the community
in fact, having noted that Article 32 of the 'personocentric' constitutional charter after
the experience of Nazi-fascism does not permit medical experimentation that is
invasive of the person without his free and informed consent
whereas informed consent is not conceivable when the components of the serums and
the mechanism of their operation are, as in this case, covered not only by industrial
secrecy but also, incomprehensibly, by 'military' secrecy
whereas, therefore, after two years we still do not know the components of the
serums nor their medium and long-term effects as written by the manufacturers
themselves, whereas we know that in the short term they have already caused
thousands of deaths and serious adverse events
in view of the fact that Article 32 of the Italian Constitution and, consistently, the
various international conventions signed by Italy prohibit the imposition of medical
treatment without the consent of the person concerned because his or her DIGNITY
would be infringed, a value underpinning the many provisions of our rigid
Constitution and substantiating Article 1 of the Constitution (not surprisingly) of
Germany
considering that consent must be free and informed and in this case Dr. .. . does not
legitimately intend to give it
given that the vaccination requirement imposed in order to be able to work infringes
Articles 4, 32 and 36 of the Constitution, which, by placing 'the person' at the centre
and defending him or her above all from the State, does not allow the State and all its
central and peripheral apparatus (such as professional orders) to impose any
obligation to undergo health treatment without the consent of the person concerned;
given that our legal system and international treaties unequivocally prohibit any
experimental treatment suggestive of human beings, and that there are regulations
such as n. 953/21 and EU resolutions such as No 2361/21 which specifically prohibit
member states from discriminating on the basis of Sars Cov 2 vaccination status;
whereas, on the other hand, the Tuscany Order of Psychologists is in breach of this
immediately applicable legislation and is undeniably discriminating against Dr ...
compared with vaccinated colleagues who can continue to work despite having the

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same chance of becoming infected and transmitting the virus;
considered that for these reasons there is also the alleged "fumus boni iuris" i.e. the
unlawful imposition by the Order of belonging to an injection treatment that has
already caused serious adverse events and death, and in the end with a substantial
"acceptance of the risk" of occurrence of such harmful events for Dr....
on the other hand, the health authorities of the Region of Tuscany and the Council of
the Order of Psychologists of Tuscany can not be unaware of the spread of contagion
despite the fact that 80/90% of the population is vaccinated against Sars Cov 2 and
are also aware or should be aware of the spread of contagion among vaccinated with
three doses, the adverse events also serious and fatal of vaccinated subjects; it is, in
fact, data published by the Ministry of Health itself, so it seems illegitimate both the
issuance and the subsequent continued failure to withdraw in self-defense by the
Order of belonging, that measure of suspension of . .. taken on 19 Oct 2021 and still
in force until 31 Dec. 2022;
held that for these reasons Dr ... cannot be forced, in order to be able to support
herself and her family, to undergo these experimental injection treatments which are
so invasive that they insinuate themselves into her DNA, altering it in a way which
could be irreversible, with effects which cannot as yet be foreseen for her life and
health;
whereas, from an epidemiological point of view, the condition of the vaccinated
person is not dissimilar to that of the unvaccinated person, since both can become
infected, develop the disease and transmit contagion;

  Considering that, therefore, the imposition of compulsory vaccination in order to
  carry out the profession is wholly discriminatory and in breach of the European
 Regulation No 953/2021 self-executing which prohibits discrimination of European
                         citizens based on vaccination status;

  having regard to Council of Europe Resolution No 2361/2021; Regulations (EC)
                      726/2004 (Art, 14 bis) and 507/2006;

   having regard to the decision of the Court of Justice of the EU, 11 July, 2019, No,
  716/17, which states: 'any national court called upon to rule within the scope of its
    competence has, as an organ of a Member State, the obligation to disapply any
  national provision contrary to a provision of Union law that has direct effect in the
   dispute before it'; see Constitutional Court Conformity No.95 /2017 (on the GO's
 (Ordinary Court) obligation to immediately disapply the domestic source conflicting
  with European Union law and "on the contrary" Cass, Civ. Sez. I Ord., 18/10/2018,
   no. 26292; Cass. Civ. Sec. I Ord, 06/06/2018, no. 14638; sentence of the Court of
  Florence 1855/2021; cass. L, cass. Sentence no. 26897 of 21/12/2009: The national
judge must dis apply the rule of the domestic legal system, due to incompatibility with
     community law, both in the case in which the conflict arises with a discipline
produced by the organs of the EEC by means of a regulation, and in the case in which
  the contrast is determined by general rules of the community legal system, derived
  from the interpretation of the system itself by the Court ofJustice of the European

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 Communities, in the exercise of the tasks attributed to it by articles 169 and 177 of
  the Treaty of25 March 2009. 169 and 177 of the Treaty of25 March 1957, made
 executive by law no. 1203 of 14 October 1957. (see Conf. Sent. Cass. 3841/2002);

          having regard to Articles 1, 2, 3, 4, 32 and 36 of the Constitution

 having regard to the numerous orders of referral to the Constitutional Court of the
decree-laws imposing the 4 anti-Sars Cov 2 injection treatments for the exercise by
citizens of fundamental rights and freedoms (e.g. order of referral of the Council for
                    Justice Sicily Region and numerous TARs)

 having regard to the conforming rulings of revocation of suspension from work for
  failure to comply with the obligation to vaccine sent. Court of Padua of28.4.22;
Court of Sassari of 9.6.22; Court ofVelletri 14.12.2021; TAR Lombardy 26.4.2022 in
  rg 562/2022 (case of a veterinarian suspended from the register); Court of Rome
  14.6.22; TAR Lombardy n. 1397 of 16.6.22; various sent. Of TAR Piedmont and
various sentences of TAR Rome (on personnel of the army, healthcare and teachers);

                               for the reasons
                                 The Court
 Having regard to art. 669 paragraph 2 sexies code of civil procedure and 700
                                    c.c.p.

suspends the provision of the Order of Psychologists of Tuscany of ... prohibiting
Dr.... to exercise the profession of psychologist until she undergoes the injection
  treatment against Sars Cov 2, thus authorising the exercise of the profession
 without undergoing the injection treatment, working in any mode (both in the
         presence or remotely) in the same way as colleagues vaccinated.
     Sets for confirmation, modification or revocation of the provision in cross-
                examination the hearing of 15 Sept. 2022, 10,00 a.m.

                                  Florence on 6 July 2022

                                     The Judge
                                 Dr Susanna Zanda




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                   1726)




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   false ; and though it were a right judgment, and he thought it to be wrong, and
   so intended it, it would be partiality and corruption ; and the Scripture says, that
   "a thief is better than a man accustorrwd to lying; " and therefore none of the oases cited
   come up to this case ; so taken aU together they are scandalous words.
       And the plaintiff had judgment.

          [272] CASE 186. REYNOLDS against CtERK. Tuesday, 16 June 1725.
   If a man has a right to the use of a yard in common with the ownet·, he does not
      commit a t1·espass by entering into the yard in order to fix a water·spont to his
      house; but if any injury is done to the owner of the yard, in consequence of
      fixing such spout, he may recover darnages in an action on the ease.-S. 0. 1 Stra.
      334, 634:. S.C. Fortes. 212. S.C. 2 Ld. Ray. 1399.
        Trespass m    et armis against the defm1dant for entering into the plaintiff's house
   and yard, and fixing tL spout 011 his own house, for conveying the rain water from his
   house into the said yard, mtione cujus aqtta CWI'J'ebat i1b stabulwm of the plaintiff, et
   occa~ione intle rotted the timber, &c. whereas before the water dropped f!'om the eaves
   of the defendant's house into the said yarJ, awl then did no damage, wl dammwn, &c.
        The defendant pleaded not gt;,ilty as to all, except entering the house and yard and
   fixing the spout on his own house; aud as to that he justified, for that T. S. being
   seiaet.l in fee as well of the plaintilr's as of the defendant's house, which was adjoining
   to the yard belonging to the plaintiff's house, by indenture conveyed the house and
   yal'd to the plaintiff, with an exception in the deed of the free use of the yard, &e. to
   the said 'r, S. and to all the tenants and occupiers of the defendant's house, which
   house was afterwards conveyed to the defendant; and averred that the spout so fixed
   was necessary for the use of the defendant's house, and so justified by vir·tue of that
   exception.
        And upon a demurrer to this plea,
        It was insisted far the plaintijj; that this justification was not good, because the
   spout was a uusance to him; and though T. S. might justify the fixing it to one
   house, when both were in his possesllion, yet when both were sold to different persons,
   one of them cannot justify for a nusance done to the other (a); and in this C<~se the
   defendant bad neither an express nor an implied power to set up any spout, especially
   when it would he a nusance to the plaintiff. The use of this yard t·eserved to the
   defendant, is no more than an easement to his house, and not to be used to any other
    purpose; and the nature of a nusauce is such, that if it be of necessity, that is, if it
    he necessary or beneficial to him who made it, and another buy the land in which the
    nusance was made, in such case the nusance is purged ; and if afterwat•ds the lands
   eome into different hands, it is not abatable ; hut if it is an unnecessary nusauce, it is
    only a suspension thereof wheu in one baud, and afterwards coming into different
    hands, it is abatable. But there are some privileges so ve!'y necessat·y as not to be
   extinguished by ~6nity of possession, as paths to a mill, &c. for they shall r·evive as soon
    as the tenements come to different [273] hands again. Now, in this case the
    defendant having erected this uusanee after the tenements came to difl'erent hands,
    there can be no colour for bim to justify.
        The counsel/or tke defentlt~nt took no notice of the objection made ou the other side,
    but insisted, that the plaintiff was mistaken iu his action, because trespasH would not
    lie for fixing a spout on his own house; but that if the plaintiff had any damage
    thereby, he ought to bring au action on the case to recover what he was damnified, for
    he had a licence to enter the yat·d, aml could not be a trespasser for entering and
    fixing the spout on his own house. Besides, the defendant has avened in this plea,
    that the fixing this spout is for the necessary use of his house, which the plaintiff' has
    -confessed by the demurrer (a); therefore, when he justified the entedng into lihe yat·d 1
    the consequence thereof canuot be a trespass.
         Secondly, the consequential damage in rotting the timbe1·, is a description and part

      (a} Year Book 11 Hen. 7, pl. 25.    Hob. 131.    Poph. 166, 172.    Dyer, 295, pl. 19.
      (ft) 8 Co. 146.
          K. B. xvrr.-7




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    of the original trespass ; for whatever cornea under a vi-rtute eujtM, or a. per rzuotl, or
    ratiooe irule, cannot he traversed, being no new charge, only a further description of
    the former charge (b). The plea therefore is good, though it do not particularly
    answer the rotting of the foundation, since that is only aggravation.
        The reply jfir the plainf~/j: It is now insisted ou by the defendant, that the plaintiff
    bas mistaken his action, but not the defendant's innocence, and that an aetion on tAe
    case is the propel' action for tbe plaintiff, which is very true, and so is a qno1t per·rnittat;
    but yet trespass is likewise a proper action ; for it cannot he denied, but that; the
    freebokl and inheritance of this yard is in the plaintiff, aud that the defendant has
    only the bare use of it, and by misusing it he is a trespasser. It is true likewise, that
    the defendant had licence to enter· the yard, but evet·y licence must have a reasonable
    construction ; for can it ever be intended, that because he bad leave to enter the yard,
    and had the use thereof, that he might justify the throwing down the plaintift''s houst~ 't
        The Obief Justice, upon the first arguing of this case, said, that this lict~nce was
    granted by special words, so could not be so extensive as otherwise it woul1i have
    been ; for the case is no more than a gmnt of the house and yard ; and to except the
    yard would be void as to the freehold; therefore the exception mu!'lt he iuteudetl to
    some particular pur·pose, as to the use thereof, to walk in, or to go to the pump, and iu
    such case he is to do no damage to the freehold ; and if this licence he in any manner
    misused, to the pt·ejudice of him who has the freehold, he who misuses it is a tt·espassPr,
    as if he dig up the yard, &c. hut the use which was made of it in this case, wa!'l to
    enter and fix a spout to his own house; now, though the original act was lawful, as
    done to b\s own house, yet be may be a trespasser, when the immediate consequence
    of such an act is injurious to his neighbour; for· [274] suppose a man baa u watel'·
    course running through his ground, and his neighbour diverts it, this is no trespass ;
    but if, by diverting it, he turned it on his neighbour's house, it would be a trespass.
    The per qMocl is only the descl'iption of the trespass.
        For which reason the Chief Justice and another Judge held tl1is action of trespass
    was a proper action: but two other Judges were of a contrary opinion,
         Fortescue, Justice. The defendant· ought to have used the house as when both
     houses were in the possession of one man, then the water dropped from the eaves, and
    no spout was fixed; so that the fixing the spout i;J a nusance to the plaintiff. I do not
    think the pe1· q~tml to be merely a further description of the trespass, because it was
    fully deseribed before. The entry into the yard is no trespasg: a man having the use
    of a yard, may make all the common ordinary uses of it. An action of tt·espass is a
    possessory action, and must be founded on l!ome act which 1listurbs the possession ;
    this is not like the case of throwing filth, rubbish, &c. into a man's yard, Trespass is
    where an act is done immediately to the prejudice of another (a): and an action ou
     the case is founded on an act which mediately tiends to the damage of another (b); and
    this seems the true difference between an action of trespass and on the case, 1tlere tu(}
    ut alitmum non lredas. If one shooting at a bird destmy another's decoy, an action ou
    the case only lies. In this case thet·e is no immediate trespass done; he might enter
    into the yard ; be might fix a spout to his own house, and for the consequent mediate
    damage arising from thence, an action on the case would have been the plaintiff's
     remedy.
         Raymond, Justice. The affixing the spout was a lawful act; bnt since its con-
    sequence is a nusance to the plaintiff, the defendant is answerable for it. The only
    question is, whether an action on the case, or trespass vi et annis, ought to have heer•
     brought~ A distinction has been made between an act mediately or immediately
    -prejudicing another. I remember the case of diverting a water-course mentioned by
    the Chief Justice, it was a west country cause, Courtney v. Collett (c). The plaintiff
           (b) 8 Oo. 10. 1 Vent. 54, 340. T. Jones, 110.
           (a) See 1 Ld. Ray. 188, 272. 2 Wils. 313. 3 Wils. 409, 412. 2 B!. Rep. 894,
     897. 3 Burr. 1114, 1559. 2 Term Rep. 225.
           (b) Oro. Eliz. 219. Cro. Jac. 446,
           (c) I...ee, who afterwards argued for the plaintiff, cited this case as follows, and said
     he had it from Serjeant Oartb~:nv's notes. Hil. 9 Will. 3, Cmwtney "· Collett. Trespass
    'l7i et armis by Sir William Courtney quan:. clausum ft·egit, et in solo pisea,riam cepit; nee-non.




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   brought an action of trespass vi et tmnis, for that the defendant having a water-course
   running through his land diverted the same, per q1wtl the plaintiff's grounds were over-
   flowed ; after not guilty and a verdict for the plaintiff, it was moved in arrest of
   judgment and insisted on, that an action upon the cnse was the proper remedy, since
   the original act of diverting the water-course being iu his own land was lawful; but
   the Court held the action of trespass maintainable, since the per qtwd could not he
   looked upon only as a description of the trespass (a), and acconlingly the plaintiff had
   his judgment: which case is a full proof, that an action of trespass may he brought
   where the original act was no trespass; for diverting the water-course was not a
   trespass immediately prejudicial to the plaintift:
       Pratt, Chief Justice. The better opinion then bas been, that wherever· a damage is
   done, the party damaged is at liberty to bt·iug either an action of trespass ot· an action
   on the case.
       Fortescue, Justice. It seems odd to make a man a trespasser, for doing a lawful
   act within his own grounds.
       Raymond, Justice. If the act stops ther·e, it is odd, not else.
         Adjour·nat1vr.
        Afterwards, in Trinity term, in the eleventh year of George the Fit·st, this point
   was argued again ;
        The question being, whether trespass lies for en teeing his yard, and setting a spout
   on his own house~
         It was argued, that it did not, but that an adim~ on the cuse was the proper remedy.
   It was admitted, that where the original act is a wrong actually done, in such case
    trespass lies, hut where the original act was lawful, and consequential damages ensue,
   there an action on the case is the proper remedy. The complaint against the defeudaut
   is for a nonfeasance, viz. for that he did not take care that this spout should not
   damnify the plaintiff's bouse; and it is cet·tain that trespass will uot lie for tL nun-
   jectsance: if the defendant had undertaken to cure the plaintiffs horse, and hy his
    negligence the horse had died, yet trespass would not lie against him, though the
    horse was the property of atwther man; hut iu this ease the house was his own.
   The case of ErluJtn·d.t v. Hallendet· (h) is full in point, which was thus: The plaintiff had
    a cellar, and the defendant had a warehouse over that cellar, on which he laid so great
   a bnrthen, that the floor broke and fell into the cellar and spoiled three butts of
    wine_; and it was adjudged, that an action on the case, and not au action of tt'espass,
    lay against the defendant
         [275] It was ar·gued f(}r the plaint·ijf that t1'espctss is the proper· action; for though
   it was lawful for the defendant to fix the spout on his own house, yet be ought not to
   do it in such a manuer so as immediately to trespass his neighbour; like the case of
    Prestm• v. Mercer(c), which was trespass ·vi et unni~ for causing stinking water in his
    yard to r·un to the walls of the plaintiti"s house, and piercing them so that it run into
    his cellat·; after a verdict for the plain tift~ it Wa>! moved in anest of judgment, that
    tr·espass vi et annis would not lie against the defendant, because a man cannot be a
    tt·espasser with force and arms in his own ground; he ought to bring au action on the
    case ; but judgment was given for the plaiutiff.
         To which it W£M answered, that the original act was a wrong done, viz. by causing
    stinking water to run to the walls of the plaintiff's house, which differs from the
     principal case, and so is no author·ity for the plaintiff.

    de eo q1wd fregit et a.~po'l'tavit the flood gates, and opened the sluices, per qwxl the water
    came upon the plaintifl''s pool. After a verdict for the plaintift', Gould, Serjeant,
    moved iu arrest of judgment, because the latter· part of the declaration charged a fact
    proper only for an action upon the ease. But by the Cour·t, an action of trespass is
    maintainable fM the latter facts as well as for the fit·st.-Nute to the jm·me1· Edition.
        (a) Haymond, when he afterwards delivet'ed the t•esolution of the Court on the
    seeonrl argument, being then Chief Justice, gave a different account of this case from
    what he does here, and declared that the above account given of it from his memory
    was mistaken. Stra. 635.
        (b) Poph. 46. Cro. Eliz. 285. 2 Leou. 93.
        (c) Hard. 60.




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                                                                      Appendix 5
    196                  TRINITY TERM, 10 GEO. 1.             IN B. R.              8 MOD. 218;

         Raymond, Chief Justice. The ease of Preston v. Men:er (a) was a proper action of
    trespass, for the declaration charged that the defendant did make the water to run,
     which is an immediate tort. In the case of Omtrtney v. Collett (b) there was matter
     laid proper for an action of trespass; the question arose on what followed the necnon,
     whether it should be taken as aggravation of the former trespass, or as the description
    of a new one, and by my notes it does not appear that judgment was ever given (c).
    The bounds of all actions ought to be preserved ; the right rule and distinction is,
    that where the act; itself is unlawful and prejudicial, trespass must be brought; but if
    the act is lawful, and only by consequence a damage to the plaintiff, be must bring case.
    In the caae of Levetidge \'. Boscall (d), which was trespass on the ease, the declaration
     was, that the plaintiff was possessed of a barn and a river adjoining; that the
    defendant dug two trenches, and thereby diverted the water of the river; and after
    verdict Pt·att, Serjeant, moved in arrest of judgment, because the action ought to
    have been trespass ?Ji et armis; but the plaintiff bad his judgment; for the declaration
    not specifying in whose ground the defendant. dug the tr·enehes, it shall be presumed
    to be in his own ground, and then, the first act being lawful, was no to1't to the
    plaintiff; and the consequential damage only affected the plaintiff, which was proper
     for trespass on the case. I think this action is not maintainable.
         Powys, Justice, of the same opinion.
         Fortescue, Justice. Trespass upon the case, and trespass vi et armis, are different
    in nama and in their nature ; for the one is called an action for a nusanee, and the
     other are called actiones injurianm~; the one must be brought for a wrong done
     immediately to the person or his possession, the other for a consequential damage.
    This action is brought for a wrong done to the possession, but not immediately ;
    because the defendant had a right to come into the yard, and to fix a spout to his
    O\\'U house.   If logs are laid in the highway by which any person is hurt, he must
    bring case (e); but if the burt is received by logs thrown at the person, he must
    bring trespass viet armis. Case must be brought for making sluices in a man's own
    ground, by which my land is overflowed (a). The objection to the case of Couttney v.
    Oullett was, that trespass vi et am<is and trespass on the case could not be joined in one
    declaration; no judgment was given that I can find in my notes; in some eases I
    think those two actions might he joined. It not appearing in that case whose the
    flood-gates were, they might be the defendant's own, and then tt·espass on the case
    ought to be brought. In this case the fixing the spout was lawful ; so was the entet··
    ing the yard by virtue of the reservation which gives a right to use the yard as well
    aa the pump, &c.
         Reynolds, Justice, of the same opinion.
         Judgment for the defendant (b).

                            CASE 187 •.   WADDY against NEWTON.

          Where the acres mentioned in a fine or common recovery shall be taken by
                computation, and not by the Statute de Terris Mensurandis.
        Upon a special verdict in ejectment, the case was thus :-Tenants in tail
    covenanted to levy a fine and suffer a comnwn. ?'ecovery of the lauds now in question,
    and of a fishery ; and accordingly levied the fine thereof by the name of one
    hundred and twenty acres of land in Stockwell-Hall, in the county of, &e. and of
    ten acres aqt.ta coopetta; and declared the use thereof to himself and his heirs. [276]
    But there being many more than one hundt·ed and forty am·es statute measut·e,
    the defendant, who was heir in tail, would contest the right to all above those hundred
    and forty acres.
       The plaintiff thereon brought an ejectment, and suggested that the whole estate
        (a) Hardres, 60.           (b) 1 Ld. Raym. 272.           (c) See 11 Mod. 164.
        (cl) Stra. 636. 2 Ld. Ray. 402.       (e) Stra. 636.      (a) 1 Roll. Abr. 104.
        (b) See Gates v. Bayley, 2 Wils. 313. Scott v. Shephm·d, 2 Bl. Rep. 892. Hawket
    v. Birbedc, 2 Burr. 1556. 111organ v. Hughes, 2 Term Rep. 225.




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AMICUS APPENDIX 6: Records of the United States Nuremberg War Crimes
                   Trials United States of America v. Karl Brandt etal.
                   (case I) November 21, 1946 – August 20, 1947, National
                   Archives Microfilm Publications Pamphlet Describing
                   M887 (Washington 1974)




                                                         AMICUS APPENDIX 6

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         GERALD R. FORD
                                                                 Appendix 6
            President of the United States

         ARTHUR F. SAMPSON
           Administrator of General Services

         JAMES Jt RHOADS
           Archivist of the United States




                  The records reproduced in the microfilm publication
                                                 are from
                      National Archives Collection of WorZd War II
                                            War Crimes Records
                                            Record Group 238




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                                                        Appendix 6
          RECORDS OF THE UNITED STATES NUERNBERG WAR CRIMES TRIALS
           UNITED STATES OF AMERICA V. KARL BRANDT ET AL. (CASE I)
                      NOVEMBER 21, 1946-AUGUST 20, 1947

           On the 46 rolls of this microfilm publication are reproduced
      the records of Case I (United States of AmePica v. ~z BPandt
      et aZ., or the "Medical" Case), 1 of the 12 trials of war criminals
      conducted by the U.S. Government from 1946 to 1949 at Nuernberg
      subsequent to the International Military Tribunal held in the
      same city. These records consist of German- and English-language
      versions of official transcripts of court proceedings, prosecution
      and defense briefs, and final pleas of the defendants as well as
      prosecution and defense exhibits and document books in one lan-
      guage or the other. Also included in this publication are a
      minute book, the official court file, order and judgment books,
      clemency petitions, and finding aids to the documents.
           The transcripts of this trial, assembled in 2 sets of 30
      bound volumes (1 set in German and 1 in English), are the recorded
      daily trial proceedings. The prosecution and defense briefs and
      answers are also in both languages but unbound, as are the final
      pleas of the defendants delivered by counsel or defendants and
      submitted by the attorneys to the court. The unbound prosecution
      exhibits, numbered 1-570, are essentially those documents from
      various Nuernberg record series offered in evidence by the
      prosecution in this case. The defense exhibits, also unbound,
      are predominantly affidavits by various persons. They are
      arranged by name of defendant and thereunder numerically. Both
      prosecution document books and defense document books consist
      of full or partial tr~slatiohs of exhibits into the English
      language. Loosely bound in folders, they provide an indication
      of the order in which the exhibits were presented before the
      tribunal.
           The minute book, in one bound volume, is a summary of the
      transcripts. The official court file, in four bound volumes,
      includes the progress docket, the indictment,.amended indictment,
      and the service thereof; appointments and applications of defense
      counsel and defense witnesses and prosecution comments thereto;
      defendants, applications for documents; motions; uniform rules of
      procedures;. and appendixes. The order and judgment books, in
      two bound volumes, represent the signed orders, judgments, and
      opinions of the tribunal as well as sentences and commitment
      papers. Clemency petitions of the defendants, in five bound
      volumes, were directed to the military governor, the Judge
      Advocate General, the U.S. district court, the Secretary of
      Defense, and the Supreme Court of the United States. The finding
      aids summarize transcripts, exhibits: and the official court file.
           Case I was heard by U.S. Military Tribunal I from November 21,
      1946, to August 20, 1947. The records of this ~~se, as the

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      records of the other Nuernberg and Far East (IMTFE) war crimes
      trials, are part of the National Archives Collection of World War
      II W·ar Crimes Records, Record Group 238.
           The Brandt case was 1 of 12 separate.proceedings held before
      several U.S. Military Tribunals at Nuernberg in the U.S. Zone of
      Occupation in Germany against officials or citizens of the Third
      Reich, as follows:
                                                               No. of
      Case No.   United States v.        PoEular Name         Defendants
         1       K.a.PZ Braandt et aZ.   Medical Case             23
         2       Ezahard Mi Z.Ch         Milch Case                1
                                         (Luftwaffe)
         3       Josef AZtstoetter       Justice Case             16
                 et aZ.
         4       08WU PohZ et aZ.        Pohl Case (SS)           18
         5       Fried.Pich FZick        Flick Case                6
                 et aZ.                  (Industrialist)
         6       Carl, Krauch et aZ.     I. G. Farben Case        24
                                         (Industrialist)
         7       WiZheZm List et aZ.     Hostage Case             12
         8       UZrich GreifeZt         RuSHA Case (SS)          14
                 et aZ.
         9       Otto OhZendorf          Einsatzgruppen           24
                 et aZ.                  Case (SS)
        10       AZfried Krupp           Krupp Case               12
                 et aZ.                  (Industrialist)
        11       Ezanst von              Ministries Case          21
                 Weizsaecker et aZ.
        12       WiZhe1,m von Leeb       High Command Case        14
                 et aZ..
           Authority for the proceedings of the International Military
      Tribunal against the major Nazi war criminal~ derived from the
      Declaration on German Atrocities (Moscow Declaration) released
      November 1, 1943, Executive Order 9547 of May 2, 1945, the London
      Agreement of August 8, 1945, the Berlin Protocol of October 6,
      1945, and the Charter of the International Military Tribunal.
           Authority for the 12 subsequent cases stemmed mainly from
      Control Council Law 10 of December 20, 1945, and was reinforced
      by Executive Order 9679 of January 16, 1946; U.S. Military Govern-
      ment Ordinances Nos. 7 and 11 of October 18, 1946, and February 17,
      1947, respectively; and U.S. Forces, European Theater General
      Order 301 of October 24, 1946. The procedures applied by U.S.
      Military Tribunals in the subsequent proceedings were patterned
      after those of the International Military Tribunal and further
      developed in the 12 cases, which required over 1,200 days of
      court sessions and generated more than 330,000 transcript pages.


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           The crimes Charged in th~ Brandt case consisted largely of
      medical experiments performed on defenseless concentration camp
      inmates against their will; "euthanasia" carried out on the
      mentally defective, the physically sick, the aged, and ethnic
      and racial groups; and the murder of concentration camp inmates
      for the express purpose of collecting skulls and skeletons for
      the Anatomical Institute of the Reich University of Strassburg.
      The following medical experiments were conducted:
           1.   High altit.ude: to investigate effects of low pressure
                on persons.
           2.   Freezing: to test human resistance to extemely low
                temperatures.
           3.   Malaria: to develop controls over the recurring nature
                of the disease.
           4.   Mustard gas: part of a general research program in gas
                warfare.
           5.   Sulfanilamide: to test the efficacy of the drug in bone
                muscle and nerve regeneration and bone transplantation.
           6.   Seawater: to test methods of rendering seawater potable.
           7.   Epidemic jaundice: to develop an antitoxin against the
                disease.
           8.   Sterilization: to test techniques for preventing further
                propagation of the mentally and physically defective.
           9.   Typhus: to investigate the value of various vaccines.
          10.   Poison: to test the efficacy of certain poisons.
          11.   Incendiary bomb: to find better treatment for phosphorus
                burns.
           The prosecution alleged and the judgment confirmed that these
      experiments were not isolated acts of individual doctors and
      scientists on their own responsibility but that they were the
      result of high-level policy and planning. They were carried out
      with particular brutality, often dis~egarding all established
      medical practice. Consequently, large numbers of the victims
      died in the course of or as a result of the experiments.
           The euthanasia program was the direct'result of a directive
      by Hitler of September 1, 1939. It resulted in the secret killin~
      not only of aged, insane, incurably ill, and deformed German
      citizens in sanatoriums in Germany but also in the clandestine
      murder of foreign workers. The killing in gas chambers and by
      injections in the sanatoriums $erved as a proving ground for
      these forerunners of much larger installations in the mass
      extermination camps.
           In addition to these experiments, over 100 concentration
      camp inmates were killed for the purpose of obtaining their
      skeletons. Their ghastly remains were found in Strassburg by
      Allied troops.



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            The transcripts of the Brandt case include the indictments
       of the following 23 persons all of whom were physicians except
       defendants Rudolf Brandt, Vik;or Brack, and Wolfram Sievers:
           Karl Brandt: Personal physic,ian to Adolf Hitler, Gruppen-
           fuehrer in the SS and ~eneralleutnant (Major General) in
           the Waffen SS, Reichskommissar fuer Sanitaets- und Gesund-
           heitswesen (Reich Commissioner for Health and Sanitation),
           and member of the Reichsforschungsrat (Reich Research
           Council).
           Kurt Blome: Deputy [of the] Reichsgesundheitsfuehrer (Reich
           Health Leader) and Plenipotentiary for Cancer Research in the
           Reich Research Council.
           Rudolf Brandt: Standartenfuehrer (Colonel) in the Allgemeine
           SS, Persoenlicher Referent von Himmler (Personal Admin-
           istrative Officer to Reichsfuehrer SS Himmler), and Min-
           isterial Counselor and Chief of the Ministerial Office in
           the Reich Ministry of the Interior.
           Joachim Mrugowsky: Oberiuehrer (Senior Colonel) in the
           Waffen SS, Oberster Hygieniker, Reichsarzt SS und Polizei
           (Chief Hygienist of the Reich Physician SS and Police),
           and Chef des Hygienischen Institutes der W1affen SS (Chief
           of the Hygienic Institute of the Waffen SS).
           Helmut Poppendick: Oberfuehrer in the SS and Chef des
           Persoenlichen Stabes des Reichsarztes SS und Polizei (Chief
           of the Personal Staff of the Reich Physician SS and Police).
           Wolfram Sievers: Standartenfuehrer in the SS, Reich Manager
           of the "Ahnenerbe" Society and Director of its Institut
           fuer Wehrwissenschaftliche Zweckforschung (Institute for
           Military Scientific Research), and Deputy Chairman of the
           Managing Board of Directors of the Reich Research Council.
           Karl Genzken: Gruppenfuehrer in the SS and Generalleutnant
           in the Waffen SS and Chef des Sanitaetsamts der Waffen SS
           (Chief of the Medical Department of the Waffen SS}.
           Karl Gebhardt: Gruppenfuehrer in the SS and Generalleutnant
           in the Waffen SS, personal physician to Reichsfuehrer SS
           Himmler, Oberster Kliniker, ·aeichsarzt SS und Polizei
           (Chief Surgeon of the Staff of the Reich Physician SS and
           Police), and President of the German Red Cross.
           Viktor Brack: Oberfuehrer in the SS and Sturmbannfuehrer
           (Major) in the Waffen SS and Oberdienstleiter, Kanzlei
           des Fuehrers der NSDAP (Chief Administrative Officer in
           the Chancellery of the Fuehrer to the NSDAP).


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           Waldemar Hoven: Hauptsturmfuehrer {Captain) in the Waffen
           SS and Chief Physician of the Buchenwald Concentration Camp.
           Herta Oberheuser: Physician at the Ravensbrueck Concentration
           Camp and assistant physician to the defendant Gebhardt at the
           hospital at Hohenlychen.
           Fritz Fischer: Sturmbannfuehrer in the Waffen SS and assist-
           ant physician to the defendant Gebhardt at the hospital
           at Hohenlychen.
           Siegfried Handloser: Generaloberstabsarzt {Lieutenant
           General, Medical Service), Heeressanitaetsinspekteur
           (Medical Inspector of the Army), and Chef des Wehr-
           machtsanitaetswesens (Chief of the Medical Services of the
           Armed Forces)."
                     $

           Paul Rostock: Chief Surgeon of the Surgical Clinic in
           Berlin, Surgical Adviser to the Army, and Amtschef der
           Dienststelle Medizinische Wissenschaft und Forschung
           (Chief of the Office for Medical Sci~ce and Research)
           under the defendant Karl Brandt, Reich Commissioner for
           Health and Sanitation.
           Oskar Schroeder: Generaloberstabsarzt; Chef des Stabes,
           Inspekteur des Luftwaffe-Sanitaetsweseris (Chief of Staff
           of the Inspectorate of the Medical Service of the Luftwaffe);
           and Chef des Sanitaetswesens der Luftwaffe {Chief of the
           Medical Service of the Luftwaffe).
           Hermann Becker-Freyseng: Stabsarzt in the Luftwaffe
           (Captain, ·Medical Service of the Air Force) and Chief of
           the Department for Aviation Medicine of the Medical Service
           of the Luftwaffe.
           Georg August Weltz: Oberfeldarzt in the Luftwaffe (Lieu-
           tenant Colonel, Medical Service of the Air Force) and
           Chief of the Institut fuer tuftfahrtmedizin (Institute for
           Aviation Medicine) in Munich.
           Wilhelm Beiglboeck:   Consulting physician to the Luftwaffe.
           Gerhard Rose: Generalarzt of the Luftwaffe (Brigadier
           General, Medical Service of the Air Force); Vice President,
           Chief of the Department for Tropical Medicine, and Professor
           of the Robert Koch Institute; and Hygienic Adviser for
           Tropical Medicine to the Chief of the Medical Service of
           the Luftwaffe.
           Siegfried Ruff: Director of the Department for Aviation
           Medicine at the Deutsche Versuchsanstalt fuer Luftfahrt
           (German Experimental Institute for Aviation).

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         Hans Wolfgang Romberg: Physician on the staff of the Depart-
         ment for Aviation Medicine at the German Experimental Institute
         for Aviation.
         Konrad Schaefer: Physician on the staff of the Institute for
         Aviation Medicine in Berlin.

         Adolf Pokorny:   Physician, specialist in skin and~enereal
         diseases.
         The indictment consisted of four counts. Count one charged
    participation in a common design or conspiracy to commit war crimes
    or crimes against humanity. The ruling of the tribunal disregarded
    this count, hence no defendant was found guilty of the crime charged
    in count one. Count two was concerned with war crimes and count
    three, with crimes against humanity. Fifteen defendants were found
    guilty, and eight were acquitted on these two counts. Ten defendants
    were charged under count four with membership in a criminal organiza-·
    tion and were found guilty.
         The transcripts also contain the arraignment and plea of each
    defendant (all pleaded not guilty), opening and closing statements
    of defense and prosecution, and the judgment and sentences, which
    acquitted 7 of the 23 defendants (Blome, Pokorny, Romberg, Rostock,
    Ruff, Schaefer, and Weltz). Death sentences were imposed on
    jefendants Brack, Karl Brandt, Rudolf Brandt, Hoven, Gebhardt,
    Mrugowsky, and Sievers, and lif~ imprisonment on Fischer, Genzken,
    Handloser, Rose, and Schroeder; varying terms of years were given
    to defendants Becker-Freyseng, Beiglboeck, Oberheuser, and
    Poppendick.
         The English-language transcript volumes are arranged numer-
    ically, 1-30; pagination is continupus, ~11538. The German-
    language transcript volumes are numbered la-30a and paginated
    1-11756. The letters at the top of each page indicate morning,
    afternoon, and evening sessions. The letter "C" designates com-
    mission hearings (to save court time and to avoid assembling
    hundreds of witnesses at Nuernberg, in most of the cases one or
    more commissions took testimony and received documentary evidence
    for consideration by the tribunals). Several hundred pages are
    added to the trans~ript volumes and given number plus letter
    designations, such as page number 1044a. Page 1 in volume 1
    (English) is preceded by pages numbered 001-039~ while the last
    page of volume 28 (English) is followed by pages numbered 1-48.
         Of the many documents assembled for possible prosecution use,
    570 were chosen for presentation as evidence before the tribunal.
    These consisted largely of orders, directives, and reports on
    medical experiments or the euthanasia program; several interrogation
    reports; affidavits; and excerpts from the Reichsgesetzb~tt (the
    official gazette of Reich laws) as well as correspondence. A number


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      of the medical reports were accompanied by series of photographs
      and charts of various experiments.

           The first item in the arrangement of the prosecution exhibits
      is usually a certificate listing the document number, a short
      description of the exhibit, and a statement on the location of
      the original document of the exhibit. The certificate is followed
      by the document, the actual prosecution exhibit (most of which are
      photostats), and a few mimeographed articles with an occasional
      carbon of the original. In rare cases,the exhibits are followed
      by translations or additional certificates. A few exhibits are
      original documents, such as:

      Exhibit No.       Doc. No.             Exhibit No.       Doc. No.

         301           N0-1314                  410            N0-158
         307           N0-120                   441            N0-1730
         309           N0-131                   443            N0-890
         310           N0-132                   451            N0-732
         357           1696 PS                  462            N0-1424
         362           628 PS                   507            N0-365
         368           N0-817                   546            N0-3347
         403           616 PS
           No certificate is attached to several exhibits, including
      exhibits 433, 435-439, 462, 559, and 561. Following exhibit 570
      is a tribunal exhibit containing the interrogation of three
      citizens of the Netherlands. Number 494 was not assigned, and
      exhibit 519 is followed by 519a and 519b.
           Other than affidavits, the defense exhibits consist of newspaper
      clippings, reports, personnel records, Reiahsgesetzb latt excerpts,
      and other items. There are 901 exhibits for the defendants. The
      defense exhibits are arranged by name of defendant and thereunder by
      exhibit number, each followed by a certificate wherever available.

           The translations in the prosecution document books are
      preceded by indexes listing prosecution document numbers, biased
      descriptions, and page numbers of the translation. They are
      generally listed in the order in which the prosecution exhibits
      were introduced into evidence before the tribunal. Pages 81-84
      of prosecution document book 1 are missing. Books 12, 16, and
      19 are followed by addenda. The document books consist largely
      of mimeographed pages.
           The defense document books are similarly arranged. Each
      book is preceded by an index giving document numbers, description,
      and page number for each exhibit. The corresponding exhibit
      numbers are generally not provided. There are several unindexed
      supplements to numbered document books. Prosecution and defense
      briefs are arranged alphabetically by names of defendants; final
      pleas and defense answers to-prosecution briefs follow a similar

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      scheme. Pagination is consecutive, yet there are many pages where
      an "a" or "b" is added to the numeral.
           The English-language final pleas, closing briefs, and replies
      to prosecution briefs of several defendants are missing, as are
      a few German-language closing briefs and replies to prosecution
      briefs.
           At.the beginning of roll 1 are filmed key documents from
      which Tribunal I derived its jurisdiction: the Moscow Declaration,
      U.S. Executive Orders 9547 and 9679, the London Agreement, the
      Berlin Protocol, the Charter of the International Military Tri-
      bunal, Control Council Law 10., U.S. Military Government Ordinances
      7 and 11, and U.S. Forces, European Theater General Order 301.
      Following these documents of authorization is a list of the names
      and functions of the members of Tribunal I and counsels.
           These documents are followed by the transcript covers giving
      such information as name and number of case, volume numbers,
      language, page numbers, and inclusive dates. They are followed
      by summaries of the daily proceedings providing an additional
      finding aid for the transcripts. The exhibits are listed in an
      index, which notes type of exhibit, exhibit number and name,
      corresponding document number and document book and~age, a short
      description of the exhibit, and the date when it was offered in
      court. The official court file is indexed in the court docket,
      which is followed by a list of witnesses.
           Not filmed were records duplicated elsewhere in this micro-
      film publication, such as prosecution and defense document books
      in the German language that are largely duplications of pros-
      ecution and defense exhibits already microfilmed or opening
      statements of prosecution and defense, which can be found in
      the transcripts of the proceedings.
           The ~ecords of the Brandt case are closely related to other
      microfilmed records in Record Group 238, specifically prosecution
      exhibits submitted to the International Military Tribunal, T988;
      NI (Nuernberg Industrialist) Series, T301; NOKW (Nuernberg Armed
      Forces High Command) Series, Tlll9; NG ONuernberg Government)
      Series, Tl139; and records~of the Milch case, M888, the List case,
      M893, the Greifelt case, M894, and the Ohlendorf case, M895.
      In addition, the record of the International Military Tribunal
      at Nuernberg has been published in Trial of the Major War Criminals
      Before the International MilitaPy Tribunal (Nuernberg, 1947), 42
      vols. Excerpts from the subsequent proceedings have been pub-
      lished as Trials of War Criminals Before the NUernberg ~ZitaPy
      Tribunal Under Cont:!'ol Counail LabJ No. 10 (U-S. Government
      Printing Office: 1950-53), 15 vols. The Audiovisual Archives
      Division of the National Archives and Records Service holds mot~
      picture records and photographs of all 13 trials and tape re-
      cordings of the International Military Tribunal proceedings.

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           John Mendelsohn wrote these introductory remarks and arranged
      the records for microfilming in collaboration with George Chalou.




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     ROLL                     DESCRIPTION
                Finding Aids                  Inclusive Dates
       1        Documents of Authorization
                List of Tribunal Members
                Covers of Transcripts
                Minute Book
                Prosecution and Defense
                  Exhibit Index
                Court Docket
                List of Witnesses
                TranscriEt Volumes
                (English Vers.ion)
        2                1                    Nov. 21-Dec. 12, 1946
                         2                    Dec. 13-19, 1946
                         3                    Dec. 20, 1946-Jan. 6,
                                              1947
        3                4-                   Jan. 7-10, 1947
                         5                    Jan. 13-16, 1947
                         6                    Jan. 17-29, 1947
       4                 7                    Jan. 30-Feb. 5, 1947
                         8                    Feb. 6-11, 1947
                         9                    Feb. 12-19, 1947
        5               10                    Feb. 20-26, 1947
                        11                    Feb. 27-Mar. 4, 1947
                        12                    Mar. 5-11, 1947
        6               13                    Mar. 12-20, 1947
                        14                    Mar. 21-28, 1947
                        1~                    Mar. 31-Apr. 8, 1947
        7               16                    Apr. 9-15, 1947
                        17                    Apr. 16-23, 1947
                        18                    Apr. 24-30, 1947
        8               19                    May 1-7, 1947
                        20                    May 8-14, 1947
                        21                    May 15-21, 1947
        9               22                    May 22-June 2, 1947
                        23                    June 3-9, ~947
                        24                    June 10-14, 1947
      10                25                    June 16-19, 1947
                        26                    June 20-24, 1947
                        27                    June 25-28, 1947
      11                28                    June 30-July 9, 1947
                        29                    July 14-17, 1947
                        30                    July 18-Aug. 20, 1947
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      13                139-300
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       15                451-570
                 Tribunal Exhibit
                 Prosecution Document Books
                 Book        Title
       16        -1--        Document Authentication, Positions Held
                               by De:terldants
                  2          High-Altitude Experiments
                  3          Freezing Experiments
                  4          Malaria Experiments
                  5          Seawater Experiments
                  6          Sterilization Experiments
                  7          Extermination of TB Poles
                  8          Jaundice Experiments
                  9          Jewish Skeleton Collection
                 10          Various Experiments
                 11          Blood Coagulation and Phlegmone
                               Experiments
                 12          Typhus Experiments
                 12 Addendum Typhus Experiments
                 13          Mustard Gas (Lost Gas) Experiments
       17        14 pt. 1    Euthanasia
                 14 pt. 2    Euthanasia
                 14 pt. 3    Euthanasia
                 15          Euthanasia
                 16          Euthanasia
                 16 Addendum Euthanasia
                 17          Euthanasia
                 18          No Title
                 19          No Title
                 19 Addendum No Title
                 Transcript Volumes
                 (German Version)
       18               la                       Nov. 21-Dec. 12, 1946
                        2a                       Dec. 13-19, 1946
                        3a                       Dec. 20, 1946-Jan. 6,
                                                 1947
       19               4a                       Jan. 7-10, 1947
                        Sa                       Jan. 13-16, 1947
                        6a                       Jan. 17-29, 1947
       20               7a                       Jan. 30-Feb. 5, 1947
                        Sa                       Feb. 6-11, 1947
                        9a                       Feb. 12-19, 1947
       21              lOa                       Feb. 20-26, 1947
                       lla                       Feb. 27-Mar. 4, 1947
                       12a                       Mar. 5-11, 1947
       22              13a                       Mar. 12-20, 1947
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                Fischer, Gebhardt, Oberheuser !-Miscellaneous
                                                Documents

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                Hand loser                     !-Miscellaneous
                                                 Documents
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                Mrugowsky                      !-Supplement 3
                Pokorny
                Poppendick                     !-Supplement 3
                Romberg                        !-Supplement 1
      35        Rose                           !-Supplement 4
                Rostock                        !-Supplement 1
                Ruff                           !-Supplement 7
                Schaefer                       !-Supplement
                Schroeder                      I-III
                Sievers                        !-Supplement
                Weltz                          I-III
                Other Items
      36        Prosecution Closing Statements and Briefs on
                All Defendants (English and German Versions)
      37        Final Pleas, Closing Briefs, and Answers to
                Prosecution Briefs (English Version) by Defendants:
                  Becker-Freyseng, Beiglboeck, Blome, Brack, K.
                  Brandt
      38          R. Brandt, Fischer, Gebhardt, Genzken, Handloser,.
                  Hoven, Mrugowsky, Oberheuser, Pokorny, Poppendick,
                  Romberg, Rose
      39          Rostock, Ruff, Schroeder, Sievers, Weltz
                Final Pleas, Closing Briefs, and Answers to
                Prosecution Briefs (German Version) by Defendants:
                  Becker-Freyseng, Beiglboeck, Blome, Brack
      40          K. Brandt, R. Brandt, Fischer, Gebhardt, Genzken,
                  Handloser, Hoven, Mrugowsky
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AMICUS APPENDIX 7: American Law Institute, A CONCISE RESTATEMENT OF
                   TORTS, Sec. 18-19 Battery: Offensive Contact (3rd ed.
                   2013)




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                                                   Appendix 7

                 THE AMERICAN LAW INSTITUTE


             A Concise Restatement
                       of
                                 TORTS
                              Third Edition

                                    Compiled
                                       by
                               ELLEN M. BuBLICK
                         Dan B. Dobbs Professor of Law
                            University of Arizona
                        James E. Rogers College of Law




                                   ST.PAUL,MN
                        AMERICAN LAW INSTITUTE PUBLISHERS
                                       2013
        Mat #41431944




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                                                       Appendix 7
                CHAPTER 2. INTENTIONAL HARM TO PERSONS
        that the actor know or have reason even to suspect that the other
        is in the vicinity of the third person whom the actor intends to af-
        fect and, therefore, that he should recognize that his act, though
        directed against the third person, involves a risk of causing bodily
        harm to the other so that the act would be negligent toward him.
        Illustration:
                 3. A and B are trespassers upon C's land. C sees A but
            does not see B, nor does he know that B is in the neighborhood.
            C throws a stone at A. Immediately after C has done so, B
            raises his head above a wall behind which he has been hiding.
            The stone misses A but strikes B, putting out his eye. C is
            subject to liability to B.
        § 18.     Battery: Offensive Contact
        Restatement of the Law Second, Torts
                  (1) An actor is subject to liability to another
             for battery if
                       (a) he acts intending to cause a harmful
                  or offensive contact with the person of the
                  other or a third person, ·or an imminent ap-
                  prehension of such a contact, and
                       (b) an offensive contact with the person
                  of the other directly or indirectly results.
                  (2) An act which is not done with the inten-
             tion stated in Subsection (1, a) does not make the
             actor liable to the other for a mere offensive contact
             with the other's person although the act involves
             an unreasonable risk of inflicting it and, therefore,
             would be negligent or reckless if the risk threatened
             bodily harm.

        Comment:
              c. Meaning of "contact with another's person." In order to make
        the actor liable under the rule stated in this Section, it is not nec-
        essary that he should bring any part of his own body in contact
        with another's person. It is enough that he intentionally cause his
        clothing or anything held or attached to him to come into such
        contact. So too, he is liable under the rule stated in this Section if
        he throws a substance, such as water, upon the other or if he sets
        a dog upon him . . . . All that is necessary is that the actor intend
        to cause the other, directly or indirectly, to come in contact with a
        foreign substance in a manner which the other will reasonably
        regard as offensive. Thus, if the actor daubs with filth a towel
        which he expects another to use in wiping his face with the
        expectation that the other will smear his face with it and the other
        does so, the actor is liable as fully as though he had directly thrown
        the filth in the other's face or had otherwise smeared his face with
        it . . . .
                                          21

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                                                           Appendix 7
                   A CONCISE RESTATEMENT OF TORTS 3d
           Since the essence of the plaintiffs grievance consists in the. of-            Commei
       fense to the dignity involved in the unpermitted and intentional
       invasion of the inviolability of his person and not in any physical                   a. lJ
       harm done to his body, it is not necessary that the plaintiffs actual            personal
                                                                                        person a
       body be disturbed. Unpermitted and intentional contacts with                     dignity. :
       anything so connected with the body as to be customarily regarded                the soci~
       as part of the other's person and therefore as partaking of its                  inflicted.
       inviolability is actionable as an offensive contact with his person.
       There are some things such as clothing or a cane or, indeed,                     Illustrai
       anything directly grasped by the hand which are so intimately
       connected with one's body as to be universally regarded as part of                   ing o
       the person. On the other hand, there may be things which are at-
       tached to one's body with a connection so slight that they are not                   ately
       so regarded. The line of distinction is very difficult to draw. It is a              him.
       thing which is felt rather than one to be defined, since it depends
       upon an emotional reaction. Thus, the ordinary man might well                        toucl:
       regard a horse upon which he is riding as part of his personality                    of cm
       but, a passenger in a public omnibus or other conveyance would
       clearly not be entitled so to regard the vehicle merely because he                   takeE
       was seated in it. . . .                                                              toucr
           d. Knowledge of contact. In order that the actor may be liable
       under the statement in this Subsection, it is not necessary that the
       other should know of the offensive contact which is inflicted upon               § 21.
       him at the time when it is inflicted: The actor's liability is based
       upon his intentional invasion of the other's dignitary interest in '·            Restate me
       the inviolability of his person and the affront to the other's dignity
       involved therein. This affront is as keenly felt by one who only                      for
       knows after the event that an indignity has been perpetrated upon
       him as by one who is conscious of it while it is being perpetrated.
       Illustr ations:
                 1. A, a surgeon, while B is under anesthesia, makes an
           examination of her person to which she has not given her
           consent. A is subject to liability to B.
                 2. A kisses B while asleep but does not waken or harm                       tim:
           her . A is subject to liability to B.                                             act(
                                                                                             t h e1
       § 19.     What Constitutes Offensive Contact                                          ris:h
                                                                                             or r
       Restatement of the Law Second, Torts
                A bodily contact is offensive if it offends a rea-                      Commer
            sonable sense of personal dignity.                                              c. In
       Ca veat :                                                                        in this S,
          The Institute expresses no opinion as to whether the actor is liable if       apprehen
       he inflicts upon another a contact which he knows will be offensive to           offensive.
       another's known but abnormally acute sense of personal dignity.                  cause an:
                                          22




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                CHAPTER 2. INTENTIONAL HARM TO PERSONS
       Comment:                                          Appendix 7
           a.   In order that a contact be offensive to a reasonable sense of
       personal dignity, it must be one which would offend the ordinary
       person and as such one not unduly sensitive as to his personal
       dignity. It must, therefore, be a contact which is unwarranted by
       the social usages prevalent at the time and place at which it is
       inflicted.
       Illustrations:
                1. A flicks a glove in B's face. This is an offensive touch-
           ing of B.
                2. A, while walking in a densely crowded street, deliber-
           ately but not discourteously pushes against B in order to pass
           him. This is not an offensive touching of B.
                3. A, who is suffering from a contagious skin disease,
           touches B's hands, thus putting B in reasonable apprehension
           of contagion. This is an offensive touching of B.
                4. A, a child, becomes sick while riding in B's taxicab. B
           takes hold of A in order to help her. This is not an offensive
           touching.

                                  C. AssAULT
       § 2L      Assault
       Restatement of the Law Second, Torts
                 (1) An actor is subject to liability to another
            for assault if
                      (a) he acts intending to cause a harmful
                 or offensive contact with the person of the
                 other or a third person, or an imminent ap-
                 prehension of such a contact, and
                      (b) the other is thereby put in such im-
                 minent apprehension.
                 (2) An action which is not done with the inten-
            tion stated in Subsection (1, a) does not make the
            actor liable to the other for an apprehension caused
            thereby although the act involves an unreasonable
            risk of causing it and, therefore, would be negligent
            or reckless if the risk threatened bodily harm.

       Comment on Subsection (1):
           c. In order that the actor shall be liable under the rule stated
       in this Section, it is only necessary that his act should cause an
       apprehension of an immediate contact, whether harmful or merely
       offensive. It is not necessary that it should directly or indirectly
       cause any tangible and material harm to the other, If, however,
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AMICUS APPENDIX 8: Berman, Mitchell N., Coercion Without Baselines:
                   Unconstitutional Conditions in Three Dimensions, 90
                   GEO. L.J. 1, 5-6, 10 (2001)




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    Chicago 17th ed.
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        Coercion Without Baselines: Unconstitutional
        Conditions in Three Dimensions
        MITCHELL N. BERMAN*

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           * Assistant Professor, The University of Texas School of Law. I am grateful to: Doug Laycock for

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        very able research assistance. © 2001 Mitchell N. Berman.




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                                               INTRODUCTION

    The Twenty-First Amendment, let us suppose, authorizes the states to regu-
 late alcohol consumption as they wish; Congress, however, conditions five
 percent of otherwise allocable federal highway funds on each state's raising its
 minimum drinking age to twenty-one. Consistent with the Fifth and Fourteenth
 Amendments, the states may not effect a physical occupation of private prop-
 erty without paying just compensation; the California Coastal Commission,
 however, offers landowners a zoning variance on the condition that they dedi-
 cate a public easement over part of their private beachfront. The First Amend-
 ment grants individuals broad freedom of speech; the federal government,
 however, conditions public broadcast funds on recipient stations' refraining
 from editorializing. It also conditions public health funds for family planning on
 recipient clinics' refraining from advocating or counseling abortion.
    As readers will no doubt recognize, each of these situations implicates the
 so-called unconstitutional conditions problem, a puzzle that arises whenever the
 government offers to provide a gratuitous benefit conditioned upon the offeree's




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        2001]                           COERCION WITHOUT BASELINES



       waiver of a constitutional right.' It has been recognized for well over a century
       and appears in dozens of doctrinal contexts. Despite early judicial assertions
       that such offers are, on the one hand, always permissible 2 or, on the other,
       always unconstitutional,3 it is now universally recognized that such conditional
       offers are sometimes constitutionally permissible and sometimes not. Indeed,
       correctly understood, that is all the famed and contentious unconstitutional
       conditions doctrine holds.4 The persistent challenge, consequently, has been to
       articulate some coherent or at least intelligible principles or tests by which to
       determine which offers fall into which category-to explicate, in other words, a
       theory to support the doctrine. Regrettably, more than a century of judicial and
       scholarly attention to the problem has produced few settled understandings.
          The Supreme Court's failure to provide coherent guidance on the subject is,
       alas, legendary. 5 Consider the instances noted above. In South Dakota v.


           1. See, e.g., Kathleen M. Sullivan, Unconstitutional Conditions, 102 HARv. L. REv. 1413, 1421
       (1989); Lynn A. Baker, Conditional Federal Spending After Lopez, 95 COLuM. L. Rev. 1911, 1921 &
       n.36 (1995) (citing formulations by other authors); David Cole, Beyond UnconstitutionalConditions:
       Charting Spheres of Neutrality in Government FundedSpeech, 67 N.Y.U. L. REv. 675, 679-80 (1992);
       Thomas W. Merrill, Dolan v. City of Tigard: Constitutional Rights as Public Goods, 72 DENV. U. L.
       REv. 859, 859, 860 (1995).
          2. See, e.g., W. Union Tel. Co. v. Kansas, 216 U.S. 1, 53 (1910) (Holmes, J., dissenting) ("Even in
       the law the whole generally includes its parts. If the State may prohibit, it may prohibit with the
       privilege of avoiding the prohibition in a certain way."). This was Justice Holmes's long-held view of
       the matter. As he put it in an oft-quoted aphorism dating from his days on the Massachusetts bench, a
       policeman "may have a constitutional right to talk politics, but he has no constitutional right to be a
       policeman." McAuliffe v. Mayor of New Bedford, 155 Mass. 216, 220 (1892); see also Frost & Frost
       Trucking Co. v. R.R. Comm'n, 271 U.S. 583, 602 (1926) (Holmes, J., dissenting); Commonwealth v.
       Davis, 162 Mass. 510, 511 (1895), aff'd, 167 U.S. 43 (1897). But see, e.g., Missouri ex rel. Burnes v.
       Duncan, 265 U.S. 17, 24 (1924); Kenney v. Supreme Lodge, 252 U.S. 411,414 (1920).
          3. See, e.g., Regan v. Taxation With Representation, 461 U.S. 540, 545 (1983) (observing that "the
       government may not deny a benefit to a person because he exercises a constitutional right"); Frost &
       Frost Trucking Co., 271 U.S. at 593-94 ("[A]s a general rule, the state, having power to deny a
       privilege altogether, may grant it upon such conditions as it sees fit to impose. But the power of the
       state in that respect is not unlimited, and one of the limitations is that it may not impose conditions
       which require the relinquishment of constitutional rights.").
          4. See, e.g., Richard A. Epstein, The Supreme Court, 1987 Term-Foreword: Unconstitutional
       Conditions, State Power and the Limits of Consent, 102 HARv. L. REv. 4, 6-7 (1988); Merrill, supra
       note 1, at 859; S. Chesterfield Oppenheim, UnconstitutionalConditions and State Powers, 26 MIcH. L.
       REv. 176, 183 (1927). This point is worth emphasizing in view of the frequency with which the doctrine
       is described as holding "that government may not grant a benefit on the condition that the beneficiary
       surrender a constitutional right, even if the government may withhold that benefit altogether." Sullivan,
       supra note 1, at 1415; see, e.g., LAURENCE H. TlME, CoNsT=rrtIONAL LAW § 10-8, at 681 & n.29 (2d ed.
       1988); Martin H. Redish & Daniel J. LaFave, Seventh Amendment Right to Jury Trial in Non-Article III
       Proceedings:A Study in Dysfunctional ConstitutionalTheory, 4 WM. & MARY BuE RTS. J. 407, 440-41
       (1995). This description is mistaken-even if qualified to mean only that the government may not grant
       a benefit on condition that the beneficiary surrender a constitutional right without a justification
       sufficient to permit infringement of that right. Surely, the State of Texas is not obligated to provide me
       with the benefit of employment. But nobody believes that, having offered to hire me as a law professor,
       the state is barred from conditioning its offer on my agreeing not to exercise my undoubted First
       Amendment right to unleash a steady torrent of four-letter words when addressing my students.
          5. For one pithy rehearsal of some of the decisions signaling the Supreme Court's apparent
       befuddlement, see Sullivan, supra note 1, at 1416-17.




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Dole,6 the Court upheld Congress's condition on the disbursement of highway
funds on the ground, inter alia, that the proposal was not "so coercive as to pass
the point at which 'pressure turns into compulsion.' ,7 Three days later, in
Nollan v. California Coastal Commission,8 the Court invalidated the Commis-
sion's conditional offer of a building permit, deeming it "not a valid regulation
of land use but 'an out-and-out plan of extortion.' "9 In so doing, the Court did
not so much as mention Dole. The rule against editorializing was struck down
as a violation of the First Amendment in FCC v. League of Women Voters,1 °
while the restrictions on abortion counseling were upheld several years later in
Rust v. Sullivan." Implausibly distinguishing League of Women Voters, the Rust
Court explained that "here the Government is not denying a benefit to anyone,
but is instead simply insisting that public funds be spent for the purposes for
which they were authorized."' 2 The seeming incongruities reflected in these few
recent cases are far from exceptional. As Professor Seth Kreimer wryly com-
mented of other unconstitutional conditions cases, the judicial opinions have
"manifested an inconsistency so marked as to make a legal realist of almost any
         13
reader."'
   As constitutional theory abhors a vacuum, scholars have not been shy to
proffer their own, widely divergent, resolutions of the unconstitutional condi-
tions problem. Professor Kreimer, for example, has argued that courts should
distinguish "threats" and "offers" depending upon whether the government's
proposal would improve or worsen the individual's position (as measured by
three separate baselines), and should subject only "threats" to heightened14
scrutiny unless the right discouraged by an "offer" is held to be inalienable.
Professor Richard Epstein, in contrast, has defended the doctrine as an indirect,
or second-best, means of curing costs associated with monopoly, collective
action problems, or externalities, by proposing that the state's power to condi-
tion the provision of a good or service be eliminated when the state can be


   6. 483 U.S. 203 (1987).
   7. Id. at 211 (quoting Steward Machine Co. v. Davis, 301 U.S. 548, 590 (1937)).
   8. 483 U.S. 825 (1987).
   9. Id. at 837 (quoting J.E.D. Associates, Inc. v. Town of Atkinson, 432 A.2d 12, 14-15 (N.H. 1981)).
   10. 468 U.S. 364, 399-402 (1984).
   11. 500 U.S. 173 (1991).
   12. Id. at 196. The point in text is not to insist that League of Women Voters and Rust are necessarily
indistinguishable, but only to reject the Court's proposed distinction, namely that, in Rust, "the
Government is not denying a benefit to anyone." It was both insisting that public funds be spent for
their authorized purposes and denying a benefit to those clinics that refused to comply with the gag
rule.
   13. Seth Kreimer, Allocational Sanctions: The Problem of Negative Rights in a Positive State, 132
U. PA. L. REy. 1293, 1304 (1984); see also, e.g., Brooks R. Fudenberg, Unconstitutional Conditions
and GreaterPowers: A SeparabilityApproach, 43 UCLA L. REv. 371, 379 (1995) ("What is interesting
is not simply that the Justices fail to engage the other side's argument, but that they fail to grapple even
with their own previous and apparently conflicting statements."); Louis Michael Seidman, Reflections
on Context and the Constitution, 73 MINN. L. REv. 73, 75 (1988) (observing that unconstitutional
conditions cases "display wildly inconsistent results").
   14. Kreimer, supra note 13, at 1351-95.




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       expected to choose the remaining alternative-providing the good uncondition-
       ally or not at all-that would maximize total social surplus.' 5 And Dean
       Kathleen Sullivan, after briefly criticizing the approaches advanced by Kreimer
       and Epstein, 16 has emphasized systemic concerns, urging courts to apply height-
       ened scrutiny to any governmental condition that threatens to skew the balance
       of power between government and rightsholders, or the distribution of rights
       among rightsholders, or to create a de facto caste hierarchy in the enjoyment of
       constitutional rights.' 7
          But these efforts, and those by other distinguished scholars, have left most
       observers unpersuaded.' 8 Indeed, a growing chorus of influential voices has
       begun to maintain that the search for any "comprehensive theory of unconstitu-
       tional conditions is ultimately futile."' 9 Accordingly, unconstitutional condi-
       tions theorizing over the past decade has tended to occupy narrower conceptual
       spaces. In place of the attempts to provide a unified theory of unconstitutional
       conditions across diverse doctrinal categories, scholars have offered descriptive
       and prescriptive theories of unconstitutional conditions limited to particular
       subject areas, with speech, religion, abortion, takings, plea bargaining, public
       assistance, and federal funding for states all generating substantial literatures. 20
       But even these more modest efforts have been criticized as overly ambitious.
       Professor Cass Sunstein, most notably, has argued that any recourse to an
       unconstitutional conditions framework is unhelpful. 2 ' Because, "[iun a crucial
       sense, all constitutional cases are unconstitutional conditions cases," he would
       have us abandon the notion that the label "unconstitutional conditions cases"


         15. Epstein, supra note 4. Epstein's argument is significantly extended and revised in RIcHARD A.
       EpsmNq, BARGAnANG wrrH Tim STATE (1993).
          16. Sullivan, supra note 1, at 1450 & n.151, 1418 & nn.17-18.
          17. See id.at 1489-1505.
          18. See, e.g., Louis MicHAEL SEmMAN & MARK V. TusHNET, REMNm-ATrs oF BEUE: CoNmsTnoRARv
       CONSTrTIoNAL IssuEs 76-77 (1996); Lynn A. Baker, The Pricesof Rights: Toward a Positive Theory of
       Unconstitutional Conditions, 75 CoRNELL L. REv. 1185, 1186 (1990) ("Despite wide acknowledgment
       of the doctrine's importance in modem constitutional law, attempts to explain how it arises or what it
       does have been largely unsuccessful.").
          19. William P Marshall, Towards a Nonunifying Theory of Unconstitutional Conditions: The
       Example of the Religion Clauses, 26 SAN DrEoo L. RFv. 243, 243-44 (1989); see also Larry Alexander,
       Impossible, 72 DEmv. U. L. REv. 1007 (1995); Frederick Schauer, Too Hard: Unconstitutional Condi-
       tions and the Chimera of ConstitutionalConsistency, 72 DErv. U. L. Rev. 989, 990 (1995) (proposing
       that the unconstitutional conditions problem is "intractable because we are looking for coherent
       principles and usable doctrines in areas of policy where questions of degree predominate, and where
       seemingly arbitrary lines are necessary to settle temporarily, but not to resolve in any deeper sense,
       intrinsically competing policy objectives").
          20. Anything approaching a comprehensive list of this voluminous literature would consume pages.
       Some of the more important contributions are cited infra Part V.
          21. Professor Sunstein initially developed his argument in Cass R. Sunstein, Why the Unconstitu-
       tional Conditions Doctrine Is an Anachronism (With ParticularReference to Religion, Speech, and
       Abortion), 70 B.U. L. REv. 593 (1990) [hereinafter Sunstein, Anachronism]. It appears, in revised form,
       as chapter ten in CAss R. SUNsTEIN, THE PARTLAL CONSITrTION (1993). For an earlier sketch, see Cass R.
       Sunstein, Is There an Unconstitutional Conditions Doctrine?, 26 SAN DrEno L. REv. 337 (1989)
       [hereinafter Sunstein, Doctrine].




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 describes a meaningful category and replace it with searching inquiry into the
 nature of governmental interferences with a constitutional right as well as the
 strength and legitimacy of the state's justifications.2 2
    This Article attempts to effect a compromise of sorts between these two
 poles-the one aspiring to a useful metatheory of unconstitutional conditions
 that could operate independent of doctrinal particularities, and the other insist-
 ing that analysis of each conditional governmental offer is properly driven only
 by the rules specific to the doctrinal area in which the offer arises, without
 regard for any principles claimed common to a general "unconstitutional condi-
 tions problem." In a nutshell, the compromise works like this: I will argue that
 any given conditional governmental offer is (presumptively) unconstitutional if
 it is coercive, and that coercion has a coherent meaning supplied by bedrock
 constitutional logic that transcends the particularities that govern a specific
 region of constitutional law. Put otherwise, the notion of coercion is supplied by
 conceptual analysis, not by substantive constitutional interpretation. 23 But, my
 argument continues, the converse does not hold. It does not necessarily follow
 from the fact that a given governmental offer is presumptively unconstitutional
 that it is coercive. Even a noncoercive proposal may prove to be unconstitu-
 tional, and determining whether it is will require recourse to contingent and
 particularized rules of constitutional law, not to general principles of unconstitu-
 tional conditions. In short, the Article presents and defends a new unified theory
 of unconstitutional conditions-a theory that centers on coercion, but that also
 directs, in systematic fashion, how and when particularistic constitutional doc-
 trine enters into the overall calculus.
    The argument unfolds in five parts. Part I describes the scope of this project
 by articulating the formal structure of unconstitutional conditions cases. That is,


    22. SuNsTiN, supra note 21, at 292-93. I hope I am understanding Sunstein's argument correctly,
 but admit to some confusion regarding just what he believes should be repudiated. Although he
 straightforwardly declares that "the unconstitutional conditions doctrine should be abandoned," id. at
 292; Sunstein, Anachronism, supra note 21, at 594, the ambiguous signals he sends concerning just
 what the doctrine is renders this proclamation somewhat opaque. In his article, Sunstein describes the
 doctrine as "hold[ing] that although government may choose not to provide certain benefits altogether,
 it may not condition the conferral of a benefit, once provided, on a beneficiary's waiver of a
 constitutional right." Id. at 593 n.2. This is certainly worth disavowing, but as we have seen, it is not a
 plausible statement of the doctrine. See supra note 4. It is perhaps for this reason that this definition of
 the doctrine is absent from the book. Unfortunately, this leaves Sunstein appearing to affirm a
 conception of the doctrine as a negative of "the claim that the government's power not to create a
 regulatory program necessarily includes the lesser power to impose on that program whatever condi-
 tions it chooses." SuNSTI N, supra note 21, at 291; see Sunstein, Anachronism, supra note 21, at 594.
 This is a fine articulation of the unconstitutional conditions doctrine but not one whose abandonment
 Sunstein could reasonably be understood to advocate. Perhaps part of the confusion stems from use of
 the poorly understood word "doctrine." See L.A. Zaibert, PhilosophicalAnalysis and the CriminalLaw,
 4 BuFF. CiUm. L. REv. 101, 112-13 & n.25 (2000) (bemoaning the lack of any systematic treatment of
 the meaning of the term "doctrine," and asking, "[I]s a doctrine a hypothesis, a thesis, a view, a rule of
 thumb, or a requirement?").
    23. For a succinct statement of the difference between conceptual and substantive analyses, see
 JOSEPH RAZ, PRACTICAL REASON AND NoRMs 10 (2d ed. 1990).




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       it describes the universe of cases that my solution to the unconstitutional
       conditions problem will be designed to cover. This will be brief.
           Part II sets forth the conception of coercion that will do most of the heavy
       lifting. The suggestion that a notion of coercion will furnish the key to unlock-
       ing the unconstitutional conditions puzzle is nothing new, having long been
       proposed by courts and commentators alike. The contemporary scholarly consen-
       sus, however, holds that operationalizing coercion depends upon inescapably
       arbitrary and manipulable baselines, and is therefore unworkable. This Part
       demonstrates that the scholarly consensus is wrong. Borrowing from analyses of
       coercion in the philosophical literature, I construct a notion of coercion that is
       sufficiently nonarbitrary in definition and determinate in application to do the
       work required of it.
          Part Ill takes a step back and situates the coercion-based explanation pre-
       sented in Part II within a broader conceptual framework. In my view, courts and
       theorists have often been hampered in their efforts to determine whether a given
       conditional offer (or given class of conditional offers) does violate the Constitu-
       tion because they have proceeded without any systematic conception of the
       ways in which state action in general (and thus conditional offers, in particular)
       could be unconstitutional. While it is hardly my goal to furnish a fully compre-
       hensive vision of the respects in which the Constitution's duties and prohibi-
       tions operate, I argue here that such a taxonomy at least begins with a trichotomy
       of the ways in which the Constitution constrains government. Thus, Part HI
       identifies three fundamental facets or dimensions of state action with which the
       Constitution is concerned-be it via prohibitory or mandatory commands,
       absolute or defeasible. Specifically, the Constitution polices the effects of
       government action, the purposes for which government acts, and the conduct in
       which the government engages (that is, the things government does). Coercion
       is an example of forbidden governmental conduct. This taxonomy of constitu-
       tional restraints on government power, although undeniably rudimentary, is
       important. Even if we determine that a given conditional offer does not consti-
       tute coercion, we cannot pronounce it constitutional until we have assessed it
       across the dimensions of purpose and effect.
          Even by this point of the Article, much of the argument will have remained,
       necessarily, abstract. Part IV illustrates the concrete operation of the analysis by
       focusing on a paradigmatic case of an unconstitutionally coercive conditional
       offer-South Dakota v. Dole. In the process, it introduces the critical concept of
       an unconstitutional penalty. To oversimplify only slightly, I argue that constitu-
       tional logic dictates that state action that burdens exercise of a constitutional
       right for the purpose of either discouraging or punishing assertion of that right is
       itself presumptively unconstitutional. Employing this notion, and terming such
       state action a "penalty," Part IV demonstrates that the offer at issue in Dole was
       unconstitutionally coercive for threatening to impose an unconstitutional pen-
       alty. The Part continues by briefly illustrating how we can determine-now by
       paying close attention to provision-specific constitutional doctrine-whether a




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 given noncoercive conditional offer is nonetheless unconstitutional. After these
 demonstrations, the two basic pieces of my analysis should be clear: first, how
 to ascertain whether a given proposal is unconstitutionally coercive (an inquiry
 that is itself parasitic upon, but not reducible to, the notion of an unconstitu-
 tional penalty); and second, the need to systematically assess all proposals
 across all three dimensions of constitutional restraint: effects, purposes, and
 conduct. A summary of the analysis appears at the end of Part IV. Readers who
 prefer to start with an article's introduction and conclusion may find it helpful to
 look here too.
    Last, Part V builds upon the skeletal treatment of Part IV by applying the
 three-dimensional theory to a variety of conditional benefit cases, actual and
 hypothetical, implicating concerns of both constitutional structure and indi-
 vidual rights. By systematically inquiring into purposes, effects, and coercion,
 this Part endeavors to show when the Court got it right, why it got things wrong,
 and how it should analyze the conditional benefits cases that will doubtlessly
 continue to arise.

                              I. THE CONDMONAL OFFER PROBLEM
    The unconstitutional conditions doctrine, I have claimed, holds only that
 some conditional offers of governmental largesse are unconstitutional. This is
 true, but not very illuminating. What we need, of course, is a theory, an
 analytical method, a set of principles, rules, or standards to undergird or
 effectuate the doctrine. We need, in short, a way to separate the constitutional
 from the unconstitutional. Developing and defending such an account will be
 the burden of the body of this Article. But, we may first ask, on what will the
 account operate? What will our theory purport to sort into constitutional and
 unconstitutional? Following common usage, we may say that our task is to
 identify the contours of the unconstitutional conditions problem.24
    A promising answer is already near at hand, as unconstitutional conditions prob-
 lems are said to emerge whenever government conditions a benefit it is not obli-
 gated to provide on waiver of a constitutional right. As Kathleen Sullivan explains,
       unconstitutional conditions problems arise when government offers a benefit
       on condition that the recipient perform or forego an activity that a preferred
       constitutional right normally protects from government interference. The
       "exchange" thus has two components: the conditioned government benefit on
                                                                        25
       the one hand and the affected constitutional right on the other.


    24. Put another way, we are looking for the boundaries or the coverage of the unconstitutional
 conditions doctrine. Cf Kent Greenawalt, Criminal Coercion and Freedom of Speech, 78 Nw. U. L.
 REv. 1081, 1089 (1984) ("In a broad sense, every constitutional case can be said to raise a boundary
 problem, requiring delineation of the coverage of the constitutional provision involved. Often, however,
 the general applicability of a constitutional provision will not be in doubt; the only crucial issue will be
 how it applies to the circumstances presented. A case involves boundaries in my narrower sense when
 the applicability of a constitutional provision is genuinely in question.").
    25. Sullivan, supra note 1, at 1421-22.




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         This may prove ultimately correct, but it is not, I wish to argue, very useful.
      Consider, for example, a challenge to a state law that prohibits police officers
      from sporting beards. 26 I assume that, whatever analytical method we ultimately
      employ to resolve such challenges, the eventual outcome will effectively turn
      upon a judicial assessment of the character and strength of a claimed liberty
      interest to grow facial hair. However, under Dean Sullivan's formulation-the
      conventional formulation-the question of whether this liberty interest rises to a
      constitutional right (or, as she puts it, a "preferred" constitutional right) deter-
      mines not only whether the condition is unconstitutional, but whether the law
      even presents an unconstitutional conditions problem. This is unfortunate, for
      whether a preferred right is involved may prove controversial or uncertain.
      Indeed, if the state had not previously imposed a direct ban on the wearing of
      beards, it is precisely this case that is likely to determine whether people do
      enjoy a constitutional right to grow facial hair.
         Imagine a different law, one permitting a certain class of individuals to
      remain in their homes and lead their regular lives if and only if they do x. At
      first blush, we may reason that the state is offering merely the continued
      enjoyment of our constitutional rights, not a "benefit" that the state "is
      permitted but not compelled to provide., 27 If so, the law might well be
      unconstitutional, but it does not present an "unconstitutional condition." It
      is, I think, infelicitous that we should be drawn to make this distinction at
      all. In this case, moreover, it may prove hasty. For suppose that this were a
      1943 federal law providing that persons of Japanese ancestry living on the
      West Coast must report to federal "relocation centers" if they do not agree to
      submit to a lie detector test designed to test their loyalty to the United
      States. After the Supreme Court's 1944 Korematsu decision, 2 8 it seems that
      the law does offer a "benefit," that the case therefore does raise an unconsti-
      tutional conditions problem, and (very possibly) that the offer is constitu-
      tional. Had Korematsu been decided the other way, though, we may intuit
      that the offer would then be unconstitutional. But what is gained by conclud-
      ing in addition (as per the conventional account) that the case no longer
      raises an unconstitutional conditions problem? And if we make that move,
      how are we to characterize the law before (or absent) Korematsu-how can
      we know whether the benefit offered is the sort of "benefit" sufficient to
      constitute an unconstitutional conditions problem?
         My point is simple. Sullivan's statement of the unconstitutional conditions
      problem requires us, at the outset, to determine (1) whether the demand
      implicates a "preferred" constitutional right, and (2) whether the benefit offered
      is "gratuitous," yet neither determination is quite as mechanical and uncontrover-
      sial as one may think. More particularly, "preferred rights" and "gratuitous


        26. See Kelley v. Johnson, 425 U.S. 238 (1976).
        27. Sullivan, supra note 1, at 1422.
        28. Korematsu v. United States, 323 U.S. 214 (1944).




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 benefits" do not come to our attention predefined z9 Sometimes, indeed, they
 emerge as the product of an unconstitutional conditions case, not as an input.
 Therefore, if we wish to demarcate the category of potential unconstitutional
 conditions in a way that does not itself depend upon contestable and subjective
 judgments of constitutional law, this definition will not do. Furthermore, we
 should strive for as objective an articulation as is possible of the doctrine's
 coverage. Differences of opinion regarding whether a particular unconstitutional
 conditions case is unconstitutional are unavoidable. It seems preferable (though
 not, concededly, essential) to avoid additional disagreements over whether the
 challenged law even presents an unconstitutional conditions problem at all.
 Limiting the possible loci of argument serves analytical clarity. Even more
 importantly, it provides some protection against the "definitional stop" by which
 substantive argumentation is concealed under the cover of value-neutral defini-
 tion.3 °
    If this is so, then we are better off with a definition of the unconstitutional
 conditions problem that is purely formal. As a first cut, let us propose that
 the problem arises-thus, that the unconstitutional conditions doctrine may
 confer protection-every time the government engages in conduct that has
                                                                                 3
 the logical structure of a biconditional: if -x, then y; and if x, then _y. 1
 This formalization will enable us to use terms that reappear throughout the
 literature and that are subjects of contestation, but in an objective, nonevalu-
 ative way. This is especially valuable given the extent to which the history
 of the unconstitutional conditions doctrine has been characterized by battles
 over nomenclature-as over whether the liberty interest implicated is a
 "right" or a "privilege, 32 whether the government proposal is a "threat" or
 an "offer,",3 3 and whether withholding of the putative benefit amounts to a



    29. This, I believe, is the "crucial sense" in which, according to Professor Sunstein, "all constitu-
 tional cases are unconstitutional conditions cases." See supra text accompanying note 22. As Sunstein
 proceeds to explain, "[t]here is no fundamental or metaphysical difference between the unconstitutional
 conditions case (welfare benefits will be eliminated for those who criticize the government) and the
 ordinary constitutional case (people who criticize the government must pay a fine)." SuNSTEN, supra
 note 21, at 293.
    30. The definitional stop is introduced in H.L.A. HART, PUNISHMENT AND RESPONSBILITY 5-6 (1968).
    31. As it turns out, this is slightly overstated. Some conditional proposals are more properly
 conceived as polyconditionals. More importantly for unconstitutional conditions purposes, it is conceiv-
 able that some unusual conditional proposals really are uniconditionals. That is to say, some governmen-
 tal proposals of the form "if -x then y" might not imply "if x then -y." But if so, they will be
 exceptional enough that, rather than manipulate our initial working definition of the unconstitutional
 conditions problem to accommodate them, I think it more advisable to proceed with the somewhat
 imperfect, but adequate, statement in text, and then to massage or qualify it later as may prove
 necessary.
   32. See generally Rodney A. Smolla, The Reemergence of the Right-Privilege Distinction in
 ConstitutionalLaw: The Price of Protesting Too Much, 35 STAN. L. REV. 69 (1982); William W. Van
 Alstyne, The Demise of the Right-PrivilegeDistinction in ConstitutionalLaw, 81 HARv. L. REv. 1439
 (1968).
   33. See infra note 56.




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        "penalty" or "nonsubsidy. ' ' 34
           Let us therefore stipulate the following conventions: The biconditional as a
        whole is the "conditional proposal" (or simply the "proposal"), and the indi-
        vidual conditionals that are its component parts are the "offer" (that in which
        the consequent is the more desirable to the recipient of the proposal) and the
        "threat" (that in which the consequent is the less desirable). For ease of
        exposition, I will assume that the actor prefers y to -y, and that the government
        which makes the proposal prefers -x to x. It follows that "if -x then y" is the
        offer, making -x the "demand" and y the "benefit."
           For a quick illustration of how this terminology works, reconsider the law
        requiring all police officers to be clean-shaven. Notice that it consists of an
        "offer" ("if you do not grow a beard, you are eligible to be hired as a police
        officer") conjoined to a "threat" ("if you do grow a beard, you are not eligible to
        be hired as a police officer"). The "demand" is that the offeree "not grow a
        beard"; the "benefit" is eligibility to become a police officer. Because it is thus
        formalizable as a conditional proposal, the law necessarily presents an unconsti-
        tutional conditions problem. There is no need to determine at the outset-
        perhaps ahead of settled constitutional law-whether anyone has a constitutional
        right to grow a beard.
           One final caveat. The reader may have noticed that standard equal protection
        cases share the identical formal structure I have proposed for unconstitutional
        conditions cases: if -x then y; and if x then -y. School segregation, for
        example, is reasonably well represented by the biconditional: If you are white,
        then you may attend school A; if you are not white, then you may not attend
        school A. 35 Yet it is customary to view equal protection and unconstitutional
                                                                                  36
        conditions as representing distinct spheres within constitutional law. To accom-
        modate our linguistic   intuitions  and norms  of constitutional practice,  I am happy
        to further define the    unconstitutional   conditions  problem   as   involving  those
        offers  conditioned  on  conduct   rather than status. Indeed, this  is implied  by the
        terms I have proposed above; we ordinarily think of "offers" and "threats" as
        being conditioned on specific action by the recipient, and "demands" especially
        imply that the addressee must perform a specified action (rather than be in a
         specified condition). Unfortunately, given the notorious slipperiness of some of
        our familiar conduct and status categories (think, for instance, of pregnancy,
        marital status, homosexuality, being a felon, religion, even sex and gender), this
        qualification may seem to reintroduce precisely the difficulties I sought to avoid
        by articulating the unconstitutional conditions problem in formal terms.
           This apparent difficulty can be elided, however, by interpreting "conduct" or


           34. See, e.g., Sullivan, supra note 1, at 1439 ("The penalty/nonsubsidy distinction has increasingly
        determined the outcomes of unconstitutional conditions challenges. 'Penalties' coerce; 'nonsubsidies'
        do not."). This distinction has been especially relied upon in the abortion cases. See infra Part V.B.5.
           35. We may want to add a second biconditional: If you are not white, then you may attend school B;
        if you are white, then you may not attend school B.
           36. See, e.g., Sullivan, supra note 1, at 1426-27.




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"action" liberally. Let us stipulate, accordingly, that any and every state action
that embodies biconditional form raises an unconstitutional conditions problem
so long as any party wants to characterize the precedent upon which the
conditional operates as conduct rather than-or in addition to-status. Put
another way, my formal definition of the unconstitutional conditions problem
accommodates all cases in which the nature of the precedent as status or
conduct is contestable. No definitional stop here. What this means is that some
conditional offers may be reasonably analyzed under two separate analytical
constructs-those of equal protection and unconstitutional conditions. Though
this sort of duplication of constitutional coverage may provoke qualms, I would
counsel patience. First, it may prove that analysis under these two distinct tracks
yields identical conclusions. Second, even insofar as an unconstitutional
conditions analysis of a given case generates a different outcome than would
obtain under a standard equal protection inquiry, perhaps that is the fault of
existing equal protection doctrine. Perhaps, in short, a sounder understanding of
the unconstitutional conditions problem can engender better equal protection
doctrine (though this is a question I leave for another day).

                                          II.   COERCION

   That the unconstitutional conditions doctrine may be explainable by
reference to coercion is intuitive. Surely, the standard dictionary definition
of "coerce"-"to compel to an act or choice by force, threat or other
pressure 38-captures the essence of what appears to be wrong in many
unconstitutional conditions cases. Furthermore, it is customary in the philo-
sophical literature to formalize coercion as a property of biconditionals.3 9
Not surprisingly, then, the Supreme Court has flirted for generations with
the notion that conditional offers may prove unconstitutional by reason of
their being coercive,4 ° and the possibility has drawn close scholarly atten-
tion at least since Seth Kreimer's important article of nearly two decades
ago.4 ' The scholarship has concluded that coercion is a dead end.4 2 I intend
to argue that this conclusion is mistaken.


   37. Indeed, I suspect that the Court's recent recognition of "classes of one" for purposes of equal
protection jurisprudence, see Vill. of Willowbrook v. Olech, 528 U.S. 562 (2000) (per curiam), will
only bring these two areas of doctrine closer.
   38. WEBSTER'S TrlmR NEw INTERNATIONAL DICTIONARY 439 (1993).
   39. See, e.g., Harry G. Frankfurt, Coercion and Moral Responsibility, in ESSAYS ON FREEDOM OF
ACTION 65, 66 (Ted Honderich ed., 1973); Vinit Haksar, Coercive Proposals (Rawls and Gandhi), 4
POL. THEORY 65, 66 (1976). I have argued elsewhere that this is slightly overstated, see Mitchell N.
Berman, The Normative Functions of Coercion Claims, 8 LEGAL THEORY (forthcoming Mar. 2002), but
for reasons that need not concern us at present.
  40. For a comprehensive review of the case law, see Sullivan, supra note 1, at 1428-42.
  41. Kreimer, supra note 13. For further elaborations, see Seth F. Kreimer, Government "Largesse"
and Constitutional Rights: Some Paths Through and Around the Swamp, 26 SAN DmOo L. REv. 229
(1989).
  42. See infra note 55.




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                                        A. COERCION IN THE LITERATURE

           Drawing on explorations of coercion from moral philosophy, 43 Professor
        Kreimer argued that whether a particular conditional offer of governmental
        benefits is coercive will be informed by three separate considerations-what he
        labels the "baselines" of "history," "equality," and "prediction."" The historical
        baseline measures the benefits that the offeree enjoys at the time of the
        conditional offer; the equality baseline is set by the benefits enjoyed by parties
        "similarly situated" to the claimant; 4 5 and the prediction baseline reflects,
        simply, what the government would in fact do if it "could not impose the
        condition in question, or could not take the exercise of constitutional rights into
        account." 46 A conditional proposal that would put the offeree worse off than she
        would be "in the normal course of events' '47 as measured by all three baselines
        is a "threat"-which is to say, coercive. A proposal that would put the offeree
        worse off than none of the three baselines is an "offer"-hence, not coercive.
        What about a proposal that would leave the offeree worse off than some
        baseline(s), and better off than the other(s)? Well, Kreimer conceded, that
        presents a tough case.4 8
           Kreimer's analysis provoked sustained attention and substantial criticism.
        Three principal criticisms stand out. The first challenges the utility of any
        multiple-baseline account. Invariably cases will arise in which different base-
        lines point in different directions. But when a conditional offer is coercive as
        measured against one baseline but not coercive as measured against another, the
        need to choose between them is said to render the solution fatally indetermi-
        nate.4 9 The second and third criticisms contest individual baselines, not the
        difficulties engendered by the interplay among the three. Although Kreimer's
        solution employed the three baselines of history, equality, and prediction, each
        falls into one or the other of the two general categories of baselines as previous
        works in moral theory had defined them: positive ("history" and "prediction")
        and normative ("equality"). 50 And, the arguments went, neither positive nor


           43. The seminal work in the field is Robert Nozick, Coercion, in PHILOSOPHY, SCIrCE AND MEHOD:
        ESSAYS IN HONOR OF ERNEST NAGEL 440 (Sidney Morgenbesser et al. eds., 1969). Of the other
        contributions upon which Kreimer drew, see Kreimer, supra note 13, at 1353 n.220, the most important
        include Daniel Lyons, Welcome Threats and Coercive Offers, 50 PHILOSOPHY 425 (1975); and Frankfurt,
        supra note 39.
           44. See Kreimer, supra note 13, at 1351-78. Although Kreimer's explication of coercion-based
        approaches to the unconstitutional conditions puzzle is especially elaborate, it does not comprise the
        whole of his solution. Kreimer supplements his three-baseline analysis with the argument that some
        conditional benefits, even if not coercive, will be unconstitutional for proposing that offerees relinquish
        inalienable constitutional rights. See id. at 1378-93.
          45. Id. at 1365.
          46. Id. at 1372.
          47. Id. at 1353.
          48. Id. at 1374-78.
           49. See, e.g., Epstein, supra note 4, at 13.
           50. Kreimer plainly appreciates that operationalizing the "equality" baseline requires normative
        judgment. See Kreimer, supra note 13, at 1370-71.




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normative baselines prove satisfactory. Positive baselines were criticized as
speculative, contestable, and, most of all, irrelevant; for, as Professor Kenneth
Simons remarked, it is generally accepted that we cannot get an "ought" from
an "is.,,5    Normative baselines were dismissed as empty or arbitrary under a
negative Constitution: Because the state has no constitutional obligation to
provide these "gratuitous" benefits, judgments as to whether the state "should"
provide them requires recourse to extraconstitutional considerations.5 2
   Some scholars writing in Kreimer's wake sought to modify his approach to
meet these objections. Professor Peter Westen, for instance, responded to the
first of the above criticisms by arguing that a proposal is coercive if it would
"leave a person worse off either than he otherwise expects to be or than he
ought to be for refusing to do the proponent's bidding., 5 3 And Professor Simons
sought to defang the first and third objections by proposing that we rely on a
predictive baseline alone, such that a proposal is a "threat" and thus properly
subject to some form of heightened judicial scrutiny if the state would grant the
benefit had it not been permitted to attach the objected-to condition.5 4 No
theorist, however, addressed all of the critics' concerns-at least not to the
critics' satisfaction. Today's overwhelming scholarly consensus, accordingly, is
that coercion-based theories of unconstitutional conditions are doomed to fail-
ure because they necessarily rely upon the now-discredited faith in some form
of preexisting baseline.55


   51. Kenneth W. Simons, Offers, Threats, and Unconstitutional Conditions, 26 SAN DiEo L. REv.
289, 310 (1989); see, e.g., Seidman, supra note 13, at 78-79.
   52. See, e.g., Seidman, supra note 13, at 79 (explaining that a normative baseline "requires a
determination of the decision-making environment that people have a right to expect" and that requires
recourse to extraconstitutional sources); see also infra notes 57-61 and accompanying text.
   53. Peter Westen, "Freedom" and "Coercion"-Virtue Words and Vice Words, 1985 DuKE L.J. 541,
586-87 [hereinafter Westen, Virtue Words]; see also id. at 575 ("I believe that there is a set of baselines
that successfully distinguishes burdens from benefits and threats from offers for purposes of distinguish-
ing coercive from noncoercive proposals. Commentators have failed thus far to identify the set because
they have assumed that the choice was between either identifying a single baseline for all statements of
coercion or leaving it to advocates to choose baselines willy-nilly."); id. at 586-87 (contending "that
while neither a prescriptive nor an expectation baseline suffices by itself, the two baselines together
account for all cases of coercion ....Coercion consists of conditional promises to leave a person worse
off either than he otherwise expects to be or than he ought to be for refusing to do the proponent's
bidding"). Although Westen's article is not specifically addressed to the unconstitutional conditions
problem, it is, I think, fairly read in such a vein, given Professor Westen's long-standing interest in the
topic. See Peter Westen, Incredible Dilemmas, 66 IOWA L. REv. 741 (1981); Peter Westen, The Rueful
Rhetoric of Rights, 33 UCLA L. REv.977 (1986).
   54. Simons, supra note 51, at 312. Simons characterizes his solution as a way to distinguish
exploitative from nonexploitative proposals (rather than coercive from noncoercive), but concedes that
he uses the term "somewhat loosely." Id. at 309 n.66. For our purposes, this preference for "exploita-
tion" over "coercion" is of only linguistic import. Either the proposed baseline is sensible and
workable, or it is not.
   55. See, e.g., SEmMAN & TSHNEr, supra note 18, at 84 (concluding that coercion-based theories of
unconstitutional conditions require "baselines from which burdens and benefits can be measured; yet no
obvious method for generating such baselines suggests itself"); Larry Alexander, Understanding
ConstitutionalRights in a World of Optional Baselines, 26 SAN DiEGo L. REv. 175 passim (1989); Cole,
supra note 1, at 696 n.82 ("Because unconstitutional conditions doctrine seeks to establish general




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                                       B. COERCION WITHOUT BASELINES

          The critics are right that previous efforts to solve the unconstitutional condi-
       tions puzzle by reference to coercion have not succeeded. But commentators
       have been too quick to conclude that any recourse to notions of coercion will be
       unavailing.
          Start with a frequent definition of coercion from the philosophical litera-
       ture: A conditional proposal is coercive if it would be wrong to carry out the
       act threatened. 56 Of course, this claim-employing a single normative base-
       line-runs straight into one of the principal objections to prior theories.
       Kathleen Sullivan, for instance, agrees that "any useful conception of
       coercion is irreducibly normative., 57 But this, she says, is precisely the
       problem. "Without a theory of autonomy, utility, fairness, or desert, one
       cannot tell when choice has been wrongfully constrained. ' 8 And any such
       theories, no matter how persuasive or attractive as matters of moral and
       political theory, "cannot be derived from the post-1937 Constitution it-



       principles for conditions affecting all constitutional rights, the search for a general baseline is elu-
       sive."); Fudenberg, supra note 13, at 410-13; Merrill, supra note 1, at 859 n.4 (distinguishing between
       coercive and noncoercive proposals "requires the identification of an appropriate 'baseline,' and it turns
       out this is contestable"); Seidman, supra note 13, at 78-79; Sullivan, supra note 1, at 1442-56;
       Kathleen M. Sullivan, UnconstitutionalConditions and the Distributionof Liberty, 26 SAN Dw.,o L.
       REv. 327, 328 (1989) ("[T]he notion [of coercion] is fatally elusive in unconstitutional conditions cases,
       where the government benefits at issue are gratuitous .... In a world without baselines, coercion
       cannot be tracked."); Sunstein, Doctrine,supra note 21, at 344-45 (concluding that the unconstitutional
       conditions doctrine is inadequate because, inter alia, "it focuses attention" on the "largely immaterial"
       and "extraordinarily complex" question of "whether there is a 'threat' (penalty) or an 'offer' (sub-
       sidy)").
          56. See, e.g., Martin Gunderson, Threats and Coercion, 9 CANADIAN J. Pin. 247 (1979); Haksar,
       supra note 39, at 68-70; Cheyney C. Ryan, The Normative Concept of Coercion, 89 MMnD 481 (1980).
       As Kreimer's own approach reflects, see supratext accompanying note 47, it is customary since Nozick
       to use the word "threat" as the label for a coercive proposal, thus requiring a distinction between
       "threats" and "offers." See generally Berman, supra note 39; Westen, Virtue Words, supra note 53.
       Recall that as I employ the terms, in contrast, neither has normative significance. See supra p. 11. As we
       have seen, every conditional benefits case is biconditional in form. I propose to call the conditional that
       holds out the consequent that the recipient would prefer the "offer," and the other conditional (to
       withhold the benefit) the "threat." By this definition, every case of conditional benefits contains both a
       threat and an offer. Cf E. Allan Farnsworth, Coercion in Contract Law, 5 U. AiK. LIrnrL RocK L.J. 329,
       332-33 (1982) (making a similar point with respect to contractual proposals). Whether to label the
       proposal as a whole a "threat" or an "offer" will depend not on any particular "test" in the sense of a
       formula that will hold true for all cases, but rather on a context-sensitive judgment about the "feel" of
       the proposal. And the feel may be a function of, among other things, the prior relationship of the parties
       and the magnitude of the proposed departures from various baselines. In short, every proposal with
       which we are interested could conceivably be characterized as either a threat or an offer (because it
       necessarily contains both), and which is the more plausible (or more fitting) characterization is more a
       subject for rhetoric, psychology, and phenomenology than of constitutional analysis. So nothing in what
       follows will depend on attaching the label of "threat" or "offer" to the conditional proposal. Following
       prevailing custom, I often refer to the proposal itself as a conditional offer. The critical question will be
       whether the proposal, however denominated, is coercive. For that question I do propose a test.
          57. Sullivan, supra note 1, at 1428.
          58. Id.




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self."5 9 Consequently, "[t]o hold that conditions coerce recipients because
they make them worse off with respect to a benefit than they ought to be
runs against the ground rules of the negative Constitution on which the
unconstitutional conditions problem rests. ' 60 Put otherwise, because it is not
open to one purporting to do constitutional law to argue that the benefits at
issue "ought" to be provided, the proposal cannot be labeled coercive. Years
earlier, the philosopher Michael Bayles had reached a similar conclusion: "If
the government is not morally obligated to provide the benefits independent
of the conditions, their addition does not deprive recipients of legitimately
expectable benefits. Thus no harm or coercion is involved. 61
   This objection, though facially persuasive, in fact trades on an ambiguity in
what it means for the act threatened (withholding the benefit) to be "wrong."
Understandably, Sullivan and Bayles read it to signify morally wrong. In
Bayles's view, it simply is not morally wrong for the state to withhold the types
of benefits at issue in unconstitutional conditions cases. And for Sullivan,
whether such withholding is morally wrong is constitutionally irrelevant. How-
ever, it is a mistake to suppose that moral and political theories supply the sole
benchmarks of wrongfulness. For although, as Sullivan rightly observes, "any
useful conception of coercion is irreducibly normative," it does not follow that
the relevant normative judgments must come from outside of the law. Even the
most steadfast legal positivist can still recognize that, from a perspective within
legal discourse, many rules of law have normative force. To take only the most
salient example, criminal prohibitions do not merely announce possible conse-
quences for particular courses of conduct, but also direct that such conduct
should not be engaged in. Similarly, constitutional prohibitions (and affirmative
duties) purport to declare what the state may not (or must) do.
   There exists, in short, a variety of discourses or systems in which normative
judgments of coercion may take hold. Revising our earlier definition to make
this plain, we may say that a conditional proposal is coercive within a particular
normative discourse, and thus presumptively prohibited, if it contains a threat,
conditioned upon specified action or inaction by a recipient of the proposal, to
do what it would be wrong within that discourse for the threatener to do. 6 2 For



     59. Id. "Moreover," she continues, "even a satisfying normative theory of coercion would give only
 an incomplete account of unconstitutional conditions. Conditions on benefits, like other government
 actions, can burden constitutional rights even when they do not rise to the level of coercion." Id. at
 1428. This last observation is exactly right (although "rising to the level" misleadingly implies that the
 line demarcating coercive proposals is one of degree, rather than of kind)-which is exactly why we
 need the three-dimensional approach.
     60. Id. at 1450.
     61. Michael D. Bayles, Coercive Offers and Public Benefits, 55 PERSONALiST 139, 143-44 (1974).
     62. Sullivan anticipates this claim only to reject it by observing that the law often treats as
 "coercion" threats to perform acts that are themselves legal. See, e.g., Sullivan, supra note 1, at
 1443-46 (raising, among other supposed counterexamples, the crime of blackmail and the defense of
 duress in contract law). In fact, though, this supposed objection founders upon two separate ambigu-
 ities. Cf. Samuel Dubois Cook, Coercion and Social Change, in NoMos XIV: CoERcIoN 107, 115 (J.




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      our purposes, there is no difficulty in identifying the relevant normative dis-
      course. It is the discourse defined and constituted by the Constitution itself (as
      interpreted). Therefore, a conditional offer by government is coercive for
      purposes of constitutional law-hence presumptively unconstitutional-if it
      would violate the Constitution for the state to carry out its threat.63 Put another


      Roland Pennock & John W. Chapman eds., 1972) ("In concept, dimensions, and the realities of
      phenomena, coercion is indeed laden with ambiguity, complexity, and elusive ingredients."). The first
      ambiguity arises from the fact, once again, that claims of coercion operate simultaneously in different
      normative discourses. It is true that a proposal is not legally coercive unless the act threatened is illegal.
      But it is not true that blackmail is legally coercive. Rather, as I have attempted to demonstrate
      elsewhere, it is morally coercive because it threatens what it is (probably) morally wrongful for the
      particular actor to do. See Mitchell N. Berman, The Evidentiary Theory of Blackmail: Taking Motives
      Seriously, 65 U. Ctn. L. REv. 795 (1998). It is then made criminal because it is morally wrong. In short,
      whereas the highwayman's threat ("your money or your life") is both legally and morally coercive (i.e.,
      is coercive within two separate normative discourses), the blackmail threat ("$1,000 or I'll tell your
      spouse of your infidelities") is illegal only by virtue of its being morally coercive. On this view, the
      puzzle about blackmail concerns why the act threatened-which I have just claimed is morally
      wrongful-is not itself criminalized, thereby making the blackmail threat legally as well as morally
      coercive. And the answer trades on the evidentiary value of the blackmail threat: Without it we are
      much less secure in judging that the act threatened is wrongful. Blackmail, then, is not a counter-
      example to the claim I have advanced in text.
         If blackmail illustrates the first ambiguity besetting coercion talk, the duress example manifests.the
      second. Judgments of coercion respond to different normative needs. They serve both to censure the
      making of a coercive proposal and to excuse (fully or partially) the acting in the face of coercive
      pressure. The rub is that the conditions that constitute coercion (or coerciveness) in the two contexts are
      wholly different. (For development of this perhaps cryptic claim, see Berman, supra note 39.) Thus, a
      legal conclusion that some party, B, "was coerced" to perform some action x means only that conditions
      exist sufficient to excuse B from (some portion of) the ordinary consequences that attend the doing of x;
      it does not mean that the conditions necessarily exist sufficient to blame some other party, A. But it is
      this latter type of coercion claim that interests us when assessing the constitutionality of state action. As
      I will explain shortly, see infra notes 150-53 and accompanying text, the failure to distinguish these
      two senses is largely responsible for the consistent inadequacy of the Court's many efforts to
      operationalize coercion in the unconstitutional conditions arena.
         To exploit (or adapt) Dworkin's familiar distinction between concepts and conceptions, see RONALD
      DworuKi, TAKING RIGHTs SERIOUSLY 134-36 (1978), we may say that the latter confusion is an artifact of
      there being two different concepts of coercion (relating to notions of censure and excuse), while the
      former is caused by the various conceptions of the first concept (relating to the different discourses in
      which normative judgments obtain).
         63. It follows from this definition that threats of criminal sanction are not coercive in the constitu-
      tional sense, insofar as it is constitutionally permissible for the state to impose the punishment
      threatened. Although this may seem a fatal consequence given that criminal punishment is generally
      thought the paradigmatic use of coercive power by the state, the objection is defanged once we (again)
      take care not to shift unreflectively between normative discourses. Criminal sanctions constitute the
      central case of coercion within political theory because of that discipline's core concern with justifying
      the use of force by the state. But justifying all uses of force by the state is not a critical issue within
      American constitutional theory (and very possibly within any constitutional theory) because from a
      perspective internal to the constitutional system, the fundamental question of whether the state's use of
      force is justifiable has already been resolved. Put simply, if a discourse accepts the use of penal
      sanctions by the state as presumptively legitimate, then the threatened use of such sanctions cannot be
      "coercive" if that is to mean presumptively wrongful. Because American constitutional law presumably
      does accord a rebuttable presumption of legitimacy to the state's imposition of penal sanctions, whereas
      political and moral theories presumably do not, threatened criminal penalties are "coercive" in the latter
      discourses albeit not in the former.




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 way, the conditional offer of a benefit is coercive in the constitutional sense 64if
 withholding the benefit offered (that is, doing -y) would be unconstitutional 4
 Coercion thus remains a normative concept even though notions of moral
 wrongfulness need play no role.65
    Having thus operationalized the concept of coercion, it may appear that we
 have expended a lot of effort merely to reencounter the foundational problem.
 As Professor Larry Alexander puts it, the unconstitutional conditions problem
 arises because in a world of "constitutionally optional baselines" no recipients
 of the proposal

      can complain that they are worse off than they would be were the government
      [to carry out its threat]. (At least that is so if their being worse off is measured
      by their preferences.) And, if they are not worse off than they could be
      constitutionally,
             66
                          how can they claim infringement of their constitutional
       rights?

 This is the intuition behind the greater-includes-the-lesser argument: If the state
 can withhold the benefit entirely, the offeree cannot be worse off by receiving
 the benefit conditionally; and if the conditional offer cannot make her worse off,
 then nor can it plausibly violate her constitutional rights.
    This argument provokes a variety of rejoinders. One denies the premise as a
 practical matter. When political restraints operate to foreclose the government
 from withholding the benefit categorically, the thinking goes, a conditional offer
 really does leave the offeree worse off. 6 7 Another response rejects the absolutist
 conception of welfare that implicitly informs the challenge. Insofar as some
 measures of well-being are comparative, it is entirely plausible that an indi-


    64. To be sure, we could translate this inquiry into baseline terms by proposing that a proposal is
 coercive if it threatens to put the offeree worse off than she would be under a "constitutional-rights"
 baseline. But why? Once we have understood what it means for a conditional government offer to be
 constitutionally coercive, to import baseline terminology is wholly unilluminating, if not positively
 obscuring.
    65. This is not to say, of course, that moral judgments are utterly foreign to the constitutional
 analysis. Moral analysis impinges on this constitutional conception of coercion in two principal ways.
 First, although it is ultimately a positive question whether it would infringe the Constitution for the
 state to do as it threatens, it is one that, depending upon one's particular theory of constitutional
 interpretation, may prove richly informed by considerations of political morality and justice. Second,
 regardless of how one would generate these (first-order) constitutional conclusions in the first place,
 one may care to query whether a constitutionally coercive proposal is morally coercive as well.
 Presumably yes if the act threatened would be constitutionally wrong because it is morally wrong. If
 the act threatened would be unconstitutional but not (by your lights) immoral, then whether the
 proposal is coercive in a moral, as well as a constitutional, normative discourse depends upon whether
 the governmental actors have a moral obligation to obey the Constitution.
    66. Alexander, supra note 55, at 177. Note that my formalization of the unconstitutional conditions
 puzzle includes even those cases in which it would be implausible to contend that the state could
 withhold the benefit entirely. Of course, the unconstitutionality of the conditional proposal in such cases
 is too plain to provoke much attention.
    67. This is a particular focus of Professor Epstein. See, e.g., Epstein, supra note 4, at 28-38; see also
 Kreimer, supra note 13, at 1313.




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       vidual may be better off in a world in which the benefit at issue is withheld
       entirely than in a world in which it is offered on a condition that she, but not
       others, would reject. When such forms of equality-type interests are constitution-
       alized-under the Equal Protection Clause or elsewhere-withholding even
       gratuitous benefits to some, but not all, may well be unconstitutional.6 8
          Even when equality-type interests are not at stake, keep in mind that the
       coercion question is not whether the government is obligated to provide the
       benefit at issue to any particular claimant, but whether, having made the
       conditional offer, withholding the benefit is constitutional. This may make a
       difference. As Kathleen Sullivan puts it, a gratuitous benefit is one that the
       government is permitted, but neither forbidden nor compelled, to provide. 69 If
       government's purposes for action matter, this means only that there are at least
       some reasons (perhaps many) that would make nonprovision constitutionally
       unproblematic. It does not necessarily follow that the benefit could be withheld
       for any reason or no reason at all.7 ° If the failure to provide even a gratuitous
       benefit could be unconstitutional if supported by the wrong sorts of purposes,
       then the blithe assertion that the state acts constitutionally in withholding it can
       only be meant in an epistemic sense-that is, to signify that we have no reason
      to doubt its constitutionality.
          It follows that there are at least two ways in which the unconditional and
      conditional withholding of the same benefit may meaningfully differ. First, the
      two acts may be driven by different purposes, so the one is constitutional while
      the other is not. Second, they may be driven by the same purpose, and both be
      unconstitutional, but we may be able to discover the unconstitutionality only in
      the latter case, thanks to the condition's evidentiary value.
         In any event, it is unnecessary at this stage to ruminate further about all the
      circumstances in which carrying out the act threatened may be unconstitutional
      even though the state is constitutionally permitted not to advance the offer in the
      first place. We have said enough to caution against a rush to any categorical
      judgment: Perhaps selective, conditional withholding of a given benefit is
      constitutional; perhaps it is not. We will explore the matter in greater depth in
      Part IV. Before doing so, though, a different sort of objection to a coercion-
      based theory of unconstitutional conditions demands our attention.

                     III. THREE DIMENSIONS OF CONSTITUTIONAL VIOLATION
         We saw that the principal objection to coercion-based theories of unconstitu-
      tional conditions was that coercion was arbitrary and manipulable. The preced-
      ing section rebuts that objection. A second objection holds that even if coercion


        68. See, e.g., Simons, supra note 51, at 295.
        69. Sullivan, supra note 1, at 1422.
        70. This objection has been made before. See, e.g., John H. Garvey, The Powers and Duties of
      Government, 26 SAN DIco L. REV. 209, 224 (1989), revised and reprintedin JoHN H. GARVEY, WHAT
      ARE FREEDOMS FOR? ch. 12 (1996).




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  could be made to work, it is insufficient and therefore not useful. 7 The short
  answer to this objection is to grant the premise, but reject the conclusion. It is
  true that a conditional offer can be unconstitutional even if not coercive. But it
  is wrong to conclude from this that coercion is unhelpful. The proper lesson is
  only that a full account of unconstitutional conditions must supplement a
  coercion-based explanation with something else. That suggestion, I recognize,
  is likely to excite the suspicion that the move to supplement coercion effectively
  reduces my coercion-based account to the ad hoccery that the skeptics insist
  really underlies all unconstitutional conditions theorizing. This Part seeks to
  demonstrate that this suspicion is misplaced by sketching the start of a tax-
  onomy of how any state action (be it a conditional offer or anything else) could
  violate the Constitution and by showing how coercion fits within the taxonomy.
     Any test that purports to determine whether a given conditional offer is
  unconstitutional presupposes some notion-albeit often unarticulated or even
  inchoate--of how it may be unconstitutional. The question of how the state
  could violate the Constitution is ordinarily answered by reference to rights,
  powers, or duties. Thus, state action may be held unconstitutional because, for
  example, it "violates an individual right" or "exceeds government powers" or
  "breaches a government duty." And some previous contributions to the unconsti-
  tutional conditions literature have proceeded by supposing that the key to its
  resolution rests in identifying the correct conceptual framework. 72 That these
  efforts have not yet met with great success recommends a different approach,

     71. See, e.g., Sullivan, supra note 1, at 1450-56.
     72. The most notable contribution along these lines is by John Garvey. See Garvey, supra note 70. In
  brief, Professor Garvey argues that claims that conditional offers of government benefits violate
  constitutional rights are more plausible if we think of constitutional rights as correlating with govern-
  ment duties rather than with limits on government power. Although much in Garvey's argument is
  insightful and persuasive, it has much greater force in explaining why the unconstitutional conditions
  doctrine is sound-that is, why the greater-includes-the-lesser intuition fails--than in helping to
  identify the proper contours of its protection.
     A second proposed reconceptualization of ordinary constitutional rights that offers to assist resolution
  of unconstitutional conditions cases is perhaps best exemplified in the work of Professors Richard
  Fallon and Richard Pildes. See Richard H. Fallon, Jr., Individual Rights and the Powers of Government,
  27 GA. L. REv. 343 (1993); Richard H. Pildes, Avoiding Balancing: The Role of Exclusionary Reasons
  in ConstitutionalLaw, 45 HASTINGS L.J. 711 (1994); see also Geoffrey P. Miller, Rights and Structure in
  Constitutional Theory, 8 Soc. PHiL. & POL'Y 196 (1991) (expressing similar views). Each argues that, in
  addition to conceiving of constitutional rights (and the concomitant limits they impose on government
  power) as serving the immediate, particularistic interests of the individual rightsholder, we should think
  of rights as marking limits on government power that are recognized for systemic reasons largely
  independent of concerns about the impact the exercise of government power would work in the
  individual case. Thus, some individual rights serve much the same instrumental function in helping to
  preserve individual liberty over the long run as do paradigmatically structural constitutional arrange-
  ments as federalism and the separation of powers. Although neither Fallon nor Pildes develops his
  arguments specifically to serve a theory of unconstitutional conditions, each does claim that the
  reconceptualization he advocates should assist unconstitutional conditions theorizing. Fallon, supra, at
  385-88; Pildes, supra, at 736-41. Some types of conditional offers for seemingly gratuitous benefits,
  their arguments go, may be unconstitutional precisely for threatening to aggrandize government power,
  not principally-or perhaps at all-because they threaten to harm or even to disadvantage individual
  offerees. Though I think the bedrock point here sound and important, precisely how this reconceptualiza-




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        perhaps functional rather than conceptual. That is, whereas the first set of
        answers focus on the senses in which government action (or inaction) may be
        constitutionally offensive, a functional approach examines the ways that govern-
        ment action may run afoul of the Constitution. And this leads to a taxonomy of
        the dimensions or incidents of government action that may violate the Constitu-
        tion.
           In brief, my claim is that the Constitution can be violated by government
        action in three principal ways: (1) by the consequences, or effects, that the
        government causes or permits to obtain; (2) by the purposes for which govern-
       ment acts or fails to act; and (3) by the conduct that the government engages in
       or intentionally foregoes, which is to say, the things that government does or
       fails to do.7 3 If any instance of governmental action is unconstitutional, it will
       be by virtue of its unconstitutional effects, its unconstitutional purpose, its
       unconstitutional conduct, or by some combination of these bases.7 4
           Now, having just asserted that these are the ways state action can violate the
       Constitution, I want to forswear promptly any intention to catalogue all the
       effects, purposes, and types of conduct that should be understood to be unconsti-
       tutional, either absolutely or presumptively. For the most part, whether any
       particular constitutional provision should be interpreted to demand heightened
       justification when the state does certain things or acts for certain purposes or
       causes certain consequences-that is, whether any particular conduct, purpose,
       or effect should be deemed a constitutional infringement 7 5-is a matter for


       tion can help pave the way to develop a method to resolve the unconstitutional conditions problem
       remains obscure.
           73. Professor Charles Fried recently advanced this same argument in nearly identical terms. See
       Charles Fried, Types, 14 CONST. CoMmENT. 55 (1997) (distinguishing "effects," "intents," and "acts").
       For a distinct but analogous taxonomy preceding Fried's, see Paul Brest, Palmer v. Thompson: An
       Approach to the Problem of Unconstitutional Legislative Motivation, 1971 Sup. CT. REv. 95, 103
       (analyzing "[t]he paradigm law" in "three components or attributes: (a) an operative rule, (b) objectives
       (or purposes), and (c) effects (or consequences or impact)"). My analysis here differs from Fried's in
       two principal respects. First, Fried employs his trichotomy to classify not just state action but also the
       private action upon which the state operates. See Fried, supra, at 69-74. I am less certain that this
       single analytical framework is profitably applied so broadly. Second, as I will explain shortly, see infra
       text accompanying notes 112-13, the extent to which my "conduct" category and Fried's "act" category
       are the same is not clear. That said, I share Fried's conviction that attention to these three dimensions of
       constitutional infringement can add substantially to our understanding of a myriad of constitutional
       doctrines. Fried argues, for instance, that balancing tests are probably appropriate means to police
       infringing effects but not infringing purposes, Fried, supra, at 75, and also that analogical reasoning is
       most useful with respect to act-scrutiny, id. at 81-82.
          74. I am inclined to think that each of these three sources of unconstitutionality often operates
       independently. But nothing in my argument about unconstitutional conditions depends on the relative
       frequency of these three dimensions of unconstitutionality, alone or in combination. I claim only that
       effects, purposes, conduct, and various combinations thereof, account for all (or substantially all)
       violations of the Constitution.
          75. For the customary distinction between constitutional "infringements" and constitutional "viola-
       tions," pursuant to which an infringement provokes a constitutional demand of special justification that,
       if not satisfied, constitutes a violation, see, for example, Frederick Schauer, A Comment on the Structure
       of Rights, 27 GA. L. REv. 415, 425 n.38 (1993); and Judith Jarvis Thomson, Some Ruminations on




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 substantive argumentation, not conceptual analysis. The same is true with
 regard to the question of what type of justificatory test should be employed to
 measure whether any given infringement amounts to a constitutional viola-
 tion.76 By and large, therefore, my resolution of the unconstitutional conditions
 problem will not require me to challenge provision-specific constitutional doc-
 trine.7 7 Parts IV and V will be concerned with demonstrating how we can
 advance our understanding of unconstitutional conditions cases simply by
 appreciating this taxonomy, while remaining agnostic regarding just which
 purposes, effects, and conduct should be held unconstitutional. Before reaching
 that demonstration, though, it may prove useful to flesh out these concepts a
 little better.

                                              A. EFFECTS

    That state action may violate the Constitution by virtue of the effects (or
 consequences) it produces is too well appreciated to require extended com-
 ment.7 ' A few illustrations will suffice. Under the much-maligned Pike balanc-
 ing test of dormant Commerce Clause jurisprudence, for example, state or local
 regulations are liable to be held unconstitutional by reason of their adverse
 effects on interstate commerce.7 9 Similarly, under the "undue burden" standard
 of Planned Parenthood v. Casey,8 0 "state regulation [that] has the purpose or
 effect of placing a substantial obstacle in the path of a woman seeking an


 Rights, 19 ARiz. L. REV. 45, 47 (1977). Thus, an "infringement" is a presumptive violation, and a
 "violation" is an unjustified infringement. (Though under doctrines that render particular government
 actions invalid per se, infringements and violations are necessarily the same thing.)
    76. To be clear, whether a particular conditional offer that is determined to be an infringement is,
 furthermore, a violation (while of ultimate importance to the parties to the case) is not central to this
 project, for it has little or nothing to do with unraveling the unconstitutional conditions problem and
 much to do with the vagaries of the justificatory doctrine the Supreme Court has crafted to govern that
 particular area of constitutional law. This distinction between infringements and violations is assuredly
 not meant to deny, however, that analysis and evaluation of the various tests the Court has developed to
 ascertain whether an infringement is a violation (that is, its manifold justificatory tests) constitute
 important avenues of constitutional scholarship. They are simply avenues we need not travel to reach
 our intended destination. Important explorations in this genre include T. Alexander Aleinikoff, Constitu-
 tional Law in the Age of Balancing, 96 YALE L.J. 943 (1987); Richard H. Fallon, Jr., The Supreme
 Court, 1996 Term-Foreword: Implementing the Constitution, Ill HARv. L. REV.54 (1997); Charles
 Fried, ConstitutionalDoctrine, 107 HARv.L. REv. 1140 (1994); and Kathleen M. Sullivan, The Supreme
 Court, 1991 Term-Foreword: The Justices of Rules and Standards, 106 HARv.L. REV.22 (1992).
    77. My claim that one thing the state presumptively may not do is to engage in coercion is not an
 exception to the statement in text. That coercion is a type of presumptively constitutionally forbidden
 conduct is a general axiom of constitutional logic and therefore not dependent upon interpretation of
 individual constitutional provisions (although determining whether the state has engaged in coercion
 sometimes will require attention to particularistic constitutional doctrine).
    78. Though Fallon concludes that effects triggers are not actually as prevalent as some think. See
 Fallon, supranote 76, at 84.
    79. Pike v. Bruch Church, Inc., 397 U.S. 137 (1970). For criticism of the view that (nondiscrimina-
 tory) effects should ever be seen to violate the dormant Commerce Clause, see Bendix Autolite Corp. v.
 Midwesco Enterprises, Inc., 486 U.S. 888, 895 (1988) (Scalia, J., concurring).
    80. 505 U.S. 833 (1992).




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       abortion of a nonviable fetus" violates a woman's right to choose an abortion."1
          The effects of state action have traditionally been subject to especially close
       scrutiny under the First Amendment. Under United States v. O'Brien, 2 for
       example, a law that burdens expressive conduct is unconstitutional, even absent
       any bad state purposes, unless "it furthers an important or substantial governmen-
       tal interest; and the incidental restriction on alleged First Amendment freedoms
       is no greater than is essential to the furtherance of that interest. ' 3 And for close
       to thirty years, the Court subjected applications of even neutral laws of general
       applicability to a form of heightened scrutiny as infringing the Free Exercise
       Clause when they had the effect of burdening religious practice.8 Laws infringe
       the Establishment Clause, furthermore, if they have the primary effect of
       promoting or inhibiting religion. 5

                                                    B. PURPOSES
         Roughly, a governmental "purpose" refers to the state of affairs that decision-
       makers seek to achieve by their action or inaction.8 6 Its near-synonyms in
       constitutional discourse include "motives," "objectives," "ends," and "aims.''


          81. Id. at 877. This test is examined and compared to other effects tests in Gillian E. Metzger, Note,
        Unburdening the Undue Burden Standard: OrientingCasey in ConstitutionalJurisprudence,94 COLum.
        L. REv. 2025 (1994).
          82. 391 U.S. 367 (1968).
          83. Id. at 377.
          84. See, e.g., Sherbert v. Verner, 374 U.S. 398 (1963). Sherbert was effectively overruled (though
        formally distinguished) in Employment Division v. Smith, 494 U.S. 872 (1990).
          85. See Lemon v. Kurtzman, 403 U.S. 602 (1971).
          86. See, e.g., Brest, supra note 73, at 104.
          87. Of all these terms, "purposes" and "motives" have attracted by far the most attention. The
       prevailing view in constitutional scholarship-which I will not here problematize-is that they are
       identical. See, e.g., id. at 104 n.55; J. Morris Clark, Legislative Motivation and FundamentalRights in
       Constitutional Law, 15 SAN Dmuo L. REv. 953, 956 (1978); Theodore Eisenberg, Disproportionate
       Impact and Illicit Motive: Theories of Constitutional Adjudication, 52 N.Y.U. L. REv. 36, 41 &
        106 n.321 (1977); John Hart Ely, Legislative and Administrative Motivation in ConstitutionalLaw, 79
       YALE L.J. 1205, 1217-21 (1970); Jill E. Evans, Challenging the Racism in Environmental Racism, 40
       Aiuz. L. REv. 1219 n.377 (1998); Elena Kagan, Private Speech, Public Purpose: The Role of
       Governmental Motive in FirstAmendment Doctrine, 63 U. Cm.L. REv. 413, 426 n.40 (1996); Donald
       H. Regan, The Supreme Court and State Protectionism: Making Sense of the Dormant Commerce
       Clause, 84 MicH. L. REv. 1091, 1143 (1986); Larry G. Simon, Racially Prejudiced Governmental
       Actions: A Motivation Theory of the ConstitutionalBan Against Racial Discrimination, 15 SAN Dmo
       L. Rev. 1041, 1060-61 (1978).
          "Aims," according to Professor Fallon, means "objective" purposes, rather than subjective ones. See
       Fallon, supra note 76, at 73 & n.99. For the distinction, see infra note 102 and accompanying text.
       Another closely allied term, "interests," most often refers to the ends advanced to justify state action
       that-for whatever reason-has provoked a demand for heightened justification. I will not here be
       interested in interests because, as already noted, see supra note 76, I take no position in this Article on
       how constitutional infringements should be justified. To repeat, then, this analysis provisionally accepts
       whatever particular tests-strict scrutiny, intermediate scrutiny, ad hoc balancing, per se invalidity, and
       so on-that the judiciary has developed to evaluate whether constitutional "infringements" are saved
       from being "violations." Nothing in my proposed solution to the unconstitutional conditions problem
       turns on the specific doctrines the judiciary adopts to effectuate the need for justification. For
       wide-ranging views on interest-scrutiny, see the essays collected in Conference on Compelling Govern-




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But whatever they are called, and wherever a putatively bad purpose may lie
within a chain of nested purposes,88 the purposes animating state action, like its
effects, constitute familiar respects in which the Constitution can be violated.
   Again, a few illustrations will make the point.8 9 Most famously, statutes that
do not facially discriminate against protected classes provoke heightened scru-
tiny under equal protection law only if adopted for the purpose of discriminat-
ing against a protected class; disparate effects are not enough to infringe the
Constitution.9" Similarly, under the contemporary free exercise jurisprudence
that has replaced the effects test of Sherbert,9' strict scrutiny remains appropri-
ate when a facially neutral law was adopted for the purpose of disfavoring a
particular religious practice.9 2 Pursuant to what is probably the most secure
(albeit rarely used) component of the battered, but not yet beaten, Lemon test of
Establishment Clause jurisprudence, a purpose to promote religious practice is
unconstitutional. 93 Additionally, a protectionist purpose or effect is presump-
tively unconstitutional under the dormant Commerce Clause; 94 a purpose to
censor expression is presumptively unconstitutional under the First Amend-
ment;9" and, as seen above, a woman's right to abort a nonviable fetus is
violated by state action undertaken for the purpose of placing a substantial



 ment Interests: The Mystery of Constitutional Analysis, 55 ALB. L. REv. 535-761 (1992). For an
 insightful treatment of the issue in the context of equal protection cases, see RICHARD S. MARxovrrs,
 MATrERS OF PRINCIPLE: LEGITIMATE LEGAL ARGUMENT AND CONSTITUTIONAL INTERPRETATION 224-31
 (1998).
    88. See, e.g., Regan, supra note 87, at 1138-39.
    89. Professor Fallon presents some of these illustrations in Fallon, supra note 76, at 91-94, in which
 he concludes that purpose scrutiny plays an especially prominent role in contemporary constitutional
 doctrine.
    90. See Pers. Admin. v. Feeney, 442 U.S. 256 (1979); Washington v. Davis, 426 U.S. 229 (1976).
    91. 374 U.S. 398 (1963).
    92. Smith itself had no occasion expressly to consider whether a purpose to disfavor a religious
 practice was sufficient to provoke heightened scrutiny. In Church of the Lukumi BabaluAye, Inc. v. City
 of Hialeah, 508 U.S. 520 (1993), however, a plurality of the Court answered this question in the
 affirmative, see id. at 540-42 (Kennedy, J.); id. at 578 (Blackmun, J., concurring), over the objection of
 Justice Scalia and Chief Justice Rehnquist, who would take judicial cognizance of "the object of the
 laws at issue" but not "the subjective motivation of the lawmakers," see id. at 557-59 (Scalia, J.,
 concurring). But see id. at 562 n.3 (Souter, J., concurring) (seeming to remain agnostic on this precise
 question).
    93. Lemon v. Kurtzman, 403 U.S. 602, 612-13 (1971). Cases applying the purpose strand of Lemon
 to invalidate government conduct include Edwards v. Aguillard, 482 U.S. 578, 594 (1987); and Wallace
 v. Jaffree, 472 U.S. 38, 56 (1985).
    94. See, e.g., Kassel v. Consol. Freightways, 450 U.S. 662 (1981); City of Philadelphia v. New
 Jersey, 437 U.S. 617, 627-28 (1978). For a persuasive argument that only protectionist purpose, not
 protectionist effect, should provoke this exacting scrutiny (and furthermore, that this is largely what the
 Court's holdings reflect, notwithstanding unfortunate dicta), see Regan, supra note 87.
    95. See, e.g., R.A.V. v. City of St. Paul, 505 U.S. 377, 386 (1992) ("The government may not
 regulate [speech] based on hostility-or favoritism-towards the underlying message expressed.");
 Barnes v. Glen Theatre, 501 U.S. 560, 569-70 (1991) (plurality opinion); id. at 590-94 (White, J.,
 dissenting); Regan v. Taxation With Representation, 461 U.S. 540, 548 (1983). For an extended
 argument that First Amendment doctrine is principally, if not exclusively, geared toward policing state
 purposes, see Kagan, supra note 87.




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        obstacle in her way. 96 Just last Term, finally, the Court held programmatic
        purposes relevant to the Fourth Amendment when it declared unconstitutional
        highway checkpoint programs in which the primary purpose was the discovery
        and interdiction of narcotics. 97
           Given these many examples of the demonstrably significant role that govern-
        mental purpose plays in contemporary constitutional doctrine, the wide schol-
        arly agreement on its propriety and feasibility should not surprise.9 8 And while
        skepticism does periodically surface in both judicial and academic writings, 99 it
        would strain this already long Article past the breaking point to address these
        issues adequately. It will be enough, I hope, to acknowledge that much of the
        analysis that follows does depend upon the correctness of my beliefs that the
        constitutionality of a given state action sometimes depends upon the purposes
        that animated the state actors, and that judicial investigation of such purposes,
        even of multimember bodies, is appropriate and manageable. o


            96. Planned Parenthood v. Casey, 505 U.S. 833, 877 (1992).
            97. City of Indianapolis v. Edmond, 531 U.S. 32 (2000).
            98. Thus Don Regan could observe in 1986 that "[p]roponents of motive review now argue nearly
         unopposed." Regan, supra note 87, at 1143. That is a fair description of the state of the literature today
         as well. For a recent contribution, in addition to the sources already mentioned, see Ashutosh Bhagwat,
         Purpose Scrutiny in ConstitutionalAnalysis, 85 CAL. L. REv. 297 (1997). This was not always the case.
         The seminal works challenging the then-prevailing wisdom that legislative purposes were either
         constitutionally irrelevant or not fit for judicial examination are Brest, supra note 73; and Ely, supra
         note 87. For additional literature, see the articles collected in Symposium, Legislative Motivation, 15
         SA DIEo L. REv. 925 (1978).
           99. The principal judicial critic of purpose scrutiny is Justice Scalia. See infra notes 101-02. His
         counterpart in the academy (on this point) appears to be Professor Larry Alexander. See, e.g., Larry
         Alexander, Constitutional Theory and Constitutionally Optional Benefits and Burdens, 11 CONsT.
         COMMENT. 287 (1994) [hereinafter Alexander, Constitutional Theory]; Larry Alexander, Correspon-
        dence: Affirmative Action and Legislative Purpose, 107 YALE L.J. 2679, 2683 (1998); Larry A.
        Alexander, Introduction: Motivation and Constitutionality,15 SAN DIco L. REv. 925 (1978) [hereinaf-
        ter Alexander, Motivation]. In the unconstitutional conditions literature, Seth Kreimer has been a
        particularly influential critic of purpose scrutiny. See Kreimer, supra note 13, at 1327-40; see also
        Baker, supra note 18, at 1193 & n.18 (claiming that the Court and academic commentators have largely
        abandoned purpose-based analyses of unconstitutional conditions, and citing Kreimer's criticisms in
        particular); Michael E. Hartmann, Tiersfor Fears, Fears of Tiers, 40 WAYNE L. REv. 1401, 1438 n.132
        (1991) (quoting Kreimer approvingly). Although Kreimer argues in part that a purpose-based analysis
        of unconstitutional conditions does not produce the correct outcomes, most of his criticisms attack the
        feasibility or propriety of purpose scrutiny more generally.
           100. Any marginal note attempting to substantiate this claim is bound to be inadequate. With that
        concession, though, a few remarks on the subject are appropriate. The heart of the point is that
        constitutional constraints are addressed initially (not to mention principally) to government officials
        with authority to make decisions. Those constraints tell such decisionmakers, among other things, you
        may not do thing x, or you may not seek to achieve state of affairs y. It follows that the decisionmaker
        acts unconstitutionally if she proceeds to act for the purpose of achieving the constitutionally forbidden
        objective. For the most persuasive statements of this view, see Paul Brest, The Conscientious Legisla-
        tor's Guide to ConstitutionalInterpretation, 27 STAN. L. REv. 585, 589-94 (1975); and Regan, supra
        note 87, at 1144-47. For similar views, see Paul Brest, Reflections on Motive Review, 15 SAN DIEoo L.
        REv. 1141, 1142 (1978); and Jed Rubenfeld, Correspondence: The Purpose of Purpose Analysis, 107
        YALE L.J. 2685, 2686 (1998). Works that also approve purpose scrutiny, but emphasize a distinct
        concern with the expressive meaning of bad government purposes include Elizabeth S. Anderson &
        Richard H. Pildes, Expressive Theories of Law: A Skeptical Overview, 148 U. PA. L. REv. 1503 (2000);




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   That said, doubts exist not just about the legitimacy of purpose scrutiny tout
court, but also about precisely what questions the courts should ask if undertak-
ing it. Three issues deserve mention, just to be put aside. First, there is some
disagreement over whether bad purposes alone can violate the Constitution, or
                                                       1 °1 Second, commentators
whether they do so only when producing bad effects.
debate whether the judiciary may inquire into the actual "subjective" purposes


 Paul Brest, The Supreme Court, 1975 Term-Foreword: In Defense of the Anti-Discrimination Prin-
 ciple, 90 HARv. L. REv. 1 (1976); Clark, supra note 87; and Simon, supra note 87.
    The usual objection to this view assumes that the same consequences could constitutionally have
 been brought about had the state actors operated with good purposes rather than bad. And "unless ... mo-
 tivation makes some difference in the effects of government action on individuals," Larry Alexander
 argues, "it is hard to see why it matters." Alexander, Constitutional Theory, supra note 99, at 304.
 Certainly Alexander is right that, "ultimately, effects in the world are all that matter, even conceding the
 materiality of motivation." Id. at 306. But the key word here is "ultimately." Although any rule of
 constitutional law should be explicable on the basis of the difference it would have for individuals, the
 causal relationship may, in some circumstances, be extremely indirect and even probabilistic. There-
 fore, Alexander's claim that "[flaws are unconstitutional because of their predicted effects over an
 indefinite period of time," id. at 302, is not quite right. Rather, constitutional rules exist "because of
 their predicted effects over an indefinite period of time." And while some of those rules will, in turn,
 require investigation of the predicted effects of individual laws, some of those rules will not. In short,
 that the measure of a rule of constitutional law should be its effects does not entail that that rule must
 assess instances of governmental action on the basis of their effects. See Fallon, supra note 72, at 375
 (observing that "rights and rules in our constitutional scheme resemble the rights and rules that would
 exist under a system of rule utilitarianism. Rules result from a balance of interests, but, once in place,
 exert an independent claim to obedience"); see also Matthew Adler, Rights Against Rules: The Moral
 Structure of American ConstitutionalLaw, 97 MicH. L. REv. 1 (1998) (developing this insight); Michael
 C. Dorf, IncidentalBurdens on FundamentalRights, 109 HAgv. L. REv. 1175, 1238 (1996) (discussing
  equal protection doctrine). This does not mean, of course, that constitutional rights must serve a
  consequentialist ethic. Cf. Schauer, supra note 75, at 425 n.36 (explaining that nonconsequentialism can
  "recogniz[e] the place for instrumentalrules and rights").
     It is instructive at this point to revisit Alexander's earlier retort to a coercion-based analysis of
  unconstitutional conditions. See supra note 66 and accompanying text; see also Alexander, Constitu-
  tional Theory, supra note 99, at 288 ("How is it that one can have a constitutional complaint over
  conditions attached to or inequalities in the distribution of a benefit that one has no constitutional right
  to in the first place? Unless that question can be given an answer, much of constitutional law will lack a
  solid theoretical foundation."). It is now apparent that insistence that the effects, rather than purposes,
  of government actions constitute the appropriate touchstone of (un)constitutionality arises from the
  very same individual-rights-based perspective that underlies the greater-includes-the-lesser dogma-
  namely, a fixation on the way that discrete laws impact upon discrete individuals. Alexander's
  long-standing fascination with the unconstitutional conditions doctrine and his resistance to inquiries
  into legislative purposes thus spring from the very same source. Consequently, the realization that
  government action may be constitutionally forbidden because the practice under which it falls (which it
  instantiates) is likely to produce bad results over the long run justifies, at once, both (1) the turn from an
  individual-rights lens through which to scrutinize the unconstitutional conditions doctrine to one that
  focuses either on governmental duties (as per Garvey) or on systemic rights (as per Fallon and Pildes),
  and (2) the consequent (partial) reliance on theories of impermissible government purposes.
      101. Under the heading "purpose scrutiny makes strange bedfellows," two of the most prominent
  contemporary advocates of the latter position are Justice Antonin Scalia and Professor Laurence Tribe.
  See Church of Lukumi Babalu Aye v. City of Hialeah, 508 U.S. 520, 559-60 (1993) (Scalia, J.,
  concurring); Edwards v. Aguillard, 482 U.S. 578, 639 (1987) (Scalia, J., dissenting); Laurence H. Tribe,
  The Mystery of Motive: Public and Private, 1993 SUP. CT. REv. 1, 23. The Supreme Court has
  apparently not resolved the question of whether "purposes in the air" can ever violate the Constitution.
  See United States v. Armstrong, 517 U.S. 456, 469 n.3 (1996). For some thoughts, see infra note 251.




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       animating decisionmakers or is limited to investigating "objective" purposes. 10 2
       And third, whatever the answers to the first two questions, scholars have
       proposed different standards regarding the role that a bad purpose must play in
       the decisionmaking process in order to taint the end product. As Larry Alex-
       ander put it, theories of proscribed purposes may focus on "causally necessary"
       purposes, "causally sufficient" purposes, or even on purposes that play some
       motivating role but are neither causally necessary nor sufficient. 103 As it hap-
       pens, I do have views about at least two of these questions. But the analysis of
       this Article can afford to be agnostic. However these three particular debates are
       resolved, it will follow, at the least, that the "objective," but-for purposes
       animating state action constitute a frequent sine qua non of a constitutional
       violation. That will be enough to support much, if not all, of the argument that
       follows.

                                                   C. CONDUCT
         Whereas the first two dimensions of state action that may infringe the
      Constitution are familiar and reasonably clear, the third dimension is certainly
      not familiar and is probably not yet clear either. Before attempting a definition,
      then, let us mark some examples.
         Start, as Charles Fried has suggested, with the constitutional requirement that
      the President deliver a periodic address on the state of the union.' °4 The
      constitutional command here is not quite that the President perform some action
      with the effect of addressing the state of the union, or even that he do so with
      the purpose of addressing the state of the union. Rather, the Constitution is
      commanding that the President engage in particular conduct: "give to the
      Congress information of the State of the Union." Though this particular com-
      mand is positive, the Constitution also commands that the state not engage in
      particular conduct. To take another example from Judge Fried, Article VI
      prohibits the use of religious tests as qualification for public office. 105
        These examples are easily multiplied. Explicit provisions of the Constitution
      command the government to furnish jury trials and, in the case of felonies,


         102. Again. Justice Scalia is the principal present defender of this distinction. See, e.g., Church of
      Lukumi Babalu Aye, 508 U.S. at 557-59 (Scalia, J., concurring). This is one way of giving content to
      the familiar purpose-motive distinction: Objective purposes are "purposes" and properly inquired into;
      actual purposes are "motives" and off-limits. See generally Ely, supra note 87, at 1217-21 (identifying
      this and other versions of the distinction).
         103. Alexander, Motivation, supra note 99, at 936; see also Brest, supra note 73, at 130 (proposing
      that laws should be invalidated if an impermissible purpose "played an affirmative role in the
      decisionmaking process"); Regan, supra note 87, at 1148 (proposing a "contributed substantially"
      standard). Of course, there is no reason that a single standard need extend across all areas of
      constitutional law; motivating purposes of a particular sort may be enough to violate one constitutional
      provision, whereas another provision invalidates only certain but-for purposes. Cf. id. at 1150-51
      (explaining why the standard of proof may reasonably differ when the proscribed purpose is racial
      discrimination as opposed to economic protectionism).
         104. Fried, supra note 73, at 67 (citing U.S. CONST. art. H, § 3).
         105. Id. (citing U.S. CONST. art. VI, cl. 3).




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  grand jury indictments, 10 6 and enjoin the state from imposing cruel and unusual
                                                                               l0 8 And
  punishment, 10 7 or enacting bills of attainder or ex post facto laws.
  Article I, Section 10 contains a short laundry list of conduct in which    the   states
  may not engage. The Supreme Court has also interpreted           other,  more    open-
  ended provisions as prohibiting certain types of    state conduct. The  use  of  facial
  racial classifications, for instance, presumptively   violates the Equal   Protection
                                                                        1 0°
  Clause.109 And, under the recent rule of New York v. United States and Printz
  v. United States,1 the federal government may not commandeer state officials
  to enact or administer a federal program. Finally, we can now add, the Constitu-
  tion prohibits the state from threatening to perform an unconstitutional act,
  which is to say, from engaging in coercion.
     All of these examples serve to bolster the claim that there exists some third
  dimension of constitutional violation distinct from (or, at the least, not reducible
  to) the first two. To describe the anticommandeering rule, for instance, solely in
  terms of effects or purposes, or both, would seem confused. At the same time,
  however, the examples demonstrate how difficult will be the task of definition.
  Consider Charles Fried's own description of the third category (which he labels
  "Acts") that he proposes as a complement to those of purpose and effects.
   "[T]he category of Acts," Fried explains, "has a certain primacy, being more
   primitive, more basic, while the other two are more sophisticated and therefore
   perhaps more derivative and problematic. Action is a primitive conception of
                                                                      ' 2
   human efficacy, representing the union of intention and effect."" Yet, this too
   seems inapt. For, if the anticommandeering rule is not appropriately describable
   in terms of purpose and effect, it seems just as mistaken to characterize it as
   prohibiting some sort of "primitive" or "basic" dimension of state action that is
   more fundamental and less "sophisticated" than are those two other dimensions.
   Indeed, much about state action-thickly construed to encompass any reason-
   able description of what government does or fails to do--that is neither effect
   nor purpose seems not to fit Fried's simple image.
      It may be preferable, therefore, to eschew a strict definition of the conduct
   dimension of constitutional violation and instead to think of it negatively, as that
   which remains of governmental activity when the dimensions of effect and
   purpose are subtracted. So conceived, it is, to be sure, a potentially large and
   unruly residual category. Moreover, it is one with fuzzy and -inescapably
   contestable boundaries. As criminal law scholars who have long struggled with


     106. Id.
     107. U.S. CoNsT. amend. VIII.
     108. U.S. CONST. art. I, § 9, cl.2; id. art. I, § 10.
     109. See, e.g., Adarand Constr. v. Pena, 515 U.S. 200 (1995). Let us bracket the interesting question
   of whether there is something about facial racial classifications that is constitutionally problematic
   beyond the racially discriminatory purpose that they manifest.
     110. 505 U.S. 144 (1992).
     111. 521 U.S. 898 (1997).
     112. Fried, supra note 73, at 68.




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       element analysis under the Model Penal Code and its progeny know, the
       distinction between conduct and effects (what the Model Penal Code terms
       "results") is notoriously slippery. n 3 But that is okay, for we need neither
                                                                                           to
       naturalize this proposed trichotomy nor to deny that the conduct dimension may
       yet prove profitably divisible into discrete subcategories. A taxonomy is merely
       a tool. Its truth lies in its utility. And as we will see presently, this taxonomy has
       tremendous value in helping us analyze the unconstitutional conditions prob-
       lem.

                                         IV. THE ANALYSIS IN BRIEF
         We now have the major components with which to appraise the constitutional-
      ity of individual conditional governmental proposals: a mapping of the prob-
      lem's contours, along with a stipulated vocabulary (from Part I); a conception of
      coercion that is both normatively meaningful and (in principle) determinate in
      application (Part II); and a concise taxonomy of the dimensions of constitutional
      violation within which the inquiry into coercion is situated (Part III). Although
      it will prove most perspicuous to elucidate the solution's many nuances as they
      emerge from considering (in Part V) a large number of concrete cases, it is time
      to demonstrate at least the rudiments of how these pieces work together.
         Consider the following representative conditional offers:
         South Dakota v. Dole.1 4 The federal government gives states billions of
      dollars annually for highway construction, maintenance, and repair. It threatens
      to reduce the funds otherwise allocable to each state unless that state establishes
      a minimum legal drinking age of at least twenty-one. The federal government
      has no authority to order the states to establish particular minimum drinking
      ages.
         Probation.115 State law provides that persons convicted of various violent
      felonies are entitled to early probation if they agree to participate in any of
      several privately run anger-management programs that the state has certified for
      demonstrated excellence in promoting nonviolent behavior. The great majority
      of such programs are run by Buddhist denominations and include Buddhist
      meditation practices.
         Social Security.1 6 The Social Security Act provides "secondary benefits" to
      specified classes of dependents of covered wage earners. Such benefits paid to
      wage earners' disabled children terminate upon the child's marriage.
         Analyzing these three cases in this order will demonstrate how a conditional


         113. See, e.g., Paul H. Robinson & Jane A. Grall, Element Analysis in Defining Criminal Liability:
      The Model Penal Code and Beyond, 35 STANt. L. REV. 681, 706-10 (1983).
         114. 483 U.S. 203 (1987).
         115. This is a variation on real cases that will be discussed infra Part V.B.2.
         116. This basic scheme was upheld against constitutional challenge in Califano v. Jobst, 434 U.S. 47
      (1977), although under the provisions there at issue secondary benefits survived a beneficiary's
      marriage to another statutory beneficiary. To simplify matters, this hypothetical ignores this slight
      wrinkle.




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 offer can be coercive (Part V.A), how a conditional offer that is not coercive may
 nonetheless be unconstitutional because it runs afoul of particularistic constitu-
 tional doctrine on the dimensions of purpose or effect (Part IV.B), and how the
 systematic analysis can render a clean bill of constitutional health (Part IV.c).

                         A. UNCONSTITUTIONALLY COERCIVE PROPOSALS

    Dole arose after Congress enacted a law directing the Secretary of Transporta-
 tion to withhold five percent of otherwise allocable federal highway funds from
 any state that permitted persons under twenty-one to buy alcohol. South Dakota,
 which allowed nineteen-year-olds to purchase beer, sought a declaratory judg-
 ment that the provision violated each state's allegedly plenary authority under
 the Twenty-First Amendment to regulate the consumption of liquor within its
 territory." 7 Voting seven to two, the Supreme Court upheld the condition as a
 valid exercise of Congress's spending power. In my view, Dole is arguably the
 single most instructive case in the unconstitutional conditions literature and,
 therefore, deserves our close attention.

 1. The Supreme Court's Analysis in South Dakota v. Dole
    Writing for the majority, Chief Justice Rehnquist began by deriving from
                                                                         power. 118
 previous decisions a four-part test to govern exercise of the spending
 First, the exercise must be in pursuit of the general welfare. Second, any
 condition on the disbursement of federal funds must be unambiguous. Third,
 "conditions on federal grants might be illegitimate if they are unrelated 'to the
 federal interest in particular national projects or programs.' ,19 And fourth, the
 condition must not violate any independent constitutional bar. Additionally, in
 what is effectively a fifth prong, though not so denominated, the financial



     117. See U.S. CONST. amend. XXI, § 2 ("The transportation or importation into any State, Territory,
  or possession of the United States for delivery or use therein of intoxicating liquors, in violation of the
  laws thereof, is hereby prohibited."). Although the Twenty-First Amendment does not on its face extend
  such plenary power, previous decisions of the Court had strongly suggested that the Amendment should
  be construed to repose absolute control of the liquor trade in the states. See, e.g., Capital Cities Cable,
  Inc. v. Crisp, 467 U.S. 691, 715-16 (1984); Cal. Retail Liquor Dealers Ass'n v. Midcal Aluminum, Inc.,
  445 U.S. 97, 110 (1980). Relying on the plain language of Section 2, the Secretary of Transportation
  had argued that the Amendment "would not prevent Congress from affirmatively enacting a national
  minimum drinking age more restrictive than that provided by the various state laws" though it would
  prevent Congress from effectively lowering the minimum drinking age established by any state. Dole,
  483 U.S. at 206. The majority did not resolve this question, but held that the condition was permissible
  "even if Congress may not regulate drinking ages directly." Id.; see id. at 212. Notice that the Court
  appeared to treat as equivalent the separate questions of whether Congress could enact a national
  minimum drinking age and whether it could command (rather than induce) each state to enact a state
  minimum drinking age specified by federal law. After New York v. United States, 505 U.S. 144 (1992),
  the latter question would be answered in the negative regardless of how the Twenty-First Amendment is
  properly interpreted.
     118. Dole, 483 U.S. at 207-08.
     119. Id. at 207 (quoting Massachusetts v. United States, 435 U.S. 444, 461 (1978) (plurality
  opinion)).




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        inducement must not amount to coercion. 120
          It should be clear that if this test is to have any real constitutional bite, it will
       come from the third and fifth prongs-relatedness (or "germaneness") and
       coercion. 12 On the actual facts of the case, however, the majority had little
       difficulty in concluding that neither was violated. The provision raised no
       problem of unrelatedness, the Court explained, because "the condition imposed
       by Congress is directly related to one of the main purposes for which highway
       funds are expended-safe interstate travel."' 122 Achieving uniformity in mini-
       mum legal drinking ages would advance this goal because varying state laws
       had induced young people to drive to border states with lower drinking ages and
       because, even within a single state, the higher the minimum drinking age, the
       fewer the accidents per mile driven. The "relatively small percentage of certain
       federal highway funds" at stake rendered the inquiry into coercion equally
       simple. 123 Because "Congress has offered relatively mild encouragement to the
       States to enact higher minimum drinking ages than they would otherwise
       choose," the Court concluded, "the enactment of such laws remains the preroga-
       tive of the States not merely in theory but in fact." 124 There was thus no
       coercion.
          Justice O'Connor dissented. 12 5 Describing her disagreement with the major-
       ity as "relatively narrow," 126 O'Connor took issue only with "the Court's
       application of the requirement that the condition imposed be reasonably related
       to the purpose for which the funds are expended."1 27 In her view, the condition

           120. The Court in Dole observed that "in some circumstances the financial inducement offered by
       Congress might be so coercive as to pass the point at which 'pressure turns into compulsion.' " 483
       U.S. at 211 (quoting Steward Machine Co. v. Davis, 301 U.S. 548, 590 (1937)). This way of putting it
       may be thought to suggest that a condition is allowed to constitute "coercion" so long as it does not
       amount to "compulsion." But the remaining paragraphs of the majority's opinion are more naturally
       read to draw the line of prohibition between "encouragement" and "coercion," see id. at 211-12, which
       is how the case is ordinarily read, see, e.g., Thomas R. McCoy & Barry Friedman, Conditional
       Spending: Federalism'sTrojan Horse, 1988 SUP. CT. REv. 85, 101.
          121. The first requirement is but a rubber stamp, "especially in light of the fact that 'the concept of
       welfare or its opposite is shaped by Congress.' "Dole, 483 U.S. at 208 (quoting Helvering v. Davis, 301
       U.S. 619, 645 (1937)). The requirement of unambiguousness is only a clear-statement rule and
       therefore imposes no meaningful constitutional limits on these types of conditional offers. And the
       independent constitutional bar limitation, the Court emphasized, "is not.., a prohibition on the indirect
       achievement of objectives which Congress is not empowered to achieve directly. Instead, [it] stands for
       the unexceptionable proposition that the power may not be used to induce the States to engage in
       activities that would themselves be unconstitutional." Id. at 210.
          122. Id. at 208. As an indication of just how easy the question was, the Court noted that because this
       condition "relates directly to the purpose of the expenditure to which it is attached," the case presented
       no occasion to "define the outer bounds of the 'germaneness' or 'relatedness' limitation on the
       imposition of conditions under the spending power." Id. at 208 n.3.
          123. Id. at 211.
          124. Id. at 211-12.
          125. Id. at 212 (O'Connor, J., dissenting). Justice Brennan also dissented in a separate and cryptic
       one-paragraph opinion. Id. at 212 (Brennan, J., dissenting).
          126. Id. at 212 (O'Connor, J., dissenting).
          127. Id. at 213. Before describing her disagreement with the majority, O'Connor expended close to a
       page in reciting her many points of agreement. Id. at 212-13. Perhaps revealingly, see infra notes




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 that states enact specified minimum drinking ages in order to receive their full
 allotment of highway funds is not "reasonably related"1 28 to the purpose for
 which those funds are expended. "When Congress appropriates money to build
 a highway," she explained,

       it is entitled to insist that the highway be a safe one. But it is not entitled to
       insist as a condition of the use of highway funds that the State impose or
       change regulations in other areas of the State's social and economic life      129
       because of an attenuated or tangential relationship to highway use or safety.

    In order to give effect to this judgment, she continued, the proper constitu-
 tional test was the one proposed by the National Conference of State Legisla-
 tures: "Congress has no power under the Spending Clause to impose requirements1 30
 on a grant that go beyond specifying how the money should be spent."
 Because the condition at issue violated this germaneness requirement, O'Connor
 would have held that it was not a valid exercise of the spending power'1 3but  1
 rather an impermissible attempt by Congress "to regulate the sale of liquor."
    So, who is right? Is the condition coercive? Is it unconstitutionally nonger-
 mane? Before continuing in our analysis of Dole, it will be convenient at this
 stage to offer a few exploratory words about what it means to have a constitu-
 tional right.

 2. Interlude: Of Rights and Penalties
    Hohfeld famously distinguished among four types of rights: rights in the
 strict sense (sometimes called "claim-rights"), privileges (or liberties), immuni-
 ties, and powers. 1 32 Fortunately, a lengthy discourse on the subject is unneces-
 sary here,1 33 for as John Finnis explains, the most important distinction is
 between claim-rights and liberties:

       A claim-right is always either, positively, a right to be given something (or
       assisted in a certain way) by someone else, or, negatively, a right not to be
       interfered with or dealt with or treated in a certain way, by someone else.


 149-53 and accompanying text, she did not include in this list the Court's resolution of the coercion
 question. Indeed, she does not appear to acknowledge that the ban on coercive conditions forms any
 part of the majority's analysis, see Dole, 483 U.S. at 213 (O'Connor, J.,dissenting) (agreeing "that
  there are four separate types of limitations on the spending power"), and does not so much as mention
  the words "coercion" or "coercive" any place in her opinion.
     128. Dole, 483 U.S. at 214 (O'Connor, J., dissenting).
    129. Id. at 215.
    130. Id. at 216.
    131. Id. at 212.
    132. See Wesley Newcomb Hohfeld, Some FundamentalLegal Conceptions as Applied in Judicial
  Reasoning,23 YAL L.J. 16 (1913).
                                                                         along with three new and
    133. The secondary literature on Hohfeld is vast. Cites to much of it,
  sophisticated contributions, can be found in MATTHEW H. KRAMER ET AL., A DEBATE OVER RIGHTS:
  PrNosopincAL ENQUIRIS (1998).




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             When the subject-matter of one's claim of right is one's own act(s), forbear-
             ance(s), or omission(s), that claim cannot be to a claim-right, but can only be
             a liberty (or, in the case of juridical acts, to a power). Of course, one's liberty
             to act in the specified way may be enhanced and protected by a further right
             or set of rights, viz. the claim-right(s) not to be interfered with by B, C, D in
             exercising one's liberty. But a liberty thus protected by a claim-right is not a
             distinct type of Hohfeldian right; it is a conjunction of two distinct Hohfeldian
             relationships. 134

       Thus, for example, our constitutional right to free speech is usefully analyzed as
       a liberty to speak conjoined 135
                                        with a claim-right that the state not interfere with
       our exercising this liberty.
          The point could be made about rights other than liberties. The Fifth Amend-
       ment, for instance, may be thought to confer upon individuals a claim-right to
       compensation for a taking. And the Eleventh Amendment confers an immunity
       from certain types of suit. Note, though, that the claim-right and the immunity
       are waivable (in the former case, converting a taking, I suppose, into a giving).
       In both cases, then, it is important to specify that the initial right-the claim-
       right and the immunity, respectively-is conjoined to a further claim-right that
       the state not interfere with the rightholder's decision to assert (rather than
       waive) the right.
          So it seems plausible that all types of constitutional rights-whether of a
       claim-right, liberty, immunity, or power-are supported by an additional claim-
       right of this sort. But of what sort, more precisely? Suppose, for instance, that A
       has a constitutional right, in the form of a Hohfeldian liberty, to engage in
       intimate relations with B, and that the government sends B (who happens to be
       an astronaut) to Mars. Although it would be reasonable to say that the govern-
       ment has "interfered with" A's liberty (as Finmis, recall, puts it), it seems
       preposterous to conclude that it has thereby violated a duty owed A. If this is so
       then it remains to say a little more about the nature of the generic claim-right of
       noninterference that is a component in the ordinary amalgam that we term a
       (particular) constitutional right.
          For a start, I propose, this claim-right must correlate with a government duty
       not to purposely render the doing of x impossible (or practically impossible).
       For example, if I have a constitutional right (in the sense of a liberty) to travel
       abroad, the state has a duty not to purposefully prevent me from doing so by


          134. JoHN Fn ms, NATURAL LAW AND NATURAL RIGHTS 200-01 (1980).
          135. Professor Fallon is therefore misleading, I think, in opining that putative "constitutional rights"
       most often operate as Hohfeldian "privileges" (i.e., "liberties"), correlating with a "no-right" on the part
       of the government. Fallon, supra note 72, at 344 n.5. In Hohfeldian terms, that an individual, A, has a
       privilege, with regard to the government, to do x entails only that the government has no right that A not
       do x, which is equivalent to saying that A has no duty, vis-A-vis the government, not to do x. See
       Hohfeld, supra note 132, at 32-44. This does not amount to a claim that the state operates under either
       a disability or a duty that bans it from trying to compel A not to do x, which I take it is what we
       ordinarily mean by asserting that A has a "constitutional right" to do x.




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 posting armed guards at all exit points and instructing them to physically detain
 me. (In our astronaut example, then, the state violates the claim-right that
 protects A's liberty if it sends B to Mars for the purpose-not merely with the
 knowledge-of preventing A and B from engaging in sexual relations.) But the
 claim-right must mean more than that. The state may not, upon my return,
 imprison me for having left. The task is to specify the principle that this homely
 example instantiates. Although we may be tempted to say that the state may not
 (absent adequate justification) punish me for exercising a right, that there
 already exists a substantial literature exploring the meaning of this term in the
 specific context of criminal punishment 136 advises a different course. After all,
 the state's duty not to punish me for exercising my right to travel abroad is not
 limited to criminal punishment (however that is ultimately construed). Surely it
 would count as a (presumptively) forbidden infringement were the state to greet
 my return by cutting off my water and electricity. Furthermore, because several
 rules of constitutional law already turn on whether a government-imposed
 disadvantage constitutes "punishment," 137 to use that same term here would
 likely pick up unwanted baggage. For both of these reasons, I propose to choose
 a different word. Let us say that a constitutional right to x entails a claim-right
 that the state neither purposely prevent nor penalize the assertiont 38of the right to
 x-unless, of course, the state has adequate justification to do so.


    136. Some of the leading contributions include HART,supra note 30, at 4-6; J.R. LUCAS, ON JUSTICE
 124-36 (1980); Anthony Flew, The Justification of Punishment, in THE PHILOSOPHY OF PUNISHMENT
 83-87 (H.B. Acton ed., 1969); Richard Wasserstrom, Capital Punishment as Punishment: Some
 Theoretical Issues and Objections, 7 MIDWEST STUD. PHIL. 473, 475-78 (1982).
    137. See, e.g., United States v. Ward, 448 U.S. 242, 248-49 (1980) (in regard to the Self-
 Incrimination Clause of the Fifth Amendment, establishing its own two-stage test for deciding whether
 a civil penalty imposes criminal punishment, which includes, first, determining whether Congress
 intended a penalty to be either "criminal" or "civil," and then, when the intention to establish a civil
 penalty is discovered, asking "whether the statutory scheme was so punitive either in purpose or effect
 as to negate that intention"); Bell v. Wolfish, 441 U.S. 520, 536-37 (1979) (determining that "in
 evaluating constitutionality of conditions or restrictions of pretrial detention that implicate protection
 against deprivation of liberty without due process, the proper inquiry is whether those conditions
 amount to punishment of the detainee"); Kennedy v. Mendoza-Martinez, 372 U.S. 144, 168-69 (1963)
 (offering seven criteria for determining whether a civil penalty amounts to a criminal punishment,
 including, among others, "whether it has historically been regarded as punishment" and "whether its
 operation will promote the traditional aims of punishment-retribution and deterrence"); United States
 v. Lovett, 328 U.S. 303, 323-24 (1946) (declaring that with respect to bills of attainder "[t]he amount of
 punishment is immaterial ....But punishment is a prerequisite"); Helvering v. Mitchell, 303 U.S. 391,
 399 (1938) (holding that the Double Jeopardy Clause protects only against multiple criminal punish-
 ments and that whether a particular punishment is criminal or civil is a matter of statutory construction).
    138. Cf Schauer, supra note 75, at 430 (arguing that "the right to 0.. •just is the right to demand
 the higher level of justification, and the right is satisfied when that higher level of justification is
 respected. But respecting the higher burden of justification does not entail taking that higher burden to
 be absolute, and thus the potential infringer respects the higher burden of justification, and so satisfies
 the right, even when the higher burden is actually met"). I take no position here on whether
 constitutional duties-as a species of duties of political morality-are ever absolute, though I readily
 acknowledge some duties, and corresponding rights, are so powerful that the justification necessary to
 override them would exist only in hypotheticals. See Fallon, supra note 76, at 84 (noting that the Court
 rarely interprets the Constitution to impose absolute commands). Moreover, even if there are no




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          So much for choice of nomenclature. It remains to define what it means to
       penalize some conduct, x. Here is a first, crude cut: A penalizes B's doing x
       when the following conditions are satisfied: (1) A, by act or omission, causes B
       to experience some consequence, c; (2) because B did x; (3) and with a purpose
       that B experience c as disagreeable relative to some plausible alternative
       consequence, d, that A would have imposed or permitted but for that purpose.
          If these criteria are roughly correct-and I emphasize that some very rough
       accuracy is all I claim for them at present-it follows that the state penalizes the
       exercise of a constitutional right when it imposes (or allows to obtain) conse-
       quences upon the party exercising the right 139 that are adverse relative to the
       consequences that the state would impose (or allow to obtain) but for the state's
       purpose in having the rightholder experience the consequences as disagreeable.
       The state would do so, I suspect, for two principal, perhaps exhaustive, reasons:
       to deter future exercises of the right at issue, or to satisfy the state's interest that
       the rightholder suffer for transgressing some sort of norm. We may call these
       purposes to discourage and to punish, respectively. They are not, of course,
       mutually exclusive.
          To summarize quickly, the preceding discussion advances two important
       claims: first, that a constitutional right to engage in some conduct, x (including
       insisting that some specified state of. affairs obtain), entails a duty on the part of
       the state not to penalize the doing of x, not solely a duty not to prevent or
       prohibit the doing of x; second, that penalizing has the particular meaning I
       have subscribed to it. In practice, it will fall to the challenger to establish that
       the state would have treated her more favorably were it not for a purpose of
       discouraging or punishing assertion of a constitutional right. And it will often be
       useful, I think, to approach this question in two steps. First, determine whether
       the state treats the challenger who has exercised her right less favorably than it
       would have had she not exercised it-in which event, let us stipulate, the right
       has been burdened. Second, examine the state's purposes for imposing the
       burden. Ordinarily, that is, a "penalty" exists when the state imposes a burden  140
       for the purpose of discouraging or punishing assertion of a protected right.


       absolute constitutional duties, it might still make good sense for judicial doctrine to proclaim otherwise,
       as a prophylactic against the tendency-as in Korematsu-to exaggerate the need in times of crisis. But
       see infra note 397.
          139. Or upon some third party who stands in what may loosely be called a "close relation" to the
       party exercising the right.
          140. This is a simplified, and thus imprecise, restatement of the criteria spelled out previously, which
       more elaborate formulation is designed to accommodate the situations in which the state penalizes the
       exercise of a right without (in my terms) burdening it. Because I suspect that such situations will be
       relatively rare, I will generally examine whether challenged governmental conduct amounts to a
       "penalty" by engaging in the two steps just identified in text-that is, by first inquiring into the
       existence of a "burden" and then, if a burden is identified, ruminating about the state's purposes. This
       slight simplification will make the analysis easier to follow. To understand how conduct could
       constitute a penalty even though it does not burden the exercise of a right imagine that the state
       withholds unemployment compensation from a Seventh-Day Adventist who is fired for refusing to
       work on Saturday and that such withholding is in fact animated by a purpose in punishing the




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   All this said, I acknowledge that these claims are more asserted than de-
fended. 141 (Their proof, such as it may be, will emerge from their utility in
resolving unconstitutional conditions cases.) With that concession, and accept-
ing them as true arguendo, we can return to assessing Dole.

3. Why Dole Was Wrongly Decided
   In Dole, South Dakota challenged as unconstitutional a conditional proposal
extended by the national government. Like (virtually) all conditional proposals,
it consisted of a conditional offer (if -x then y) married to a conditional threat
(if x then -y). On the facts of Dole, the offer promised the benefit of no
reduction in highway funding if South Dakota complied with the demand that it
raise its drinking age to twenty-one. The making of the proposal is coercive,
recall, if carrying out the threat (doing -y, or withholding some highway funds)
would be unconstitutional. And withholding those funds would be unconstitu-
tional if it amounts to a penalty. The question to explore, then, is whether the
federal government's withholding of five percent of the highway funds South


observance of Seventh-Day Adventism. This would not burden the exercise of a right not to work on
Saturday (under my stipulated definition of "burden") because the offeree would not receive the benefit
even if she waived her right. See infra note 356.
   141. Arguably, a very partial defense comes from noting the affinity between these claims and the
following conclusion reached by the Supreme Court: "If a law has 'no other purpose... than to chill
the assertion of constitutional rights by penalizing those who choose to exercise them, then it [is]
patently unconstitutional.' " Shapiro v. Thompson, 394 U.S. 618, 631 (1969) (alteration in original)
(quoting United States v. Jackson, 390 U.S. 570, 581 (1968)). But the formulation in text modifies the
Court's in two principal respects.
   First, although the conclusion that a law is "patently unconstitutional" if it has "no other purpose"
than to chill the exercise of a right may be fair, it is also not very useful. Rarely, if ever, will the state
have no other purpose than to deter exercise of a right. If nothing else, the state will wish to deter
exercise of the right to advance some further purpose. In Shapiro itself, for instance, several states
sought to justify the exclusion of residents of less than one year from receipt of state welfare
benefits-the law that was found to chill the assertion of the constitutional right to migrate to another
state-"as a protective device to preserve the fiscal integrity of state public assistance programs" and
thereby to better "assist long-time residents." 394 U.S. at 627-28. And in Jackson, the federal law that
chilled assertion of the right to jury trial presumably served the government's purpose in protecting
public safety by reducing the number of erroneous jury acquittals. In short, the patently unconstitutional
laws identified by the Court may describe a null set. Better, then, to focus on laws that have the purpose
of chilling constitutional tights than on those that have such a purpose and "no other." Such laws,
however, are not "patently unconstitutional," merely presumptively so.
   Second, even if revised to read that a law is presumptively unconstitutional if it is adopted for the
purpose (or a purpose) of chilling the assertion of constitutional rights by penalizing those who choose
to exercise them, the Court's assertion leaves open the critical question of what it means to penalize
those who exercise a right. I suggest that, in context, it must mean to raise the costs of exercising the
right-relative, that is, to the costs that the rightholder would bear were it not for the state's purpose in
discouraging exercise of the right in question. This leaves us with: It is presumptively unconstitutional
for the state to treat one who exercises a right less well than it would otherwise for the purpose of
chilling the exercise of that right. This is nearly my definition of a "penalty," which differs only in
accommodating also the unusual case in which the state raises the costs to the rightsholder for the
purpose simply of punishing the fightsholder for having exercised her right, even in the absence of any
forward-looking purpose of deterring ("chilling") future assertions of the right, by the rightsholder in
question or by others.




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       Dakota would otherwise receive penalizes the exercise of South Dakota's
       right14 2 to retain a minimum legal drinking age below twenty-one.
           That withholding the funds burdened South Dakota's right is plain: Exercis-
       ing its right caused the state to lose real money. Withholding the five percent
       made it more costly for South Dakota to exercise its right to permit persons
       under twenty-one to drink alcohol than to forego that right.' 43 But did the
       federal government impose a penalty? That is, was it Congress's purpose in
       imposing the burden that South Dakota experience this consequence as disagree-
       able? Put another way, could it be that Congress ordered these funds withheld
       not despite the fact that South Dakota would surely want them, but because of
       it?
           In fact, yes. Congress claims, and the Dole majority emphasizes, that the
       federal purpose at work is to improve highway safety. So, no doubt, it is.
       But that is a fairly ultimate purpose and therefore not incompatible with the
       proposition that the actual withholding of funds is animated by a purpose in
       discouraging South Dakota and other states from exercising their (supposed)
       constitutional rights to impose whatever minimum drinking age they see fit.
       Conceptually, here is how to determine whether the government's purpose in
       imposing a burden is to discourage exercise of a constitutional right: If
       (counterfactually) the government knew that granting or withholding an
       offered benefit would have no effect on the exercise of a particular right, and
       would nonetheless withhold the benefit, then it lacks a (but-for) purpose to
       discourage exercise of the right. If it would grant the benefit under the
       hypothetical assumption, then its purpose in withholding the benefit when
       the assumption is abandoned is indeed to deter exercise of the right, which is
       to say that the withholding of the benefit is a penalty, which makes the
       conditional threat coercive.
           Needless to say, this thought experiment will not always yield confident
       conclusions one way or the other. In this case, however, I believe that it does.
       The reason to suspect that, but for a purpose in influencing the states' behavior,
       Congress would pay out the final five percent of highway funds regardless of
       the state's minimum legal drinking age (MDA) begins straightforwardly. Sup-
       pose, for ease of discussion, that, given the basic apportionment formula (which
       does not take into account drinking age), 1 " South Dakota stands to receive $95


          142. It is customary to refer to this capability as a right. See, e.g., Baker, supra note 1, at 1923-24.
       In Hohfeldian terms, it is either a privilege or a power. Either way, I have argued above, it is protected
       by a claim-right that its exercise not be penalized.
          143. Of course, it is implausible that the mere causing of this effect could render the government's
       act unconstitutional. Were the Constitution construed to impose some sort of command upon the federal
       government not to burden a state's exercise of its right to legislate, Congress would be left with no
       power of conditional spending.
         144. The apportionment formula in effect when, in 1984, Congress directed the Secretary of
       Transportation to withhold a percentage of federal highway funds otherwise allocable from states that
       have MDAs below twenty-one, distributed funds principally on the basis of area and population. See 23
       U.S.C. § 104 (1982 & Supp. 1 1985).




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 million in federal highway funds no matter what its drinking age. This would
 demonstrate that Congress prefers $95 million worth of South Dakota highway
 construction to the $95 million itself (were the case otherwise, Congress would
 not make the offer), and provides prima facie reason to suppose that if Congress
 is willing to spend another $5 million for highway construction, its reserve price
 would be in the neighborhood of $5 million worth of South Dakota highway
 construction. So when Congress withholds that $5 million from South Dakota
 unless the state agrees to supply $5 million worth of highway construction and a
 drinking age of twenty-one, we start to suspect that there are strategic consider-
 ations afoot. If Congress knew that withholding the $5 million in highway funds
 would influence neither South Dakota nor any other state in deciding what
 drinking age to establish, Congress would prefer to give South Dakota the $5
 million so long, of course, as the state agrees to spend it on highway construc-
        514
 tion.
    There is only one consideration, I think, that undermines this chain of
 reasoning: diminishing marginal utility. Because (beyond a certain point) each
 extra dollar pumped into highway construction returns a little less value, a
 rational Congress very possibly could determine that, after the first $95 million,
 the opportunity cost of the next $5 million in federal tax revenues exceeds the
 value of another $5 million worth of South Dakota highway construction. And
 were Congress to value matters thus, withholding that extra $5 million unless
 South Dakota both committed to $5 million in highway construction and also
 supplied the additional benefit of raising its MDA to twenty-one need not be a
 penalty. So far, so good. The problem for this argument arises when we turn our
 attention from South Dakota to another state, say North Dakota, that already
 does have an MDA of twenty-one. If, hypothetically, North Dakota mirrors
 South Dakota in all particulars taken into account by the basic apportionment
 formula-area, rural population, urban population, and the like-it would be
 entitled to the same $95 million in highway funds. Here is the rub: Notwithstand-
 ing that the law of diminishing marginal returns would seem to apply to North
 Dakota as well as to South Dakota, North Dakota would receive an additional
 $5 million just for promising to spend that additional $5 million on highway
 construction; unlike South Dakota, it need furnish no other consideration for
 that extra federal money. For North Dakota, in short, the marginal returns in
 highway construction appear not to diminish all that sharply. For North Dakota,
 our initial supposition that Congress's reserve price for $5 million more in
 highway funds would be just $5 million more in highway construction proves
 correct.


    145. In speaking here of congressional preferences, I do recognize the difficulties with that notion-
 much the same as those which allegedly bedevil inquiries into congressional purposes. But the
 difficulties are easily overstated. Suffice it to say that social choice theory does not insist that no stable
 and coherent preference hierarchies exist among multimember bodies, but only that they do not always
 exist. See, e.g., KENNETH J. ARRow, A Difficulty in the Concept of Social Welfare, in COLLECTED PAPERS
 1, 7 (1983); Frank Easterbrook, Statutes'Domains,50 U. C. L. REV. 533, 547 (1983).




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          In order, then, to make convincing its claim that denial of the last $5 million
       to South Dakota is not a penalty, Congress must distinguish the two Dakotas. It
       must, that is, explain why a full $100 million of South Dakota highway
       construction is worth less than $100 million of North Dakota highway construc-
       tion. Even without delving into the intricacies of public finance theory, the core
       of the argument that may be advanced on Congress's behalf is reasonably clear.
       The economic return from construction of a new highway is inversely propor-
       tional, all else being equal, to the number and severity of accidents that occur on
       it, and the number and severity of accidents, all else again being equal, is
       inversely proportional to the jurisdiction's MDA. The national social welfare
       function of additional highway construction in states with MDAs of twenty-one
       or above is therefore shifted upward from that which obtains in states with
       MDAs below twenty-one, in which case the costs of marginal expenditures on
       highway construction would start to exceed their benefits at an earlier point in
       South Dakota than in North Dakota.
          The difficulty with this argument, however, resides (as it so often will) in the
       requirement that all else be equal. Insofar as a new highway generates travel
       that otherwise would not exist at all, the argument just advanced is plausible.
       But a new highway also attracts existing traffic from other roads. And by
       shifting traffic from longer routes to shorter routes and from relatively more
       dangerous to relatively safer road conditions, new highways surely reduce total
       accidents. More to the point, the number of accidents they reduce is, again,
       inversely proportional to the MDA. So whether, all things considered, new
       highway construction is more or less economically productive in states with
       MDAs below twenty-one is an empirical question. And given that most states
       already had fairly extensive road systems by 1984, the supposition that new
       highways create more travel than they relocate-and, accordingly, that they
       produce less economic return in states with lower MDAs-can hardly be taken
       on faith.
           In sum, although it is presumably true that highway travel is safer the higher
       the minimum legal drinking age (at least within the relevant range) and the
       greater the degree of uniformity among adjacent states, that is not quite the
       issue. Holding each state's minimum legal drinking age constant and correcting
       for the factors that the basic allocational formula already takes into account,
       each federal dollar spent on state highway construction is likely to return
       roughly the same payoff no matter what the drinking age. 146 And even if this


          146. For simplicity of analysis, the discussion in text supposes that federal highway funds are
       expended on new highway construction. In fact, they are also used to improve existing highways. But if
       the argument hypothesized in text-namely, that marginal highway construction is less economically
       productive in states with MDAs below twenty-one-is unlikely, the kindred claim that marginal
       expenditures on highway improvement is less economically productive in such states-let alone that
       Congress believed this to be the case when enacting the rules challenged in Dole-is almost fantastic.
       Absent any statements remotely to this effect in the legislative history, the hypothesis that Congress
       threatened to withhold highway funds from states like South Dakota because it believed, say, that




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 turns out to be false, the fact that Congress did not address the issue anywhere
 in the legislative history all but clinches the matter. The straightforward explana-
 tion therefore remains the more convincing: Withholding highway funds from
 states, like South Dakota, that are willing to use such funds for highway
 construction but are unwilling to raise their drinking ages, is designed to
 influence state behavior and for no other purpose; 147 hence, penalizes exercise
 of a state's constitutional right to impose whatever MDA it sees fit.
    Finally, if the withholding is a penalty, it is almost certainly an unjustified
 one, that is, a violation. To be sure, I take no position on precisely how stringent
 the federal government's duty not to penalize the exercise of a state's right to
 legislate (or not to legislate) should be. But whatever the appropriate magnitude,
 and form, of the justificatory burden, it strains credulity that Congress's interest
 in promoting highway safety could satisfy it in this case. Were it otherwise, the
 notion of an unconstitutional conditional spending offer by Congress to the
 states would describe a virtually null set; for, whenever Congress attaches a
 condition to a spending program that penalizes the exercise of a constitutional
                                                                                  1 48
 right it will do so in service of a more ultimate (usually legitimate) interest.
 The reduction in South Dakota's highway funds is therefore unconstitutional.
 Consequently, the federal government's conditional proposal to give states less
 money if they do not raise their drinking age (or more money if they do) is
 coercive. It too is unconstitutional.
    If what I have argued thus far is correct, two important lessons from the case
 can now be drawn, the first cautioning against misguided inquiry into "coercive
 impact," and the second concerning germaneness.
    First, it is instructive that not one member of the Dole Court concluded, as I
 have, that the conditional offer at issue was unconstitutional because coercive.
 To some extent, of course, that is because they did not have available our
 particular definition of coercion. But there is a deeper reason, one reflecting an
 unfortunate and widespread confusion about coercion as a normative concept.
    In concluding that the conditional offer was not coercive, recall, the Court
 emphasized the small size of the inducement. Now, this particular move has
 been criticized for focusing so uncritically on percentages rather than absolute



young intoxicated drivers are especially insensitive to marginal improvements in a highway's condition
is simply not credible. This is why Professors McCoy and Friedman can so confidently conclude that
"Congress would have been unwilling to risk noncompliance, and did not expect it." McCoy &
Friedman, supranote 120, at 120.
   147. That is, Congress has no alternativepurpose. Naturally, Congress's purpose of influencing state
behavior in this area is itself in service of other, more ultimate purposes. Although the no-alternative-
purpose claim appears true in this case, I reiterate that I do not seek to answer whether a purpose to
discourage, if it exists, must be a but-for purpose, rather than a (mere) motivating purpose to constitute
a penalty. See supra note 103 and accompanying text.
   148. Cf J. Morris Clark, Guidelinesfor the Free Exercise Clause, 83 HARv. L. REV. 327, 330-31
(1969) ('The purpose of almost any law can be traced back to one or another of the fundamental
concerns of government: public health and safety, public peace and order, defense, revenue.").




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       dollars. 149 Five percent may not sound like a lot in the abstract, but five percent
       of $100 million or more is nothing to sneeze at. This is a fair point. Yet, notice
       that nothing in my argument turns on it. Indeed, it seems that my concepts of
       penalty and coercion are utterly indifferent to magnitudes of effect; that is,
       under the foregoing analysis, the conditional proposal in Dole would appear to
       constitute coercion even if Congress had threatened to withhold, say, 0.05%,
       rather than five percent, of the otherwise forthcoming funds. And this does seem
       surprising. Although our intuitive judgments about whether something is coer-
       cive are deeply influenced by questions of degree, my conceptualizations of
       coercion and penalty would seem to result in a conclusion that Congress had
       engaged in coercion even had it threatened to withhold a mere five dollars.
          That is true. But the incongruity appears only because the intuitions just
       appealed to concern a wholly different sense of coercion than should occupy us
       here. 150 In ordinary moral and legal reasoning, judgments of coercion serve two
       discrete functions, corresponding to the two discrete parties involved in the
       paradigmatic case. They serve to levy blame upon the coercer and to excuse the
       coercee for doing the thing the coercer demanded. The important point, in brief,
       is that the magnitude of coercive pressure involved is relevant to the second
       purpose but not the first. Suppose, for example, that I threaten to spit on your
       shoes unless you break my enemy's kneecaps. If you are sufficiently weak-
       willed (or fetishistic about your shoes) as to succumb to the threat, you are
       unlikely to be legally or morally excused for your act on the grounds that you
       were "coerced." The coercive pressure was simply too minuscule. But if moral
                                                                        is less relevant. 15
                                                                                            1
       or legal attention turns toward me, the smallness of my threat
        I am still guilty of having engaged in the moral (and legal) wrong of coer-
        cion.1 52 In short, coercion talk serves two distinct normative functions. In
        examining the coercive impact of the conditional offer, Dole focused on the
        wrong one. As we will see, this misstep
                                             1 53
                                                  frequently drives the Court to overlook
        instances of governmental coercion.


          149. See, e.g., James V. Corbelli, Note, Tower of Power: South Dakota v. Dole and the Strength of
       the Spending Power, 49 U. Prrr. L. REv. 1097, 1115-16 (1988) (noting that for a state like Texas, five
       percent of federal highway funds amounted to $100 million); cf. Nevada v. Skinner, 884 F.2d 445, 448
       (9th Cir. 1989) (complaining that Dole left unclear whether "the relevant inquiry tum[s] on how high a
       percentage of the total programmatic funds is lost when federal aid is cut-off? Or... on what
       percentage of the federal share is withheld? Or on what percentage of the state's total income would be
       required to replace those funds? Or on the extent to which alternative private, state, or federal sources
       of... funding are available?").
          150. I develop the following argument in Berman, supra note 39. See also supra note 62.
          151. Of course, it may be relevant as evidence that I was not really threatening at all, but rather
       intended my statement to be taken in jest.
          152. The same analysis applies if I threaten to spit on your shoes unless you, a fine swimmer, save a
       drowning child; here, though, this presumptive wrong would be justified.
          153. As Kathleen Sullivan has noted, the Court has rejected most claims that conditional benefits are
       coercive, often by "minimiz[ing] the conditions' coercive potential as an empirical matter" or by simply
       asserting that the likely deterrent effect will be small. Sullivan, supra note 1, at 1437; see also Ark.
       Writers' Project v. Ragland, 481 U.S. 221, 237 (1987) (Scalia, J., dissenting) (arguing that a selective




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    Second, a brief comment about germaneness. The Dole majority held that the
 offer was neither coercive nor nongermane. Justice O'Connor, in contrast,
 seemingly agreed that the offer was not coercive, 154 but would have held it
 unconstitutional as nongermane. Under my analysis, the majority and dissent
 are both wrong. The offer is unconstitutional because it constitutes coercion.
 Furthermore, it is not yet clear whether considerations of germaneness do any
 work at all. Because the offer turned out to be coercive, we cannot yet know
 whether the Court is correct that the presence of coercion and the absence of
 germaneness are independently sufficient to render a conditional offer unconsti-
 tutional or whether inquiries into germaneness are wholly irrelevant to the
 constitutional question or whether germaneness is somehow relevant, but not in
 the way that the Court contends. Perhaps, finally, we do not quite know what
 germaneness even means. At this point, it would be premature to speculate as to
                                                                          155
 the answers. It is enough to flag the issue for our continued attention.

                   B. UNCONSTITUTIONAL, BUT NONCOERCIVE, PROPOSALS

   To see why resolving unconstitutional conditions cases requires more than
the notions of coercion and penalty, it is useful now to consider the conditional
offer presented in the case Probation.1 56 Because coercion turns upon the
constitutionality of the state doing as it threatens, we should proceed by
imagining that an offeree, Frank the felon, rejects the condition that he partici-
pate in anger-management training and, as a consequence, that the prison
authorities refuse to probate him. Note that the state's action burdens Frank's
exercise of his (presumptive) constitutional right to refuse anger-management
training: By standing on that right, Frank is denied early release.1 57 But is
carrying out the threat a penalty? That is, when the state refuses probation, does
it act for the purpose either of punishing Frank's refusal or of discouraging it by
vindicating the efficacy of threats? Probably not. Presumably, the state's think-
ing is as simple as this: With anger-management training the felon is a reason-
ably safe bet for release, but without it, he is not. Absent any convincing reason
to suspect that the state is not acting (when carrying out the threat) to promote
any of a wide range of legitimate penological purposes, this is not a penalty. 158
And there is no other apparent basis for believing the denial of probation to be


subsidy "does not necessarily 'infringe' a fundamental right" because it "does not, as a general rule,
have any significant coercive effect"); Seidman, supra note 13, at 77 & n.15 (concluding, citing Dole,
that "the Court has attempted to make distinctions concerning the extent to which the constitutionally
problematic condition has a coercive impact on its target" (emphasis added)). For further discussion,
see infra note 385.
   154. See supra text accompanying notes 126-27.
   155. See infra notes 382-87 and accompanying text.
   156. Supra text accompanying note 115.
   157. For a definition of "burden" in this context, see supra text accompanying note 140.
   158. One of the customary penological purposes, to be sure, is to punish, but it is to punish the felon
for the conduct that is criminalized (hence for which he does not enjoy a constitutional right), not for
refusing to participate in anger-management training.




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       unconstitutional. The conditional proposal, therefore, is not coercive (in the
       constitutional sense). This conditional offer of probation is thus distinguished
       from the conditional offer of federal funds at issue in Dole.
          Yet, the three-dimensional approach cautions that the fact that a conditional
       proposal is not coercive is not enough to establish that it is constitutional; the
       dimensions of purpose and effect must also be considered. Here the challenger's
       attention should turn from general principles of constitutional law-pursuant to
       which we examined coercion and penalty-to the specific, now asking: What
       purposes or effects may be prohibited by a particular constitutional provision,
       and are they present in this case? As present Establishment Clause jurisprudence
       suggests,159 there are two conceivable bases for a successful constitutional
       challenge.
          First, Frank may argue that the state's purpose in advancing the offer is to
       promote religion.160 This will be hard to prove. The principal purpose of the
       offer, it would seem, is to induce felons to take steps likely to reduce the rate of
       recidivism without the need for incarceration and, thereby, to conserve public
       funds. Inasmuch as participation in certain anger-management programs outside
       of prison achieves greater success in reducing recidivism than do lengthier
       prison sentences, officials may be motivated by the additional purpose of
       promoting public safety. Government officials will argue that it is just happen-
       stance that many Buddhist meditation programs, and few secular programs,
       have demonstrated adequate success in reducing violent conduct. But in the
       (perhaps unlikely) event that a court finds that the state conceived and advanced
       the conditional probation offer because of the offer's probable effect in promot-
       ing Buddhism, then the offer might violate the Constitution by reason of its
       purpose.
          Even if this purpose cannot be established, it remains possible that the offer
       should be constitutionally worrisome because of its effects. Whatever the state's
       purposes, after all, it may be the case that, over time, the proposal induces many
       hundreds of felons to take up Buddhist meditation. It is at least open to argue
       that Establishment Clause principles should be understood to bar the state from


           159. The much-derided Lemon test holds that a law violates the Establishment Clause if it lacks "a
        secular legislative purpose" or if "its principal or primary effect" either advances or inhibits religion or
        if it "foster[s) an excessive government entanglement with religion." Lemon v. Kurtzman, 403 U.S.
        602, 612 (1971). For present purposes, we need not enter the debate over what Establishment Clause
        doctrine should be. The point of this illustration is simply to demonstrate the basic functioning of the
        three-dimensional approach. Just as I need take no position on the (hypothetically) debatable questions
        of what the state's purposes are and what the effects of the offer will be, I need take no position on the
        debatable question (of constitutional interpretation) of what the Establishment Clause prohibits.
           160. Nominally, under Lemon, it is the absence of a secular purpose rather than the presence of a
        religious purpose that offends the Constitution. See supra note 159. But, again, the distinction is
        arbitrary for purposes of this illustration. The point is that the presence (but-for or otherwise) of certain
        types of purposes could be held to infringe (or violate) the Establishment Clause. Similarly, in
        discussing an effects challenge to the Probationoffer, we need not feel constrained by the adjectives
        "principal" and "primary." The critical point is only that the conditional proposal is potentially
        unconstitutional on the dimension of effects.




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acting so as to produce such consequences unless so doing satisfies some sort of
test of heightened justification. Whether this is the best reading of the Establish-
ment Clause is beside the instant point. For now, it is enough that Probation
illustrates how a conditional offer may not be coercive, yet still prove unconstitu-
tional by reason of its effects or its purpose (or both).

                       C. CONSTITUTIONALLY PERMISSIBLE PROPOSALS

   Turn, lastly, to the conditional offer presented in Social Security.16 ' When
 assessing Probation,we first examined whether the proposal was coercive, and
only scrutinized the proposal on the dimensions of purpose and effect after
determining that it was not. This sequence is, of course, arbitrary. Sometimes it
will be more convenient to proceed in the reverse order. At this point, though,
maintaining consistency will probably be most conducive to understanding.
   The conditional proposal extended to disabled children of primary beneficia-
ries-"we will continue to provide you with benefits so long as you do not
marry"-is coercive if, upon marriage, Betty the beneficiary could successfully
challenge the Secretary's withdrawal of benefits. To be sure, revocation does
burden her right to marry: By asserting her right, Betty is made materially
worse off than if she had waived it. But this alone could hardly generate a
demand for especially weighty justification, as state actions that make costly
exercise of the liberties to marry, or not to marry, are virtually without number.
The purpose for extending secondary benefits in the first place is to "provide
persons dependent on the wage earner with protection against the hardship
occasioned by his loss of earnings. 1 62 But that purpose implies an additional
purpose of not doling out public funds to those not in need, and exists against a
general background purpose of sorting possible claimants in an administratively
efficient manner-such as by relying on a presumption (admittedly both over-
and under-inclusive) that marriage forms a new economic unit, vitiating the
beneficiary spouse's dependency on the parent whose covered wages earned the
benefit. So, even if the carrying out of the government's threat will provoke
some heightened judicial scrutiny just by virtue of its effects, 163 the state's
interest in fiscal prudence will supply adequate justification. Importantly, this
interest explains why the burden does not amount to a penalty. It is implausible
in the extreme that in withdrawing Betty's benefits the government is the least
bit motivated by a purpose in causing her to experience the withdrawal as
disagreeable, for reasons either of punishing Betty herself or of discouraging
other beneficiaries like Betty from marrying.1 64 Withdrawal of Betty's benefits
simply serves the government's purpose in not expending Social Security funds


   161. See supra text accompanying note 116.
   162. Califano v. Jobst, 434 U.S. 47, 52 (1977).
   163. See id. at 54.
   164. Consider: Assuming the Secretary had the statutory discretion to do so, would he not withhold
the benefits had he become convinced that, for some bizarre reason, Betty did not want them?




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       when they are (presumably) not needed. In sum, revocation of benefits upon
       failure of the condition is seemingly constitutional, making the conditional
       proposal, as a consequence, not coercive.
          If the proposal is not coercive, might it nonetheless be unconstitutional by
       reason of purpose or effect? What we have said thus far is probably enough to
       establish that it is not designed to discourage marriage. And it is hard to imagine
       any other even arguably improper purpose for which it might be extended. As
       for the proposal's effect in discouraging some marriages, 165 the effect of
       discouraging marriages and the effect of burdening marriages are two sides to
       the same coin: The innumerable state actions that may have the effect of
       discouraging some marriages will also have the effect of burdening those
       marriages not deterred. (Notice that we measure any problematic effects of the
       offer by reference to the state of the world given the offer's acceptance and
       assess the effects of the act of carrying out the threat-and thus whether the
       proposal constitutes coercion-against the actual or predicted state of the world
       given the offer's rejection.) 66 If our conclusion is correct that the latter type of
       effect is far too common to provoke a demand for stringent justification, then
       the same must be true of the former type of effect. The state's interests in
       separating the needy from the not-so-needy, and doing so cheaply, will supply
       constitutionally adequate justification in both cases. Therefore, the purposes and
       effects of the proposal seem as constitutionally inoffensive as the purposes and
       effects of carrying out the threat. The Supreme Court's unanimous conclusion in
       Califano v. Jobst is right on the money: "The general rule, terminating upon
       marriage the benefits payable to a secondary beneficiary, is unquestionably
               , 16 7
       valid."

                                              D. SUMMARY

          Unconstitutional conditions cases are distinguished by their biconditional
       form: if -x then y, if x then -y.In normative reasoning generally, the extending
       of such a proposal is the type of act that could constitute the wrong of coercion.
       So too in constitutional law. The distinctive question for all unconstitutional
       conditions cases-which is to say for all cases sharing this formal structure-is
       whether the state engages in coercion. A proposal is coercive if the act the state
       threatens would be unconstitutional to carry out. To challenge an offer on
       grounds that it constitutes coercion is, accordingly, essentially to mount an
       anticipatory attack on the performing of the act that the state threatens. In other
       words, the fact that it is presumptively unconstitutional for the state to engage in
       coercion allows the recipient of a conditional proposal to challenge the proposal
       itself without having first to reject the offer and suffer the consequences.
          When undertaking the inquiry into coercion, one would, if being systematic,


         165. Califano, 434 U.S. at 54, 58.
         166. See infra note 446.
         167. Califano, 434 U.S. at 54.




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 assess the act of withholding the benefit across all three dimensions of constitu-
tional violation. We have not yet been quite so thorough. We have focused
instead on the question of whether the threatened act is unconstitutional for
penalizing the exercise of a constitutional right. "Penalizing," here, has a
specific meaning: It is the imposition of consequences upon a rightholder that
are adverse relative to the consequences that the state would impose, or allow to
obtain, but for the state's purpose in having the rightholder experience the
consequences as disagreeable. (The state is constitutionally free to penalize
much conduct; it is not free, however, to penalize exercise of a constitutional
right. That is, in large part, what it means to have a constitutional right.) In
operationalizing this definition, the difficult question, as is often the case, will
concern whether the state acts (or would act) with the requisite purpose (as
opposed to mere knowledge) that the rightholder experience the consequences
as disagreeable. Restated, in seeking to determine whether a proposal is coer-
cive on the grounds that carrying out the threat would penalize the exercise of a
constitutional right-which, ordinarily, is to say that it would burden exercise of
the right for the purpose either of punishing the rightholder for having exercised
her right or of deterring future exercises of constitutional right (by this or other
rightholders)-the dispositive question will reduce to this: Taking as a given the
offeree's refusal to do -x (that is, the refusal to comply with the state's
demand), would the state offeror better advance its legitimate and actual
interests by withholding the benefit (y) offered or by granting it notwithstanding
the offeree's (constitutionally protected) choice to do x? 168 And even insofar as
this question employs a predictive baseline (though not the predictive baseline
familiar to unconstitutional conditions scholarship), such reliance is only partial.
The proposal threatens a penalty, and is therefore coercive, if the state could be
predicted to confer the benefit taking the offeree's refusal to do x as a given. But
a prediction that the state would withhold the benefit even taking the offeree's
refusal to do x as a given does not permit a conclusion that such withholding
would not be a penalty. That would tell us only that carrying out the threat
would not be for the purpose of discouraging exercise of the right to -x. Yet, it
could still be for the purpose of punishing exercise of a right, in which case, too,
the proposal is coercive for threatening a penalty. This is a question of fact that
relies upon the usual means, within and without the law, of inferring intention.
   Often, as in the circumstances of Dole, a sound inference about the state's
purpose for carrying out the threat will not be hard to draw. Other times, as we


    168. This is not, it bears emphasis, the predictive baseline advanced by Professors Kreimer and
Simons. Those scholars would ask whether the state would extend the benefit to all, if it could not
discriminate between those who do and those who do not comply with the condition. See supra text
accompanying notes 46, 54. That is too stringent a test. Recall Social Security. It is certainly possible
that, were the government barred from discriminating between married and single secondary beneficia-
ries, it would prefer (what it deems) excessive generosity to excessive stinginess. But this fact
(supposing it true) would not mean that, when the state is able to discriminate, the selective withholding
of the benefit amounts to a penalty.




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       will see in Part V, the inference is more problematic. In any event, the state is
       often (though perhaps not always) permitted to penalize a constitutional right if
       it has adequate justification. If penalizing the exercise of the right would be
       justified, then carrying out the threat is constitutional, and the making of the
       threat is not coercive. If, on the other hand, penalizing the exercise of the right
       violates the right,69then the conditional proposal is coercive and presumptively
                          1
       unconstitutional.
          So much for the inquiry into coercion. That is the distinctive question
       presented by conditional offers, but it is not the end of the constitutional
       analysis. Even if a given conditional offer is not unconstitutional by reason of
       coercion, it might yet turn out to be unconstitutional. Here we look not to
       principles designed specifically for the unconstitutional conditions problem, but
       to principles governing constitutional reasoning generally. A conditional offer,
       like all state action, may be unconstitutional by reason of its purposes or effects.
       Consider, first, purposes. Conditional offers are designed to induce certain
       behavior. Sometimes the state is permitted to try to encourage people to act in
       certain ways so long as its method is not coercive. Even though the state would
       infringe (and presumably violate) my constitutional rights were it to coerce me
       into becoming a law professor, for example, surely it is free to employ some
       inducements to achieve that end. Other times (think Establishment Clause, for
       instance) the state may be barred (absolutely or presumptively) simply from
       pursuing such an objective. In those cases, the offer may be unconstitutional by
       reason of its purposes, even though the offer really is (mere) encouragement,
       not coercion. Finally, even if the state's purposes might be constitutionally
       permissible, and its means of pursuing those purposes not coercive, the condi-
       tional offer could still prove unconstitutional if it produces constitutionally
       problematic effects and fails to satisfy whatever standard of heightened scrutiny
       contingent constitutional doctrine calls forth.



          169. When a proposal is coercive on grounds that the act threatened would be unconstitutional by
       reason of penalizing the exercise of a constitutional right, I am not sure that there is any way for the
       state to defeat the presumption of unconstitutionality, as it seems that all likely arguments for why the
       infringement is not a violation will already have been considered-and necessarily rejected-when
       determining whether the penalizing that is threatened would be justifiable. Indeed, the very distinction
       between the carrying out of the act threatened and the making of the proposal is a little artificial. The
       proposal, after all, does not always assume the form of an explicit ex ante pronouncement. Outside of
       nonrepeat, two-party transactions, it may be the very act of withholding or withdrawing a benefit from
       A that operates to communicate the conditional proposal to B and C. All this suggests that it may be
       more precise to say that a proposal is coercive (hence presumptively wrongful) if the act threatened
       either is impermissible all things considered or would be impermissible but for the presence, under the
       circumstances, of constitutionally adequate justification for the state to discourage the conduct penal-
       ized. Under this formulation, the very same considerations that may justify imposition of a penalty
       would, instead of thereby preventing the proposal from constituting coercion, render the making of a
       coercive proposal justifiable. Although resolution of this issue is surely to be desired for conceptual and
       terminological clarity, it is not critical at this stage. The bottom-line conclusions of constitutionality or
       unconstitutionality remain the same whether or not we label a threat to impose a penalty "coercion"
       even if actual imposition of the penalty would be constitutionally justifiable.




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                               V. REPRESENTATIVE APPLICATIONS
   For many years, scholars of unconstitutional conditions proposed grand
theories designed to make sense of all conditional benefit cases across disparate
regions of constitutional law. The widespread perception that such theories have
failed has ushered in a scaling down of expectations. Some scholars, we have
seen, have cautioned against any form of unconstitutional conditions theorizing.
Others, less skeptical, have tried to work out more localized solutions, tailored
to single areas of constitutional law.170 Bucking this trend, I claim that the
three-dimensional approach thus far sketched out applies across all of constitu-
                                                                               17
tional law-from "structural" areas of federalism and separation of powers '
through the entire range of individual liberties.
   This may appear an extravagant claim.172 And while it would take few,
well-chosen counterexamples to demolish it-or at least to require qualifica-
tion-the claim could be adequately substantiated only by running through far
more areas of constitutional law, and far more individual cases, than constraints


    170. Those favoring localized solutions have divided the constitutional terrain in two ways. See
Baker, supra note 18, at 1197 & n.38. Most commentators have focused their attention on the set of
unconstitutional conditions cases defined by the particular constitutional right-such as individuals'
rights of free speech, religion, or abortion, or the states' rights held against the federal government-
that the conditional offers implicate. A smaller number of contributions have explored a particular type
of governmental offer-especially those involving public welfare benefits---even when such offers may
be understood to infringe or pressure diverse constitutional rights. This Part is organized around the
former approach. For examples of the latter see, in addition to Baker, Julie A. Nice, Making Conditions
Constitutional by Attaching Them to Welfare: The Dangers of Selective Contextual Ignorance of the
 UnconstitutionalConditions Doctrine, 72 DENY. U. L. REv. 971 (1995); Dorothy E. Roberts, The Only
Good Poor Woman: UnconstitutionalConditions and Welfare, 72 DENv. U. L. REv. 931 (1995); and
Jonathan Rombert, Is There a Doctrine in the House? Welfare Reform and the Unconstitutional
ConditionsDoctrine, 22 FoRDHAm URB. L.J. 1051 (1995).
   171. Although I have just asserted that the analysis presented in this Article also resolves unconstitu-
tional conditions cases that raise (or might be thought to raise) separation of powers concerns, I will not
attempt that demonstration here. My guess is that conditional proposals in this area will rarely be
coercive and, when unconstitutional, therefore, will prove offensive by reason of purpose or, most
likely, effects. For a small sampling of the ways separation of powers cases can raise the unconstitu-
tional conditions problem, see, for example, Metropolitan Washington Airports Authority v. Citizensfor
the Abatement of Aircraft Noise, Inc., 501 U.S. 252 (1991) (holding unconstitutional, as violating the
principle of separation of powers, a transfer of operating control of two airports from the federal
government to a regional compact, on the compact's conferral of veto power to a review board
composed of nine members of Congress); and Northern Pipeline Co. v. Marathon Pipeline Co., 458
U.S. 50, 80-81 (1982) (plurality opinion) (dictum) (discussing the extent to which Congress may,
consistent with Article IIn, condition the grant of a new substantive federal right on the adjudication of
such rights in non-Article HI tribunals). For one interesting discussion, see George A. Martinez, The
Res Judicata Effect of Bankruptcy Court Judgments: The Proceduraland ConstitutionalConcerns, 62
Mo. L. REv. 9, 43-46 (1997) (exploring how giving res judicata effect to resolution of "non-core"
claims by an Article I bankruptcy court raises an unconstitutional conditions problem).
   172. Even scholars sympathetic to broad theorizing about unconstitutional conditions are generally
skeptical that a single approach can be applied to both federalism and individual liberties cases. See,
e.g., Albert J. Rosenthal, Conditional FederalSpending as a Regulatory Device, 26 SAN DrEGo L. REv.
277, 278-81 (1989) (favoring an approach of some generality, but suggesting that federalism and rights
cases may represent "two separate problem areas, with few common denominators"); Simons, supra
note 51, at 293-94.




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       of time and space will permit. Accordingly, this Part will attempt to demonstrate
       the value of the three-dimensional analysis, and to bring out some of its many
       wrinkles, by applying it to only a representative sample of unconstitutional
       conditions cases. For ease of exposition-and without staking a position on the
       extent to which these categories are natural or arbitrary, revealing or obscur-
       ing1 73-the Part is divided into two sections. The first examines a range of
       issues arising under the rubric of federalism. The second turns attention to
       individual liberties.

                                                A. FEDERALISM

          When, in the next section, we come to examine benefits conditioned upon the
       waiver of individual rights, it will be easy to proceed amendment by amend-
       ment, starting with the Speech and Religion Clauses of the First Amendment,
       and continuing through the Takings Clause of the Fifth Amendment and the
       Sixth Amendment right to trial. A similar clause-by-clause approach has some
       superficial appeal here as well. Certainly, we will be interested in, for instance,
       the Tenth and Eleventh Amendments and the dormant Commerce Clause. Just to
       mention these particular provisions, however, is to suggest some doubt about
       the value of a narrowly clause-bound progression. The dormant Commerce Clause,
       after all, is a famous misnomer, being a mere negative inference from the actual
       Commerce Clause. And the Tenth Amendment "states but a truism. ' ' 174 Further-
       more, and most revealingly, we have just learned from Alden v. Maine 175 that
       what was known for over a century as "Eleventh Amendment jurisprudence"
       has nothing particularly to do with the Eleventh Amendment itself.
          This is not the place to question the doctrines of constitutional law that have
       grown up around any of these clauses. My point is only the familiar one that
       proper analysis of federalism questions-much like separation of powers ques-
       tions and less like those directly implicating individual liberties-relies heavily
       upon broad structural reasoning about appropriate relationships of governmental
       power. Accordingly, this section is organized around those basic dynamics
       rather than around discrete constitutional provisions. More precisely, this sec-
       tion will consider (1) conditional offers that implicate states' rights held against
       the federal government, (2) conditional offers by states that threaten federal
       interests, and (3) conditional offers by states that threaten interests held by other
       states. In other words, the first two subsections are concerned with the vertical
       division of power between the state governments and the federal government,
       whereas the third subsection examines the horizontal concerns implicated by
       exercises of power among coequal states.


          173. See generally AKHL R. AMAR, THE BILL OF RIGHTS: CREATION AND RECONSTRUCTION (1998)
       (arguing that the Bill of Rights was originally designed principally to serve structural objectives and
       was "reconstructed" to promote individual liberty by the Fourteenth Amendment).
          174. United States v. Darby, 312 U.S. 100, 124 (1941).
          175. 527 U.S. 706 (1999).




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 1. Vertical Limits on Conditional Offers Extended by the National Government
    Consider three limitations on the federal government's authority over the
 states. First, Congress may impose no regulations on states or private entities
 that exceed the scope of its enumerated (nonspending) powers. Second, it may
 not "commandeer" the mechanisms of state governmental power in the regula-
 tion of third parties. This is, within a narrow sphere, doubly determined. Under
 the New York 17 6 and Printz1 7 7 decisions, Congress may not compel the states to
 enact their own laws or to administer federal law. Moreover, even absent this
 rule of anticommandeering, it follows from the first limitation that when direct
 regulation of private conduct would exceed Congress's enumerated powers,
 compelling states to issue regulations in Congress's stead likewise exceeds
 those powers. Third, except when appropriate as an exercise of its enforcement
 powers under the Reconstruction Amendments, Congress may not compel the
 states' submission to damage remedies in suits brought by private entities in
 either state or federal court. Although these labels are not precise, 178 it is
 customary to locate the first two types of limits in the Tenth Amendment and the
 third in the Eleventh. For want of space, this section examines the Tenth
 Amendment      issues only, leaving the Eleventh Amendment for treatment else-
          17 9
 where.
     I argued in Part IV that Dole is the single most important unconstitutional
 conditions case. The core of the unconstitutional conditions puzzle resides in a
 state's effort to induce action through coercive means,1 80 and whether coercion
 exists will usually turn upon the government's purpose for carrying out its
 conditional threat. Dole is invaluable for illustrating these two points. But if
 Dole is critically important conceptually, it was of little practical importance
 (outside its particular holding) when decided. That is because Congress has
 little need to employ the states as auxiliaries to further its legislative agenda so
 long as it can achieve its interests by directly regulating private conduct. As
 Professor Albert Rosenthal put it, "[i]f the front door of the commerce power is
 open, it may not be worth worrying whether to keep the back door of the
 spending power tightly closed." 18' And when Dole was decided in 1987, the
 Commerce Clause door was open widely indeed. Of course, as Lopez, 182 New
 York, Printz, and Morrison1 83 exemplify, the door appears to be closing. Today,
 then, Dole stands as a potentially massive loophole threatening the Court's

   176. New York v. United States, 505 U.S. 144 (1992).
   177. Printz v. United States, 521 U.S. 898 (1997).
   178. See supra text accompanying notes 172-73.
   179. See Mitchell N. Berman, R. Anthony Reese & Ernest A. Young, State Accountability for
 Violations of Intellectual PropertyRights: How to "Fix" Florida Prepaid (And How Not To), 79 Tax. L.
 REv. 1037, 1130-72 (2001).
   180. See supra Parts I.B, [V.A.
   181. Albert J. Rosenthal, ConditionalFederalSpending and the Constitution,39 STAN. L. REV. 1103,
 1131 (1987); see also Baker, supra note 1, at 1918-19 (quoting Rosenthal, supra, at 1131).
   182. United States v. Lopez, 514 U.S. 549 (1995).
   183. United States v. Morrison, 529 U.S. 598 (2000).




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       recent efforts to cabin federal power vis-A-vis the states. But, I have argued,
       Dole was wrongly decided. This section explores how the unconstitutional
       conditions doctrine, properly conceived, works in light of Lopez and Printz.
          But first a little history, for the Supreme Court's conditional federal spending
       jurisprudence did not begin with Dole. The critical moment, rather, came in
        1936, when, in United States v. Butler,1 8 4 the Court nominally sided with
       Hamilton over Madison in concluding that Congress could use its spending
       power to achieve ends that it could not achieve by exercising its other grants of
       legislative power. 85 Congress had authorized the Secretary of Agriculture to
       issue subsidies to farmers who agreed to certain limits on their agricultural
       production. 186 The Court invalidated the condition on the dubious ground that
       there is an "obvious difference between a statute stating the conditions upon
       which moneys shall be expended and one effective only upon assumption of a
       contractual obligation to submit to a regulation which otherwise could not be
       enforced."' 187 Notwithstanding that the case involved an offer to private entities
       rather than to states and that the condition was struck down, the Court's
       seemingly forced ground of distinction laid the groundwork for recognizing an
       expansive congressional power to condition federal spending to states.
          That promise was fulfilled a decade later in Oklahoma v. United States Civil
       Service Commission.188 In 1939, Congress enacted the Hatch Act 189 to limit
       political activity by government employees, both federal and state. The first set
       of provisions, governing federal employees, was straightforward. They simply
       prohibited covered employees from engaging in various types of political
       activities. The provisions addressing political activity by state employees were
       more indirect. Essentially, the statute declared that no state or local governmen-
       tal employee "whose principal employment is in connection with any activity
       which is financed in whole or in part by any Federal agency" may "take any
       active part in political management or in political campaigns."'1 90 The statute
       contained an enforcement mechanism providing that any agency that knew of
       an official's participation in specified partisan activities but did not suspend her
       would lose federal funding in the amount of twice that official's annual sal-
       ary.' 9 ' Cast in the terms of the unconstitutional conditions problem, the federal

          184. 297 U.S. 1 (1936).
          185. Although Butler said that it was siding with Hamilton over Madison, 297 U.S. at 65-66, it is
       frequently criticized for adopting the Madisonian view in practical effect. For an argument that neither
       the Court, nor its critics, has ever understood Hamilton's view of the spending power, see David E.
       Engdahl, The Spending Power,44 DtaE L.J. 1 (1994).
          186. Butler, 297 U.S. at 54-56.
          187. Id. at 73. Although dubious, the distinction was not without precedent. See infra note 261.
          188. 330 U.S. 127 (1947).
          189. Pub. L. No. 76-252, 53 Stat. 1147 (1939) (codified as amended in scattered sections of 5 and 18
       U.S.C. (2000)).
          190. Oklahoma, 330 U.S. at 129 n.1 (quoting Hatch Act § 12(a), 5 U.S.C. § 118k(a) (1940) (current
       version at 5 U.S.C. § 1502(a) (2000))).
          191. Id. at 133 (citing Hatch Act § 12(b), 5 U.S.C. § 118k(b) (1940) (current version at 5 U.S.C.
       § 1506(a) (2000))).




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 government was offering a sum of money equal to twice a state official's salary
 conditioned on the state's agreement to suspend the official in question.
    In 1947, a short-handed and divided Court rejected separate challenges to
 both sets of provisions.1 92 It upheld the restrictions on political activity by
 federal employees in United Public Workers v. Mitchell,193 reasoning that
 Congress's interests in promoting "efficiency" and "good administration" justi-
 fied the ban on political activities.1 94 In particular, the majority explained,
 Congress could reasonably believe that permitting partisan activities by govern-
 ment employees was undesirable because it might encourage and reward parti-
 san political activity at the expense of public-spirited official action and because
                                                                                1 95
 it risked funneling "governmental favor... through political connections."
     In Oklahoma, decided the same day as Mitchell, the Supreme Court rejected
 Oklahoma's contention that the conditional offer to the states violated the Tenth
 Amendment. "While the United States has no power to regulate local political
 activities as such of state officials," the Court reasoned, "it does have power1 to 96
 fix the terms upon which its money allotments to states shall be disbursed."
 Citing cases in which it had upheld conditional monetary grants from the
 federal government to individuals,197 the majority simply concluded that the
 federal program did not violate "the State's sovereignty," for "Oklahoma adopted
 the 'simple expedient' of not yielding to what she urges is federal coercion."' 98
     This is a common refrain. Variations on the theme preceded Oklahoma,' 99
 and as we have already seen, it reemerged later in Dole.200 But the idea is quite
 peculiar. Coercion, after all, is a normatively freighted concept.2 °1 If the federal
 government really has employed coercion by threatening to perform an unconsti-
 tutional act, and if such coercion cannot be justified under the circumstances,
 then some sort of censure should flow as a matter of course. That is part of what
 it means to charge someone with engaging in coercion. That the victim of a
 coercive proposal could choose not to yield is irrelevant. Surely nobody would
 be so cruel, or stupid, as to suggest that the victim of the highwayman has no
  complaint because she could have simply not capitulated. The Court is best
  understood, therefore, as claiming not that the federal coercion is permissible
 because Oklahoma could remain steadfast, but that Oklahoma's contention that

    192. With Justices Murphy and Jackson taking no part in either case, the Court's holdings that the
  provisions were constitutional were joined by only three Justices in Mitchell and four in Oklahoma.
    193. 330 U.S. 75 (1947); see also United States Civ. Serv. Comm'n v. Nat'l Ass'n of Letter Carriers,
  413 U.S. 548 (1973) (reaffirming Mitchell).
    194. Mitchell, 330 U.S. at 98.
    195. Id. at 98-100.
    196. Id. at 143.
    197. Id. at 144 & n.20 (citing United States v. Bekins, 304 U.S. 27 (1938); Steward Machine Co. v.
  Davis, 301 U.S. 548 (1937); and Massachusettsv. Mellon, 262 U.S. 447 (1923)).
    198. Id. at 143-44.
    199. See Mellon, 262 U.S. at 482.
    200. See supra text accompanying notes 123-24.
    201. See generally Westen, Virtue Words, supra note 53 (explaining that although "coercion" is not
  normatively bad by definition, it does have a strongly negative normative connotation).




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        there had been coercion is mistaken. But in Oklahoma, as is generally the case,
        the Court articulated no standards by which to make that determination.20 2 This
        Article has, however, set forth such a standard.
           The conditional proposal is coercive if carrying out the threat to withhold
        funds would, under the circumstances, be unconstitutional. The withholding of
        funds is unconstitutional, in turn, if it penalizes the state's exercise of its
        constitutional right20 3 not to suspend its employee. Plainly, the federal govern-
        ment's withholding of funds from a state that, like Oklahoma, stands on its right
        imposes a consequence adverse to that which would obtain but for the state's
       exercise of its right. That is, the withholding of funds burdens the exercise of
       the state's sovereign right to employ persons as it wishes. The critical task here,
       just as in Dole, is to examine the federal government's purpose for imposing
       this burden. If a purpose is either to punish the state's exercise of its right or to
       discourage other states from exercising their constitutional rights, then the
       withholding of the funds penalizes the exercise of a constitutional right and is
       presumptively unconstitutional. If this is not a purpose for withholding funds
       (and if the purposes are themselves constitutionally permissible), then reducing
       the state agency's federal funding by twice the annual salary of the actively
       partisan official does not penalize a constitutional right and is presumptively
       constitutionally permissible.
          Given that Oklahoma has chosen not to yield and that the Civil Service
       Commission has ruled after a hearing that the state employee had engaged in
       proscribed political activities, what purposes would be served by reducing funds
       to the State Highway Commission if not to punish this exercise of right or to
       discourage other such exercises? Perhaps, you may say, the federal govern-
       ment's purpose is to ensure against corrupt political use of federal funds, as
       though the Commission had cut off all funds that would be channeled through
       the potentially corrupt official. But this is not persuasive, for the sanction is not
       to rescind all funds that go through that official, but rather to revoke a sum of
       money that, from this perspective, is wholly arbitrary. The suspect official will
       retain whatever involvement he had previously (whether substantial or trivial)
       in the administration of the federal funds that remain. True, it may be impos-
       sible for the Commission to determine precisely what portion of the federal
       funds go through the too-political official, so the federal government must be
       allowed to employ some sort of reasonable proxy. But the actual act threatened-


          202. Indeed, many lower federal courts have suggested that the Supreme Court's treatment of
       coercion remains standardless even after Dole. See, e.g., Kansas v. United States, 214 F.3d 1196, 1202
       (10th Cir. 2000) (rejecting a coercion claim after concluding that the "coercion theory is unclear,
       suspect, and has little precedent to support its applications"); Nevada v. Skinner, 884 F.2d 445, 448 (9th
       Cir. 1989) (observing that "[t]he coercion theory has been much discussed but infrequently applied in
       federal caselaw," and attributing "the federal courts' lack of enthusiasm for the theory" to "its
       elusiveness" and the seeming absence of "any principled definition of the word").
          203. See supra note 140 and accompanying text. Even if not a penalty, the withholding of funds
       could conceivably be unconstitutional for other reasons (on dimensions of purpose, effect, or conduct),
       but this seems unlikely.




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 withholding funds amounting to twice the annual salary of the employee-is
 not persuasively explained as a surrogate for the degree to which the existence
 of potentially corrupt state officials reduce the economic return from the federal
 expenditures. A high-level state official may be able to redirect to partisan
 purposes federal funds amounting to many multiples of his annual salary; 2°4 a
 lower level employee (like the plaintiff in Mitchell, who was a roller at the
 federal mint) may have power to influence the disbursement of no federal funds
 at all. It is hard to avoid the conclusion, therefore, that withholding the funds at
 issue in Oklahoma served to discourage states from exercising their presump-
 tive rights as employers, therefore constituting an unconstitutional penalty.
 Unless the imposition of a penalty was justified, the federal scheme was
 coercive and should have been invalidated.2 °5
    The Supreme Court did not again address a case of conditional federal
 spending until South Dakota v. Dole, forty years later. And in the dozen years
 since Dole, it has not decided another one. The Supreme Court's 1995 decision
 in United States v. Lopez,2 °6 however, has led many commentators to think that
 the next conditional spending case cannot be too far off. In Lopez, the Court
 invalidated the federal Gun-Free School Zone Act, which made it a federal
 offense to possess a firearm within 1000 feet of a school, as beyond Congress's
 commerce power. In response to the decision, President Clinton immediately
 proposed to condition federal education funds to each state on that state's
  adoption of a state gun-free school zone law mimicking the provisions of the
  invalid federal law.2 ° 7 Several commentators have opined that such a law would


    204. I imagine the critic's scoff: Under Berman's theory, the Hatch Act was unconstitutionally
 coercive because the feds threatened to withhold too little money from the states. Not quite. My point is
 not that the relatively small amount of money being withheld made the threat coercive, but that it helps
 reveal the proposal to be coercive, as threatening a penalty.
    205. Most commentators think Oklahoma was rightly decided. See Epstein, supra note 4, at 45 n.116
 ("This particular statute should be sustained against the challenge of unconstitutional conditions
 because it is designed to protect the United States against abuses by recipients of federal moneys.");
 McCoy & Friedman, supra note 120, at 115; Rosenthal, supra note 181, at 1134-35 (concluding that
 there was true consent rather than coercion because the penalty imposed was so modest in magnitude).
 Indeed, Justice O'Connor specifically approved the holding in Oklahoma in her Dole dissent, see South
 Dakota v. Dole, 483 U.S. 203, 217 (1987) (O'Connor, J., dissenting), though, as Professor Engdahl has
 pointed out, Engdahl, supra note 185, at 56 n.231, such approval seems inconsistent with O'Connor's
 strict test of germaneness. Professor Jesse Choper thinks, as I do, that Oklahoma (like Dole) was
 wrongly decided, but he bases that conclusion on the much too extreme view that the spending power
 should be construed so as to "bar Congress from doing indirectly what it is forbidden to do directly."
 Jesse H. Choper, The Supreme Court and Unconstitutional Conditions: Federalism and Individual
 Rights, 4 CoRmL J.L. & PUB. POL'Y 460, 464 (1995).
    206. 514 U.S. 549 (1995).
    207. See Todd S. Purdum, Clinton Seeks Way to Retain Gun Ban in School Zones, N.Y. Thms, Apr.
 30, 1995, at Al. As it turned out, Congress decided to circumvent Lopez a different way, by amending
 the federal statute to ban the possession of only such firearms as have "moved in or otherwise affect
 interstate or foreign commerce." 18 U.S.C. § 922(q)(2)(A) (2000). Although I think the question
 exceedingly close, academic commentators seem to have concluded that this amendment satisfies the
 "jurisdictional element" test of Lopez rather easily. See, e.g., Daniel J. Meltzer, Essay, State Sovereign
 Immunity: Five Authors in Search of a Theory, 75 NoTRE DAmE L. REv. 1011, 1067 n.159 (2000) (citing




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        pass the Dole test for conditional spending, thereby emasculating Lopez. 20 8
        Something has to give.
           Perhaps the most important response to the Lopez-Dole dilemma to date has
        been supplied by Professor Lynn Baker. 20 9 After subtly analyzing the problem,
        Baker proposes her own, quite straightforward, solution. The Court should start,
        she suggests, by presuming invalid all "offers of federal funds to the states
        which, if accepted, would regulate the states in ways that Congress could not
        directly mandate under its other Article I powers. 21 The presumption could
        then be rebutted only if the federal legislation constitutes "reimbursement
        spending"-legislation that would simply reimburse the states, in whole or in
        part, for the costs they would incur in pursuing the ends that federal legislation
        specifies.2 11 Otherwise, the legislation constitutes "regulatory spending" and is
       unconstitutional.2 12
           Professor Baker's approach is, I believe, half right. Reimbursement spending
       is not coercive (and is therefore presumably constitutional). As an offer of
       reimbursement is logically dependent upon the offeree's incurring specified
       expenses, withholding the offered funds on the failure of the offeree actually to
       incur the expenses that qualify for reimbursement betrays no impermissible
       purpose. It merely reflects the absence of a factual predicate without which the
       reason for providing the benefit disappears. But, under my account of coercion,
       Baker's further claim that "regulatory spending" legislation is necessarily uncon-
       stitutional is mistaken. Some instances of regulatory spending will constitute
       impermissible penalties; many, however, will not.
          The proposed conditional spending response to Lopez's specific holding
       provides a convenient illustration. Suppose that Congress conditioned some
       portion of federal education funds on states' enactment of state gun-free school
       zone acts. Under Baker's analysis, this would be unconstitutional regulatory
       spending. Under this Article's conceptions of coercion and penalty, however,
       the conditional offer is at least conceivably permissible. To see why, imagine
       that empirical findings really did show that fear of gun violence had a measur-
       able, deleterious effect on the ability of students to learn. Perhaps the fear
       increases absenteeism and reduces students' levels of concentration even when
       present. And perhaps Congress could reasonably conclude that, under these


       articles). Indeed, as Professor Meltzer points out, a panel of the Eighth Circuit apparently thought the
       matter so obvious that it deemed its opinion upholding the statute not worth publishing. United States v.
       Danks, 187 F.3d 643 (8th Cir. 1999) (unpublished table decision).
          208. See, e.g., Baker, supra note 1, at 1914; Ronald J. Krotoszynski, Jr., Listening to the "Sounds of
       Sovereignty" but Missing the Beat: Does the New Federalism Really Matter?, 32 IND. L. Rav. 11,
       13-22 (1998); Grant S. Nelson & Robert J. Pushaw, Jr., Rethinking the Commerce Clause: Applying
       First Principles to Uphold Federal Commercial Regulations but Preserve State Control over Social
       Issues, 85 IOWA L. REV. 1, 161 n.730 (1999).
          209. Baker, supra note 1.
          210. Id. at 1916; see id. at 1962-78.
          211. Id. at 1916 n.16.
          212. Id. at 1916.




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 circumstances, certain expensive improvements-say, smaller class size or
 Internet access-are not exploited sufficiently well to make them cost-justified.
 If all this is so, then an offer of funds for those improvements conditioned on
 the state undertaking satisfactory efforts to combat guns near schools should be
 constitutional even though not reimbursement spending.2 13 In this case, the
 purpose for burdening a state's exercise of its sovereign right not to ban guns
 near schools need not be to punish or to deter, but rather to not waste federal
 money. 2 14 Under these assumptions, carrying out the threat to withhold funds is
 not a penalty, so the conditional proposal is not coercion.
    To be sure, this example is far-fetched. In all likelihood an argument along
 these lines would not, and should not, be credited. Therefore, my analysis
 would probably yield the same conclusion as would Professor Baker's-
 namely, that the conditional spending legislation is unconstitutional. But the
 relative implausibility of its factual predicates notwithstanding, this illustration
 does highlight a critical flaw in Professor Baker's approach.2 15 Because the
 efficacy of particular expenditures can depend on the presence or absence of
 certain (legal and factual) conditions in the world, it is perfectly reasonable for
 Congress to condition the offer of federal funds on the assurance that those
 circumstances obtain.2 16 Surely, for example, Congress should be permitted to


    213. Of course, if Congress could marshal adequate factual support for this argument, conceivably it
 could even resurrect (substantially for the reasons advanced by the dissents) even the federal gun-free
 school zone act struck down in Lopez. Then again, even if factual findings demonstrated that gun
 possession near schools did substantially affect interstate commerce, a majority of the Supreme Court
 might still deem a federal criminal ban unconstitutional because the activity is not "economic" (or
 "commercial") or because it intrudes upon areas (both education and criminal law) of traditional state
 concern. See United States v. Morrison, 529 U.S. 598, 610-18 (2000) (emphasizing both these factors
 as critical to the Commerce Clause test after Lopez). In any event, under New York v. United States, 505
 U.S. 144 (1992), Congress could not mandate that the states enact their own gun-free school zone acts.
    214. I do not mean that Congress should have to prove that the expenditure of federal money under
 the circumstances would be of no value at all. Rather, Congress could consider the funds "wasted" to
 the extent that they produce less value than they would under an alternative use.
    215. In suggesting this criticism, I take myself still to be operating within the nondogmatic spirit of
 Professor Baker's analysis. See Baker, supra note 1, at 1989 (expressing hope "that even those who do
 not choose to embrace my test will nonetheless profit by being provoked to contemplate how best to
 solve the problem of conditional federal spending after Lopez").
    216. This was the point of my earlier speculations regarding how Congress might conceivably defeat
 the inference that the conditional offer at issue in Dole was coercive. See supra pp. 38-39. The
 opportunity for Dole redux was averted in 1998 when the House narrowly rejected a highway spending
 bill that would have conditioned federal highway funds on state law imposing a minimum blood-alcohol-
 content (B.A.C.) level of no more than 0.08%. See James Dao, Highway Bill Accord Rejects Tougher
 Standardon Alcohol, N.Y. ThMEs, May 19, 1998, at Al. In lieu of this controversial provision, Congress
 directed the Department of Transportation to make grants to states that adopt specified sorts of
 programs designed to reduce alcohol-related accidents, but on the condition that such funds "only be
 used by recipient states to implement and enforce such programs." 23 U.S.C. § 410(a)(l) (2000). This
 is merely "reimbursement spending" and, as such, is clearly constitutional. Just last year, however,
 Congress returned to the fray and did enact a law that conditions federal highway funds on state
 adoption of the 0.08% B.A.C. standard. See Department of Transportation and Related Agencies
 Appropriations Act, Pub. L. No. 106-346, § 351, 114 Stat. 1356, 1356A-34 (2000). My analysis
 suggests that this law is unconstitutionally coercive.




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        condition grants from a federal "Internet-connection" fund on states' agreement
        not only to use such grants to connect public schools to the Internet (reimburse-
        ment spending), but also to provide for the schools' students a certain number of
        computers. After all, high-capacity telecommunications connections are point-
        less without computers to take advantage of them. What is also true, though
        more easily overlooked, is that it would be reasonable for Congress to condition
        grants from a federal "computers-in-schools" fund on states' agreement to
        secure for the schools broadband Internet connections. Of course, computers
        without high-speed Internet access are not worthless in the way that high-speed
       Internet access without computers is. But so long as Congress could reasonably
       conclude that Internet-less computers are not worthwhile enough, the refusal to
       provide computers to states that exercise their undoubted right not to upgrade
       school buildings for Internet access cannot sensibly be deemed a penalty.
           If this conclusion is correct, it serves to reinforce an earlier claim: Whether
       an offer of benefits, conditioned on the offeree's waiver of a constitutional right
       to do x, is coercive on the grounds that carrying out the threat would penalize
       the exercise of a constitutional right depends upon whether-taking the of-
       feree's refusal to waive its right to do x as a given-the state would better
       advance genuine and legitimate interests by withholding the benefit or by
       granting it notwithstanding the offeree's (constitutionally protected) choice. As
       indicated earlier, however, this question is often easier to ask than to answer.
       The remainder of this subsection offers some preliminary thoughts about two
       actual situations in which the answer is likely to prove particularly contentious.
          Consider, first, matching grants. The argument for coercion goes like this:
       Naturally, the federal government may prefer that states contribute some of their
       own funds to the given project too. But if a state refuses, then whatever national
       interests explain Congress's willingness to extend the offer are still better served
       by the contribution than by the withholding of federal dollars. Half a loaf is
       better than none at all. To withhold the funds, therefore, is to penalize the state's
       exercise of its sovereign rights.
          Though this argument has some strength, it is ultimately unconvincing, for
       there are at least two separate reasons to think Congress would have legitimate
       reasons to prefer not to spend the matching funds when they are not matched.
       First, the choice facing the federal government is not really between half a loaf
       and nothing at all, but between half a loaf and the federal dough that could still
       be spent for other purposes. That Congress is happy to buy $2y worth of some
       particular good for $y does not remotely establish that it would genuinely prefer
       $y worth of that good to whatever $y could buy in a different use.217 This is not


          217. There is no denying that to recognize this type of argument does open the door for the federal
       government to try to justify all conditional spending on a like rationale. If matching grants are not
       coercive on the assumption that Congress actually values the opportunity cost of its contribution higher
       than the benefit that its contribution could purchase when unmatched, who is to say that Congress does
       not actually believe that the opportunity cost of the $y offered for, say, local teacher training exceeds $y
       worth of teacher training, but does not exceed $y worth of teacher training plus an effective state ban on




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 only because Congress may treat the $y expended by the state as a free good
 (which, as a matter of both economics and sound political theory, it is not), but
 also out of respect for economies of scale. Second, even if the federal govern-
 ment would actually prefer half the loaf to its next most attractive alternative,
 successful realization of even that partial good is likely to require some action
 by state actors, and Congress might reasonably worry that state effort would
 prove lackadaisical and thus inadequate if the state is not itself financially
 committed. For both these reasons, it seems generally very plausible that
 Congress's purpose for carrying out the act threatened-withholding the match-
 ing funds-is to conserve funds for reasons other than to punish or to influence
 state behavior. Offers of matching funds, then, would not be coercive in the
 relevant sense.
    The second type of exercise of conditional spending power arises when
 Congress imposes what may be called "equality conditions" on state offerees.
 Consider as one illustration 2 18 federal policy conditioning the disbursement of
 Medicaid funds to states on the states' agreement to provide emergency medical
 services to illegal immigrants. 21 9 The argument that such conditions are unconsti-
 tutional is straightforward: If Congress's purpose in providing the funds is to aid
 some primary class of beneficiaries, that purpose is served equally well whether
 or not the state accedes to the condition. Therefore, the purpose for withholding
 the benefit from the unaccommodating state is to punish or discourage. Because
 such purposes make the burden a penalty, the proposal can be successfully
 challenged as coercion without the state having first to call the federal govern-
 ment's bluff, as it were.
    If the federal government is to rebut this reasoning, it must place heavy
 emphasis, I suppose, on its interests in not exacerbating inequality. That is, the
 federal government would have to argue that, in carrying out its threat, it
  actually does prefer a lesser degree of welfare for would-be beneficiaries of
 class A to a greater degree of welfare for members of class A conjoined to a

 firearms near schools? The answer, of course, is that the courts are to say. The federal government
 would be free to make such an argument-and, if it is true, then the corresponding conditional offer is
 not coercive. But courts are not obligated to believe it. Indeed, the claim is likely to be highly
 implausible at least so long as Congress does not identify the specific use that would be made of the
 offered funds in the event they were withheld upon failure of the condition. Furthermore, given the
 difficulties in ascertaining purpose case by case, certain prophylactic rules and presumptions may be
 sensible. See infra Parts V.B.3-4.
    218. Similar issues arise under laws conditioning federal education funds on an institution's agree-
 ment not to engage in types of discrimination that would be permitted under (judicial interpretations of)
 the Equal Protection Clause. See, e.g., Franklin v. Gwinnett County Pub. Sch., 503 U.S. 60 (1992);
 Grove City Coll. v. Bell, 465 U.S. 555 (1984); Lau v. Nichols, 414 U.S. 563 (1974). The thorny
 problems that arise from federal laws that condition funds on agreement by the recipient "program or
 activity" not to discriminate in particular ways is discussed further in Berman, Reese & Young, supra
 note 179, at 1137-42.
    219. This has been uniformly upheld against state challenges. See Texas v. United States, 106 F.3d
 661 (5th Cir. 1997); California v. United States, 104 F3d 1086 (9th Cir. 1997); Padavan v. United
 States, 82 F.3d 23, 28-29 (2d Cir. 1996); New Jersey v. United States, 91 F.3d 463, 466-67 (3d Cir.
  1996).




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       greater welfare gap between classes A and B. I am inclined to think this
       explanation acceptable. Even if the withholding of federal funds in this case
       would advance social equality at the expense of economic efficiency (and this is
       contestable), because the Constitution commands pursuit of economic efficiency
       no more than it "enacts Mr. Herbert Spencer's Social Statics, 2 2 ° there is no
       reason in principle why this purpose-if credible-should not be validated. But
       it would be naive to deny that others would view such an argument as a flimsy
       rationalization. Whatever the case, substantive disagreement about the truth of
       this account would not threaten this analysis of the unconstitutional conditions
       problem.  It merely reinforces that the correct solution is far from an algorithmic
            22 1
       one.

       2. Vertical Limits on Conditional Offers Extended by States
         We have just seen that the tough questions of federal conditional spending
      turn on distinguishing coercive from noncoercive proposals and, most particu-
      larly, on determining when the federal government would have a permissible
      purpose for carrying out its threat to withhold funds conditionally offered. The
      same issue arises far less frequently in the opposite direction. States, after all,
      rarely offer money to the federal government. When offers by the states
      implicate concerns about the proper relationship of the state and federal govern-
      ments, they usually arise because the state conditions an offer to private entities
      on their waiving rights conferred by the federal government-especially rights
      conferred precisely to secure federal protection from the states.
         The recurring question in this realm has involved the contours of a state's
      power to condition the privilege of doing business within its borders. Although
      various types of conditions have been imposed and challenged,22 2 the condi-
      tions that concern us here involved foreign corporations' nonexercise of their
      right to remove state court litigation to federal court. The issue arose against the
      background of two uniformly accepted premises: first, that a state could exclude
      foreign corporations entirely; 223 and second, that a state may impose conditions
      on the privilege of doing business "provided they are not repugnant to the
      Constitution or laws of the United States, or inconsistent with those rules of
      public law which secure the jurisdiction and authority of each state from



          220. Lochner v. New York, 198 U.S. 45, 75 (1905) (Holmes, J., dissenting).
          221. In this, I am happy to embrace Professor Kreimer's measure of a successful analysis-that "it
      at least gets the easy cases right, explains why the hard cases are hard, and allows argument to center on
      the appropriate factual and legal issues." Kreimer, supra note 13, at 1301.
          222. For example, state efforts to tax revenues or properties outside the state generated substantial
      litigation in the early part of the century. See, e.g., W. Union Tel. Co. v. Foster, 247 U.S. 105 (1918);
      Pullman Co. v. Kansas, 216 U.S. 56 (1910); Union Transit Co. v. Kentucky, 199 U.S. 194 (1905).
      Because such conditions implicate interstate relationships more directly than they do dynamics between
      the state and the federal government, I do not discuss these cases here.
          223. See, e.g., Paul v. Virginia, 75 U.S. (8 Wall.) 168 (1868); LaFayette Ins. Co. v. French, 59 U.S.
      (18 How.) 404 (1855).




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  encroachment by all others. '224 The specific question confounding the Supreme
  Court-raised, directly or indirectly, in at least a dozen cases from 1874 through
  1922-was whether this particular condition was repugnant or not.
     A detailed discussion of the case law may seem of only historical interest
  given that the issue is no longer a live one; it is now well settled that a state may
  not condition the privilege of doing business on a foreign corporation's waiver
  of its federal right of removal. In fact, I think, close analysis of the cases is most
  illuminating, for the Supreme Court's tortured confrontations with this single
  question reveal a great deal of unconstitutional conditions thinking in micro-
  cosm. We see, at turns, the absolutism that the greater always includes the
  lesser, and the equally categorical insistence that the government may never
  achieve indirectly what it could not achieve directly. We see debates over
  purpose scrutiny and even intimations that the solution lies in the right's
  inalienability. Despite the great variety of approaches to the question, I will
  argue, coercion analysis provides the only sound explanation and justification
  for the rule that eventually prevailed.
     The Supreme Court's first encounter with this issue came in Home Insurance
  Co. v. Morse,225 a case concerning a Wisconsin statute that required all foreign
  insurance companies seeking authorization to do business within the state to
  agree not to remove any cases filed against it in Wisconsin state courts. The
  Home Insurance Company filed the requisite agreement and was certified to do
  business.22 6 Some time thereafter, when sued on a policy, the company filed a
  petition to remove the suit to federal court.22 7 The state trial court refused to
  recognize the removal because of the company's prior promise and eventually         229
  proceeded to judgment against it. The Wisconsin Supreme Court affirmed.
                                      22 8

  A divided United States Supreme Court reversed.23 °
      Although the majority concluded that the insurance company's agreement not
  to exercise its right of removal was void, Justice Hunt's opinion failed to make
  clear precisely why that should be. Plainly, the notion of inalienable rights
  figured prominently, as in the Court's declaration that "[a] man may not barter
  away his life or his freedom, or his substantial rights. '23 1 The problem, how-
  ever, was that the Court provided little basis for concluding that this particular
  right was inalienable if not all rights were inalienable. Justice Hunt intimated


     224. Sec. Mut. Life Ins. Co. v. Prewitt, 202 U.S. 246, 249 (1906) ("A state has the right to prohibit a
  foreign corporation from doing business within its borders, unless such prohibition is so conditioned as
  to violate some provision of the Federal Constitution."); id. at 259 (Day, J., dissenting); Barron v.
  Burnside, 121 U.S. 186, 200 (1887); Doyle v. Cont'l Ins. Co., 94 U.S. 535, 540 (1876); Home Ins. Co.
  v. Morse, 87 U.S. 445, 456 (1874) (quoting LaFayette Ins. Co., 59 U.S. at 407).
     225. 87 U.S. (20 Wall.) 445 (1874).
     226. Id. at 446.
    227. Id. at 446-47.
    228. Id. at 447.
    229. Id.
    230. Id. at 458.
    231. Id. at 451.




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       that there was something especially problematic about a purported waiver of the
       right to remove en gross, explaining that while a man

            may omit to exercise his right to remove his suit to a Federal tribunal, as often
            as he sees fit, in each recurring case, [h]e cannot bind himself in advance by
            an agreement, which may be specifically enforced, thus to forfeit his rights at
            all times and on all occasions, whenever the case may be presented. 232

       But this move presents another problem, for it would suggest that a waiver of
       the removal right more limited in duration or scope-say, a promise not to
       remove suits by policyholders for breach of contract during the first year of
       business-should be enforceable, whereas other language in the opinion ap-
       pears to deny precisely that. After citing both English practice and Justice Story
       for the proposition that courts would not enforce contractual agreements to
       arbitrate,23 3 Justice Hunt declared flatly that "[t]he law and not the contract
       prescribes the remedy, and parties have no more right to enter into stipulations
       against a resort to the courts for their remedy in a given case, than they have to
                                               234
       provide a remedy prohibited by law."
           Chief Justice Chase and Justice Davis were unpersuaded. Indeed, the short
       dissent presented this as a straightforward case of the greater including the
       lesser: "The right to impose conditions upon admission follows, as a necessary
       consequence, from the right to exclude altogether. '235 In response, by declaring
       itself "not able to distinguish this agreement and this requisition, in principle,
       from a similar one in the case of an individual citizen [from another state]," the
       majority revealed that it did not appreciate the conditional benefits angle at
       all. 2 3 6 "A corporation has the same right to the protection of the laws as a
       natural citizen, and the same right to appeal to all the courts of the country,"
       Justice Hunt asserted. "The rights of an individual are not superior in this
       respect to that of a corporation. 23 7 But this is simply mistaken. In the respect
       that matters, the rights of an individual were superior to those of a corporation,
       for the individual enjoyed the protection of the Privileges and Immunities
       Clause of Article IV, whereas the corporation did not.23 8 And this, of course, is
       what created the conditional benefit problem in the first place-the state of
       Wisconsin could constitutionally prohibit corporations from other states from
       conducting business within its borders, while it could not similarly exclude
       private citizens.2 39


        232. Id. (emphasis added).
        233. Id. at 452.
        234. Id. at 452-53.
        235. Id at 458-59 (Chase, C.J., dissenting).
        236. Morse, 87 U.S. at 455.
        237. Id.
        238. Paul v. Virginia, 75 U.S. (8 Wall.) 168 (1869).
        239. See, e.g., Corfield v. Coryell, 6 F. Cas. 546 (C.C.E.D. Pa. 1823) (No. 3230).




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     Given the division on the Court and the majority's palpable failure to
  understand the true nature of the problem, it is not surprising that it chose to
  revisit the question just two Terms later in another case from Wisconsin, Doyle
  v. Continental Insurance Co.240 Whereas the state courts in Morse had refused
  to recognize the defendant's removal, thus proceeding to judgment against it,
  Wisconsin responded to the company's removal in Doyle by revoking its
  authority to do business in the state. 241 After Continental Insurance brought suit
  in federal court to challenge the revocation as unconstitutional, Justice Hunt
  again issued the majority opinion for a divided Court. This time, however, it
  upheld the condition, embracing precisely the reasoning that had been espoused
  by the Morse dissent. "If the State has the power to cancel the license," Justice
  Hunt explained (seeming now to catch the point he had slighted earlier),

       it has the power to judge of the cases in which the cancellation shall be
       made.... [T]he State may compel the foreign company to abstain from the
       Federal courts, or to cease to do business in the State. It gives the company
       the option. This is justifiable, because the complainant has no constitutional
       right to do business in that State.... No right of the complainant under the
       laws of the Constitution of the United States, by its exclusion from the State,
                       242
       is infringed ....

  Morse was distinguished as resting on the view that a party "cannot bind
  himself in advance by an agreement which may be specifically enforced thus to
  forfeit his rights. 24 3
     In dissent, Justice Bradley denigrated both the majority's effort to distinguish
  precedent-which he claimed did "not differ a particle" from the present
  case244-and its reasoning:

       The argument... that the greater always includes the less, and, therefore, if
       the State may exclude the appellees without any cause, it may exclude them
       for a bad cause, is not sound. It is just as unsound as it would be for me to say,
       that, because I may without cause refuse to receive a man as my tenant,
       therefore I may make it a condition of his tenancy245
                                                             that he shall take the life of
       my enemy, or rob my neighbor of his property.

  The plain intimation was that the purportedly lesser action is impermissible if
  engaged in for a bad purpose. But having started down the path of purpose
  scrutiny, the dissent quickly turned in a different direction. Because modem


    240. 94 U.S. 535 (1876).
    241. Id. at 536.
    242. Id. at 542.
    243. Id. at 538.
    244. Id. at 543 (Bradley, J., dissenting).
    245. Id. at 543-44. Compare the "independent constitutional bar" limitation in South Dakota v. Dole,
  483 U.S. 203, 209 (1987). See supra note 121.




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       corporations rely upon large infusions of capital, it explained, "[t]he needs of
       the country require that corporations-at least those of a commercial or finan-
       cial character-should be able to transact business in different States. 2 46 And,
       finally, having aired this consideration of public policy, the dissent concluded on
       a note that left the relevance of the state's purposes wholly unclear: "The whole
       thing, however free from intentional disloyalty, is derogatory to that mutual
       comity and respect which ought to prevail between the State and general
                       24 7
       governments."
          Whatever relevance the dissent ultimately thought to attribute to the state's
       purposes, the majority would have none of it. "If the State has the power to do
       an act," Justice Hunt insisted,

             its intention or the reason by which it is influenced in doing it cannot be
             inquired into ....     The argument that the revocation in question is made for an
             unconstitutional reason cannot be sustained. The suggestion confounds an act
             with an emotion or a mental proceeding, which is not the subject of inquiry in
             determining the validity of a statute. An unconstitutional reason or intention is
             an impracticable suggestion, which cannot be applied to the affairs of life. If
             the act done by the State is legal, is not in violation of the Constitution or laws
             of the United States, it is quite out of the power 248
                                                                   of any court to inquire what
             was the intention of those who enacted the law.

          Though the majority's disdain for scrutiny into legislative purposes could
       hardly be missed, much about its reasoning is unclear. First, as in academic and
       judicial discussions from over a century later, the passage is ambiguous regard-
       ing whether legislative purposes are constitutionally irrelevant or are simply not
       fit for judicial inquiry.24 9 Moreover, the majority seems oddly blind to the
       possibility that a state's purposes may be relevant precisely because they help
       determine whether an "act done by the State is legal., 250 To be sure, one is free


          246. Doyle, 94 U.S. at 544 (Bradley, J., dissenting). Perhaps so, and yet this is an explanation
       manifestly at odds with the dissent's earlier assertion that "[t]hough a State may have the power, if it
       sees fit to subject its citizens to the inconvenience, of prohibiting all foreign corporations from
       transacting business within its jurisdiction, it has no power to impose unconstitutional conditions upon
       their doing so." Id. at 543. This passage is notable, first, for being the Supreme Court's first reference to
       "unconstitutional conditions." Beyond that, it throws into question the constitutional significance of the
       dissent's claim about the country's commercial needs. If the Constitution should be interpreted to
       enable corporations to engage in interstate operations, it would seem to follow that a state would not
       have the (greater) power "of prohibiting all foreign corporations from transacting business within its
       jurisdiction." Id. at 543.
          247. Id. at 544; see also id. at 543 ("Total prohibition may produce suffering, and may manifest a
       spirit of unfriendliness towards sister States; but prohibition, except upon conditions derogatory to the
       jurisdiction and sovereignty of the United States, is mischievous, and productive of hostility and
       disloyalty to the general government.")
          248. Doyle, 94 U.S. at 541.
          249. For just one example of such ambiguity in the unconstitutional conditions literature, see
       Kreimer, supra note 13, at 1337.
          250. Doyle, 94 U.S. at 541.




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  to conclude that purposes should not play such a role, but the majority appears
  to go out of its way to pretend that they could not 2"5 ' Finally, the apparent
  reduction of all "reasons" to undiscoverable subjective mental states-akin to
  "emotion"-which are off-limits, is bizarre on the facts of the case. The
  majority's observation that Continental "alleges" that its license "is about to be
  revoked, for the reason that it removed the case.., from the State to the Federal
  courts" 252 is, in this respect, highly misleading. After all, the plain terms of the
  Wisconsin statute did not admit any doubt:

       If any insurance company... shall make application to... remove any suit or
       action.., in any court of the State of Wisconsin, to the United States Circuit
       or District Court... it shall be the imperative duty of the secretary of



     251. Id. ("If the act of an individual is within the terms of the law, whatever may be the reason
  which governs him, or whatever may be the result, it cannot be impeached. The acts of a State are
  subject to still less inquiry, either as to the act itself or the reason for it.") This comparison of state
  action to those of individuals is instructive, for whether an "act of an individual is within the terms of
  the law" of course often does depend upon the act's reasons or results. (An act is not homicide, for
  example, unless death results, and an act is not treason unless undertaken for the reason of giving
  comfort to the enemy.) All that can be said on this score is therefore a tautology: If the act of an
  individual is not made unlawful by virtue of its reasons or results, then it is lawful whatever may be the
  reasons which propel it or the results it causes. So too, then, for acts of a state.
     Once we understand the error into which Justice Hunt fell, by the way, we might be better able to
  answer the separate but related question of whether a legislative action can be unconstitutional by virtue
  of its animating purpose even if those purposes are unrealized. Professor Laurence Tribe argues the
  negative:
       [S]etting to one side laws distributing benefits, if a government-enacted rule of conduct is
       constitutionally inoffensive both on its face and as applied to the particular individual
       challenging it, the fact that the rule would not have been promulgated (or the practice put in
       place) but for the enacting body's desire to achieve a constitutionally forbidden result tells us
       nothing more than that the government body engaged in an unsuccessful attempt to violate the
       Constitution. So too, the fact that the rule would not have been promulgated or the practice
       established but for the enacting body's consideration of a factor the Constitution tells it never
       to consider-if there are such factors-hardly suffices to render the rule of conduct promul-
       gated, or the practice put in place, constitutionally void.
  Tribe, supra note 101, at 23.
     Though I do not think that my analyses of "coercion" and "penalty" depend upon how this issue is
  resolved, the case might prove otherwise. It is therefore worth noting an apparent confusion lurking in
  Tribe's argument. Tribe here assumes that (outside of "laws distributing benefits"), the things that are
  "constitutionally forbidden" are results or effects (what he calls "outputs"). But if the Constitution also
  forbids the state from acting so as to achieve specified proscribed purposes-which is precisely what
  Tribe appears to assume (arguendo) in the second sentence-then it seems wholly plausible that
  violation of such a command does make the state action void. Put another way, "the fact that the rule
  would not have been promulgated (or the practice put in place) but for the enacting body's desire to
  achieve a constitutionally forbidden result" does not tell us "that the government body engaged in an
  unsuccessful attempt to violate the Constitution," but that it engaged in an unsuccessful attempt to
  achieve a constitutionally proscribed result. If the Constitution proscribes legislatures from attempting
  to achieve certain results (just as the criminal law prohibits individuals from attempting to achieve
  certain results), then any such attempt, whether or not it succeeds in accomplishing its objective, does
  succeed (so to speak) in violating the Constitution.
     252. Doyle, 94 U.S. at 541.




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              State... to revoke and recall any authority or license
                                                               253
                                                                     to such company to do
              and transact business in the State of Wisconsin.

           In any event, the Doyle majority's triumph was short-lived. In Barron v.
        Burnside,254 a unanimous Court invalidated an Iowa statute that conditioned
        corporate privileges on foreign corporations' agreement not to remove. The
        Court deemed this an easy case. Because the statute's "entire purpose ... is to
        deprive the foreign corporation.., of the right conferred upon it by the constitu-
        tion and laws of the United States, to remove a suit from the state court into the
        federal court," it fell directly within the rule announced by Morse.25 5 Doyle was
        distinguished on a ground that earlier decisions had not even hinted at. "The
        point of th[at] decision," the Court observed, "seems to have been that, as the
        state had granted the license, its officers would not be restrained by injunction,
        by a court of the United States from withdrawing it."' 256 Barron, then, was a
        square vindication for the Doyle dissent. As against both the Doyle majority and
        the Morse dissent, the case firmly rejected the idea that the greater includes the
        lesser. As opposed to the Morse majority, Barron located the unconstitutionality
        of the conditional offer in the bad purposes driving the state, rather than in any
        supposed inalienability of the right.
           Although this view found consistent approval in dicta from a series of
        mostly unanimous Supreme Court decisions extending over the next de-
        cade,25 7 the Doyle Court's analysis was suddenly resurrected in the 1906
        case of Security Mutual Life Insurance Co. v. Prewitt.258 On facts essentially
        mirroring Doyle, a seven-member majority, per Justice Peckham, approv-
        ingly described Doyle as having held that "the motives of [the state's] action
        were not the subject of judicial inquiry,, 25 9 and reaffirmed the greater-
        includes-the-lesser logic:

              As a state has power to refuse permission to a foreign insurance company to
              do business at all within its confines, and as it has power to withdraw that
              permission when once given, without stating any reason for its action, the fact



           253. 1870 Wis. Laws ch. 64, § 1, quoted in Doyle, 94 U.S. at 536-37.
           254. 121 U.S. 186 (1887).
           255. Id. at 197.
           256. Id. at 199; cf Younger v. Harris, 401 U.S. 37, 44 (1971) (referring to "Our Federalism").
           257. See Barrow S.S. Co. v. Kane, 170 U.S. 100, 111 (1898); Blake v. McClung, 172 U.S. 239,
        254-56 (1898); S. Pac. Co. v. Denton, 146 U.S. 202, 207 (1892); see also St. Louis & S.F. Ry. Co. v.
        James, 161 U.S. 545, 565 (1896) (holding that a state statute requiring foreign corporations to
        reincorporate in-state does not confer state citizenship for purposes of federal diversity jurisdiction); S.
        Ry. Co. v. Allison, 190 U.S. 326, 338 (1903) (holding, in accord with James, that a state statute
        requiring foreign railroad companies to domesticate as a condition of owning property or carrying on
        business in state could not confer state citizenship so as to defeat the domesticated company's federal
        right of removal).
           258. 202 U.S. 246 (1906).
          259. Id. at 251.




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       that it may give what some may think a poor reason or none for a valid act is
       immaterial. 2 °

     Harking back to a distinction first proposed by Justice Hunt in Doyle, the
  Court explained that while a foreign corporation's advance promise not to
  remove is null and void, the state is fully entitled to withdraw the privilege of
  doing business within that state upon the corporation's exercise of its right to
  remove. 2 61 The Court then attempted to demonstrate that all cases subsequent to
  Barron were consistent with the distinction 262 and disavowed as "inaccurate"
  the Barron Court's alternative effort to distinguish Morse and Doyle.26 3
     Justice Day, joined by Justice Harlan, devoted much of his dissent to arguing
  that the majority's effort to reconcile the Court's decisions was unsound in
  principle and unfaithful to the case law. Claiming that Doyle and Barron could
  not be harmonized, 264 he put his opposition to the majority's analysis in terms
  that could only enlarge the stakes of the debate:

        The doctrine that the surrender of rights granted or secured by the Constitu-
        tion of the United States may be made a condition of the privilege of doing or
        continuing business with a state is at war with that instrument, and if adopted
        or sanctioned by all the states would265nullify the supreme law of the land in
        some of its most essential provisions.

    Following a short period of unusually rapid turnover in the Court's person-
  nel,2 66 Justice Day was able to attract a unanimous Court to his position just
  four years later,2 67 but in an opinion that barely intimated the existence of a
  long-running dispute 2 68 and failed to cite even a single one of the Court's
  removal precedents. That the tide had probably turned for good was signaled in
  Harrison v. St. Louis & San Francisco Railroad Co.,269 when Chief Justice
  White, a member of the Prewitt majority, led another unanimous Court to
  declare flatly "that the states are, in the nature of things, without authority to


     260. Id. at 257.
     261. Id. at 253-54. And looking forward, this is a precursor to the Court's much-ridiculed claim
  thirty years later that "[tihere is an obvious difference between a statute stating the conditions upon
  which moneys shall be expended and one effective only upon assumption of a contractual obligation to
  submit to a regulation which otherwise could not be enforced." United States v. Butler, 297 U.S. 1, 73
  (1936).
    262. Prewitt, 202 U.S. at 255-56.
    263. Id. at 255.
    264. Id. at 266, 268 (Day, J., dissenting).
    265. Id. at 262. For a similar view, see Frost & Frost Trucking Co. v. Railroad Commission, 271
  U.S. 583, 594 (1926) ("If the state may compel the surrender of one constitutional right as a condition
  of its favor, it may, in like manner, compel a surrender of all. It is inconceivable that guarantees
  embedded in the Constitution of the United States may thus be manipulated out of existence.").
    266. Three new Justices joined the Court in the four years between Prewitt and Herndon.
    267. Herndon v. Chi., Rock Island & Pac. Ry., 218 U.S. 135 (1910).
    268. Id. at 158-59.
    269. 232 U.S. 318 (1914).




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       penalize or punish one who has sought to avail himself of the Federal right of
       removal. ' 27 0 The Court lamely distinguished Prewitt and Doyle as "involv[ing]
       state legislation as to a subject over which there was complete state authority;
       that is, the exclusion from the state of a corporation which was so organized that
       it had no authority to do anything but a purely intrastate business.",27 1 The Court
       reaffirmed Harrisontwo years later in a brief opinion concerning a successor
       statute to the very Wisconsin law upheld in Doyle.2 72 Employing language
       reminiscent of the Doyle dissent, the Court struck down the statute, reasoning
       that it was "beyond the state's power" to "seek to prevent ... foreign commer-
       cial corporations doing local business from exercising their constitutional right
       to remove suits into Federal courts. 27 3
          Even after this trio of unanimous decisions, the coup de grace for Doyle and
       Prewitt was still six years in coming. Finally, in Terral v. Burke Construction
       Co.,274 another unanimous Court formally overruled both earlier decisions by
       expressly rejecting as immaterial whether the right to remove was waived in
       advance by the corporation and whether the corporation's business was intra-
       state or interstate.2 7 5 Seemingly troubled by the apparent purpose animating the
       state, Terral declared that the unconstitutionality of the condition

             rests on the ground that the federal Constitution confers upon citizens of one
             state the right to resort to federal courts in another, that state action whether
             legislative or executive, necessarily calculated to curtail the free exercise of
             the right thus secured is void because the sovereign power of a state in
             excluding foreign corporations, as in the exercise of all others of its 2sovereign
                                                                                       76
             powers, is subject to the limitations of the supreme fundamental law.

          Thus were matters finally clarified. And yet, despite the great volume of
       judicial ink spilled on the subject, 27 7 one may be excused for remaining


          270. Id. at 329. This followed from the Court's view that
            [i]t may not be doubted that the judicial power of the United States... is a power wholly
            independent of state action, and which therefore the several states may not by any exertion of
            authority in any form, directly or indirectly, destroy, abridge, limit, or render inefficacious.
            The doctrine is so elementary as to require no citation of authority to sustain it.
       Id. at 327.
          271. Id. at 332.
          272. Donald v. Phila. & Reading Coal Co., 241 U.S. 329, 332 (1916).
          273. Id.
          274. 257 U.S. 529 (1922).
          275. Id. at 532-33.
          276. Id.
          277. The issue has attracted significant scholarly attention as well. Early treatments include GERARD
       C. HENDERSON, THE PosmoN OF FOREIGN CORPORATIONS IN AMERICAN CONSTITUTIONAL LAW ch. 8 (1918);
        Harold M. Bowman, The State's Power over Foreign Corporations,9 MICH. L. REV. 549 (1911); Robert
        Hale, UnconstitutionalConditions and ConstitutionalRights, 35 COLUM. L. Rav. 321 (1935); Maurice
        H. Merrill, Unconstitutional Conditions, 77 U. PA. L. REV. 879, 879-82 (1929); and Oppenheim, supra
        note 4.




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 somewhat uncertain about why, precisely, states were constitutionally forbidden
 to exclude foreign corporations that removed suits to federal court. That the
 Court viewed the state's purposes as somehow important seemed clear. But
 exactly what was the unconstitutional purpose? Although the Court proclaimed
 that a state may not "seek to prevent" exercise of the right to remove 27 8 or to
 "deprive" corporations of that right, 279 why should the threat to withdraw
 corporate privileges after removal not more properly be characterized as in-
 tended (merely) to "discourage" exercise of the right? And was it really so plain
 that the state's purposes were critical? What, after all, did the HarrisonCourt
 mean when pronouncing that "the judicial power of the United States... is a
 power wholly independent of state action, and which therefore the several states
 may not by any exertion of authority in any form, directly or indirectly, destroy,
 abridge, limit, or render inefficacious"? 28 0 Does this not suggest that the no-
 removal conditions28 might
                      1
                             have been unconstitutional by reason of their effects,
 not their purpose?
    Coercion analysis provides clarity. The critical task, on such analysis, is to
 determine what purposes the state may have for refusing corporate privileges to
 a foreign corporation that does not agree to waive its right of removal. If the
 state would confer the privilege of doing business but for a purpose in punishing
 this corporation or in encouraging agreement by others, the withholding of the
 benefit is a penalty (hence presumptively unconstitutional), and the correspond-
 ing conditional proposal is (presumptively) coercive. There is, of course, reason
 to suppose that it would. It is easy to imagine that, all things being equal, a state
 might reasonably prefer that foreign corporations not remove. It is perhaps also
 imaginable that a state would prefer to exclude foreign corporations entirely, or
 at least some types of foreign corporations. But it may seem simply incredible
 that whether a foreign corporation does or does not remove could make a
 dispositive difference in the state's assessment of whether state interests are
 advanced or impeded by allowing that corporation in.
    Yet perhaps this is not quite so obvious after all. Recall that a great many
 corporations engaged in interstate business during this period were railroads and
 insurance companies that could be expected to be on the receiving end of a lot
 of litigation. Recall too that all these cases arose during the regime of Swift v.
 Tyson.282 Removal, therefore, enabled these foreign corporations to take advan-
 tage of federal common law that might have been far friendlier to defendants
 than state common law was, and might reasonably have been perceived as
 hostile to legitimate state interests. It may no longer seem fantastic that a state


    278. Donald,241 U.S. at 332.
    279. Barron v. Burnside, 121 U.S. 186, 197 (1887).
    280. 232 U.S. 318 (1914).
    281. Cf Blake v. McClung, 172 U.S. 239, 254-55 (1897) ("Such a power [of excluding foreign
 corporations] cannot be exerted with the effect of defeating or impairing rights secured to citizens of the
 several states by the supreme law of the land.").
    282. 41 U.S. (16 Pet.) 1 (1842).




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        could decide that it was better off without the corporations at all if disputes
        involving such corporations were likely to be resolved in federal court.28 3 And
        if this is the state's genuine view, then its offer to admit foreign corporations on
        the condition that they agree not to remove is not coercion.
            I do not mean, of course, to claim that this was the bona fide view held by
        states generally or that even one state actually evaluated matters in this way. My
        point is only that the constitutionality of the state laws conditioning the privi-
        lege of doing business on foreign corporations' waiver of their removal rights
        depends upon both factual and legal predicates. The Harrison Court's declara-
        tion "that the states are, in the nature of things, without authority to penalize' 2or4
        punish one who has sought to avail himself of the Federal right of removal
        could not have been better put; it flows (I have argued) from the very meaning
        of a constitutional right. But this is not quite enough to support the conclusion
        that the conditional offers were unconstitutional, for it remained to determine
        that the state's carrying out of its threat did penalize (or punish) exercise of the
        right. And that, I have tried to show, is a factual question; the nature of things
        cannot furnish the answer.2 85 It is a question, furthermore, that courts should not

           283. Of course, it could have avoided application of federal common law by allowing foreign
        corporations but codifying its preferred common-law rules. But there are many legitimate reasons why
        a state may not favor this option.
           284. 232 U.S. at 329.
           285. That a close analysis of the removal cases may be of more than academic interest is suggested
        by the 1931 case of Railway Express Agency v. Virginia, 282 U.S. 440 (1931). Railway Express, a
        Delaware corporation, sought to operate an intrastate "express" business in Virginia. Pursuant to a state
        constitutional provision, however, Virginia required Railway Express to take out a Virginia charter of
        incorporation as a condition of being allowed to operate the intrastate business. Id. at 443. Railway
        Express refused and sued in federal court, arguing "that the requirement of the Virginia Constitution
        deprives [it] of its right to sue in the federal courts and to remove suits to them on the ground of
        diversity of citizenship." Id. at 444. A unanimous Court, per Justice Holmes, disagreed.
           But why? Under the authority of Terral, Railway's argument seemed strong. If Virginia could not
        condition the right to engage in in-state business on a foreign corporation's promise not to remove,
        surely it should not be allowed to achieve the same result by requiring the foreign corporation to
        reincorporate as a domestic corporation. Indeed, the parity of the two state law mechanisms had been
        obvious to Chief Justice Chase writing fifty years earlier in Morse. See Home Ins. Co. v. Morse, 87 U.S.
        (20 Wall.) 445, 459 (1874) (Chase, C.J., dissenting) (observing that the no-removal condition "is no
        more than saying that the foreign corporation must, for the purposes of all litigation growing out of the
        business transacted there, renounce its foreign citizenship and become pro tanto a citizen of that
        State"). Then again, the Court's earlier holdings in James and Allison, see discussion supra note 257,
        furnished the Court with a ready reply-namely, that Railway misunderstood the effect of the
        involuntary reincorporation. Although Virginia can condition the right to do business on reincorpora-
        tion, Holmes might have said, that reincorporation would not serve to confer domestic citizenship for
        purposes of federal diversity jurisdiction.
           Remarkably, however, Holmes said nothing of the sort. Instead of correcting Railway's understand-
        ing of the legal effect of the reincorporation condition, he agreed that compliance with the condition
        would have precisely the consequence Railway feared. Railway's error lay, rather, in misapprehending
        the condition's constitutional significance:
            The appellant is not deprived of any rights. It can do all that it ever could. If it sees fit to
            acquire a new personality under the laws of Virginia it cannot complain that the new person
            has not the same rights as itself. Of course, there can be no suggestion here that the clause in
            the State Constitution was adopted for a sinister end. And, unless it was, the inability of the




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 feel they have no possible way to answer. Analysis could begin by exploring
 whether the costs avoided by carrying out the threat are significant enough as to
 make it plausible that a state would genuinely believe (not just pretextually
 claim to believe) that they outweigh whatever costs are thereby produced. This
 is essentially the inquiry that the Supreme Court undertook in City of Boerne v.
 Flores.2 8 6 It is an appropriate (though necessarily imperfect) way to gauge
 actual purposes.

 3. Horizontal Limits on Conditional Offers Extended by States
     The last federalism arena to investigate concerns conditional offers by states
 that threaten constitutional values regarding the relationships of the states to one
 another. The basic constitutional principle here-read off the dormant Com-
 merce Clause, the Equal Protection Clause, and the Privileges and Immunities
 Clause of Article IV-presumptively forbids discrimination against out-of-state
 parties and interests in favor of in-state parties. The task, accordingly, is to
 determine when discrimination runs afoul of constitutional values.
     Start by considering the dormant Commerce Clause. At the least-and possibly at
 the most-it prohibits state actions undertaken for discriminatory (or "protection-
 ist") purposes. 287 Dormant Commerce Clause jurisprudence, then, is likely to provide
 good opportunities for examining how to think about legislative purposes. And
 Kassel v. ConsolidatedFreightways2 88 constitutes an excellent vehicle.


     new State corporation to do all that the appellant could have done is only the legitimate
     incident of a legitimate act.
 Ry. Express Agency, 282 U.S. at 444. Railway Express stands in obvious tension with Terral. See Note,
  UnconstitutionalConditions, 73 HhAv. L. REv. 1595, 1607 n.86 (1960) (observing that Terral "has been
 somewhat vitiated" by Railway Express). And the hint subtly dropped-that, unlike the state law
 conditioning such privileges on such corporation's reincorporation, a state law conditioning in-state
 business privileges on a foreign corporation's agreement not to remove is "adopted for a sinister
 end"-hardly amounts to a convincing reconciliation. Perhaps a closer attention to coercion analysis
 can help resolve whether these cases are reconcilable, or whether one of these constitutional rules is
 unsound.
    286. 521 U.S. 507 (1997). City of Boerne held that the Religious Freedom Restoration Act (RFRA)
 was not a valid exercise of Congress's enforcement power under the Fourteenth Amendment. "RFRA is
 so out of proportion to a supposed remedial or preventive object," the Court reasoned, "that it cannot be
 understood as responsive to, or designed to prevent, unconstitutional behavior. It appears, instead, to
 attempt a substantive change in constitutional protections." Id. at 532. This looks like pure actual-
 purpose review: Because the substantive effect of the law is so out of proportion to its prophylactic
 effect, the Court seems to say, we disbelieve the government's representation that Congress actually
 acted out of a prophylactic purpose. Elsewhere in the opinion, however, the Court sends a different
 signal, indicating that whether Congress actually had a prophylactic purpose is immaterial. On this
 view, the judicially perceived overinclusiveness of the congressional ban renders the statute inappropri-
 ate as an enforcement device no matter what Congress's actual motive was. See id. at 530 ("While
 preventive rules are sometimes appropriate remedial measures, there must be a congruence between the
 means used and the ends to be achieved. The appropriateness of remedial measures must be considered
 in light of the evil presented."). These two readings are nearly reconciled if a legislative "purpose" is
 conceived as a social construct.
    287. See generally Regan, supra note 87.
    288. 450 U.S. 662 (1981).




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          Kassel arose when Consolidated, a nationwide trucking company, chal-
       lenged an Iowa regulation that, with some qualifications, banned trucks
       longer than sixty feet from its interstate highways. 28 9 The statute presented a
       classic conditional offer: If you are driving a truck no longer than sixty feet,
       you may use our interstate highways; if not, you may not. The rule particu-
       larly aggrieved Consolidated because it used sixty-five-feet trucks that were
       permitted in all of the adjoining states. 29 ° It also encumbered those adjoin-
       ing states because the effect of the Iowa rule was to shunt additional truck
       traffic to those states, imposing costs measurable in terms of additional      29 1
       accidents and road wear. Iowa defended the rule as serving highway safety.
       A fractured Supreme Court affirmed lower court rulings that had held the
       rule unconstitutional.
          Writing for a four-Justice plurality, Justice Powell concluded that the
       district court findings adequately established that the safety benefits were so
       small as to be outweighed by the burden imposed on interstate commerce.2 92
       Concurring in the result, Justice Brennan, joined by Justice Marshall, argued
       that the Pike balancing test was inappropriate. Because, in Brennan's view,
       the length limitation was maintained for discriminatory purposes, it should    29 3
       be subject to, and fall under, the virtually per se rule of invalidity.
       Then-Justice Rehnquist, joined by Chief Justice Burger and Justice Stewart,
       dissented. Finding that the safety benefits were not illusory, Rehnquist
       argued that the plurality was wrong to subject them to judicial balancing.2 9 4
       And believing that Iowa's asserted purpose to promote highway safety was
       not "merely a pretext for discrimination against interstate commerce, ' 295 he
       urged that the concurrence erred in applying the virtually per se rule.
       "Whenever a State enacts more stringent safety measures than its neighbors,
       in an area which affects commerce, the safety law will have the incidental
       effect of deflecting interstate commerce to neighboring States," Rehnquist
       explained.

            Indeed, the safety and protectionist motives cannot be separated: The whole
            purpose of safety regulation of vehicles is to protect the State from unsafe
            vehicles. If a neighboring State chooses not to protect its citizens from the
            danger discerned by the enacting State, that is its business, but the enacting
            State should not be penalized296when the vehicles it considers unsafe travel
            through the neighboring State.



         289. The statute is described in Kassel. See id. at 665-67. The qualifications need not detain us.
         290. Id. at 665.
         291. Id. at 667.
         292. Id. at 671-79.
         293. Id. at 680-87 (Brennan, J., concurring).
         294. Id. at 691 (Rehnquist, J., dissenting).
         295. Id. at 692.
         296. Id. at 705-06.




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    Kassel is a rich and fascinating case." Here, though, I wish to make just
 one, fairly obvious point: Contrary to then-Justice Rehnquist, "safety and
 protectionist motives" can be separated. And the ability to operationalize coer-
 cion depends on knowing how to do it.
    The plurality and concurrence express some doubt about whether Iowa's ban on
 sixty-five-foot trucks was motivated at all by safety concerns. Perhaps it was driven
 only by interest in shunting trucks to other states in order to save highway repair
 costs. 298 But put this speculation aside. Assume, with the dissent, that Iowa's true
 concern was to promote safety. The critical point is that this is not yet the end of the
 analysis; for, the fact that Iowa was motivated by safety interests is not enough to
 establish that the length-limit's effect "of deflecting interstate commerce to the neigh-
 boring States" is-as the dissent puts it--"incidental."
    If the Iowa Legislature actually believed that trucks shorter than sixty feet are
 safer than trucks longer than sixty feet, then the eventual consequence of
 adopting the sixty-foot length limit-inducing truckers to run the longer trucks
 around Iowa-truly is "incidental" to realization of Iowa's safety purpose, even
 if the legislators knew in advance that the truckers would prefer switching
 routes (running sixty-five-foot trucks around Iowa) to switching trucks (running
 sixty-foot trucks through Iowa). But if the decisionmaker did not believe that
 sixty-foot trucks were safer than sixty-five-foot trucks--or did not believe that
 the marginally shorter trucks were so much safer as to outweigh the reduction in
 safety that would come from the running of a marginally greater number of
 trucks-then the state's supposed purpose to promote safety could be realized
 only by virtue of the truckers' expected decision to bypass the state. In that case,
 the effect of deflecting interstate commerce is not incidental, it is intentional.
 (This, of course, is the distinction between knowledge and purpose, as high-
 lighted by the principle of double effect.) If the latter is true, then Iowa's refusal
 to allow sixty-five-foot trucks into the state is supported by a protectionist
 purpose, and hence unconstitutional. If conceived of as a conditional offer,
 therefore, the law is coercive. If conceived, instead, as a classification, it is
 protectionist.29 9 Either way, contrary to the dissent's suggestion, the statute can
 be unconstitutional even if adopted to promote the state's interests in safety.

    297. Among other things, the case contains a state action question that is only lightly touched upon,
 see id. at 704-05, insofar as the protectionist purpose Justice Brennan relies upon at most explains the
 Governor's 1974 decision to veto a bill that would have raised Iowa's length limit from sixty feet to
 sixty-five feet, and is not at all plausible in explaining Iowa's initial enactment, in 1963, of the
 sixty-foot limit that was then in effect in her neighboring states as well. It does seem to me that there
 are cases in which it is appropriate to inquire into purposes for inaction, as well as for action, and that
 Kassel is just such a case. But defending either of these claims would take us afield. See, e.g., Julian N.
 Eule, Laying the Dormant Commerce Clause to Rest, 91 YALE L.J. 425, 459 (1982); Steven C. Kohl,
 Recent Development, 8 J. CoRp. L. 543, 556 (1983). The discussion in text proceeds as though Iowa's
 sixty-foot truck limit had been newly enacted in 1974.
    298. See Kassel, 450 U.S. at 676 n.19.
    299. This parity of outcome between analyses couched in terms of conditional offers and discrinmina-
 tion lends comfort to the hope that we could be flexible when determining whether a case raises an
 unconstitutional conditions problem. See supra pp. 11-12.




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                                                                               3
           So much for the dormant Commerce Clause. I mentioned earlier 00 that it is
       more propitious in the federalism context to think in structural rather than
       clause-specific terms. For a textbook illustration, consider Western & Southern
                                                                 3°
       Life Insurance Co. v. State Board of Equalization. ' The case arose as a
       challenge to a "retaliatory tax" that California imposed on foreign insurance
       companies doing business in California whose home states charge higher taxes
       on insurers doing business there than California would charge (absent the
       retaliation). 30 2 Naturally, this would have been a clear-cut violation of dormant
       Commerce Clause jurisprudence, except that the Court had held much earlier
       that the McCarran-Ferguson Act 3 03 immunized discriminatory state insurance
       taxes from Commerce Clause scrutiny. 3°4 And the scheme did not violate the
       Privileges and Immunities Clause 30 5 because that clause's protection had been
       held not to extend to corporations.30 6 The remaining question, as the Court saw
                                                                                       30 7
       it, was whether the discriminatory tax violated the Equal Protection Clause. It
       held, seven to two, that it did not.
           Justice Brennan, writing for the majority, seemed to think this an easy case.
       Under standard equal protection doctrine, of course, the test was whether the
       discrimination was rationally related to a legitimate state interest. Observing
       that "the principal purpose of retaliatory tax laws is to promote the interstate
       business of domestic insurers by deterring other States from enacting discrimina-
       tory or excessive taxes,, 303089 the majority expressed "no doubt" that this was "a
       legitimate state purpose.
           Perhaps this is ultimately correct. Yet, it is hard to shake the feeling that
       something important is missing from the analysis. Although the majority's
       rudimentary equal protection reasoning had taken account of the foreign compa-
       nies' rights to be treated equally with domestic companies (absent adequate
       justification for the discrimination), it completely ignored another interest deserv-
       ing of constitutional solicitude-namely, other states' rights not to be subjected
        to coercion by a sister state. 3 10 This seems to be Justice Stevens's objection to


         300. See supra p. 49.
         301. 451 U.S. 648 (1981). See generally Note, Taxing Out-of-State CorporationsAfter Western &
       Southern: An Equal ProtectionAnalysis, 34 STAN. L. REv. 877 (1982).
         302. W. & S. Life Ins. Co., 451 U.S. at 650.
         303. 15 U.S.C. §§ 1011-1015 (2000).
         304. See, e.g., Prudential Ins. Co. v. Hobbs, 328 U.S. 822 (1946) (per curiam); Prudential Ins. Co. v.
       Benjamin, 328 U.S. 408 (1946).
         305. U.S. CONST. art. IV, § 2, cl. 1 ("The Citizens of each State shall be entitled to all Privileges and
       Immunities of Citizens in the several States.").
          306. See supra note 238.
          307. W & S. Life Ins. Co., 451 U.S. at 656.
          308. Id. at 668.
          309. Id. at 671 (citing Parkerv. Brown, 317 U.S. 341, 363-67 (1943)).
          310. Admittedly, no other state was a plaintiff in this suit; the challenge was brought by a single
        Ohio-based insurance company. It is worth mentioning, therefore, that sound reasons of the case-or-
        controversy variety may conceivably justify the narrowness of the Court's inquiry. Yet there is not the




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  the California statute, declaring in dissent that "[t]he practice of holding hos-
  tages to coerce another sovereign to change its policies is not... legitimate." 3 "
  But if Stevens was surely correct to focus attention on this systemic concern, his
  repeated charge that California was trying to "coerce" other sovereigns 31 2 did
  not make his case as clearly as one may wish, for it failed adequately to
  operationalize the concept. As we have seen, epithetic and conclusory charges
 of coercion are easy enough both to levy and to ignore. What precisely did he
 mean when chastising California for harboring "coercive motivation"? 3 13
    The issue can be analyzed much more satisfactorily by recognizing at the
 outset that California's tax scheme takes the standard form of the unconstitu-
 tional conditions problem: If you impose no higher than a two percent tax on
 our insurance companies (California is proposing to other states), then we will
 subject your insurers to no higher than a two percent tax, too. 3 14 Suppose
 California carries out its threat (as indeed it did). Does this penalize Ohio's
 sovereign constitutional right to determine its own tax rate? 3 5 That carrying out
 the threat burdens Ohio's right is plain. So what is California's purpose?
 According to the majority, "the purpose is not to generate revenue at the
 expense of out-of-state insurers, but to apply pressure on other States to
 maintain low taxes on California insurers. 3 16 And so I suppose it was. But this
 is equivalent to saying that California's purpose is to deter states from exercis-
 ing their constitutional rights to impose certain (otherwise permissible) taxes
 within their proper sovereign spheres. And that, I have argued, is to penalize a
 constitutional right-which is presumptively just what a state may not do. If my
 conception of what it means to have a constitutional right is correct, and if I am
 also correct that states must be understood to possess constitutional rights to


 slightest hint in either the majority or dissenting opinions that a different result, and a different analysis,
 might properly obtain had the State of Ohio intervened in support of the Western & Southern Life
 Insurance Company. Consequently, I put justiciability concerns aside in the discussion that follows.
    311. W. & S. Life Ins. Co., 451 U.S. at 674 (Stevens, J., dissenting).
    312. Id. at 674, 675, 677 n.7.
    313. Id. at 675. The suspicion that Justice Stevens is not entirely sure of his ground is reinforced by
 his apparently favorable quotation of the United States's argument, advanced as amicus curiae, "that
 California has no legitimate interest in Ohio's level of taxation or fiscal structure when no discrimina-
 tory action against California citizens or corporations is involved." Id. at 676 n.3. Surely this is
 mistaken. California would be perfectly entitled, say, to pay lobbyists to encourage the Ohio Legislature
 to reduce its taxes on insurance companies. This illustrates the difference between purpose and coercion
 that Justice Stevens overlooks. Even if the conditional offer is unconstitutional by reason of coercion
  (and, as I proceed to argue in text, I am inclined to agree that it is), California's purpose (or motivation)
 for making the offer is still constitutionally permissible.
    314. Of course, the fact that the burden threatened would be nominally imposed on a different party
 than the offeree is of no moment. It is uncontroversially coercive, for purposes of moral theory and
 criminal law, to threaten to kill someone's spouse or child unless he pays a ransom.
    315. The text blithely assumes that the Constitution should be construed to protect such a "right." It
 seems to me that the smaller and weaker states-which succeeded, after all, in achieving equal
 representation in the Senate-could not fairly be assumed to have consented to anything less. But the
 question could be reasonably argued.
    316.   W &S. Life Ins. Co., 451 U.S. at 669-70.




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        legislate that are valid as against sister states as well as against the national
        government, then it would seem to follow that California's imposition of its
        retaliatory tax was an unconstitutional penalty and that its proposal was-just as
                                                                   31 7
        Justice Stevens intuited-unconstitutionally coercive.
           At least all that is so if the majority correctly identified the purpose animating
        California's imposition of the retaliatory tax. Perhaps, however, California can
        rely on a different purpose that both justifies the discriminatory treatment and is
        not ruled out of bounds at this stage of coercion analysis. But what could that
        purpose be? It cannot be merely to raise revenue, for the Court had (properly)
        ruled that out as a permissible justification for discriminatory taxation decades
        earlier.31 8 The only alternative, it would seem, would be to claim a purpose in
        giving domestic insurance companies a competitive advantage over their for-
        eign competitors. States often grant subsidies to their domestic corporations to
        bolster their competitive positions. Can states use discriminatory taxation to
        realize this same end? By the time of Western & Southern that was an open
        question. It was answered in the negative three years later in Metropolitan Life
        InsuranceCo. v. Ward.3 19
           Per Ward, then, California's retaliatory scheme is coercive. And if coercive, it
                                                320 Therefore, if Ward was right that a state's
        is almost certainly unconstitutional.


           317. To see that this is so, imagine a variation on the actual California law. Suppose the maximum
        speed limit on California highways was fifty-five miles per hour, except that cars licensed from every
        other state must drive two miles per hour slower for every tenth of a percent by which the tax that such
        state imposed on the premiums of insurance companies doing business within that state exceeded two
        percent. (For purposes of this illustration, assume away the dormant Commerce Clause and the
        Privileges and Immunities Clause.) The purpose of the proposal is the same as in the actual case-to get
        other states to lower their taxes to no higher than two percent. According to Brennan's analysis, this
        would not be coercive because it is reasonably related to advance the legitimate state interest in getting
        other states to lower their taxes to no higher than two percent. Cf. id. at 672 (concluding that the
        discriminatory tax was reasonably related to the legitimate purpose because "it is reasonable to suppose
        that California's retaliatory tax will induce other States to lower the burdens on California insurers in
        order to spare their domestic insurers the cost of the retaliatory tax in California"). If (as I believe) this
        law is coercive, then, contra the majority, that the purpose animating California's proposal is legitimate
        cannot by itself serve to legitimate carrying out the threat.
            318. Id. at 662--64 (discussing Hanover Fire Insurance Co. v. Harding, 272 U.S. 494 (1926); and
        Southern Railway Co. v. Greene, 216 U.S. 400 (1909)).
            319. 470 U.S. 869 (1985). Ward involved an Alabama insurance tax scheme that imposed a 1% tax
        on premiums paid to Alabama insurance companies, but taxed foreign insurance companies at 3% or
        4%, depending upon the type of policy. Id. at 871-72. (The statute also provided incentives-which we
        can safely ignore for simplicity sake-whereby foreign insurers could lower their rates to 2% or 3%,
        respectively, by investing in specified Alabama assets.) Alabama argued that this discriminatory tax did
        not violate equal protection because it was rationally related to a legitimate state interest in encouraging
        the formation of new insurance companies in Alabama. Id. at 873.
            320. Although coercion is only presumptively unconstitutional, it is hard to imagine how it could be
        justified in this case. First, the Court's conclusion that it was legitimate for California to try to deter
         other states from taxing at certain rates does not itself entail that such an interest is sufficiently
         important to justify the use of coercive means. Moreover, absent some explanation for why California's
         interest in influencing other states' legislative choices is especially important in this particular context,
         to deem California's interest adequate to justify this coercion is effectively to deny that states have a
         constitutional right, valid against other states, to legislate as they choose. Though I am inclined to




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 interest in promoting the well-being of its own domestic insurance companies is
 not sufficient to justify discrimination in taxation against foreign insurance
 companies,"' then the retaliatory scheme adopted by California was necessarily
 coercive and, nearly just as certainly, not in service of an interest of sufficient
 importance to make it constitutionally justifiable. If Ward is right, then Western
 & Southern is wrong. Moreover, I now want to argue, if Western & Southern is
 right, then Ward is wrong.
    Think of it this way: Both Alabama and California sought to promote the
 interests of their own insurance companies. And both employed discriminatory
 taxes to do so. But, as the Ward majority emphasized, there is this difference:

      Alabama has made no attempt, as California did, to influence the policies of
      other States in order to enhance its domestic companies' ability to operate
      interstate; rather, it has erected barriers to foreign companies who wish to do
      interstate business in order to improve its domestic insurers' ability to com-
                     322
      pete at home.

 This, the Court concluded, justified treating the two cases differently:

      In Western & Southern.... we did not hold as a general rule that promotion
      of domestic industry is a legitimate state purpose under equal protection


 believe that state coercion of another state will often be justifiable where such coercion is well suited to
 overcome a collective action problem, that does not appear to be the case here.
    321. This premise-that Ward was rightly decided-is admittedly doubtful. Indeed, the five-to-four
 decision over a vigorous dissent by Justice O'Connor (for a striking lineup consisting of herself and
 Justices Brennan, Marshall, and Rehnquist) has not fared well in the academic commentary. But if Ward
 was wrongly decided, it is likely for Alabama-specific reasons. As the dissent explained, Alabama's
 interest in the well-being of Alabama insurance companies was especially deserving of solicitude, for
 the state had good reasons to believe "that domestic insurance companies, on the whole, benefit the
 state in ways which foreign companies do not." 470 U.S. at 886 (O'Connor, J., dissenting) (quoting
 Brief for Appellants). Economic studies indicated that domestic insurers tended to offer products, and to
 serve clients, that national insurers did not. "Foreign insurers typically concentrate on affluent, high
 volume, urban markets and offer standardized national policies. In contrast, domestic insurers are more
 likely to serve Alabama's rural areas, and to write low-cost industrial and burial policies not offered by
the larger national companies." Id. at 887; see Robert C. Farrell, Successful Rational Basis Claims in
the Supreme Courtfrom the 1971 Term Through Romer v. Evans, 32 IND. L. REv. 357, 392-93 (1999).
But cf. Douglas Laycock, Equal Citizens of Equal and TerritorialStates: The ConstitutionalFounda-
tions of Choice of Law, 92 COLUM. L. REv. 249, 266-70 (1992) (arguing that the type of discrimination
at issue in Ward is properly subjected to searching scrutiny). Therefore, even if discriminatory taxation
did serve legitimate state interests in the unusual circumstances present in Alabama, it remains doubtful
that it would serve legitimate state interests in California. So while Western & Southern is wrong if
Ward is right, it is very possibly wrong even if Ward was wrong. On the other hand, if Ward was wrong
because it is misconceived at the outset to employ the Equal Protection Clause to scrutinize state
policies that discriminate in favor of in-state insurers that (by hypothesis) the McCarran-Ferguson Act
seeks to validate against dormant Commerce Clause challenge, see, e.g., Regan, supra note 87, at 1277;
William Cohen, Federalism in Equality Clothing: A Comment on Metropolitan Life Insurance Com-
pany v. Ward, 38 STAN. L. REv. 1 (1985), then Western & Southern reached the correct result despite its
reasoning.
    322. Ward, 470 U.S. at 877-78.




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             analysis. Rather, we held that California's purpose in enacting the retaliatory
             tax-to promote the interstate business of domestic insurers by deterring other
             States from enacting discriminatory or excessive taxes-was a legitimate one. 323

          But surely this is exactly backwards. The imposition of a discriminatory tax,
        by Alabama and California alike, threatens national economic well-being and
        therefore warrants constitutional scrutiny. But only the California scheme, and
        not Alabama's, threatens an additional interest in maintaining proper relation-
        ships of power between formally coequal sovereigns. That interest, too, must be
        given constitutional protection. Therefore, both schemes may be constitutional,
        or both may be unconstitutional. If one is more constitutionally problematic
        than the other, however, it is almost certainly the policy that would penalize the
        exercise of a coequal state's sovereign rights, not the policy that employs
        discrimination to serve its own internal interests. Interestingly, though, not one
        of the eight Justices 324 who sat in both Western & Southern and Ward perceived
        that constitutional values cut in this direction-that is, that the Alabama scheme
        may be permissible and the California one impermissible. Again, a careful
        analysis of coercion can reveal what a less systematic analysis obscures.

                                            B.   INDIVIDUAL LIBERTIES

           If federalism cases produce a large number of unconstitutional conditions
        questions, the variety of issues, and number of cases, implicating unconstitu-
        tional conditions in the realm of individual liberty is staggering. Space con-
        straints, accordingly, cut here with especial bite. Although the following
        discussion touches on a range of individual liberties, the analysis remains more
        broad than deep. My goal is not to conclusively resolve any particular constitu-
        tional disputes, but only to point the way toward their resolution.

        1. The First Amendment: Speech
           Most likely, more unconstitutional conditions cases arise implicating expres-
        sive rights protected by the First Amendment than in any other single area of
        constitutional law. In standard analyses, these cases are quickly funneled into a
        complex array of doctrinal categories-public employment, government subsi-


          323. Id. at 876-78. The majority later wrote:
            Unlike the retaliatory tax involved in Western & Southern, which only burdens residents of a
            State that imposes its own discriminatory tax on outsiders, the domestic preference tax gives
            the "home team" an advantage by burdening all foreign corporations seeking to do business
            within the State, no matter what they or their States do.
        Id. at 878. Actually, the California retaliatory tax imposed discriminatory burdens on insurers from
        every state that imposed insurance taxes higher than those imposed by California itself; the state
        burdened need not discriminate. This blatant mischaracterization-which escaped comment from the
        dissent-may be taken to signal that, by the time of Ward, a majority had already become uncomfort-
        able with Western & Southern.
           324. Justice O'Connor joined the Court after its decision in Western & Southern.




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  dies, public forum, commercial speech, and so forth. Although this way of
  organizing a disorderly terrain no doubt has much to recommend it, it does have
  the unfortunate tendency to mask underlying concerns that cut across the
  categories. The following analysis therefore eschews organization by standard
  classifications.3 25 Instead, I follow the structure suggested by the three dimen-
  sions of unconstitutionality sketched out in Part III and further developed in
  Part IV: examining first, how governmental offers conditioned on the recipient's
 waiver of interests (putatively) protected by the First Amendment may be
 unconstitutional because coercive; second, how they may be unconstitutional by
 reason of the offers' effects; and third, how they may be unconstitutional by
 reason of the animating governmental purpose. (Because emphasis will be on
 the word how-as distinct from which-we will need to consider just a few
 illustrations drawn from the voluminous case law.)
     There is reason for this approach. The analyses in the last section focused on
 the presence or absence of coercion because that is the issue upon which the
 difficult cases in the federalism arena tend to stand or fall: If the act that
 government conditionally threatens is unconstitutional (usually because it would
 penalize exercise of a constitutional right), then the proposal is unconstitutional
 by reason of coercion; but if the offer is not coercive, then it is likely to face no
 constitutional impediment at all. Unconstitutional conditions analysis of First
 Amendment cases is unruly, it turns out, because coercion does not here play
 such a pivotal role. The fact that a given conditional offer that implicates speech
 rights is not coercive does not so strongly imply the offer's constitutionality. It
 is not surprising, therefore, that speech cases have featured so prominently in
 the thinking of those skeptical of unconstitutional conditions theorizing.32 6 But
 while the skeptics are correct that proper analysis in this area relies especially
 on substantive and contestable interpretations of the First Amendment, any
 implication that general unconstitutional conditions theorizing is thereby re-
 vealed to be useless is mistaken. Rather, the free speech context is most
 distinctive because it is here that the necessary three-dimensionality of unconsti-
 tutional conditions analysis is thrown into sharpest relief.

 a. Coercion. A great many conditional offers by government run afoul of the
 First Amendment on the dimension of coercion, which is to say that the
 government violates the First Amendment when carrying out its threat.
    Perry v. Sindermann32 presents a classic example. Sindermann, a teacher in


   325. I explore how best to analyze conditional offers that arise in one particular doctrinal area-
commercial speech-in Mitchell N. Berman, Commercial Speech and the UnconstitutionalConditions
Doctrine: A Second Look at "the GreaterIncludes the Lesser," 55 VAND. L. REV. (forthcoming Apr.
2002).
   326. See, e.g., Alexander, supra note 19, at 1009 (opining that large portions of the unconstitutional
conditions area, "and particularly large portions of conditions on free speech, cannot be theoretically
rationalized"); Schauer, supra note 19, at 1002; Sunstein, Anachronism, supra note 21.
   327. 408 U.S. 593 (1972).




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        the Texas state college system, alleged that the state declined to renew his
        contract because he had issued statements critical of the Board of Regents.3 28
        The Supreme Court held that, if Sindermann's allegations were true, the state's
        action would violate the First Amendment. In a frontal assault on greater-includes-
        the-lesser reasoning, the Court explained

             that even though a person has no "right" to a valuable governmental benefit
             and even though the government may deny him the benefit for any number of
             reasons, there are some reasons upon which the government may not rely. It
             may not deny a benefit to a person on a basis that infringes his constitutionally
             protected interests-especially his interest in freedom of speech. For if the
             government could deny a benefit to a person because of his constitutionally
             protected speech or associations, his exercise of those freedoms would in
             effect be penalized and inhibited.329

           This is correct, of course, yet perhaps ambiguous just where it matters. Even
        conceding that the government "may not deny a benefit to a person on a basis
        that infringes his constitutionally protected interests," the question would still
        remain whether the state's action does infringe such interests. And the next
        sentence does not fully clarify matters. Presumably, the state could have refused
        to renew Sindermann's contract on the grounds (if true) that he used abusive
        language in class, even though such policy might thereby "inhibit" exercise of
        First Amendment freedoms. Fleshing out the Court's somewhat vague allusion
        to governmental reasons, it would be more precise to say that exercise of
        protected freedoms is penalized-hence presumptively unconstitutional-if the
        government denies a benefit for the purpose of punishing or discouraging
        exercise of those freedoms. If this were a purpose behind the state's decision not
        to renew Sindermann's contract, then the implicit corresponding offer 33 -we
        will employ you if you refrain from exercising your rights to criticize the
        regents-constitutes unconstitutional coercion.
           Moving from the area of public employment to that of government subsidies,
        consider another easy case, Grosjean v. American Press Co.331 Grosjean in-
        volved a challenge to a two percent license tax the State of Louisiana imposed
        on the gross advertising receipts of all newspapers with a weekly circulation
        above 20,000.332 The evidence suggested that the tax was levied for the purpose
        of punishing newspapers that had been critical of Senator Huey Long. Although
        the actual opinion striking down the tax left its reasoning somewhat opaque, the


          328. Id. at 595.
          329. Id. at 597.
          330. Of course, once we have already adjudged as a penalty some action that the state undertook
        without having first articulated an explicit biconditional proposal, there is ordinarily little need to
        imaginatively reconstruct the event as though it contained a threat to impose the penalty. See supra note
        169 (acknowledging potential artificiality in distilling conditional offer from imposition of penalty).
          331. 297 U.S. 233 (1936).
          332. Id. at 240.




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 Court expressed many years later that "the result in Grosjean may have been
 attributable in part to the perception on the part of the Court that the state
 imposed the tax with an intent to penalize a selected group of newspapers. 33 3
 This, of course, would make the tax (in my terms) a penalty. Had there been any
 implicit offer to rescind the tax for a change in the large newspapers' behavior,
 that would have been coercion.
    The question of coercion also arose in FCC v. League of Women Voters,33 4 a
  1984 decision involving a challenge to a provision of the Public Broadcasting
 Act that extended grants to noncommercial educational broadcasting stations on
 the condition that they refrain from editorializing. A closely divided Court
 struck down the provision, concluding that the ban on editorializing did not
 serve sufficiently substantial interests, or did not serve them in a sufficiently
 tailored manner "to justify the substantial abridgment of important journalistic
 freedoms. 33 5 Unfortunately, Justice Brennan's majority opinion gave short
 shrift to the fact that the condition attached to congressional spending, devoting
 only three of its thirty-five pages to the possible distinction between conditional
 spending and other forms of regulation.33 6
    On a coercion analysis, the question is whether the government's withdrawal
 of subsidies from an otherwise qualifying broadcaster that refused to comply
 with the editorializing ban would be unconstitutional. Naturally, withdrawal of
 subsidies has the effect of burdening the broadcaster's exercise of its First
 Amendment rights. But it is hard to conclude that this effect alone provokes a
 constitutional demand for heightened justification without committing oneself
 to a host of absurdities. After all, the Pentagon's decision to buy time for armed
 forces recruitment commercials only during televised sporting events also
 burdens the exercise of First Amendment rights of a broadcaster that chooses to
 replace its weekly college basketball telecasts with reruns of Murder, She
 Wrote. It therefore becomes critical to determine whether the burden is a
 penalty.
    The answer would be yes if Congress was motivated to reduce the total
 amount of political commentary, or to silence editorials likely to express a
 particular viewpoint. And the particular content of the conditional offer ("if you
 stop editorializing, then we will continue to fund you") at least suggests such a
 purpose. But that this purpose is conceivable does not make it certain. And, on
 reflection, it seems unlikely. Rather, as Justice Stevens explained in dissent,
 Congress appeared to have attached the no-editorializing condition (along with
 a condition, not challenged, against supporting or opposing candidates for
 public office) "to avoid the insidious evils of government propaganda favoring



    333. Minneapolis Star & Tribune Co. v. Minn. Comm'r of Revenue, 460 U.S. 575, 579-80 (1983)
 (discussing the historical background to the tax).
    334. 468 U.S. 364 (1984).
    335. Id. at 402.
    336. Id. at 399-401.




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       particular points of view,' 337 for "[tihe court jester who mocks the King must
       choose his words with great care" and "[a]n artist is likely to paint a flattering
       portrait of his patron. 33 8 Absent any greater indication that Congress's purpose
       in withholding the subsidy was to discourage criticism, the Court should have
       concluded that the proposal was not coercive.

       b. Effects. The suggestion that the conditional offer at issue in League of
       Women Voters was probably not coercive may be taken to imply that it was
       constitutional. But that is precisely the implication that the three-dimensional
       approach is designed to combat. Turn attention now from the government's act
       of carrying out the threat, which determines whether the conditional proposal is
       unconstitutionally coercive, to other features of the proposal itself. In particular,
       consider its effects. Perhaps the seduction of federal funding will be so great as
       to significantly reduce the amount of editorializing available to the public.
       Insofar as the First Amendment is construed to restrict state action that has the
       effect of reducing this sort of "public good," the no-editorializing condition may
       violate the First Amendment for reason of its effects, even if it is not coer-
       cive. 339
          Measuring the precise effects of the conditional offer at issue in League of
       Women Voters requires contestable judgments of predictive fact. But the (equally
       contestable) legal judgment that government action is potentially unconstitu-
       tional under the First Amendment because of its effect in reducing the total
       speech available to the public was made clear in United States v. National
       Treasury Employees Union.340 That case involved a challenge to a 1989 federal
       law prohibiting federal employees from accepting any compensation for giving
       speeches or writing articles.3 4 1 The Court upheld the challenge, but not because
       of concern with the government's purposes, or even (principally) out of solici-
       tude for the rights of individual employees who faced possible discharge. The
       Court's focus, rather, appeared to lie elsewhere--on the "significant burden"
       that the broad ban on honoraria imposes "on the public's right to read and hear


          337. Id. at 409 (Stevens, J., dissenting).
          338. Id. at 408.
          339. This is essentially the reasoning advanced by many commentators who have concluded that the
       case was correctly decided. See, e.g., Fallon, supra note 72, at 359; Merrill, supra note 1, at 878 n.94.
       This reasoning, incidentally, does satisfactorily distinguish League of Women Voters from Regan v.
       Taxation With Representation, 461 U.S. 540 (1983). In Taxation With Representation,the availability of
       the option to create a section 501(c)(4) affiliate for lobbying activities ensured that the government's
       conditioning of the more advantageous section 501(c)(3) classification on a tax-exempt organization's
       decision not to engage in substantial lobbying would not significantly reduce the amount of lobbying
       activities. See id. at 544 n.6. The fullest analyses of the constitutional implications of viewing speech as
       a public good are presented in Daniel A. Farber, Free Speech Without Romance: PublicChoice and the
       FirstAmendment, 105 HARV. L. REV. 554 (1991); and Richard A. Posner, Free Speech in an Economic
       Perspective,20 SUFFOLK U. L. REv. 1 (1986). For an analysis of the unconstitutional conditions problem
       in speech cases that focuses on the informational interests of the audience, see Cole, supra note 1.
          340. 513 U.S. 454 (1995).
          341. Id. at 457.




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 what the employees would otherwise have written and said."' 3 4 2 The conditional
 offer was unconstitutional, in short, by virtue of its effects.3 43

 c. Purposes. Consider, finally, how conditional offers may violate the First
 Amendment by reason of their animating purposes. Of course, Sindernann and
 Grosjean are themselves prime illustrations, as the purpose behind the offers in
 each case was (supposedly) to discourage political speech expressing a particu-
 lar viewpoint. They leave open the question, however, of whether a conditional
 offer may be unconstitutional on the dimension of purpose despite its being
 constitutional on the dimension of conduct (coercion). I suggested earlier 344 that
 some constitutional provisions may be best understood to flatly bar the state
 from acting so as to achieve certain types of objectives, even if it proceeds by
 means of encouragement that do not amount to coercion.
    The following hypothetical, adapted from Professor Kreimer,3 41 illustrates
 the point. Suppose that a city is deciding between two routes, A and B, on which
 to build a new road connecting the northern suburbs to downtown. Route A is
 the more advantageous to the local newspaper because it would pass close by
 the newspaper's printing facility. The mayor proposes to the newspaper's
 publisher that he will construct the road along route A if and only if the
 newspaper tones down its criticism of his administration. Conceivably, this is
 not coercive. If route B is actually better for the city, all things considered, then
 the mayor would not be acting unconstitutionally when (after the newspaper
 declines his proposal) he carries out his threat to build on route B. Very possibly,
 though, the conditional proposal should be held to violate the First Amendment
 by virtue of the mayor's purpose in trying to skew media coverage in ways
 favorable to his administration. The offer is unconstitutional because of the
 government actor's animating purposes, even if it is not coercive.
    The literature presents a stable of similar hypotheticals. David Cole, for
 example, asks whether the federal government "could create a National Endow-
 ment for Democratic Party Values, and provide grants to speakers, journalists,
 authors, artists, and filmmakers for propaganda supporting the Democratic


    342. Id. at 470. To be sure, this conclusion follows a discussion centered on how the ban affects
 individual government employees. But the Court's central concern with the effect on the public at large
 is foreshadowed at the very start of the majority's analysis section. "Federal employees who write for
 publication in their spare time have made significant contributions to the marketplace of ideas," Justice
 Stevens began, citing "literary giants" Nathaniel Hawthorne, Herman Melville, Walt Whitman, and Bret
 Harte. Id. at 464-65.
    343. For an extended argument favoring this type of analysis, see generally Merrill, supra note 1. As
 Merrill says, "[t]he public goods model would also predict that waivers of rights will be viewed more
 critically as the number of persons subject to the condition increases." Id. at 879. For a case employing
 this analysis, see Shelton v. Tucker, 364 U.S. 479 (1960) (striking down law conditioning employment
 as public school teacher on filing annual affidavit listing all organization to which teacher had had
 belonged or contributed, as creating an impermissible chilling effect).
    344. See supra p. 47.
    345. Kreimer, supra note 13, at 1371-72. Unlike the hypothetical in text, Professor Kreimer asks the
 reader to assume that the two routes serve city interests equally well.




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       platform. ' '346 The answer, of course, is that it could not. The purpose here, to
       promote speech of a particular partisan viewpoint, would be ruled unconstitu-
       tional. But if that is so, one might wonder, why is it constitutional for Congress
       to establish a National Endowment for Democracy, through which it provides
       grants to support propaganda favoring general democratic principles? 34 7 The
       answer is obvious: Though the two proposals share the same form, they differ in
       content. That it is unconstitutional for the government to act for the purpose of
       promoting speech favoring the Democrats (as opposed to, say, the Republicans)
       does not necessarily entail that it is unconstitutional for it to act (overseas only?)
       for the purpose of promoting speech favoring democracy (as opposed to, say,
       totalitarianism).34 8 Whether the latter is likewise unconstitutional depends, to be
       sure, upon one's interpretation of the substantive content of the First Amend-
       ment, in particular "on what sorts of motivations it allows government to
       have. ' 349 And to recognize this truth does open the door for disagreement over
       seemingly intermediate cases-like whether it is permissible for the government
       to act for the purpose of promoting "decent" art.350 But that should be expected
       once one recognizes that the familiar slogan that the First Amendment requires
       government neutrality regarding different views, however useful and important
       as a presumption, cannot be taken as a literal command.35 1
          Furthermore, to recognize that many unconstitutional conditions cases involv-
       ing the First Amendment will require contentious and contestable decisions
       regarding which values government may endeavor to promote-and thus will
       stand or fall on highly subjective judicial evaluations on the dimension of
       purpose-does not demonstrate that general principles of unconstitutional condi-


           346. Cole, supra note 1, at 687.
           347. See Rust v. Sullivan, 500 U.S. 173, 194 (1991).
           348. Kreimer's argument that the fact that the NEA would harbor "an illegitimate purpose" were it
        to exclude Republican applicants for grants in oil painting, but might not violate the First Amendment
        in favoring pointillists over cubists, somehow demonstrates that an unconstitutional conditions method-
        ology that turns on governmental purposes is "over-inclusive," Kreimer, supra note 13, at 1338-39, is,
        therefore, wide of the mark. To say that purposes are constitutionally relevant does not prejudge which
        purposes are prohibited by which constitutional provisions.
           349. GEOFFREY R. STONE ET AL., CONsTmmoNAL LAW 1765 (3d ed. 1996).
           350. See Nat'l Endowment for the Arts v. Finley, 524 U.S. 569 (1998). In Finley the Court rejected a
        facial challenge to a federal statute that directed the NEA to "tak[e] into consideration general standards
        of decency" when evaluating grant applications, 20 U.S.C. § 954(d)(1) (1994), by construing the
        provision as essentially hortatory, see Finley, 524 U.S. at 580-87, thus leaving open the question
        whether Congress could condition eligibility for NEA grants on the applying project's not being
        indecent. Justices Scalia, Thomas, and Souter all read the statute, more realistically, as having real bite
        in the selection process, but disagreed regarding whether such viewpoint discrimination is constitution-
        ally permissible. Compare id. at 590-600 (Scalia, J., concurring in the judgment, joined by Thomas, J.)
        (answering yes), with id. at 600-23 (Souter, J., dissenting) (answering no). This issue touches upon the
        more general question-which I raise here only to ignore-of whether, and under what circumstances,
        a governmental purpose to encourage z is tantamount to a purpose to discourage exercise of a right to x,
        where z entails -x as a matter of either logic or practical necessity.
           351. For a recent and persuasive defense of this proposition (albeit one that strikes me as unduly
        parsimonious in the extent to which it would recognize constitutionally legitimate restrictions on
        government partiality), see Abner S. Greene, Government of the Good, 53 VAND. L. REv. 1 (2000).




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  tions are illusory.35 2 General principles need not, after all, deny space for
  substantive interpretation of particular constitutional provisions. So long as a
  unitary analysis of unconstitutional conditions does more than merely direct
  courts to ask "whether the government has a legitimate motivation for the
  condition that is said to be unconstitutional, 35 3 we can have both a unitary
  theory and provision-specific analysis of legitimate governmental purposes.3 54

  2. The First Amendment: Religion
     The Probationhypothetical from Part IV 355 used the Establishment Clause to
  illustrate how a conditional proposal could be unconstitutional, even if not
  coercive, because of its animating purpose or actual (or probable) effects. We
  have just seen that the same is true of the Free Speech Clause of the First
  Amendment. Further consideration of the Religion Clauses reveals another
  unusual sort of unconstitutional condition. A conditional proposal is unconstitu-
  tionally coercive if the act threatened would be unconstitutional for any reason
  at all; it need not constitute a penalty. The evolution of free exercise jurispru-
  dence furnishes an illustration.
      Suppose that a state has established a scheme of unemployment compensa-
  tion for persons laid off from work. The eligibility qualifications require, among
  other things, that claimants look actively for appropriate employment and
  promise not to reject any job offer on the grounds that it necessitates work on


     352. This view is intimated in SToNE ET AL., supra note 349, at 1764-65.
     353. Id. at 1764.
     354. Of course, a single conditional offer can be unconstitutional across more than one dimension.
  An intriguing example from the Supreme Court's most recent Term is Legal Services Corp. v.
  Velazquez, 531 U.S. 533, 121 S.Ct. 1043 (2001), in which the Court invalidated a condition on federal
  funding to the Legal Services Corporation (LSC) that prevented LSC grantees from engaging in any
  legal representation involving an effort to challenge the validity of an existing welfare law. Seemingly
  invoking purpose scrutiny, the Court declared that, "[w]here private speech is involved, even Con-
  gress's antecedent funding decision cannot be aimed at the suppression of ideas thought inimical to the
  Government's own interest." 121 S. Ct. at 1052 (emphasis added). At the same time, the Court
  highlighted problems with the condition that seem largely, perhaps wholly, independent of congres-
  sional purposes-such as that it would frustrate the judiciary's policy of avoiding statutory interpreta-
  tions that may raise constitutional questions, id. at 1050, and may shake public confidence in "the
  adequacy and fairness of professional representations," id. at 1051.
     In other passages, however, Justice Kennedy's opinion for the majority waffles between purpose-
  based and effects-based critiques. Near the conclusion, for example, Kennedy explains that
      [t]he attempted restriction is designed to insulate the Government's interpretation of the
      Constitution from judicial challenge. The Constitution does not permit the Government to
      confine litigants and their attorneys in this manner. We must be vigilant when Congress
      imposes rules and conditions which in effect insulate its own laws from legitimate judicial
      challenge.
  Id. at 1052 (emphases added). Whether one agrees with either of these principles or not, surely the
  clarity of the Court's opinions would be improved were the Justices to give more explicit attention to
  the different dimensions or incidents of unconstitutionality. Needless to say, tangible consequences are
  at stake-most notably, in this case, the opinion's implication for the scope of congressional authority
  to restrict the federal courts' jurisdiction.
     355. See supra text accompanying note 115 and Part IV.B.




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       any particular day or days of the week.35 6 Call this case Unemployment Compen-
       sation. The conditional proposal is most likely constitutional on the dimensions
       of purpose and effect. The evident purpose is to ensure that indolent unem-
       ployed do not abuse the public's generosity; the most conspicuous effect is to
       induce people to work on days when they may otherwise not. Certainly this
       purpose and this effect are constitutionally permissible. Supposing just for ease
       of analysis that state action is not constitutionally problematic merely because it
       has the effect-but not a purpose--of depressing religious practice, the question
       remains whether the proposal is coercive.
          Consider the case of Sam, a Seventh-Day Adventist, who lost his Monday-to-
       Friday job in a downsizing, and now, in accord with the tenets of his faith,
       refuses to promise to look for employment that would require him to work
       Saturdays. Like Betty from the case Social Security,35 7 Sam will argue that the
       state's refusal to extend the sought-after benefit produces unconstitutional ef-
       fects-in his case, that of raising the costs of his exercise of religion. There may
       seem to be a baseline problem here: Whereas Sam contends that the state's
       failure to provide unemployment compensation benefits in his case has the
       effect of making his religious practices more costly, the state could argue that its
       nonconferral of benefits to Sam makes him no worse off than he would be had
       they not offered unemployment benefits to anyone. But this notion of competing
       baselines is mistaken. The fact of the matter is that Sam's decision to act in
       accord with his religious beliefs is a but-for cause of his not receiving ben-


          356. This hypothetical is a slight variation on the facts of Sherbert v. Verner, 374 U.S. 398 (1963).
       The actual case involved a member of the Seventh-Day Adventist Church who had been discharged by
       her private employer for refusing to work on Saturday (the Sabbath of Seventh-Day Adventism) and
       had been denied unemployment compensation benefits under a South Carolina law that was construed
       to make ineligible any claimants who were discharged for refusing to work on Saturdays. Id. at
       399-401. These facts appear not to raise the unconstitutional conditions problem because the proposal
       does not fit the double conditional form of if x then -y; and if -x then y: If Ms. Sherbert had worked
       on Saturday, she would have kept her job and therefore still would not have received unemployment
       compensation! The variation in text-which, incidentally, could have arisen under the very statute at
       issue in Sherbert, see S.C. CODE ANN. § 66-114(3) (disqualifying claimants for failing "without good
       cause, to apply for available suitable work"), quoted in Sherbert, 374 U.S. at 401 n.3-is not subject to
       the same criticism. Here, the conditional offer (if you agree to look for Saturday work, you remain
       eligible for unemployment compensation benefits) is conjoined to a conditional threat (if you do not
       agree to look for Saturday work, you are not eligible for benefits).
          Though I do not wish to press the point too hard, Sullivan's conclusion that the state could not be
       guilty of coercion in Sherbert because it "did not use benefits to induce the surrender of rights,"
       Sullivan, supra note 1, at 1435, is questionable. The proposal there at issue is logically equivalent to the
       following: If you work on Saturday then (if you are fired for working on Saturday then you are eligible
       for unemployment benefits); if you do not work on Saturday then it is not the case that (if you are fired
       for working on Saturday then you are eligible for unemployment benefits). Because this statement
       satisfies the biconditional form if -x then y; if x then -y (where y is itself a simple conditional of the
       form "if w then z"), it does raise an unconstitutional conditions problem as defined in Part I. And if it is
       unconstitutional for the state to allow -y to obtain (i.e., to allow it to be the case that the offeree is fired
       for not working on Saturday and is not eligible for unemployment benefits), then it appears that there
       was coercion on the actual facts of Sherbert.
          357. See supra Part IV.c.




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 efits-not in the world as it could be, but in the world as it is. 358
    So there can be no reasonable dispute that the state's action in carrying out its
 threat does have the effect of burdening Sam's exercise of his religion, just as
 the government's action in carrying out its threat against Betty had the effect of
 burdening the exercise of her right to marry. Unfortunately for Sam, it will be
 difficult to prove (and is likely not to be true) that the state carries out its threat,
 thus burdening Sam's religious practice, for the purpose of punishing or discour-
 aging the religious practice of Seventh-Day Adventism. So let us assume, at
 least provisionally, that the state's purpose is only to execute a policy (which
 was itself not adopted for the purpose of punishing or discouraging the exercise
 of Seventh-Day Adventism) in a manner that best promotes administrative
 convenience.
    If there is a difference between Unemployment Compensation and Social
 Security, then, it will not be because there is a burdening effect in one and not
 the other (there is a burden in both) or because there is a penalty in one and not
 the other (there is not likely to be a penalty in either) but rather because the Free
 Exercise Clause should be construed to require greater justification from the
 government when acting so as to raise the cost of an individual's religious
 practice. In the actual case of Sherbert v. Verner,3 59 the Supreme Court ruled
 that state action that has the effect of substantially burdening the exercise of
 religious freedom violates the First Amendment unless the state has no less
 restrictive alternative to achieve some compelling state interest. 360 Because the
 Court abandoned that doctrine in Employment Division v. Smith,3 6 ' however,
 "neutral laws of general applicability" call forth no demand for heightened
 justification even when applied so as to burden religious practice. Consequently,
 if this law is held to be neutral and generally applicable,3 62 then performing the
 act threatened was unconstitutional under Sherbert but constitutional under
 Smith. It follows that the conditional offer to Sam was unconstitutionally
                                              363
 coercive under Sherbert,but is not today.


     358. To be sure, the state's conferral of benefits upon persons who agree to seek Saturday work is
  also a but-for cause of the increased cost to Sam. But that is not the act Sam is challenging. Skeptics
  may object that Sam cannot challenge the state action of not giving benefits to him, apart from the state
  action of giving benefits to others, because the two pieces form a single indivisible act. Not so. These
  pieces may, it is true, constitute a single indivisible policy in the sense contemplated by the doctrine of
  severability: If the condition were struck down, the state would rescind the offer. That possibility is of
  unquestionable relevance to whether the act threatened is a penalty, but not to whether it has the effect
  of burdening Sam's religious practice.
     359. 374 U.S. at 398; see also supra note 356 (discussing Sherbert).
     360. 374 U.S. at 406-07.
     361. 494 U.S. 872 (1990).
     362. That this is far from a self-defining standard is already apparent from judicial opinions. See,
  e.g., Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 557-58 (1993) (Scalia,
  J., concurring); id. at 560-64 (Souter, J., concurring); Fraternal Order of Police v. City of Newark, 170
  F.3d 359, 365-66 (3d Cir. 1999).
     363. Of course, even under Sherbert, the offer was never coercive as applied to, say, Arthur, an
  atheist. That is, it was never facially coercive.




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           Understanding Unemployment Compensation facilitates understanding of a
        range of other cases. Consider, for instance, that the state pays for public
        education but not for education in private schools, including in private religious
        schools. 3 64 For many parents, the state's refusal to subsidize religious education
        burdens religious beliefs. (It does not burden any free exercise interests of
        parents who would choose even secular private education over the public school
        alternative.) But it is not likely to constitute a penalty. The state's chain of
        animating purposes for refusing to extend the subsidy presumably looks some-
        thing like this: to deter parents without any particular religious scruples from
        removing their children from the public schools, to maintain the viability of
        pubic schools, to promote democratic egalitarianism, and to ensure a sound
        education for those who remain. The precise details of the line of reasoning are
        not important; the unlikelihood that state officials are motivated to punish or
        deter religiously motivated conduct is. And if it is not a penalty, then there
        remains only the burden. As we have seen, this type of burden alone no longer
        provokes heightened scrutiny under the Free Exercise Clause. And even were
        heightened scrutiny appropriate, it would remain for the state to argue that that
        scrutiny is satisfied for the reasons just given.3 65
           Return now to real-life variations on Probation.The more common scenario
        arises when a state conditions probation or early parole for an individual
        criminal defendant or a certain class of offenders on participation in Alcoholics
        Anonymous (AA) and the offeree refuses to participate due to objections to the
        program's religious content. The lower federal courts have divided over whether
        the condition violates the Establishment Clause.3 66 Either conclusion is consis-
        tent with the argument of this Article, and I express no position on which view
        is in better accord with either the Establishment Clause itself or existing
        Establishment Clause jurisprudence. The more interesting questions, however,
        arise if we assume that the proposal is not unconstitutional on dimensions of




           364. See generally Michael W. McConnell, The Selective Funding Problem: Abortions and Reli-
        gious Schools, 104 HARv. L. REV. 989 (1991).
           365. Similar reasoning supports the result in Mozert v. Hawkins County Board of Education, 827
        F.2d 1058 (6th Cir. 1987).
           366. Compare, e.g., Warner v. Orange County Dep't of Prob., 115 F.3d 1068 (2d Cir. 1996) (violates
        Establishment Clause), and Kerr v. Farrey, 95 F.3d 472 (7th Cir. 1996) (same), with Feasel v. Willis,
        904 F. Supp. 582 (N.D. Tex. 1995) (no constitutional violation), and Stafford v. Harrison, 766 F. Supp.
        1014 (D. Kan. 1991) (same). These cases have been the subject of at least one full-length article, Paul
        E. Salamanca, The Role of Religion in Public Life and Official Pressure to Participatein Alcoholics
        Anonymous, 65 U. Cn. L. REv. 1093 (1997), and several student commentaries, among the better of
        which are Rachel F. Calabro, Comment, Correction Through Coercion: Do State Mandated Alcohol
        and Drug Treatment Programsin Prisons Violate the Establishment Clause?, 47 DEPAu'L L. REV. 565
        (1998); Derek P. Apanovitch, Note, Religion and Rehabilitation: The Requisition of God by the State,
        47 DuKE L.J. 785 (1998); and Michael G. Honeyman, Note, Alcoholics Anonymous as a Condition of
        Drunk Driving Probation: When Does It Amount to Establishment of Religion?, 97 COLuM. L. Rev. 437
        (1997).




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 purpose or effect. As discussed earlier, 367 the claim that the proposal is unconsti-
 tutionally coercive because carrying out the threat would be a penalty is not
 likely to be factually supportable: When the state acts not to grant probation or
 parole to the offender who refuses to attend AA, it is probably animated by
 whatever purposes support criminalizing and punishing the underlying conduct
 in the first place-general and specific deterrence, incapacitation, rehabilitation,
 retribution, and the like. And, as just discussed above, the fact that carrying out
 the threat imposes a burden on nonbelievers does not presently make out a free
 exercise violation. If conditioning probation or parole on participation in AA
 does not, by virtue of purpose or effect, violate the Establishment Clause (a
 question that unconstitutional conditions analysis cannot illuminate), then it
 probably survives all constitutional challenge.
    A revealing contrast is provided by the facts of Griffin v. Coughlin.3 6 8 In that
 case, New York State conditioned an inmate's eligibility for expanded family
 visitation privileges on participation in the facility's alcohol and drug addiction
 program, a program that adopted AA's religious-oriented precepts. 369 The New
 York Court of Appeals upheld the inmate's challenge, holding that the program
 coerced religious participation in violation of the Establishment Clause. 37 ° Two
 judges dissented, arguing that the scheme was voluntary, not coercive.3 71 If the
 concepts of coercion and penalty are properly understood, however, this is an
 easy case. Supposing that the Free Exercise Clause confers upon individuals a
 right not to participate in activities that require one to affirm the existence of a
 higher being (as all members of the Griffin court accepted that AA does), then it
 is clear beyond peradventure that denial of inmate Griffin's family visitation
 privileges upon his failure to participate in AA meetings because of his religious
 objections burdened his free exercise rights. It is also plain that the state had no
 purpose in imposing this burden other than to discourage Griffin (and others)
 from exercising those rights. Denial of Griffin's visitation privileges thus penal-
 ized his rights protected under the Free Exercise Clause. Therefore, unless
 imposition of such a penalty could be justified (not likely), the conditional
 threat to deny his visitation privileges unless he participated in the alcohol and
 drug addiction program amounted to coercion and was unconstitutional.3 7 2


     367. See supra Part IVB. A penalty will be easier to establish if there exist in the relevant community
  secular equivalents to Alcoholics Anonymous that the state does not recognize as permissible substi-
  tutes.
     368. 673 N.E.2d 98 (N.Y 1996).
    369. Id. at 100.
    370. Id. at 99.
    371. Id. at 120-21 (Bellacosa, J., dissenting).
    372. Here is an interesting relationship between the Establishment and Free Exercise Clauses. The
  analysis in text concludes that the New York program was unconstitutionally coercive in threatening to
  penalize Griffin's rights under the Free Exercise Clause. (Evidently Griffin did not allege a free exercise
  violation, relying instead solely on the Establishment Clause. See id. at 115.) Insofar as existing
  Establishment Clause jurisprudence prohibits the state from "coercing" individuals to participate in
  religious practices, see, e.g., Lee v. Weisman, 505 U.S. 577, 604 (1992) (Blackmun, J., concurring);




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        3. The Fifth Amendment: Takings
           Application of the unconstitutional conditions doctrine to the Takings Clause
        is of recent vintage and modest scope. It begins with the Supreme Court's 1987
        decision in Nollan v. CaliforniaCoastal Commission,3 73 followed only, thus far,
        by its 1994 decision in Dolan v. City of Tigard. 3 4 The relative paucity of major
        cases in this area, however, belies their importance. Very possibly, the Supreme
        Court has come closer to grasping the essential logic of coercion in its takings
        decisions than anywhere else.
           Nollan arose when owners of a beachfront lot, the Nollans, sought to demol-
        ish their existing bungalow and replace it with a three-bedroom house.3 75
        California law required, however, that they obtain a development permit from
        the state coastal planning commission before proceeding with construction.37 6
        The Commission granted the permit but only on condition the Nollans convey a
        public easement across a portion of their private beach to allow beachgoers to
        travel between a public park a quarter-mile to the north and a public beach some
        comparable distance to the south.377 The Nollans objected to the imposition of
        the condition as an unconstitutional taking, and the Supreme Court, five to four,
        agreed.


        County of Allegheny v. ACLU, 492 U.S. 573, 659 (1989), then this free exercise violation is converted
        into an Establishment Clause violation as well. It is important, though, not to interpret all references to
        coercion as meaning the same thing. Very possibly, we should interpret references to coercion in
        existing Establishment Clause case law to encompass, but also to extend beyond, the precise meaning
        advanced in this Article. Thus, a conditional threat to penalize exercise of free exercise rights should
        constitute a form of coercion forbidden by both clauses, but the Establishment Clause alone should be
        construed to prohibit coercion in the colloquial sense of imposing pressure excessive in degree, even if
        not entailing a constitutionally wrongful threat. Put otherwise, if Justice Scalia is correct that the
        content of the Establishment Clause guarantee "that government may not coerce anyone to support or
        participate in religion or its exercise" is exhausted by the principle that the state not coerce individuals
        "by force of law and threat of penalty," Lee, 505 U.S. at 640 (Scalia, J., dissenting), then the
        Establishment Clause's anticoercion rule appears (depending upon what Justice Scalia means by
        "penalty") to add nothing to the constitutional protection already afforded by the Free Exercise Clause.
           373. 483 U.S. 825 (1987).
           374. 512 U.S. 374 (1994).
           375. Nollan, 483 U.S. at 828.
           376. Id. (citing CAL.PuB. REs. CODE §§ 30106, 30212, 30600 (West 1986)).
           377. Though these facts plainly satisfy the formal requirements set forth in Part I-the state offers to
        grant the Nollans' application for a development permit if and only if they grant the public an easement
        across their property-some commentators have doubted that Nollan was an unconstitutional condi-
        tions case. The uncertainty arose partly from the Court's failure to recite the magic words. But doubt
        was also created by Justice Scalia's observation that "the right to build on one's own property-even
        though its exercise can be subjected to legitimate permitting requirements-cannot remotely be
        described as a 'governmental benefit.' " Id. at 834 n.2. Then this cannot be an unconstitutional
        conditions case, some commentators surmised, "as application of that doctrine works only if a
        governmental benefit is being burdened." Douglas T. Kendall & James E. Ryan, "Paying" for the
        Change: Using Eminent Domain to Secure Exactions and Sidestep Nollan and Dolan, 81 VA. L. REv.
        1801, 1848 (1995). But this just goes to show, as discussed in Part I, that using the concept of a
        governmental benefit as a way to demarcate the coverage of the unconstitutional conditions doctrine is
        misconceived. There is no clean line separating "benefits" the state is free to withhold from "nonben-
        efits" it is obligated to provide. See, e.g., Jed Rubenfeld, Usings, 102 YALE L.J. 1077, 1110 (1993).




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    Writing for the majority, Justice Scalia concluded that the condition could not
  stand because it was not germane to the legitimate purposes the Commission
  could have for refusing the requested permit.3 7 Assuming that the Commission
  may constitutionally deny the Nollans a permit in order to advance a legitimate
  state interest in, among other things, the public's visual access to the beach,
  Justice Scalia reasoned, the Commission could not threaten to withhold the
  permit in order to secure lateral access for the public to cross the beach.3 79
  When the "essential nexus" between the purpose of the condition and the
  purpose of the prohibition is eliminated, the Court explained,

       the situation becomes the same as if California law forbade shouting fire in a
       crowded theater, but granted dispensations to those willing to contribute $100
       to the state treasury. While a ban on shouting fire can be a core exercise of the
       State's police power to protect the public safety, and can thus meet even our
       stringent standards for regulation of speech, adding the unrelated condition
       alters the purpose to one which, while it may be legitimate, is inadequate to
       sustain the ban. Therefore, even though, in a sense, requiring a $100 tax
       contribution in order to shout fire is a lesser restriction on speech than an
       outright ban, it would not pass constitutional muster. Similarly here, the lack
       of nexus between the condition and the original purpose of the building
       restrictions converts that purpose to something other than what it was. The
       purpose then becomes, quite simply, the obtaining of an easement to serve
       some valid governmental purpose, but without payment of compensation.
       Whatever may be the outer limits of "legitimate state interests" in the takings
       and land-use context, this is not one of them. In short, unless the permit-
       condition serves the same governmental purpose as the development ban, the
       building restriction
                         38 0
                              is not a valid regulation of land use but an out-and-out
       plan of extortion.

  The dissenters would have held the fit between the two state interests suffi-
  ciently close to satisfy constitutional standards.38 1
     Nollan was decided just three days after Dole, and the similarity in reasoning
  may seem obvious, for the "nexus" inquiry of Nollan appears to mirror the
  "germaneness" inquiry of Dole.3 82 On this view, the critical difference between
  the two cases is that a majority of the Court found the test satisfied in the first
  case but not in the second.38 3 In fact, the difference is more profound. The Court
  did not merely supply different answers in the two cases, it asked different
  questions.


    378. Nollan, 483 U.S. at 837.
    379. See id. at 836-42.
    380. Id. at 837 (internal quotation marks and citation omitted).
    381. See id. at 842-53 (Brennan, J., dissenting); id. at 865 (Blackmun, J., dissenting).
    382. See, e.g., Sullivan, supra note 1, at 1462--64.
    383. Four members of the Court--Chief Justice Rehnquist, and Justices White, Powell, and Scalia-
  were in the majority in both cases.




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          In Nollan the Court examined the relationship between the state's purpose for
        imposing the condition (that is, for making the demand) and its purpose for
       denying the benefit. In Dole, in contrast, the Court compared the government's
                                                                                         384
       purpose for imposing the condition with its purpose for granting the benefit.
       Furthermore, the two decisions advanced divergent conceptions of the function
       or significance of the germaneness inquiry. In Justice Scalia's hands, germane-
       ness serves coercion: When germaneness is lacking, the proposal is coercive
       ("extortion").3 85 For Chief Justice Rehnquist, germaneness and coercion are two
                                                                        386
       necessary, yet entirely independent, tests of constitutionality.
          When earlier assessing Dole, I observed that the majority and dissent alike
       concluded that the proposal did not constitute coercion, and I argued that they
       were wrong. I withheld judgment on who was right on the question that had
       divided the Court-whether germaneness was satisfied.3 87 Through the lens
       provided by Nollan, we can now see that the question itself was ill-posed, for
       both Rehnquist and O'Connor misconceived precisely what the germaneness
       inquiry is intended to measure. Had they compared the condition and the
       withholding of the benefit (as Nollan did), the lack of germaneness would have
       been evident to all. (Whether they would have understood why it matters is
       another question.)
          Given that the Court was doubly confused in Dole (as to both the content and
       function of the germaneness inquiry), it should not be surprising that it still did
       not get things quite right in Nollan. Although Justice Scalia correctly under-
       stood which discrete things should be assessed for germaneness, and also
       appreciated the basic relationship between germaneness and coercion, he mis-
       took an inferential relationship for a logical one. According to Scalia, recall, the
       lack of germaneness between the condition and the unconditional withholding
       of the benefit simply "converts" the offer into extortion.38 8 But how so? To
       better grasp the situation, imagine this hypothetical rejoinder from the Califor-
       nia Coastal Commission:



          384. Accord New York v. United States, 505 U.S. 144, 167 (1992) (noting that, under Dole,
       conditions attached to federal spending "must (among other requirements) bear some relationship to the
       purpose of the federal spending").
          385. There is no meaningful distinction here between "extortion" and "coercion"-as I have been
       using the latter term. Insofar as the Court has (misguidedly, I think) inquired into "coercion" for
       purposes of determining whether the offeree's choice was made under too much pressure and was
       therefore, in some meaningful sense, "unfree" or "involuntary," see supra notes 150-53 and accompany-
       ing text, then Professor Vicki Been is quite correct to present "extortion" and "coercion" as separate
       theories of unconstitutional conditions. See Vicki Been, "Exit" as a Constrainton Land Use Exactions:
       Rethinking the Unconstitutional Conditions Doctrine, 91 COLum. L. REv.473, 485 (1991). Difficulties
       with using a conception of coercion that corresponds to a worry that an offeree's acceptance of the
       condition may be involuntary are explored in Berman, Reese & Young, supra note 179, at 1152-54.
          386. See Baker, supra note 1, at 1974 (noting that, in Dole, "the 'germaneness' and 'coercion'
       inquiries are completely unrelated, and apparently are to serve as their own normative justifications").
         387. See supra text accompanying note 155.
         388. Nollan v. Cal.'Coastal Comm'n, 483 U.S. 825, 837 (1987).




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        We care about the public's ability to see the beach. But we care about other
        things too-including, for example, making existing public properties on the
        shorefront more easily accessible. Alas, we cannot always advance both
        interests. In the Nollans' case, we were willing to exchange some satisfaction
        of the first interest to realize a gain in the second. The Nollans preferred not to
        make that trade. That's fine. But once they rejected our offer we remained
        obligated to promote the first interest by denying their permit. The fact that
        we were prepared to make a trade does not mean that when our offer is
        rejected and we proceed with our initial plan the interest asserted is a sham.

     Plainly, this response is logically unassailable. The majority's implication that
  the conversion operates by law of nature or rule of logic is therefore quite
  mistaken. Put otherwise, germaneness is neither (pace Dole) an independent
  consideration nor (pace Nollan) a logical determinant of coercion, but is rather a
  heuristic device.3 89 Moreover, on the facts of Nollan, its utility is doubtful,
  for the Commission's imagined response is entirely plausible. Even as a fac-
  tual finding, then, the Court's assertion that "[tfhe purpose" of the Commis-
  sion's action in denying the Nollans a permit39 was "quite simply, the obtain-
  ing of an easement to serve some valid governmental purpose, but without
  payment of compensation" is unconvincing. 39 1 As far as the record in Nollan
  reveals, it is more than possible that, when rejecting the Nollan's permit
  application, the Connission was actually motivated to "protect[] the public's


      389. Commentators, too, have long puzzled over the significance of germaneness to unconstitutional
   conditions analysis. Professor Robert Hale first drew attention to germaneness, predicting in his classic
   study of over sixty years ago "that the Court will be influenced, in determining the validity of a
   conditional burden, by its views as to whether or not the condition is germane to the purpose for which
   the government might normally impose the burden without conditions." Hale, supra note 277, at 352.
   But Hale was perhaps less than clear about just why germaneness should matter. See, e.g., Sullivan,
   supra note 1, at 1461 n. 196. For her part, Dean Sullivan viewed the germaneness inquiry as an effort to
   ferret out illegitimate legislative processes and argued that the notion of illegitimate processes--or
   government "corruption"-that germaneness tests served could not be made to do real work. See id. at
   1456-76; see also Fudenberg, supra note 13, at 415-16 (also finding germaneness theories problemat-
   ic); Kendall & Ryan, supra note 377, at 1824 n.90 (citing Sullivan approvingly). Although Professor
   Baker claims that her proposed distinction between "reimbursement" spending and "regulatory"
   spending, see supra text accompanying notes 209-12, creates "an interesting relationship between the
   'germaneness' and 'coercion' inquiries," Baker, supra note 1, at 1973, the precise nature or significance
   of that relationship remains obscure.
      390. The Court is not entirely clear about which purpose matters-the purpose for making the
   proposal or for carrying out the threat. The contentious question, though, concerns the latter. There can
   be no dispute that the Commission's purpose in making its offer was to obtain an easement without
   payment.
      391. Nollan, 483 U.S. at 837. In short, despite a formal similarity of structure, the situation actually
   presented is not substantively the same as if California forbade shouting fire in a crowded theater on the
   condition the shouter did not pay $100. In the Court's hypothetical, the inference is far stronger that the
   state is threatening to do something it would not actually have a legitimate motive for doing. All things
   being equal, we would presume that a ban on (falsely) shouting fire in a crowded theater is motivated to
   prevent risk of serious injury to theater patrons. That is not an interest we believe the state would trade
   for $100. The conditional offer, therefore, would suggest that California does not really believe
   shouting fire in a crowded theater creates a danger worth legislating against.




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        ability to see the beach, assist[] the public in overcoming the 'psychological
       barrier' to using the beach created by a developed beachfront, and prevent[]
       congestion on the public beaches"-interests that the majority concedes are
       legitimate.3 92
          This is not yet to conclude, however, that Nollan reached the wrong outcome.
       Nollan is a difficult case because of the danger, identified by the majority, "that
       a regime in which this kind of leveraging of the police power is allowed would
       produce stringent land-use regulations which the State then waives to accom-
       plish other purposes. 3 9 3 That is, even though the majority asserts, without
       adequate basis, that the California Coastal Commission was not really animated
       by legitimate purposes-in imposing the general permit restriction, attaching
       the condition, or refusing to grant the permit in the individual case-it is right to
       worry that a rule sanctioning the type of trade proposed in Nollan would induce
       states to contrive land-use regulations they would not otherwise find justifiable
       solely (or principally) as a chip with which to secure other interests they could
       not directly pursue.3 94 Of course, there is reason to think the political process
       could be trusted generally to protect against this type of abuse and that courts
       could adequately discern such illegitimate purposes on a case-by-case basis.3 95
       But, to be sure, there is also reason to suspect otherwise, especially in light of
       the courts' limited ability and willingness to scrutinize avowed legislative
       purposes for genuineness. Therefore, it is defensible to consider enforcing the
       Takings Clause via a judge-made rule directing courts to invalidate conditions
       on land-use regulations that would serve a different purpose than would the
       action the state threatens.39 6 In that event, however, the Court's statement that
       "the lack of nexus between the condition and the original purpose of the
       building restrictions converts that purpose to something other than what it was"
       must be understood as in the nature of a prophylactic rule, not a true finding of
       fact.39 7 Put another way, Nollan may reflect a judgment that so many nonger-


         392. Id. at 835.
         393. Id. at 837 n.5.
         394. Cf. Jan Z. Krasnowiecki, Abolish Zoning, 31 SYRACUSE L. REv. 719, 734 (1980) (describing
       "short zoning" as a technique by which local governments "zone all of their undeveloped land short of
       the level at which any significant development can occur" thereby requiring all new development to
       "negotiate for admission").
          395. For example, Justice Kennedy has accepted analogous reasoning in the free exercise context,
       where he has held (1) that a facially neutral law of general applicability that has the effect of burdening
       or prohibiting a religious practice violates the Free Exercise Clause if it were adopted for the purpose of
       burdening a particular religion, see Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S.
       520, 540-42 (1993), but (2) that this does not warrant construing the Free Exercise Clause to impose
       any restrictions on neutral laws of general applicability not affirmatively shown to have been motivated
       by religious animus, see Employment Div. v. Smith, 494 U.S. 872, 879-80 (1990).
          396. For purposes of this exposition, it is unnecessary to decide whether the facts of Nollan should
       have been found to satisfy that test of strict germaneness. CompareNolIan, 483 U.S. at 838-41, with id.
       at 849-53 (Brennan, J., dissenting).
          397. To put things this way necessarily raises the question whether the federal judiciary has
       constitutional authority to create prophylactic rules. Ironically-given my effort to rehabilitate his
       Nollan opinion-Justice Scalia recently insisted that they do not have that authority, see Dickerson v.




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  mane conditions on land use regulations reflect impermissible governmental
  purposes as to make it appropriate to set forth a categorical rule in this narrow
  arena even though particularized ex post determinations are more suitable for
  other types of allegedly unconstitutional conditions. The problem is that, by
  asserting unsupportably that there exists coercion as a factual matter whenever
  its particular germaneness test is not met, the majority avoided the need to
  explore whether the incidence of such coercion could be expected to be
  sufficiently great as to justify application of a broad prophylactic rule in lieu of
  case-by-case factual determinations. 39 This is a much-contested question.399 I
  take no position on which side has the better of the argument. The critical point
  is that the Court sidestepped this difficult yet essential analysis by misconceiv-
  ing the inferential relationship between germaneness and coercion as a neces-
  sary one.
     Just as unfortunate, the confusion engendered in Nollan only increased when,
  in Dolan v. City of Tigard,4° the Court next applied unconstitutional conditions
  analysis to land-use exactions. The dispute arose when Dolan applied to the
  City of Tigard for a development permit to expand her retail store. 4 0 The city,
  however, expressed concerns that Dolan's proposed redevelopment would, by


   United States, 530 U.S. 428, 444 (2000) (Scalia, J., dissenting) (declaring that the power to impose
   prophylactic rules upon Congress and the states "is an immense and frightening antidemocratic power,
   and it does not exist"), and academics have vigorously debated the issue for years, compare Susan R.
   Klein, Identifying and (Re)formulating Prophylactic Rules, Safe Harbors, and Incidental Rights in
   Constitutional CriminalProcedure,99 MICH. L. REv. 201 (2001) (affirming such power), and David A.
   Strauss, The Ubiquity of Prophylactic Rules, 55 U. Cmi. L. REV. 190 (1988) (same), with Joseph D.
   Grano, Miranda's Constitutional Difficulties: A Reply to Professor Schulhofer, 55 U. CI. L. REv. 174
   (1988) (denying such power), and Thomas S. Schrock & Robert C. Welsh, Reconsidering the Constitu-
   tional Common Law, 91 HARv. L. REv. 1117, 1124 (1978) (same).
      I propose elsewhere that the legitimacy of judge-made rules that have the practical effect of
   proscribing more conduct than does the Constitution itself (as judicially interpreted) may depend upon
   whether the rule is adopted to minimize error costs in ex post adjudication or to achieve other policy
   objectives. See Mitchell N. Berman, Substantive Rules, Decision Rules, and Prophylactic Rules: What
   Dickerson and Garrett Can Teach Us About Constitutional Common Law (n.d.) (unpublished manu-
   script, on file with author). I would reserve the label "prophylactic rule" for the latter situation, and
   describe the former as a species of "decision rule." However, in this Article, I follow convention by
   referring to all rules with prophylactic effect as "prophylactic rules."
      398. In effect, the Court failed to do what it castigated Congress for not doing in City ofBoerne v.
   Flores, 521 U.S. 507 (1997). See supra note 286.
      399. Compare Been, supra note 385 (arguing that the political process can adequately police against
   coercion of this type), William M. Treanor, The Original Understandingof the Takings Clause and the
   PoliticalProcess, 95 COLUM. L. REv. 782 (1995) (same), and Douglas T. Kendall, Note, The Limits to
   Growth and the Limits to the Takings Clause, 11 VA. ENvTL. L.J. 547, 558-62 (1992) (same), with
   EPsTEIN, supra note 15, at 184-87 (disagreeing), Fred McChesney, Rent Extraction and Rent Creation
   in the Economic Theory of Regulation, 16 J. LEG. STUD. 101 (1987) (same), and Stewart E. Sterk,
   Competition Among Municipalities as a Constraint on Land Use Exactions, 45 VAND. L. REv. 831,
   844-53 (1992) (same). Other useful commentaries on Nollan include David A. Dana, Land Use
   Regulations in an Age of Heightened Scrutiny, 75 N.C. L. REv. 1243 (1997); and Nathaniel S.
   Lawrence, Means, Motives and Takings: The Nexus Test of Nollan v. California Coastal Commission,
   12 HARv. ENvrL. L. Rev. 231 (1988).
     400. 512 U.S. 374 (1994).
     401. Id. at 379.




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        increasing the impervious surface in and adjacent to the city's floodplain,
        escalate the risk of flooding and, by serving more customers, exacerbate traffic
        congestion in the central business district. Accordingly, it granted the permit
        application subject to the conditions that Dolan dedicate the portion of her
        property lying within the floodplain for improvement of a storm drainage
        system, and also dedicate a strip of land adjacent to the floodplain for use as a
        public bike path.4 °2 Dolan challenged the conditions as violating the nexus test
        of Nollan, and therefore as effecting an uncompensated taking of her property.
           The Supreme Court, per the Chief Justice, began by deeming it "obvious"
        that each permit condition satisfied Nollan's standards.40 3 But that, the majority
        explained, was only the first part of the inquiry. "The second part," it continued,
        required a determination of "whether the degree of the exactions demanded by
        the city's permit conditions bear the required relationship to the projected
        impact of [the applicant's] proposed development., 4° After canvassing state
        court decisions that had examined similar questions, the Court adopted a "rough
        proportionality" test pursuant to which the city would have the burden of
        advancing "some sort of individualized determination"-not requiring "precise
        mathematical calculation"-"that the required dedication is related both in
        nature and extent to the impact of the proposed development." 4 5 Finding that
        the city could not make such a showing on the existing record, the Court
        remanded for further proceedings. 4 °6
           In broad strokes, the majority was exactly right. Here, as in so many of the
        situations we have encountered, the decisive step is to determine what purposes
        would animate the government in withholding the benefit at issue. As the
        majority correctly concludes, straightforward application of the germaneness
        standard solidly supports the inference that the city's refusal to grant Dolan a
        redevelopment permit actually would be motivated by a desire to protect the
        city against increased risk of flood and increased traffic congestion.40 7 I have


           402. Id. at 380.
           403. Id. at 387-88.
           404. Id. at 388.
           405. Id. at 391.
           406. Id. at 396. Justice Stevens (joined by Justices Blackmun and Ginsburg) dissented on the
        grounds, inter alia, that proportionality was easily satisfied on the facts of the case. Id. at 403-05
        (Stevens, J., dissenting). Justice Souter dissented separately, charging that, though the majority pur-
        ported to apply its newly minted rough-proportionality test, the basic Nollan nexus test was actually-
        and improperly-doing the majority's work. Id. at 411-14 (Souter, J., dissenting).
           407. That these are legitimate purposes is beyond dispute. See Agins v. City of Tiburon, 447 U.S.
        255, 260 (1980) (holding that denial of a development is permissible if it would substantially advance a
        legitimate state interest). The range of legitimate state interests in these contexts is extremely broad. See
        Berman v. Parker, 348 U.S. 26, 32-33 (1954) (holding that in employing the police power to advance
        the public welfare, the state may recognize values "spiritual as well as physical, aesthetic as well as
        monetary. It is within the power of the legislature to determine that the community should be beautiful
        as well as healthy, spacious as well as clean, well-balanced as well as carefully patrolled"). For a
        criticism of the leniency of the Court's land-use regulation doctrine, especially as contrasted with its
        rather stringent exactions jurisprudence, see Lee Anne Fennell, Hard Bargains and Real Steals: Land
        Use Exactions Revisited, 86 IowA L. REv. 1 (2000).




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  argued that germaneness is underinclusive as a test of constitutionality in that
  there may be neither penalty nor coercion even when germaneness (between
  condition and the act threatened) is missing.4 °8 In supplementing its germane-
  ness requirement with a test sounding in proportionality, the Court in effect
  recognized that germaneness is (also) overinclusive: There may be penalty and
  coercion even when the condition demanded and the act threatened do serve the
  same purpose. If the exaction would serve the same purpose as denial, but to a
  much greater extent, then the government's steadfast refusal to confer the
  benefit even upon the recipient's satisfaction of a condition, less onerous to her,
  that would adequately ameliorate any harms that granting the permit would
  impose cannot serve only legitimate governmental interests.
     The problem is that, as in Nollan, the Court transformed a sound intuition
  into an overly rigid (or otherwise somewhat misconceived) rule of constitu-
  tional law. As the immediately foregoing discussion manifests, the proper
  focus of any meaningful supplement to the germaneness inquiry is on the
  possible conditions alternative to the condition actually imposed, not on the
  relationship of the actual condition to the denial of the benefit. Unless the
  government either refused even to entertain alternatives or rejected an
  alternative that the offeree preferred and that would have served legitimate
  state interests just as well as denial of the benefit, there is precious little
  basis for a conclusion that withholding the benefit on failure of the actual
  condition constituted a penalty. This is true no matter how disproportion-
  ately the condition demanded and denial of the benefit sought would serve
  legitimate state interests.
     This is no mere quibble. The world does not always present a finely graded
  continuum of options.4 °9 It may often be the case that denial of a permit would
  serve an actual and legitimate governmental interest to a relatively small degree,
  that the exaction demanded would serve the same interest to a relatively large
  degree, and that it is difficult to identify any less onerous condition that could
  serve the interest even as well as would outright denial. To conclude, as Dolan's
  rough-proportionality test apparently would, that the proposal is coercive under



     408. To recap, when it is empirically plausible, and permissible as a matter of governmental charter,
  for a decisionmaker to try to trade off incommensurable goods (including the avoidance of incommensu-
  rable bads), the fact that the claimed and legitimate purpose(s) for the condition are different from the
  claimed and legitimate purpose(s) for withholding the benefit does not alone establish that the latter
  would not be the decisionmaker's actual purposes.
     409. For similar points in different contexts, see, for example, Harry T. Edwards & Mitchell N.
  Berman, Regulating Violence on Television, 89 Nw. U. L. REv. 1487, 1533 (1995) (explaining that the
  two components of narrow tailoring in First Amendment doctrine differ on just this issue); and John Q.
  LaFond, The Casefor Liberalizing the Use of Deadly Force in Self-Defense, 6 U. PUGET SouND L. REv.
  237 (1983) (criticizing the traditional rules of criminal law that limit use of deadly force in self-defense
  to circumstances in which it is necessary to protect against death, serious bodily injury, and a few
  specified felonies, on the ground that it leaves effectively unprotected persons who, by reason of
  physical weakness, are incapable of employing the amount of permissible nondeadly force that could in
  theory repel an assailant).




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        such circumstances 41 ° is unjustified. It is also likely to prove inefficient. After
        all, landowners may often prefer an exaction that flunks the majority's rough-
        proportionality test to outright denial of their permit applications. Dolan itself
        may well be a case in point.41
           Though the precise rule emanating from Dolan, as well as the Court's
        application of that rule to the facts of the case, are properly criticized, a more
        fundamental point should not be missed. Despite the Court's failure to appreci-
        ate the constitutional logic of penalties and coercion, the takings jurisprudence
        that emerges from Nollan and Dolan is fundamentally consistent with that logic.
        To be sure, that the Court has apparently not developed-and certainly has not
        explicated-a very robust conceptual framework to support its exaction jurispru-
        dence has generated some confusion about terminology 41 2 and produced less


           410. The literature reflects some doubt that Dolan spoke to coercion at all. See Merrill, supra note 1,
        at 864 (claiming that the Court did not "make any attempt to suggest that the proposed deal was
        coerced," and concluding that "any such suggestion in the context of the facts presented would be hard
        to justify"). As should be clear, I have just argued that insofar as the rough-proportionality test makes
        any sense at all, it is as part of an inquiry into coercion. See also Jan G. Laitos, Causation and the
        UnconstitutionalConditions Doctrine: Why the City of igard's Exaction Was a Taking, 72 DENv. U. L.
        REV. 893, 903-04 (1995) (arguing that concerns about coercion do animate the majority opinion).
           411. At least it would be a case in point were the majority correct that the exaction failed
        proportionality review. In fact, though, this conclusion is almost certainly wrong-largely for reasons
        emphasized by Justice Stevens. See Dolan, 512 U.S. at 403-05 (Stevens, J., dissenting). Although a full
        discussion of this point is unnecessary, a few words should be said about the majority's claim that the
        city "never said why a public greenway, as opposed to a private one, was required in the interest of
        flood control." Dolan, 512 U.S. at 393; see also Laitos, supra note 410, at 906 (arguing that "if [Ms.
        Dolan] kept her property in the floodplain in a natural state (which she intended to do), then the city's
        legitimate interest in reducing flooding would be accomplished"). This is mistaken. If Ms. Dolan were
        to increase the impervious surface on her property next to the floodplain, her agreement not to build on
        the floodplain would serve only the city's interest in ensuring that the increased risk of flooding would
        not do additional damage to structures on Ms. Dolan's own parcel. It would not serve (or serve only in
        the most attenuated degree) the city's surely greater interest in ensuring that the increased risk of
        flooding thereby caused would not result in additional damage to structures on other landowners'
        properties downstream. To satisfy that interest, the city would have to engage in other measures to
        mitigate the likelihood of flood. One such measure would be to build a drainage channel. Insofar as the
        city preferred to build that channel on that portion of Dolan's land within the floodplain, then the deed
        condition served the city's legitimate interest in mitigating the harm that grant of the development
        permit would cause in a way that a no-build condition would not. It is therefore hard to square the
        majority's intimations of Commission overreaching with its earlier recitation that the Commission
        sought dedication of that portion of Ms. Dolan's property lying within the floodplain "for improvement
        of a storm drainage system along Fanno Creek." Dolan, 512 U.S. at 380. These types of errors would
        be reduced, I think, were the Court to replace the Dolan rough-proportionality standard with an explicit
        inquiry into alternative conditions proposed and rejected.
           412. Perhaps the most charming of which centers on whether Dolan even presented an unconstitu-
        tional conditions case-a question that divided the Court. Compare 512 U.S. at 385 (announcing that
        the case fell within "the well-settled doctrine of 'unconstitutional conditions' "), with id. at 407-09
        (Stevens, J., dissenting) (terming recourse to unconstitutional conditions analysis "inadequate," "novel,
        and arguably incoherent"), as well as academic commentators, compare Laitos, supra note 410, at 893
        (asserting that Dolan is not an unconstitutional conditions case), with Merrill, supra note 1, at 866
        (averring that "either reading is problematic").
           Part of the confusion may be attributable to the majority's characterization of the "well-settled
        doctrine of 'unconstitutional conditions' " as holding that




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  than perfect doctrine. But takings law appears to be one region of unconstitu-
  tional conditions space in reasonable accord with underlying theory.

  4. The Sixth Amendment: Plea Bargaining
     Plea bargains present a classic unconstitutional conditions problem. 4 13 Roughly
  formalized, the proposal looks something like this: If you waive your right to
  trial, then you will receive a punishment of no more than y; if you exercise your
  right to trial, then it is not the case that you will receive a punishment of no
  more than y. (If you exercise your right and are acquitted, then you will, of
  course, receive no punishment; if you exercise your right and are convicted,
  then you will receive punishment of y+n.) The question is whether the proposal
  constitutes coercion.4 14
     Many commentators think it may. 41 5 At least when the difference between y
  and y+n is especially pronounced, the thinking goes, the defendant cannot


       the government may not require a person to give up a constitutional right-here the right to
       receive just compensation when property is taken for a public use-in exchange for a
       discretionary benefit conferred by the government where the property sought has little or no
       relationship to the benefit.
  Dolan, 512 U.S. at 385. I have argued earlier that, properly understood, the doctrine holds only that
  sometimes the government cannot grant a benefit on the condition that the recipient give up a
  constitutional right. See supra note 4 and accompanying text. Thus conceived, the doctrine is "well-
  settled" indeed (notwithstanding the inevitable periodic appearance of ill-considered suggestions to the
  contrary). Either way, of course, the principles that determine which conditional offers that are subject
  to the unconstitutional conditions doctrine are themselves "unconstitutional conditions" are far from
  well-settled.
     413. A sampling of the large plea bargaining debate includes ALAN WERTHEIMER, COERCION ch. 7
  (1987); Howard Abrams, Systemic Coercion: Unconstitutional Conditions in the Criminal Law, 72 J.
  CRIM. L. & CRIMINOLOGY 128 (1981); Albert W. Alschuler, The Changing Plea Bargaining Debate, 69
  CAL. L. REv. 652 (1981); Thomas McCoy & Michael J. Mirra, Plea Bargaining as Due Process in
  DeterminingGuilt, 32 STAN. L. REv. 887 (1980); Stephen J. Schulhofer, Due Process of Sentencing, 128
  U. PA. L. REv. 733 (1980); Robert E. Scott & William J. Stuntz, Plea Bargainingas Contract, 101 YALE
  L.J. 1909 (1992); Fred C. Zacharias, Justice in Plea Bargaining,39 WM. & MARY L. REv. 1121 (1998);
  and SpecialIssue on Plea Bargaining, 13 L. & Soc'Y REv. 189-687 (1979). A compact recent summary
  is Douglas D. Guidorizzi, Comment, Should We Really "Ban" Plea Bargaining?:The Core Concerns
  of Plea BargainingCritics, 47 EMORY L.J. 753 (1998).
     414. The fuller question, to be sure, is whether plea bargaining constitutes coercion or, if it does not,
  whether it is unconstitutional for any other reason. I put these other considerations aside because the
  Supreme Court has already determined that it is constitutionally permissible for the state to act for the
  purpose of "persuad[ing] the defendant to forgo his right to plead not guilty." Bordenkircher v. Hayes,
  434 U.S. 357, 364 (1978); see also Corbitt v. New Jersey, 439 U.S. 212 (1978); Brady v. United States,
  397 U.S. 742 (1970). Perhaps it should be otherwise. But to think that it may be otherwise within the
  lifetime of anyone reading this Article is, I think, fanciful. For a detailed study of the pressures
  inexorably favoring plea bargaining in American legal culture, see George Fisher, Plea Bargaining's
  Triumph, 109 YALE L.J. 857 (2000); and see also Blackledge v. Allan, 431 U.S. 63, 71 (1977)
  (describing plea bargains as "important components of this country's criminal justice system").
  Contrary views are expressed in Albert W. Alschuler, Implementing the Defendant's Right to Trial:
  Alternatives to the Plea Bargaining System, 50 U. Cm. L. REv. 931 (1983); and Stephen J. Schulhofer,
  Is Plea BargainingInevitable?, 97 HARv.L. REv. 1037 (1984).
     415. See, e.g., Daniel P. Blank, Plea Bargain Waivers Reconsidered: A Legal Pragmatist'sGuide to
  Loss, Abandonment, and Alienation, 68 FoRDHim L. REv. 2011, 2016 (2000) (listing the charge "that the




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       reasonably decline the prosecutor's offer. Acceptance is therefore "coerced" or
       "involuntary" or "unfree." 4 16 There is surely some sense in which this claim is
       plausible. But the sense in which it may be true is not a sense in which it is
       constitutionally meaningful. Recall our earlier distinction between the two
       normative functions of coercion claims: 41 7 one serving to censure the actor who
       engages in coercion, the other serving to excuse the actor who acts in the face of
       coercion. The critical point is that the latter two uses of the word in the
       preceding sentence do not refer to the same thing. And the claim that a
       particular defendant (or particular class of defendants) may act under coercion
       in the second sense-the sense corresponding to notions of involuntariness-
       cannot reasonably support a conclusion that the offer is unconstitutional. Con-
       sider, for comparison, a young man who may feel "coerced" by life circumstances
       to join the armed forces. Surely, the existence of this type of coercion or
       "unfreedom" does not bar the Navy from shipping the young recruit out to
              41 8
       sea.
          So the claim that the offer is coercive in the sense that it puts too much
       pressure on the defendant to accept finds little traction. It remains to determine,
       however, whether the offer may be coercive in the sense that it puts wrongful
       pressure on the defendant to accept. If we understand this question as provoking
       an inquiry into constitutionally wrongful pressure, not morally wrongful pres-
       sure, we are back in familiar territory. Our question becomes, once again,
       whether carrying out the threat-to impose punishment of y+n on the defendant
       in the event he is convicted-would be constitutional.4 1 9
          Let us be clear about how it may not be constitutional. Assume that there
       exists some appropriate level of punishment for the defendant, taking into
       account the details of his offense as well as any other relevant and constitution-
       ally acceptable considerations. Call that level P. P is the level of punishment
       that the sentencer would impose if it knew all relevant factors except for
       whether the defendant being sentenced pled guilty or was convicted after trial,
       and assuming the sentencer did not take unconstitutional considerations into
       account. There is, of course, a vast range within which P may reasonably fall.
       Now, once P is determined, it is perfectly acceptable for the state to offer some

       threat of much harsher penalties after trial is impermissibly coercive upon defendants" among "[t]he
       most common criticisms of the practice of plea bargaining").
          416. See, e.g., John H. Langbein, Torture and Plea Bargaining, 46 U. Cmu. L. REv. 3, 12 (1978)
       ('Th[e] sentencing differential is what makes plea bargaining coercive.").
          417. See supra note 62 and text accompanying notes 150-53.
          418. It may be objected that the state is responsible for the circumstances that exert pressure upon
       the criminal defendant but not those that constrain the recruit. To be sure, this distinction (assuming it
       to be true) may make a difference when it comes to determining whether the plea bargain is
       unconstitutionally coercive in the first sense-a claim we are about to investigate-but I do not see how
       it is relevant to determining whether the plea bargain is unconstitutional because of any coercion that
       may exist in the second sense.
          419. Of course, if the offer proves coercive in this sense, it might also be coercive in the sense of
       imposing so much pressure as to make the defendant's agreement (in some respect) "unfree." But it still
       would be the former fact, not the latter, that makes the offer unconstitutional.




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 lesser sentence, say R, as a way of inducing guilty defendants to plead guilty,
 and thereby to save the state the risk of trial.42 Imposition of the lesser sentence
 R is also justified insofar as the defendant who pleads guilty actually does
 accept responsibility and express remorse.4 2 ' If all this is correct, then a plea
 offer is not coercive when the punishment offered (y) is R, and when the
 punishment threatened (y+n) is P. A plea offer is coercive, however, if y = P.
 In that case-sometimes called "overcharging"-imposition of the punishment
 threatened (y+n) would be an unconstitutional penalty because it would impose
 a burden (n) for the purpose of punishing or discouraging the defendant's
 exercise of his constitutional right to trial.4 22
    As it happens, the Supreme Court has already addressed the constitutionality
 of overcharging, most prominently in Bordenkircher v. Hayes.42 3 Hayes, a
 two-time felon, was indicted by a state grand jury on one count of forgery, an
 offense punishable by two to ten years imprisonment.4 24 At plea negotiations,
 the prosecutor threatened to reindict Hayes under the state habitual criminal
 act-thereby subjecting him to a mandatory life sentence-unless he pled guilty
 on the forgery charge and accepted a five-year sentence.4 25 When Hayes refused
 the offer, the state reindicted him as a career felon, the jury convicted, and
 Hayes was sentenced to life. The Sixth Circuit held that the reindictment
 constituted vindictive prosecution in violation of the Due Process Clause. The
 Supreme Court, five to four, reversed.
    Hayes raises two separate questions: first, whether overcharging is constitu-
 tional; and second, if not, whether the prosecutor engaged in it. Penalty analysis
 answers the first question in the negative. And so would have the dissenters.
 Overcharging, Justice Powell concluded, is constitutionally impermissible.
 "Implementation of a strategy calculated solely to deter the exercise of constitu-

   420. See supra note 414.
   421. I am assuming that acceptance of responsibility and expression of remorse are permissible
 factors to take into account on either retributivist or consequentialist theories of punishment.
   422. Judge Patricia Wald put this familiar point sharply:
     A sentencing judge.., could not say, "I would have given you five years if you didn't go to
     trial, but since you did, I will give you seven," but he could say, "Although I might otherwise
     have given you seven years, I am giving you only five years because you are remorseful as
     shown, in part, by your willingness to plead guilty." In the first case, the judge has arrived at a
     benchmark sentence he believes just in all respects, but then added an extra increment because
     the defendant has burdened the system by going to trial. In the second case, the judge is
     according a measure of leniency by viewing the guilty plea as evidence of acceptance of
     responsibility and, as such, worthy of consideration.
 United States v. Jones, 997 F.2d 1475, 1484 (D.C. Cir. 1993) (Wald, J., dissenting) (emphasis added);
 see also Abrams, supra note 413, at 133-36, 155 (elaborating upon this very distinction); Alschuler,
 supra note 413, at 658-59 & n.l (citing authorities including the American Bar Association and the
 American Law Institute). Notice that this way of distinguishing penalties from discounts does not,
 contrary to Professor Alschuler's supposition, see id. at 659, require one to posit that there exists a
 single, objectively proper sentence for any given defendant.
    423. 434 U.S. 357 (1978).
    424. Id. at 358.
    425. Id.




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        tional rights is not a constitutionally permissible exercise of discretion.                           At
        first, the majority seemed to want to agree. "To punish a person because he has
        done what the law plainly allows him to do is a due process violation of the
        most basic sort," wrote Justice Stewart for the Court, "and for an agent of the
        State to pursue a course of action whose objective is to penalize a person's
        reliance on his legal rights is 'patently unconstitutional.' ,,427 "But," Stewart
        continued in a stunning non sequitur, "in the 'give-and-take' of plea bargaining,
        there is no such element of punishment or retaliation so long as the accused is
        free to accept or reject the prosecution's offer.",4 2 8 What accounts for this jarring
        conclusion, so reminiscent of the Court's odd view, frequently expressed in the
                                           429
        conditional spending arena,             that a proposal is not coercive so long as the
        recipient   is "free" to  reject  it?  The  answer comes later in the opinion when the
        Court reasons that      "[t]o  hold    that  the prosecutor's desire to induce a guilty
        plea... may      play no   part  in  his  charging  decision, would contradict the very
                                                                             4 30
        premises that underlie the concept of plea bargaining itself.,            If it is constitu-
        tionally permissible for prosecutors to try to induce defendants to plead guilty,
        so as to spare the state the uncertainty and expense of trial, the Court seems to
        reason, we must allow them to overcharge. But this is simply wrong. Plea
        bargaining is made possible so long as prosecutors are allowed to offer sentenc-
        ing discounts; it is not necessary that they also be allowed to threaten a
                  43 1
        penalty.
            So the dissenters were right that overcharging is unconstitutional (as constitut-
        ing coercion). But did the prosecutor in fact overcharge? Justice Powell thought
        so, deeming it fair to infer "that the prosecutor himself deemed it unreasonable
        and not in the public interest to put this defendant in jeopardy of life imprison-




          426. Id. at 373 (Powell, J., dissenting). In a separate dissent joined by Justices Brennan and
        Marshall, Justice Blackmun seemed to reach the same conclusion. See id. at 367 (Blackmun, J.,
        dissenting, joined by Brennan and Marshall, JJ.). Although I agree with this conclusion, Justice Powell
        and the precedent upon which he relies, see id. at 372 (Powell, J., dissenting) (quoting Chaffin v.
        Stynchcombe, 412 U.S. 17, 32 n.20 (1973)), are too grudging in implying that state action does not
        amount to an unconstitutional penalty so long as the state is motivated by some purpose other than
        punishing and deterring. It seems to me that state action that burdens a constitutional right must be
        deemed unconstitutional as a penalty if a but-for purpose is to punish or deter, and that it is plausibly
        unconstitutional so long as that is a motivating purpose. But we may leave this an open question.
           427. Hayes, 434 U.S. at 363 (quoting Chaffin, 412 U.S. at 32-33 n.20) (other citations omitted). The
        fuller quotation from Chaffin-which was quoted by Powell-refers to "the only objective of a state
        practice." I like to think that the majority's deletion of the qualifier "only" was intentional.
           428. Id.
           429. See supra text accompanying notes 199-202.
           430. Hayes, 434 U.S. at 364-65.
           431. In a similar context, the federal courts of appeals have unanimously held that a sentencing
        judge is allowed to impose a lesser sentence on a defendant for having pled guilty, but not to impose a
        heavier sentence for having gone to trial. See United States v. Jones, 997 F.2d 1475, 1480-81 (D.C. Cir.
        1993) (Mikva, C.J., dissenting) (citing cases); id. at 1489 (Sentelle, J., dissenting) (specifically
        disagreeing with Judge Mikva's contention that "it probably does not matter whether the judge was
        enhancing Mr. Jones' punishment or denying him leniency").




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  ment. ' ' 4 32 And yet, the mere fact of reindictment cannot establish this fact.
  Perhaps the prosecutor, following Justice Frankfurter's advice, simply realized
  that "[w]isdom too often never comes, and so one ought not to reject it merely
  because it comes late.",4 33 The remaining dissenters, accordingly, seemed more
  ambivalent than did Justice Powell about the prosecutor's motives when recharg-
 ing Hayes. Whether this prosecutor did engage in overcharging or not, Black-
 mun seems to suggest, it would be sensible judicial strategy to presume that he
 had.4 34
    At this point, the similarities between plea bargains and exactions become
 acute. Both are common practices, the wholesale eradication of which seems
 impractical. And in both situations we can expect that sometimes the condi-
 tional proposal is coercive in that the refusal to grant the benefit offered (a
 development permit, or the lesser sentence) upon failure of condition would be
 motivated by the impermissible purposes of punishing or deterring the exercise
 of a constitutional right. Lastly, in both situations separating the coercive
 proposals (when carrying out of the threat would constitute a penalty) from the
 noncoercive proposals on a case-by-case basis is likely to prove exceedingly
 difficult. 35
    As we have seen, the germaneness (or "nexus") test of Nollan can be best
 understood as a prophylactic rule addressed to precisely this problem. And the
 rough-proportionality requirement of Dolan adds yet another level of prophy-
 laxis. The Fifth Amendment right to be free from uncompensated takings is thus
 protected by two per se rules designed to guard against the risk that ad hoc, ex
 post review for unconstitutionality would produce too many false negatives.
 Similar reasoning recommends designing prophylactic rules to protect the Sixth
 Amendment right to jury trial as well. 36 Hayes presented the opportunity for
 one such rule: A threat during plea negotiations to reindict a defendant on an
 additional charge (when such a recharging is not based on new information) will
 be presumed to threaten a penalty, hence to constitute coercion. 437 A second
 possible rule would be to invalidate any statute or policy that provides for
 automatic downward adjustments for guilty pleas. In these situations, the risk is
 too great that the downwardly adjusted sentence (y) equals P, not R. 43 8 Whether


    432. Hayes, 434 U.S. at 371 (Powell, J., dissenting).
    433. Henslee v. Union Planters Nat'l Bank & Trust Co., 335 U.S. 595, 600 (1949) (Frankfurter, J.,
 dissenting).
    434. See Hayes, 434 U.S. at 368 (Blackmun, J., dissenting) (concluding that "it is far preferable to
 hold the prosecution to the charge it was originally content to bring and to justify in the eyes of the
 public").
    435. See id. at 368 n.2.
    436. But see supra note 397 (problematizing the notion of a "prophylactic rule").
    437. This seems to have been the Sixth Circuit's reasoning. See Hayes, 434 U.S. at 361.
    438. The U.S. Sentencing Commission was apparently influenced by reasons along these lines when
 it initially decided against an automatic plea discount. See Dan Freed & Marc Miller, Plea Bargained
 Sentences, Disparity, and "Guideline Justice," 3 FED. SENTENCING REI'. 175, 176 (1991). For a
 discussion of the Commission's flirtation with an automatic plea discount and the ways in which the




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       these are sensible prophylactic rules, and furthermore, whether other prophylac-
       tic rules may be appropriate and administrable warrants sensitive consideration
       that cannot be undertaken here.43 9 Once it is recognized that (contrary to the
       assumption that seemingly drove the outcome in Hayes) sanctioning plea
       bargaining need not entail sanctioning overcharging, the admitted epistemic
       difficulty in distinguishing coercive plea offers from noncoercive ones-which
       is the same distinction as lies between sentencing penalties and sentencing
       discounts-does not justify the near-wholesale abdication of the judicial respon-
       sibility to protect Sixth Amendment rights from state coercion.

       5. Abortion
         The abortion funding cases 44 ° provide yet another fertile ground for thinking
       about unconstitutional conditions. 44 ' They are also a good place to conclude, for


       Guidelines' "Acceptance of Responsibility" provision has been applied to approximate such an
       automatic sentencing discount for guilty pleas, see Michael M. O'Hear, Remorse, Cooperation, and
        "Acceptance of Responsibility": The Structure, Implementation, and Reform of Section 3E1.I of the
       FederalSentencing Guidelines, 91 Nw. U. L. REv. 1507 (1997).
          Like the Sentencing Commission, the Supreme Court too has appeared hostile to automatic sentenc-
       ing reductions for guilty pleas. In United States v. Jackson, 390 U.S. 570 (1968), it invalidated those
       parts of the Federal Kidnapping Act that made the death penalty unavailable when the defendant either
       pleads guilty or is convicted upon a bench trial, reasoning that "[w]hatever might be said of Congress's
       objectives, they cannot be pursued by means that needlessly chill the exercise of basic constitutional
       rights." Id. at 582. Although the Court's holding is sensible, I think, its reasoning does not convince.
       After all, the Court has never subjected all government action that has the effect of chilling exercise of
       a constitutional right ("basic" or otherwise) to a test of necessity or narrow tailoring. Why it should in
       this particular context was left unexplained. The case becomes clearer, however, if we read the statute
       as proposing two distinct conditional proposals each offering freedom from the death penalty-the first
       conditioned on waiver of the defendant's right to jury, the second conditioned on waiver of the right to
       trial. The first proposal is plausibly unconstitutional on the dimension of purpose, namely that the state
       may not purposely encourage defendants to opt for trial by judge rather than jury. Of course, this
       rationale leaves the second proposal standing, for it is constitutionally permissible (so the Court has
       said) for the state to purposely encourage defendants to plead guilty. Here, though, a prophylactic rule
       makes sense. When a statute reserves the death penalty for those who are convicted upon trial rather
       than upon plea, the danger is too great that it is really threatening a penalty rather than offering a
       discount. In short, the tools proposed in this Article provide solid analytical support for the intuitions
       that drove the Jackson result.
          439. Along similar lines, see North Carolinav. Pearce, 395 U.S. 711 (1969), in which the Court held
       that a trial court may not impose a more severe sentence on defendants who successfully appeal a first
       conviction and are then reconvicted after a new trial, except when there exists "objective information
       concerning identifiable conduct on the part of the defendant occurring after the time of the original
        sentencing proceeding." Id. at 726. For a succinct analysis of Pearce and its progeny in prophylactic
       terms, see Abrams, supra note 413, at 145 & nn. 94-101.
          440. Rust v. Sullivan, 500 U.S. 173 (1991); Webster v. Reprod. Health Servs., 492 U.S. 490 (1989);
        Harris v. McRae, 448 U.S. 297 (1980); Williams v. Zbaraz, 448 U.S. 358 (1980); Maher v. Roe, 432
        U.S. 464 (1977); Poelker v. Doe, 432 U.S. 519 (1977).
          441. Worthwhile commentaries include Susan F. Appleton, Standards for ConstitutionalReview of
        Privacy-Invading Welfare Reforms: Distinguishing the Abortion-Funding Cases and Redeeming the
        Undue Burden Test, 49 VAYN. L. REV. 1 (1996); Janet Benshoof, Commentary, The Chastity Act:
        Government Manipulation of Abortion Information and the FirstAmendment, 101 HARV. L. REv. 1916
        (1988); Theodore C. Hirt, Commentary, Why the Government Is Not Required to Subsidize Abortion
        Counseling and Referral, 101 HAv. L. REv. 1895 (1988); McConnell, supra note 364; Michael J.




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   they manifest both the value and the limits of general unconstitutional condi-
   tions theorizing. Close conceptual analyses of penalties and coercion, it turns
   out, have some payoff here. And three-dimensional thinking is essential. The
   lion's share of the work, however, turns on questions of fact and judgments of
   constitutional law, each contestable.
      The core issue, raised most cleanly in Maher v. Roe," 2 is one of selective
  funding: The government provides Medicaid funding for childbirth, but not for
   abortions. Of course, there are many medical procedures other than abortions
  that the state has also chosen not to subsidize." 3 The state's refusal to subsidize
  abortions could plausibly be thought to raise the unconstitutional conditions
  problem (as defined in Part I), whereas the state's refusal to subsidize, say, tubal
  ligations does not, only because of the facts of nature that turn a pregnant
  woman's decision not to have an abortion (unsubsidized) into a decision to
  undergo childbirth (subsidized). Once pregnant, a woman must choose either to
  abort the fetus or to (try to) bring it to term.4 4 A (mere) selective funding
  decision is thereby formalizable in the biconditional terms of a conditional
  proposal extended to pregnant women: If and only if you choose not to abort the
  fetus, we will pay (at least some portion of) the medical expenses your decision
  necessitates. (This is not to say that Maher is more faithfully rendered as a
  conditional proposal than as simple selective funding, but only to observe that it
  can be viewed in this fashion.)
      Thus cast in familiar terms, the proposal is readily analyzed across the three
  dimensions of constitutional violation. 445 Start with effects. The likely effects of
  the offer will be to increase the number of childbirths relative to abortions 44 6
  and, in theory at least, to encourage use of birth control, thereby marginally
  reducing the total number of pregnancies. It is hard to imagine how, without
  more, these effects could make government action constitutionally suspect.


  Perry, The Abortion Funding Cases: A Comment on the Supreme Court's Role in American Govern-
  ment, 66 GEo. L.J. 1191 (1978); Michael J. Perry, Why the Supreme Court Was Plainly Wrong in the
 Hyde Amendment Case, 32 STAN. L. REv. 1113 (1980); and Laurence H. Tribe, Commentary, The
 Abortion Funding Conundrum, 99 HARv. L. REV. 330 (1985).
    442. 432 U.S. 464 (1977).
    443. See McRae, 448 U.S. at 325 n.28 (noting even a few medically necessary procedures that are
 not covered by Medicaid).
    444. See, e.g., id. at 332-33 (Brennan, J., dissenting).
    445. Of course, we do not need to formulate the government action as a biconditional in order to
 assess it across the dimensions of purpose, effect, and conduct. As Part III argues, all government
 action is properly measured for constitutionality along these three dimensions. See supra Part III.
 Indeed, adopting the conditional proposal rubric is almost certainly unnecessary here-so long as one is
 sensitive to the concept of an unconstitutional penalty and carefully assesses the governmental
 classification on the dimensions of purpose and effect.
    446. Recall my proposed distinction between the effects of the proposal, and the effects of carrying
 out the threat. See supra text accompanying note 166. There is, admittedly, something artificial about
 this division. We could simply inquire into the effects of the selective funding policy, conceived as a
 single governmental act. The bifurcated approach does have the virtue, however, of helping to ensure
 that all potentially relevant effects are taken into account. Additionally, it distinguishes the purpose
 question from the penalty question. See infra p. 107.




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           But the supposition that the most prominent effect of the proposal will be to
       encourage some women to choose not to exercise their rights to have an
       abortion does raise questions-both factual and legal-when we turn attention
       to the dimension of purpose. Was it, in fact, a purpose behind the state's
       issuance of this proposal (that is, of its selective funding decision) to discourage
       some women from choosing an abortion? And if so is that, as a matter of
       constitutional law, a bad purpose? Assume, as the Supreme Court did in both
       Harrisv. McRae and Maher, that the answer to the first question is yes." We
       have seen that some constitutional rights spawn a correlative governmental duty
       not to attempt to influence their exercise. Many First Amendment rights are of
       this variety. Presumably, it would be unconstitutional for the government to buy
       billboard space encouraging its citizens to "Vote Yes on Proposition Two" or to
       offer cash bounties for persons to attend (or not to attend) houses of worship."
       But not all rights are of this sort. As already noted, the Supreme Court has
        interpreted the Sixth Amendment not to bar the state from trying to encourage
                                                               449
        criminal defendants to waive their rights to trial. And presumably, municipali-
        ties could entreat landowners to convey public easements for free. In short, the
                                                               450 is whether the constitutional
        question, as many commentators have observed,
        right to choose an abortion brings with it a claim-right that the state not try to
        sway the decision. And the answer-at least according to the Supreme Court-is
        that it does not. 45 1 If this is correct, then selective funding of childbirth and not
        abortions is constitutional on the dimension of purpose even if the state acts for
        the purpose of encouraging the former and discouraging the latter. But whether
        it is correct is a matter for substantive arguments of political morality-insofar
        as one's theory of constitutional interpretation recognizes room for this sort of


           447. McRae, 448 U.S. at 315; Maher, 432 U.S. at 475-76. This is not necessarily true. Even if the
        state believed that demand for abortions was price inelastic, a decision to subsidize childbirth, but not
        abortion, for poor women would be in no way incoherent. The state could be motivated by agent-
        relative considerations, or by concerns about the meaning rather than the effect of a decision to
        subsidize abortions. That is, the state could have the attitude: We do not care how many abortions are
        performed; we just do not want to be involved in promoting or facilitating them. Furthermore,
        purposefully encouraging childbirth through subsidy is not tantamount to purposefully discouraging
        abortion insofar as the persons sought to be influenced are contemplating pregnancy but not yet
        pregnant. These quibbles notwithstanding, I am willing to suppose, along with the Court, that the
        selective funding schemes (adopted by Connecticut in Maher, and by Congress in McRae) were
        significantly motivated to discourage women from exercising their rights to an abortion.
           448. See Simons, supra note 5 1, at 296.
           449. See supra note 414. See generally William J. Stuntz, Waiving Rights in CriminalProcedure, 75
        VA. L. REV. 761 (1989). Professor Tribe's assertion that this is a "relational and systemic" right, hence
        "necessarily inalienable," Tribe, supra note 441, at 332-33, is therefore somewhat puzzling.
           450. See, e.g., Alexander, supra note 55, at 185 ("The controversy over Maher and Harris can be
        viewed as a controversy over whether the right to an abortion is a right to [government neutrality with
        respect to its exercise or non-exercise]."); Doff, supra note 100, at 1219-32; Sunstein, Doctrine, supra
        note 21, at 342 (making a similar point, but drawing the erroneous conclusion that general unconstitu-
        tional conditions theorizing is therefore necessarily useless).
            451. See, e.g., Maher, 432 U.S. at 474; Beal v. Doe, 432 U.S. 438, 446 (1977). Justice Brennan
         intimated, if he did not explicitly pronounce, a contrary view. See McRae, 448 U.S. at 329-37
         (Brennan, J., dissenting); Maher,432 U.S. at 482-90 (Brennan, J., dissenting).




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 reasoning.4 5 2 Value-neutral analysis can provide no answer.
    Supposing that the effects of, and purposes behind, the extending of the
 conditional proposal are all constitutionally permissible, we can turn to consider-
 ing whether it amounts to forbidden coercion. The question now, in other words,
 is whether it would be unconstitutional, on any dimension, for the state to carry
 out its threat not to subsidize the medical procedures necessitated by a choice to
 have an abortion.
    Start, again, with effects. Whether or not the state were to fund childbirth, the
 mere fact that it does not subsidize the abortion would be unconstitutional if the
 Constitution were construed to require the state to ensure that every pregnant
 woman could effectuate a choice to terminate her pregnancy. But whatever the
 merits of such a position, 4 5 3 it is so far from the constitutional mainstream as to
 be safely ignored for our purposes. The mere refusal to subsidize poor women's
 abortions, it would seem, is not unconstitutional by dint of its effects. And if
 that is so, the question becomes how the state's concurrent subsidization of
 childbirth may affect the analysis. True, it converts the nonsubsidization of
 abortion into a "burden" in the sense (previously stipulated to)454 of raising the
 costs of having an abortion relative to not having it. And this, according to
 Justice Brennan, is critical:

      By funding all of the expenses associated with childbirth and none of the
      expenses incurred in terminating pregnancy, the Government literally makes
      an offer that the indigent woman cannot afford to refuse. It matters not that in
      this instance the Government has used the carrot rather than the stick. What is
      critical is the realization that as a practical matter, many poverty-stricken
      women will choose to carry their pregnancy to term simply because the
      Government provides funds for the associated medical services, even though
      these same women would have chosen to have an abortion if the Government
      had also paid for that option, or indeed if the Government had stayed out of
      the picture altogether and had defrayed the costs of neither procedure. 5 5

    But this is wholly unconvincing. When confronted with an offer that the
 offeree "cannot afford to refuse," it makes all the difference in the world
 whether the offeror employs a carrot rather than a stick. Faced with the choices
 of sleeping late at home or showing up at the appointed date and time to mow
 my lawn, I have not the slightest doubt that my neighbor's son would choose
 the former if only I had been willing to fund both options or had been willing to
 pay for neither. And the fact (were it true) that I pay him well over the going
 rate in the neighborhood would be neither here nor there. Contrary to Justice


  452. I made the same point about viewpoint (and quasi-viewpoint) discrimination in the First
 Amendment context. See supra notes 345-54 and accompanying text.
  453. This position is forcefully argued for in Tribe, supra note 441.
  454. See supra text accompanying note 140.
  455. McRae, 448 U.S. at 333-34 (Brennan, J., dissenting).




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        Brennan, then, the effects that should concern us are not those that render the
        constitutionally protected choice to have an abortion less eligible than the
        constitutionally protected choice to carry the pregnancy to term, but rather those
        that render the choice to have an abortion more difficult than it would have been
        absent the particular governmental action (or inaction) challenged. This is the
        sense of "burden"-making abortion more costly or difficult in comparison, not
        to not having an abortion, but to the state's doing otherwise than it threatens-
                                                                               4 56
        captured in the undue burden test of Planned Parenthood v. Casey. And if
        this is the sense of burden that is constitutionally significant, then the policy
        challenged in Maher seems constitutionally inoffensive. If, ex hypothesi, the
        simple nonfunding of abortions does not run afoul of Casey, there is simply no
        reason to believe that nonfunding of abortions conjoined to funding of child-
        birth "plac[es] a substantial obstacle in the path of a woman seeking an abortion
                                  45 7
        of a nonviable fetus."
           None of this is to say, however, that the type of burden that the selective
        funding at issue in Maher does produce-increasing the opportunity cost of
        choosing an abortion-is entirely irrelevant. Rather, it should serve to make us
                                                  458
        watchful for the existence of a penalty. We have already assumed that it is not
        necessarily constitutionally impermissible for the state to act for the purpose of
        discouraging abortion. That does not entail, however, that the state may constitu-
        tionally seek to achieve that purpose by raising the costs of its exercise.
        Granted, then, that the state is trying to discourage women from choosing an
        abortion, and that it is constitutionally permitted to do so, the critical question,
        conceptually, is whether it is endeavoring to do so by offering a bonus to
        pregnant women who choose childbirth or by imposing a burden on pregnant
        women who choose abortion. This is essentially the same question posed to
        distinguish plea discounts from overcharging. Here, as there, the former is
        constitutional, the second (a penalty) is not.
           Also here, as there, no matter the conceptual soundness of the distinction, one
        may reasonably despair of being able to differentiate the two in practice. To be
        sure, a definitive answer is almost certainly impossible. Nonetheless, we may
        advance the ball a little by sketching out a way to think about the problem. And
        it is in this respect, I think, that recasting the issue from selective funding to a
        conditional proposal is most likely to aid understanding.
           Imagine that an indigent pregnant woman is disposed, at time t1, to terminate
        her pregnancy, and that the government offers, at t2, to pay the medical
         expenses necessitated by the pregnancy if, and only if, she chooses not to
         exercise her right to an abortion. One possible consequence of this conditional
         proposal is to induce the woman to choose to carry the pregnancy to term and


          456. 505 U.S. 833 (1992); see supra text accompanying note 80.
          457. Casey, 505 U.S. at 877.
          458. Although identifying a burden is helpful to the penalty analysis, it is not essential. There can be
        burdenless penalties. See supra note 140.




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 that, we have assumed, is an objective the state is constitutionally permitted to
 seek. But let us put this possibility aside, for carrying out its threat at t 3 is not a
penalty only if, supposing it knew the woman would not change her mind, the
state would nonetheless genuinely prefer not to subsidize the abortion. And the
answer to this thought experiment, it seems, is likely to depend upon what the
state can expect to occur at t 3 if it does not subsidize the abortion. Three
principal possibilities suggest themselves: 459 (1) Private charitable sources subsi-
dize a safe, legal abortion; (2) the woman herself scrapes together the necessary
funds, perhaps by stinting on other necessities; or (3) the woman undergoes a
cheaper, but less safe, illegal abortion, including trying to induce abortion
herself.
   That the state would prefer the first two outcomes to providing its own
funding seems highly plausible. That it would prefer the third to providing the
public funds necessary to ensure a safe legal abortion, however, seems much
less likely. 460 If this is so, then whether the state is treating poor women who
choose an abortion less well than it would otherwise but for its purpose in
discouraging exercise of the abortion right may well depend upon the antici-
pated relative frequencies of the three alternative outcomes. If the third is
substantially more prevalent than the first two combined, then it is arguably fair
to infer that the nonsubsidy of abortions for poor women amounts to an
unconstitutional penalty upon a woman's right to choose.46 '
   The bottom line, I think, is that the result in Maher is at the least defensible,
and probably right: A state can choose to fund childbirth, but not abortions. If


   459. See McRae, 448 U.S. at 338 (Marshall, J., dissenting).
   460. Speculation regarding this latter point could perhaps be avoided by putting the question
 squarely to the state's attorneys. Conceivably, political considerations could check what, for litigation
purposes, would be the obvious opportunistic answer.
   461. Penalty analysis, incidentally, explains why the Supreme Court majorities that rejected chal-
lenges to the selective nonfunding of abortion in all these cases were nonetheless able to speculate that
"strict scrutiny might be appropriate" if a state "denied general welfare benefits to
                                                                                        all women who had
obtained abortions and who were otherwise entitled to the benefits," Maher v. Roe, 432 U.S. 464,
474 n.8 (1977); that "[a] substantial constitutional question would arise if Congress had attempted to
withhold all Medicaid benefits from an otherwise eligible candidate simply because that candidate had
exercised her constitutionally protected freedom to terminate her pregnancy by abortion," McRae, 448
U.S. at 317 n.19; and that it "might" be unconstitutional "if the State barred doctors who performed
abortions in private facilities from the use of public facilities for any purpose," Webster v. Reprod.
Health Servs., 492 U.S. 490, 510 n.8 (1989); as well as why Professor McConnell can deem it
"uncontroversial" that, even after these cases, the government would
                                                                              not be permitted to deprive
abortion clinics of "police or fire protection or access to public highways," McConnell, supra note 364,
at 1022.
   What considerations support these observations? McConnell explains his conclusion this way:
"Because the services are indispensable, a denial of access ('aid') would therefore be tantamount to
destruction." Id. And this is probably right as far as it goes; in my terms, therefore, conditioning police
or fire protection on nonperformance of abortions would be unconstitutional on dimension of effect.
But-and this is the revealing point-it is much less clear that McConnell's "destruction" explanation
works in the hypotheticals that engaged the Court. I doubt, for instance, that a majority of the Justices
would agree that Medicaid benefits are "indispensable." The one unifying thread is that all four of these
hypothetical conditional proposals would be unconstitutionally coercive for threatening a penalty.




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        wrong, it would most likely be because, as a matter of constitutional law, a state
        presumptively violates the Constitution whenever it acts (no matter in what
        manner) for the purpose of discouraging a woman from choosing to exercise her
        right to an abortion, or because, as a matter of fact, the state of Connecticut was
        imposing a penalty.
           The post-Maher selective funding cases, however, are more questionable.
        McRae differed from Maher principally in this regard: Unlike the earlier
        case, here the government (now Congress) refused to fund even "medically
        necessary" abortions (except for those necessary to save the mother's life).
        Still, the analysis is much the same. Although the effect of the offer-some
        women foregoing abortion-is more problematic in this case than in Maher,
        this consequence does not infringe the Constitution, unless poor people
        generally have a constitutional right that the government ensure that their
        medical needs are met. And if a purpose of discouraging abortion was
                                                              4 62 Finally, withholding the
        permissible in Maher, it is permissible here too.
        benefit of public funds for medically necessary abortions is no more likely
        to constitute a penalty than is withholding public funds for other abortions.
        If McRae is distinguishable from Maher, then, it will be for the reasons
        supporting the fundamental rights strand of equal protection review: Al-
        though (ex hypothesi) the state is not constitutionally obligated to ensure
        access to necessary medical care, once it does provide this important benefit,
        it should not be permitted to discriminate in its provision without particu-
        larly weighty reasons.4 63 When discrimination in the furnishing of particu-
        larly important goods or services should demand heightened justification,
         and whether such justification, if demanded, could be satisfied in this
         context, are important questions but not ones on which conceptual analysis
         can shed much light.
            Webster v. Reproductive Health Services464 involved challenges to various
         provisions of a Missouri statute that comprehensively regulated abortion. One
         provision prohibited public employees from performing or assisting abortions
         within the scope of their employment and also prohibited the use of public
         facilities-including any "physical asset owned, leased, or controlled" by the
         state or any of its subdivisions 4 65 for abortions. The Court rejected the chal-
         lenge, reasoning that



            462. Ironically, if a purpose of discouraging abortion is deemed impermissible as a matter of
         constitutional law, then McRae actually stands on slightly stronger ground factually than does Maher
         because it is marginally more plausible in McRae than in Maher to find that the government's purpose
         was not to discourage abortion. The refusal to fund abortions will reduce their incidence in proportion
         to the price elasticity of demand for abortions, and legislators could expect demand to be more price
         inelastic for medically necessary abortions than for others.
           463. This was Justice Stevens's focus in his McRae dissent. 448 U.S. at 349-57 (Stevens, J.,
         dissenting); see also id. at 330 n.4 (Brennan, J., dissenting).
           464. 492 U.S. 490 (1989).
           465. Id. at 523 (O'Connor, J., concurring) (quoting Mo. REv. STAT. § 188.200(2) (1986)).




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       [j]ust as Congress' refusal to fund abortions in McRae left "an indigent
       woman with at least the same range of choice in deciding whether to obtain a
       medically necessary abortion as she would have had if Congress had chosen
       to subsidize no health care costs at all," Missouri's refusal to allow public
       employees to perform abortions in public hospitals leaves a pregnant woman
       with the same choices as if the State had chosen not to operate any public
       hospitals at all.466

   The comparison is extremely dubious. In effect, Missouri was offering
medical service providers access to state property, including leases on state-
owned land, on the condition that they not perform abortions on that property.
For many offerees this would be an offer too good to pass up-especially for
those who were already using state property and for whom a move would
therefore be economically prohibitive.4 6 7 As a result, pregnant women would
find significantly fewer places to obtain an abortion than "if the State had
chosen not to operate any public hospitals at all." In short, the offer at issue in
Webster is much more likely than that in either Maher or McRae to impose an
undue burden on a pregnant woman's ability to exercise her right to an abortion
and is, therefore, more likely to be unconstitutional on the dimension of
effect.46 8

                                             CONCLUSION
   If the analysis of this Article is on target, the unconstitutional conditions
problem turns out to be much like the elephant from the parable of the blind
men. Almost all theorizing about it has captured something of importance,
while none has been more than partial.
   Indeed, the very term, "the unconstitutional conditions doctrine," may have
led one to predict that this would be so. For its meaning, I have said, is rather
modest. In mediating between two competing totalizing claims-that the greater


   466. Webster, 492 U.S. at 509 (quoting McRae, 448 U.S. at 317).
   467. See id. at 541 n.1 (Blackmun, J., dissenting).
   468. The same is true of the "abortion gag rule" upheld in Rust v. Sullivan, 500 U.S. 173 (1991), that
barred family planning clinics that received federal funds from providing abortion counseling or
referrals. Extending the comparison it had earlier made between McRae and Webster, the Rust Court
declared that, in just the same way, "Congress' refusal to fund abortion counseling and advocacy leaves
a pregnant woman with the same choices as if the Government had chosen not to fund family-planning
services at all." Id. at 202. This is not credible. Surely government funding of family-planning services
enlarges the total family-planning pie, making viable services that would not exist without the funding.
But it is folly to pretend that such funding does not also seduce some family-planning programs that
would exist, and offer abortion-related services, in the absence of federal funds, into changing their
policies. In short, the government's offer of funds to those actual or would-be family-planning clinics
that agree to abide by its abortion-referral restrictions has the effect of reducing women's ability to
obtain information necessary to secure a timely abortion. Whether the effect is of sufficient magnitude
to raise a constitutional problem under the undue burden standard is a further question, containing both
empirical and evaluative components. To deny, however, that it has any such effect disserves candor in
constitutional analysis.




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       includes the lesser, and that the Constitution prohibits the government from
       accomplishing indirectly what it may not do directly-the doctrine holds only
       that each position is partially correct.4 69 It is not the case (says the doctrine) that
       the government's constitutional freedom to withhold a benefit necessarily en-
       tails that it is constitutionally entitled to withhold it on condition.
           Moving next from this general, and concededly rather thin, statement of the
       unconstitutional conditions doctrine, the challenge has been to identify prin-
       ciples, rules, tests, or methods by which we can determine when the greater
       includes the lesser and when it does not. Again, two basic positions have
       contended for primacy. Very roughly, the first camp has hunted for a "unitary"
       solution, whereas the second has eschewed general principles in favor of close
       analysis tailored to individual constitutional provisions. And again, both view-
       points have contained necessary truths. I have argued that there does exist a
       coherent, unified approach for analyzing conditional governmental offers, but
       one whose operation is made expressly contingent upon the judiciary's substan-
       tive interpretations of specific constitutional provisions.
           That is, to be sure, putting things rather abstractly. What (we finally want to
       know) does this general solution--contingent though it may be on particular
       constitutional doctrine-look like? The inelegant answer is that it has three
        dimensions and centers on coercion. All government action, I have argued, is
        sensibly assessed across three dimensions of possible constitutional infringe-
        ment-the familiar categories of purposes and effects, along with a third
        somewhat nebulous category I term conduct. As a first step, then, a given
        conditional offer-like any type of government action-may be unconstitu-
        tional because of the state's purposes for extending the offer, or the offer's
        consequences, or the combination of the two.
           This is true, but hardly arresting. If conditional offers raised no issues
        different from these, the unconstitutional conditions problem would be uninter-
        esting indeed. The third dimension of conduct, however, reveals something
        more particular to the unconstitutional conditions problem. Coercion, I have
        argued, constitutes one type of unconstitutional conduct. And it is the type of
        unconstitutionality that can be an attribute only of conditional offers (or of their
        functional equivalents). Therefore, a conditional proposal is (at least presump-
        tively) unconstitutional if it violates some particular constitutional principle or
        provision by reason of its purpose or its effects, or if it constitutes coercion. A
        proposal constitutes coercion, furthermore, if it contains a threat to perform an
        unconstitutional act.
           So what happened to the parable of the elephant? In the existing literature,
        coercion-based theories of unconstitutional conditions compete with others. Its


           469. Naturally, if understood in this fashion, the doctrine reflects not only "the triumph of the view
        that government may not do indirectly what it may not do directly over the view that the greater power
        to deny a benefit includes the lesser power to impose conditions on its receipt," Sullivan, supra note 1,
        at 1415, but also the converse triumph equally well.




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   principal (though not exclusive) competitors, it seems to me, may be found
   under the loose rubrics of purpose-based theories and germaneness-based theo-
   ries. Do these latter types of theories have something to contribute to our
   understanding of unconstitutional conditions? Once again, yes. Coercion, I
   believe, functions as the linchpin of the unconstitutional conditions "solution."
  But it turns out to be a mistake to view purpose-based theories and germaneness-
  based theories as alternatives to an approach sounding in coercion. Rather,
  inquiries into governmental purposes and germaneness are, along with inquiries
  into effects, critical components of the coercion test.
      I have just said that an offer constitutes coercion if it contains a threat to
  perform an unconstitutional act. Threats to imprison people for advocating
  communism, or to impose higher taxes on those who worship Baal, are there-
  fore coercive. And yet such conditional proposals are rarely imagined as raising
  the unconstitutional conditions problem. As a matter of doctrine, that is because
  the problem is often restricted to cases in which the government threatens to
  withhold a benefit, whereas not being imprisoned and being subject to the
  ordinary tax code are not generally conceived of as benefits. But they could be.
  As a functional matter, then, limiting the unconstitutional conditions problem to
  cases involving threats to withhold benefits is really just a way of cabining it to
  those situations in which the unconstitutionality of the act government threatens
  is not patent.
      So focus, as contributors to the debate tend to do, on situations in which the
  government threatens to perform an act that appears, on first or second glance,
  to be constitutional. Within this region of unconstitutional conditions space the
  act threatened is most likely to be unconstitutional, I venture, if it penalizes the
  exercise of a constitutional right. And an act penalizes a constitutional right, I
  have claimed, if it imposes a burden on exercise of that right for the purpose
  either of punishing the rightholder or of discouraging exercise of the right. The
  state's purpose for carrying out the act threatened is therefore an essential
 constituent of there being a penalty, which is, in turn, often a critical factor for
 there being coercion.
     And how can we determine whether, in carrying out its threat, the govern-
 ment would be animated by either of these bad purposes? Here, finally, is where
 germaneness comes in. When the putative purpose for withholding the benefit
 unconditionally is not the same as the purpose for issuing the demand, then the
 state's withholding of the benefit upon failure of condition is likely to be a
 penalty. This is an inference, not a deduction. Germaneness, then, is not an
 alternative to coercion analysis, but rather a heuristic in service of the coercion
 inquiry.
     There is, in short, a logic behind the unconstitutional conditions doctrine-a
 logic toward which much previous theorizing about unconstitutional conditions
 had been pointing. It is, perhaps, complex. But it is real. Careful attention to this
 logic can help lead us out of the morass.




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AMICUS APPENDIX 9: Brown v. Kendall, 60 Mass. 292 (1850)




                                                 AMICUS APPENDIX 9

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                                                                   strike the dogs, he accidentally hit the plaintiff in the eye,
                                                                   inflicting upon him a severe injury.
    KeyCite Yellow Flag - Negative Treatment
Distinguished by Aiken v. Shell Oil Co., Or., December 30, 1959    Whether it was necessary or proper for the defendant to
                   60 Mass. 292                                    interfere in the fight between the dogs; whether the
       Supreme Judicial Court of Massachusetts.                    interference, if called for, was in a proper manner, and
                                                                   what degree of care was exercised by each party on the
                     GEORGE BROWN                                  occasion; were the subject of controversy between the
                           v.                                      parties, upon all the evidence in the case, of which the
                   GEORGE K. KENDALL.                              foregoing is an outline.
                      October Term, 1850.                          The defendant requested the judge to instruct the jury, that
                                                                   “if both the plaintiff and defendant at the time of the blow
                                                                   were using ordinary care, or if at that time the defendant
                                                                   was using ordinary care and the plaintiff was not, or if at
                                                                   that time both plaintiff and defendant were not using
**1 *292 The defendant, having interfered to part his dog
                                                                   ordinary care, then the plaintiff could not recover.”
and the plaintiff’s, which were fighting, in raising his
stick for that purpose, accidentally struck the plaintiff and      The defendant further requested the judge to instruct the
injured him. In an action of trespass for the assault and          jury, that, “under the circumstances, if the plaintiff was
battery, it was held, that the parting of the dogs was a           using ordinary care and the defendant was not, the
lawful and proper act, which the defendant might do by             plaintiff could not recover, and that the burden of proof
the use of proper and safe means; and that if in so doing,         on all these propositions was on the plaintiff.”
and while using due care, and taking all proper
precautions, necessary to the exigency of the case, to             **2 The judge declined to give the instructions, as above
avoid hurt to others, the injury to the plaintiff occurred,        requested, but left the case to the jury under the following
the defendant was not liable therefor; and that the burden         instructions: “If the defendant, in beating the dogs, was
of proof was on the plaintiff to establish the want of due         doing a necessary act, or one which it was his duty under
care on the part of the defendant. It was held, also, that if,     the circumstances of the case to do, and was doing it in a
at the time of the injury, both the plaintiff and defendant        proper way; then he was not responsible in this action,
were not using ordinary care, the plaintiff could not              provided he was using ordinary care at the time of the
recover, without showing that the damage was caused                blow. If it was not a necessary act; if he was not in duty
wholly by the act of the defendant, and that the plaintiff’s       bound to attempt to part the dogs, but might with
own negligence did not contribute as an efficient cause to         propriety interfere or not as he chose; the defendant was
produce it.                                                        responsible for the consequences of the blow, unless it
                                                                   appeared that he was in the exercise of extraordinary care,
THIS was an action of trespass for assault and battery,            so that the accident was inevitable, using the word
originally commenced against George K. Kendall, the                inevitable not in a strict but a popular sense.”
defendant, who died pending the suit, and his executrix
was summoned in.                                                   “If, however, the plaintiff, when he met with the injury,
                                                                   was not in the exercise of ordinary care, he cannot
It appeared in evidence, on the trial, which was before            recover, and this rule applies, whether the interference of
Wells, C. J., in the court of common pleas, that two dogs,         the defendant in the fight of the dogs was necessary or
belonging to the plaintiff and the defendant, respectively,        not. If the jury believe, that it was the duty of the
were fighting in the presence of their masters; that the           defendant to interfere, then the *294 burden of proving
defendant took a stick about four feet long, and                   negligence on the part of the defendant, and ordinary care
commenced beating the dogs in order to separate them;              on the part of the plaintiff, is on the plaintiff. If the jury
that the plaintiff was looking on, at the distance of about a      believe, that the act of interference in the fight was
rod, and that he advanced a step or two towards the dogs.          unnecessary, then the burden of proving extraordinary
In their struggle, the dogs approached the place where the         care on the part of the defendant, or want of ordinary care
plaintiff was standing. The defendant retreated backwards          on the part of the plaintiff, is on defendant.”
from before the dogs, striking them as he retreated; and as
he approached the plaintiff, with *293 his back towards            The jury under these instructions returned a verdict for the
him, in raising his stick over his shoulder, in order to           plaintiff; whereupon the defendant alleged exceptions.

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                                                                 although its particular effect in hitting and hurting another
                                                                 is not within the purpose or intention of the party doing
                                                                 the act.
 West Headnotes (1)
                                                                 It appears to us, that some of the confusion in the cases on
                                                                 this subject has grown out of the long-vexed question,
[1]     Abatement and Revival       Actions for Personal         under the rule of the common law, whether a party’s
        Injuries                                                 remedy, where he has one, should be sought in an action
                                                                 of the case, or of *295 trespass. This is very
        By express provision of Rev.St. c. 93, § 7, an           distinguishable from the question, whether in a given
        action of trespass for assault and battery               case, any action will lie. The result of these cases is, that
        survives.                                                if the damage complained of is the immediate effect of the
                                                                 act of the defendant, trespass vi et armis lies; if
                                                                 consequential only, and not immediate, case is the proper
        4 Cases that cite this headnote                          remedy. Leame v. Bray, 3 East, 593; Hugget v.
                                                                 Montgomery, 2 N. R. 446, Day’s Ed. and notes.

                                                                 In these discussions, it is frequently stated by judges, that
                                                                 when one receives injury from the direct act of another,
                                                                 trespass will lie. But we think this is said in reference to
Attorneys and Law Firms                                          the question, whether trespass and not case will lie,
                                                                 assuming that the facts are such, that some action will lie.
This case was argued at the sittings in Boston, in January
                                                                 These dicta are no authority, we think, for holding, that
last, by J. G. Abbott, for the defendant, and by B. F.
                                                                 damage received by a direct act of force from another will
Butler and A. W. Farr, for the plaintiff.
                                                                 be sufficient to maintain an action of trespass, whether the
Opinion                                                          act was lawful or unlawful, and neither wilful, intentional,
                                                                 or careless. In the principal case cited, Leame v. Bray, the
                                                                 damage arose from the act of the defendant, in driving on
SHAW, C. J.                                                      the wrong side of the road, in a dark night, which was
                                                                 clearly negligent if not unlawful. In the course of the
                                                                 argument of that case, (p. 595,) Lawrence, J., said: “There
                                                                 certainly are cases in the books, where, the injury being
**3 This is an action of trespass, vi et armis, brought by       direct and immediate, trespass has been holden to lie,
George Brown against George K. Kendall, for an assault           though the injury was not intentional.” The term “injury”
and battery; and the original defendant having died              implies something more than damage; but, independently
pending the action, his executrix has been summoned in.          of that consideration, the proposition may be true, because
The rule of the common law, by which this action would           though the injury was unintentional, the act may have
abate by the death of either party, is reversed in this          been unlawful or negligent, and the cases cited by him are
commonwealth by statute, which provides that actions of          perfectly consistent with that supposition. So the same
trespass for assault and battery shall survive. Rev. Sts. c.     learned judge in the same case says, (p. 597,) “No doubt
93, § 7.                                                         trespass lies against one who drives a carriage against
                                                                 another, whether done wilfully or not.” But he
The facts set forth in the bill of exceptions preclude the       immediately adds, “Suppose one who is driving a carriage
supposition, that the blow, inflicted by the hand of the         is negligently and heedlessly looking about him, without
defendant upon the person of the plaintiff, was                  attending to the road when persons are passing, and
intentional. The whole case proceeds on the assumption,          thereby runs over a child and kills him, is it not
that the damage sustained by the plaintiff, from the stick       manslaughter? and if so, it must be trespass; for every
held by the defendant, was inadvertent and unintentional;        manslaughter includes trespass;” showing what he
and the case involves the question how far, and under            understood by a case not wilful.
what qualifications, the party by whose unconscious act
the damage was done is responsible for it. We use the            **4 We think, as the result of all the authorities, the rule
term “unintentional” rather than involuntary, because in         is correctly stated by Mr. Greenleaf, that the plaintiff must
some of the cases, it is stated, that the act of holding and     come *296 prepared with evidence to show either that the
using a weapon or instrument, the movement of which is           intention was unlawful, or that the defendant was in fault;
the immediate cause of hurt to another, is a voluntary act,      for if the injury was unavoidable, and the conduct of the
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defendant was free from blame, he will not be liable. 2            as an efficient cause to produce it.
Greenl. Ev. §§ 85 to 92; Wakeman v. Robinson, 1 Bing.
213. If, in the prosecution of a lawful act, a casualty            **5 The court instructed the jury, that if it was not a
purely accidental arises, no action can be supported for an        necessary act, and the defendant was not in duty bound to
injury arising therefrom. Davis v. Saunders, 2 Chit. R.            part the dogs, but might with propriety interfere or not as
639; Com. Dig. Battery, A. (Day’s Ed.) and notes;                  he chose, the defendant was responsible for the
Vincent v. Stinehour, 7 Verm. 69. In applying these rules          consequences of the blow, unless it appeared that he was
to the present case, we can perceive no reason why the             in the exercise of extraordinary care, so that the accident
instructions asked for by the defendant ought not to have          was inevitable, using the word not in a strict but a popular
been given; to this effect, that if both plaintiff and             sense. This is to be taken in connection with the charge
defendant at the time of the blow were using ordinary              afterwards given, that if the jury believed, that the act of
care, or if at that time the defendant was using ordinary          interference in the fight was unnecessary, (that is, as
care, and the plaintiff was not, or if at that time, both the      before explained, not a duty incumbent on the defendant,)
plaintiff and defendant were not using ordinary care, then         then the burden of proving extraordinary care on the part
the plaintiff could not recover.                                   of the defendant, or want of ordinary care on the part of
                                                                   plaintiff, was on the defendant.
In using this term, ordinary care, it may be proper to state,
that what constitutes ordinary care will vary with the             The court are of opinion that these directions were not
circumstances of cases. In general, it means that kind and         conformable to law. If the act of hitting the plaintiff was
degree of care, which prudent and cautious men would               unintentional, on the part of the defendant, and done in
use, such as is required by the exigency of the case, and          the doing of a lawful act, then the defendant was not
such as is necessary to guard against probable danger. A           liable, unless it was done in the want of exercise of due
man, who should have occasion to discharge a gun, on an            care adapted to the exigency of the case, and therefore
open and extensive marsh, or in a forest, would be                 such want of due care became part of the plaintiff’s case,
required to use less circumspection and care, than if he           and the burden of proof was on the plaintiff to establish it.
were to do the same thing in an inhabited town, village, or        2 Greenl. Ev. § 85; Powers v. Russell, 13 Pick. 69, 76;
city. To make an accident, or casualty, or as the law              Tourtellot v. Rosebrook, 11 Met. 460.
sometimes states it, inevitable accident, it must be such an
accident as the defendant could not have avoided by the            Perhaps the learned judge, by the use of the term
use of the kind and degree of care necessary to the                extraordinary care, in the above charge, explained as it is
exigency, and in the circumstances in which he was                 by the context, *298 may have intended nothing more
placed.                                                            than that increased degree of care and diligence, which
                                                                   the exigency of particular circumstances might require,
We are not aware of any circumstances in this case,                and which men of ordinary care and prudence would use
requiring a distinction between acts which it was lawful           under like circumstances, to guard against danger. If such
and proper to do, and acts of legal duty. There are cases,         was the meaning of this part of the charge, then it does
undoubtedly, in which officers are bound to act under              not differ from our views, as above explained. But we are
process, for the legality of which they are not responsible,       of opinion, that the other part of the charge, that the
and perhaps some others in which this distinction would            burden of proof was on the defendant, was incorrect.
be important. We can have no doubt that the act of the             Those facts which are essential to enable the plaintiff to
defendant in attempting to part the *297 fighting dogs,            recover, he takes the burden of proving. The evidence
one of which was his own, and for the injurious acts of            may be offered by the plaintiff or by the defendant; the
which he might be responsible, was a lawful and proper             question of due care, or want of care, may be essentially
act, which he might do by proper and safe means. If, then,         connected with the main facts, and arise from the same
in doing this act, using due care and all proper precautions       proof; but the effect of the rule, as to the burden of proof,
necessary to the exigency of the case, to avoid hurt to            is this, that when the proof is all in, and before the jury,
others, in raising his stick for that purpose, he accidentally     from whatever side it comes, and whether directly proved,
hit the plaintiff in his eye, and wounded him, this was the        or inferred from circumstances, if it appears that the
result of pure accident, or was involuntary and                    defendant was doing a lawful act, and unintentionally hit
unavoidable, and therefore the action would not lie. Or if         and hurt the plaintiff, then unless it also appears to the
the defendant was chargeable with some negligence, and             satisfaction of the jury, that the defendant is chargeable
if the plaintiff was also chargeable with negligence, we           with some fault, negligence, carelessness, or want of
think the plaintiff cannot recover without showing that the        prudence, the plaintiff fails to sustain the burden of proof,
damage was caused wholly by the act of the defendant,              and is not entitled to recover.
and that the plaintiff’s own negligence did not contribute         New trial ordered.
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AMICUS APPENDIX 10: Dobbs, Dan B., THE LAW OF TORTS (2000)




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                                                                                             Appendix 10
                         54             INTENTIONAL INTERFERENCE WITH PERSONS                                    Cb. 3

                         distinction is meaningless or confusing. In any event, it has been
                         subsumed by the intent rules: if the defendant acts on an intention to
                         inflict a harmful or offensive bodily contact, and he succeeds, he is liable
                         for the battery whether the harm is direct or not.
                              Damages. Once a battery is established, the defendant becomes
                         liable for the harms resulting, including unintended ones. He may intend
                         only an offensive touching, but he is Iiable for any actual harm that
                         results. Recovery is permitted for trespassory torts without proof of
                         pecuniary loss or actual physical harm. 13 The defendant is of course
                         liable for physical harms resulting from the battery, but he is also liable
                         for impermissible touchings that are not physically harmful.
                            Policy. The law of battery, an outgrowth of the old trespass writ,
                        was originally conceived solely in _terms.~ violence. 14 Like
                        much other early law, it served to substitute a legai rec~~rrevenge
                        and to discourage actual violence. Tort law today of course shares those
                       ,goals; but as the rules show, it adopts more subtle ones as well. Battery

                    /i
                     / today vindicates the plaintiffs rights of autonomy and self-determina-
                    { tion, her right to decide for herself how her body will be treated by
                         thers, and to exclude their invasions ~s a matter of personal preference,
                        whether physical harm is done or not. 1"

                                             § 29. Harm or Offen se Re quired
                                                to Establish Simple B atte ry
                             The central core. The central core of the battery rules is simple.
                       Subject only to t he most limited exception,l the defendant must respect
                     ( the plaintiffs apparent wishes to avoid intentional bodil con t. Hos-
                       tile, aggressive, or arm u t ouchings are batteries because the plaintiff
                       wishes to avoid them. But the plaintiffs right to avoid unwanted
                       intentional contact does not depend upon the defendant's hostile intent
                       or even upon the reasonableness of the plaintiffs wishes. A person is
                       entitled t o refuse well-intentioned medicai treatmene as . well as the
                       bumptious grapplings of an unwelcome swain. 3 In a world full of uncon-
                           13. § 42 below.                                tion, there are of course affirmative defens-
                            14. Cole v. Turner, 6 Mod.Rep. 149, 90        es or privileges, such as self-defense.
                         Eng.Rep. 958 (Nisi Frius 1704) ("the least         2. Rodriguez v. Pino, 634 So.2d 681
                         touching of another in anger is a bat-           (Fla.App.l994); Gragg v. Calandra, 297 TI!.
                         tery ... . If any of them use violence against   App.3d 639, 231 Ill.Dec. 711, 696 N .E.2d
                         the other ... it is a battery").                 1282 (1998); cf. Anderson v. St. Francis-St.
                           15. In the Interest of Baby Boy Doe,           George Hospital, 83 Ohio App.3d 221, 614
                         260 Ill.App.3d 392, 198 Ill.Dec. 267, 632        N.E.2d 841 (1992) (if life-saving treatment
                         N.E.2d 326 (Ill.App. 1994) (right to refuse      was given against the plaintiffs will, the
                         medicai treatment includes right to refuse       plaintiff had a battery claim), rev'd on other
                         cesarian operation that might improve            grounds, 77 Ohio St.3d 82, 671 N.E.2d 225
                         chances of fetus or child); James                (1996).
                         Henderson, Why Vosburg Comes First,                3. Stockett v. Tolin, 791 F.Supp. 1536
                         1992 WIS. L. REV. 853 , 859.                     (S.D.Fla.1992) (employer touched employ-
                                                                          ee's breasts, licked her); Johnson v. Ramsey
                                             § 29                         County, 424 N.W.2d 800 (Minn.Ct.App.
                           l.   See the paragraph below, The case of      1988) (kissing battery); cf. R. v. Burden, l
                         social usage or conflicting rights. In addi-     W.W.R. 193 (B.C. C.A.) [1982] (defendant




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                                                                           Appendix 10
      §29                              HARM OR OFFENSE                                           55

      trollable events, all persons are at least entitled to prohibit unwanted
      intentional touchings of any kind.
           Formulating a rule: the Restatement's "harmful or offensive" test.
      How is this centrai policy to be formulated in a rule? The Restatement
      attempts to convey the policy by saying that the defendant is subject to
      liability for causing bodily contact that is either (a) harmful or (b)
      "offensive." The Restatement does not use "offense" in the sense that a
      person might be huffy or irritable. Rather, an offensive touching is one
     .that infripges a reasonable sense of personal dignity. 4 More broadly put,
      a touching is "offensive" if it infringes upon the plaintiffs actual and -
      apparent wishes to avoid it. Although ha61hty may be 1mposed for
     harmful attacks, Iiability does not depend upon harm 5 or even upon
      emotional distress 6 to the plaintiff; it depends upon violating the plain-
      tiffs right to herself.
           "Offense": plaintiff's apparent consent as the central issue. The
      Restatement formula has the advantage of singling out some specific
     forms of battery-those that are "harmful" and those that are "offen-
      sive." But the terms may be distracting. The gist of the battery is that
      the plaintiff has been touched, intentionally, in a way that she has not
      even apparently consented to and that is not justified by some generall;Y
      recognized privilege. 7 The defendant's intent to touch in a way the
     plaintiff has not apparently p~rmitted is what counts; it is what makes
     .ilie touching "offensive." 8 At least this is true when the plaintiff is
     competent to give or withhold consent.
          The same idea may apply when the defendant has consent to touch
      but goes beyond the consent in some particular way. For instance, the
      surgeon who has consent to remove one organ does not necessarily have
      consent, even implicit consent, to remove another. 9
     sat next to plaintiff on virtually empty bus       8. The whole course of decisions bears
     and put his hand on her thigh; this is a         this out. Courts sometimes expressly recog-
     criminal battery).                               nize the point as well. See Cohen v. Smith,
       4. The Restatement uses the term "per-         269 Ill.App.3d 1087, 207 Ill.Dec. 873, 648
     sonal dignity," which is again accurate but      N.E.2d 329 (1995) ("Liability for battery
     must not be understood to mean reserved          emphasizes the plaintiffs lack of consent to
     bearing or social distance. I t means only the   the touching").
     right of every person to determine how her           9. Mohr v. Williams, 95 Minn. 261, 104
     or his body is to be touched, subject perhaps    N.W. 12 (1905) (consent to operate on right
     to some social conventions that permit the       ear, actual operation on left ear, held a
     more or less unavoidable touchings in a
                                                      battery, but benefits of the operation are to
     crowd or the like.
                                                      be considered in fixing darnages); Bommar-
       5. E.g., Whitley v . .Andersen, 37 Colo.       eddy v. Superior Court (Williarns), 222 Cai.
     App. 486, 551 P.2d 1083 (1976), affd, 194        App.3d 1017, 272 Cal.Rptr. 246 (1990),
     Colo. 87, 570 P .2d 525 (1977).                  overruled on other grounds, Centrai Pathol-
       6. This is congruent with the rule for         ogy Service Med. Clinic, Inc. v. Superior
     certain kinds of sexual harassment claims        Court (Hull), 3 Cai.4th 181, 832 P.2d 924,
     under some federai statutes: an abusive or       10 Cal.Rptr.2d 208 (1992) (statute limiting
     hostile environment is required, but not         punitive damages claims in medical negli-
     emotionai distress. See Harris v. Forklift       gence cases applied to intentional torts); see
     Systems, Inc., 510 U.S. 17, 114 S.Ct. 367,       Cobbs v. Grant, 8 Cal.3d 229, 239, 502 P.2d
     126 L.Ed.2d 295 (1993).                          l , 7, 104 Cal.Rptr. 505, 511 (1972) ("Where
       7. Privileges, as affirmative defenses,        a doctor obtains consent of the patient to
     are discussed in Chapter 5.                      perform one type of treatment and subse-




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            What counts as an apparent consent is an important topic consid-
       ered later. The centrai point to note here is that the plaintiffs apparent
       consent shows that the defendant is not intending to touch in an
      offensive way and that no right of the plaintiff has been invaded by
      permitted touchings, even if it turns out to be unintentionally harmful. 10
      In such a case the defendant may be responsible for negligence if he has
      unreasonably risked harm, but he is not liable for the intended touching
      to which the plaintiff apparently consented. Converse! if it is apparent
      that the plaintiff is not consenting to the defendant's touching, 1
      becomes clear that the touching is intended to be offensive at least under
      1_he substantial certainty definition of intent.....___,
           The case of social usage and conflicting rights. In one narrow kind of
      case a defendant may escape liability for an intentional touching even
      when h e knows that the plaintiff wishes t o a voi d i t. A plaintiff who rides
      the subway may implicitly consent to a certain amount of intentional
      jostling as other riders leave the car, and if so, the touching would not
      transgress the plaintiffs rights; in the Restatement's words, it would not
      be offensive. Suppose, however, the subway rider makes it plain to all
      passengers that she must not be touched by others as they attempt to
      exit the crowded car. Would other riders be liable for a battery if they
      must push through the throng to reach the exit? Presumably not. Not
      only are such jostli~..cial-ly...accepted, they are necessary to protect the
      rights of others who must also live in an unpleasantly crowded world.
      The plaintiffs right to avoid bodily contact is important, but so is the
      defendant's right to take the subway and get to work. The plaintiff
      cannot preempt the subway space for herself alone. 11
           The Restatement's "reasonable sense of personal dignity." The prob-
      lem of conflicting rights is a small one in the actual cases, but the
      Restatement gives an answer to it that may be too large. It formulates
      the solution by saying that the touclJing must beone that WD,uld Qffunh..
      reasonable sense of personal dignit '}2. his formulation uses an objective
      standard, w at eo le m genera· re ard as an acceptable touchin Y In
      doing so, it disregards the plaintiffs own wishes.Set if adequ~el.y
     _expressed, the plaintiffs wishes usually count for evervthing; she has a
      right to reject unprivileged touchings that others would find reasonable.
     ~---~--~~~~--~~--~~~~~
     quently performs a substantially different 12. estatement § 19 (1965). "Digni-
     treatment far which consent was not ab-          ty," like "offense," rnay mis ea inexperi-
     tained, there is a clear case of battery"). In   enced readers in the law. Dignity here has
     some circumstances, including genuine            nothing to do with gravity, formality, or
     emergencies, an irnplied consent rnay be         reserve. It is instead a reflection of self-
     found. Cf. Kennedy v. Parrott, 243 N.C.          respect or a sense of one's self.
     355, 90 S.E.2d 754 (1956). Distinguishable
     problerns arise in the case of rnistaken con-       13. Other objective formulations are
     sent, uninformed consent, and conditioned        sornetimes used. See Zgraggen v. Wilsey,
     consent.                                         200 AD.2d 818, 606 N.Y.S.2d 444 (App.Div.
        10. Hellriegel v. Tholl, 69 Wash.2d 97,       1994) (touching is offensive if it is "wrong-
     417 P.2d 362 (1966).                             fui under all ·the circumstances").
        11. Cf. McCracken v. O.B. Sloan, 40
     N.C.App. 214, 252 S.E.2d 250 (1979) (plain-
     tiff touched by smoke).




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      §29                               HARM OR OFFENSE                                           57
      The real point seems to be, not that the plaintiffs wishes are to be
      evaluated by others, but that others are as entitled as she to ride
      subways. When the entitlement of others disappears, as where the
      subway car is not crowded, the plaintiff is free to insist that she not be
      touched even if many others would not object to an unnecessary jostle.
           Reasonable sense of dignity when the plaintiff lacks capacity to
      consent. What is the relevance, if any, of the "reasonable sense of
      personal dignity"? First, when the plaintiff lacks capacity to consent or
      to withhold consent, an objective standard based on the objective reason-
      able sense of personal dignity may be desirable. Far example, sexual
      touchings of a very small child who understands nothing of what is
      happening might be regarded as batteri es even if they caused no identifi-
      able harm, either because the touchings are unlawful in themselves or
      because they would offend an objective idea of a reasonable sense of
      personal dignity.
           Reasonable sense of dignity as evidence of what the plaintiff in fact
      permitted or prohibited. In a second kind of case, the plaintiff has full
      capacity to consent or withhold consent and has not expressly prohibited
      the touching. The ultimate questions will be whether the touching was
      in fact against the plaintiffs apparent wishes as reasonably understood
      by the defendant. A touching that would not ordinarily offend a reason-
      able sense of personal dignity would presumably not be against the
      plaintiffs wishes, in the absence of some expression to the contrary. So a
      reas onable sense of personal dignity is also indirectly relevant in trying
      to decide whether the defendant had any notice that his touching would
      be unacceptable. I t is a matter of evidence, not a rule of law. By the same
      token, the objective reasonable sense of dignity is irrelevant when the
      plainti               · ested a desire to avoid the contact and the defendant -
      has no privilege (like the subway ri er) that justifies the touching.
           This analysis suggests that the uses of the "reasonable sense of"
      personal dignity" test should have a quite narrow impact. The Restate-
      ment may have gane too far in suggesting that offensiveness or a
      reasonable sense of dignity are of generai importance in determining
      battery liability. 14
           Burden of proof. In some instances, the plaintiffs consent or appar-
      ent consent is analyzed as an affirmative defense, to be proved by the
      defendant. However, in the case of battery, the plaintiffs burden is to
      show that the defendant intended to and did cause either harm or
      " offense," a burden that ordinarily requires the plaintiff to show that
      the defendant's touching was not apparently consented to. Consent or
        14.   The Restatement's illustrations are       society, would inferentially be acceptable to
      all in line with these comments. Illustra-        the particular plaintiff as well, in the ab-
      tions l and 3 actually use the test affirma-      sence of an expression to the contrary. Il-
      tively, as a basis for liability, not as a de-    lustration 2 approximates the subway ex-
      fense against it. In another illustration the     ampie; the defendant "deliberately but not
      defendant is not liable because he has held       discourteously pushes" the plaintiff to pass
      a child who is being sick in his cab. This        him in a "densely crowded street." This
      illustration is in accord with the idea that      accords with a privilege analysis.
      the touching, being generally acceptable in




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        58            INTENTIONAL INTERFERENCE WITH PERSONS                                Ch. 3

       apparent consent is certainly relevant, but not because it is an affirma-
       tive defense. Rather it is relevant on two issues that are a part of the
       plaintiff's case: (l) did t he defendant intend an offensive touching? or (2)
       was there in fact an offensive touching?

                          § 30.   Nature of Intent Required
                              to Establish Simple Battery
            Intent to ... Intent has been defined to include either a purpose to
       effect some result or a substantial certainty that the result will follow
       from the defendant's actions. 1 What results must the defendant intend to
       establish a simple battery?
               The Restatement formula. The Restatement's formula is that the
          defendant must intend a " harmful or offensive contact." AB already
    !.. [ explained, aa int.ent toJ.ouch in a way the defendant understands is not
          consented to is sufficient. So is an actual intent to harm. The questi.OrlìS__ _
  (
          whether the plaintiff shows intent by showing merely an intent to touch
          that turned out to be offensive or harmful, or whether she must show
          that the harm or offense was also intended. On this point the Restate-
          ment and some of the cases are ambiguous.2
              Ambiguity illustrated. Suppose the defendant intends to touch the
          plaintiff but he intends the touching to be friendly and comforting, not
          either harmful or offensive. That is, he believes the touching is consent-
          ed to. In this state of mind, he hugs the plaintiff, but the plaintiff is
          unexpectedly harmed by the hug or revolted by it. A little authority
          phrases the rule in a way that suggests the defendant will be liable. 3
          Other courts seems to think that the defendant must intend not only a
          touching but also must intended it to be harmful or offensive. 4
                          § 30                       The plaintiff was a social acquaintance and
         l.   § 24.                                  fellow enthusiast; neither harm nor offense
                                                     was intended. An unexpected injury oc-
         2. One court, for example, says that the    curred. The victim sued the professor's em-
       plaintiff "must prove that there was bodily   ployer, a state university, which might be
       contact, that the contact was offensive, and  held liable for an employee's negligence but
       that the defendant intended to make the       not the employee's battery. The court held
       contact." But of course the statement itself  that the professor's act was a battery so
       is ambiguous. It says that the plaintiff
       " must prove" the stated elements but it      that the university was not liable. In other
                                                     words, the result of the court's expansive
       does not say that the plaintiff need prove
                                                     conception of battery in this particular case
       only those elements. Laurie Marie M. v.
       Jeffrey T. M., 159 A.D.2d 52, 559 N.Y.S.2d    is not liability but non-liability.
       336 (1990) affd, 77 N.Y.2d 981, 575 N.E.2d     4. "A harmful or offensive contact with
       393, 571 N.Y.S.2d 907 (1991). In Masters v. a person, resulting from an act intended to
       Becker, 22 A.D.2d 118, 254 N.Y.S.2d 633      cause the plaintiff to suffer such a contact,
       (1964), the court said that the plaintiff -is a battery." Caudle v. Betts, 512 So.2d
       needed "only" to prove bodily contact, that 389, 390 (La.1987). Many cases, some of
       the contact was offensive, and that the de-  them prosecutions for criminal battery,
       fendant intended to make the contact.        have emphasized the need for wrongful in-
         3. Cf. White v. University of Idaho, 118 t ent, sometimes overstating the intent re-
       Idaho 400, 797 P.2d 108 (1990) (intent to    quired by saying that it must be an intent
       "act" required but not either intent to to harm. Other cases support the intent
       harm or to offend). In White , a professor requirement by analyzing unintended harm
       and piano enthusiast touched the plaintiff's as negligence, not battery. Cf. Spivey v.
       back with his hands as if playing a piano. Battaglia, 258 So.2d 815 (Fia.1972) (friend-




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       § 31                               BODILY CONTACT                                        61

       protect. 11 Nevertheless, unlawfulness or some other objective standard of
       liability would sometimes fulfill important policies without imposing
       strict liabilityY

                        § 31. The Bodily Contact Required
                            to Establish Simple Battery
           Materia! touching. Thg_ size of the object that touches the plaintiff
      _does not matt~. The plaintiff is of course touched if she is struck by a
       bullet, but she is also touched if she drinks poison put in her cup by the
      defendant. 1 On the other hand, odors, smokes, or gases have been
       traditionally treated as intangibles, even though they do have a physical
       presence. 2 Whether a touching by second-hand tobacco smoke would
      count as a battery under some circumstances is perhaps uncertain. 3
       However, several decisions have found a battery resulting from smoke,
       with the qualification that the defendant must have a purpose to harm
      or offend and is not liable merely for substantial certainty touchings. 4
           Extended personality. The plaintiff is also touched if the defendant
       tou~he-s- s;me intima te-éxtension of the plaintiff's person, 5 as when the
          11. In Vosburg the parties were minors,         4. Richardson v. Hennly, 209 Ga.App.
       and possibly the plaintiff-victim was in no     868, 434 S.E.2d 772 (1993) (claim that de-
       position to give either an understanding        fendant deliberately directed pipe smoke at
       consent or a legally binding one. In such a     plaintiff knowing it would cause her actual
       case, imposition of liability upon the defen-   harm; pipe smoke is visible and capable of
       dant does not imply any loss of the plain-      "touching" the plaintiffi, rev'd an other
       tiff's power to decide far himself, since the   grounds, 264 Ga. 355, 444 S.E.2d 317
       plaintiff lacks that power anyway.              (1994); Leichtman v. WLW Jacor Communi-
          12. Sexual touchings of a small child        cations, Inc., 92 Ohio App.3d 232, 634
       who lacks capacity to consent and power to      N.E.2d 697 (1994) (allegations that defen-
       prohibit might be an example of an unlaw-       dant repeatedly blew cigar smoke in the
       ful touching far which liability should be      plaintiffs face far the very purpose of caus-
       imposed even if the child was also too          ing physical discomfort and distress). Cf.
       young to experience a sense of offense and      Pechan v. DynaPro, Inc., 251 Ill.App.3d
       is not harmed, and even if neither harm nor     1072, 190 Ill.Dec. 698, 622 N.E.2d 108
       offense were intended. Given the character      (1993) (employer not liable for battery
       of such an act as one always considered         merely because it authorized employees to
       wrongful, liability would not be "strict"       smoke in plaintiff's presence; it would be
       even though the defendant lacked intent to      liable only if smokers themselves had a
       harm or offend.                                 purpose to touch; substantial certainty of a
                                                       touching would not suffice, semble). See,
                           § 31                        David Ezra, Smoker Battery: An Antidote
                                                       to Second- Hand Smoke, 63 So.CAL.L.REv.
         l.  Snouffer v. Snouffer, 87 Ohio App.3d      1061 (1990) (canvassing theories for claims
       89, 621 N.E.2d 879 (1993) (administering        against smokers). Exposure to second-hand
       poison is a battery).                           smoke an the job might conceivably be cov-
         2. This distinction is one of the factual     ered by workers' compensation if harm is
       bases for the traditionallegal difference be-   caused or possibly even by anti-discrimina-
       tween trespass to land (physical, tangible      tion statutes. See Hinman v. Yakima Sch.
       entry) and nuisance (intangible invasions       Dist. No. 7, 69 Wash.App. 445, 850 P.2d 536
       affecting enjoyment but not possession).        (1993) (state job-discrimination statute).
        3. See McCracken v. O.B. Sloan, 40               5. Espinoza v. Thomas, 189 Mich.App.
      N.C.App. 214, 252 S .E.2d 250 (1979) (up-        110, 472 N.W.2d 16 (1991) (group of strik·
      holding smokers' rights and refusing to find     ers blocking, rocking, and beating on the
      battery); see Renee Vintzel Loridas, Anno-       car plaintiff was driving is a battery); Pi-
      tation, Secondary Smoke as Battery, 46           card v. Barry Pontiac-Buick, Inc., 654 A.2d
      A.L.R.5th 813 (1997).                            690 (R.I.1995).




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      defendant jerks a plate from the plaintiffs hand, even if the hand itself
      is not touched. 6
           Causing a touchi:rLg by other objects or by other persons. Touching is
     not limited to physical contact between the defendant's body and the
     plaintiffs. The defendant who wears gloves to slap the plaintiff is no less
     guilty of a battery than one who strikes the plaintiff bare-handed. More
     than that, the plaintiff is touched and a battery committed if the
     defendant intentionally pulls the chair from under the plaintiff as she
     sits, with the result that she falls to the ground. 7 Finally, the defendant
     may be responsible for a battery if he directly causes other persons to
     effectuate or complete the harmful or offensive bodily contact with the
     plaintiff. 8

           § 32. Battery and Other Torts: Acts and Omissions
          Acts distinguished from intent and {rom involuntary motion. The
     Restatement structures analysis of battery and other trespassory torts
     by requiring an "act" of the defendant. 1 An act in the Restatement's
     terminology is an external manifestation of will, a voluntary contraction
     of muscles, nothing more. 2 Involuntary muscle spasms, convulsions,
     bodily movements during sleep are thus not acts. On the other hand, an
     instantaneous response to emergency, as where the defendant grabs the
     plaintiff to avoid falling, constitutes an act. 3 The term "act" has no
     moral content. The defendant "acts" when he strikes another even if f1e
     is prompted by insane impulses.4
         Act distinguished from inaction. The term "act" is also used to
     emphasize a distinction between affirmative deeds on the one hand and
     omissions or passive behavior on the other. Battery normally results
     from the defendant's affirmative acts or deeds: the defendant strikes the
     plaintiff or spits on him or poisons his drink. Can a defendant be liable
     for a battery when the defendant does nothing to stop another's bodily
     contact with the plaintiff? Analogies from negligence law suggest that
     the defendant who has no special relationship with the plaintiff or her
       6. Fisher v. Carrousel Motor Hotel, Inc.,     aging battery is "equally guilty" and liable
     424 S.W.2d 627 (Tex.1967) (plate jerked         in tort); Leichtman v. WLW Jacor Commu-
     from the plaintiffs hand is a battery).         nications, Inc., 92 Ohio App.3d 232, 236,
       7. Garratt v. Dailey, 46 Wash.2d 197,         634 N.E.2d 697, 699 (1994) ("one who is
     279 P.2d 1091 (1955).                           present and encourages or incites commis-
                                                     sion of a battery ... can be equally liable as
        8. Richardson v. Hennly, 209 Ga.App.         a principal").
     868, 434 S.E.2d 772 (1993) (it is enough
     that defendant sets a force in motion that                          § 32
     touches the plaintiff, quoting PROSSER & KEE·
                                                       l. E.g., Restatement § 13 (liability for
     TON ON ToRTS § 9), rev'd on other grounds,
     264 Ga. 355, 444 S.E.2d 317 (1994); Wilder      harmful battery requires act, intention, and
     v. Gardner, 39 Ga.App. 608, 147 S.E. 911        harmful contact).
     (Ga.App.1929) ("One who by advice, coun-          2. Restatément § 2.
     sel, or command procures another to com·
                                                       3. Restatement § 2, Cmt. b.
     mit a wrong" is equally liable); Mock v.
     Polley, 116 Ind.App. 580, 66 N.E.2d 78            4. Polmatier v. Russ, 206 Conn. 229,
     (1946) (one aiding and abetting or encour-      537 A.2d 468 (1988).




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      § 100                    MISTAKE NEGATING CONSENT                                     231

      patient's autonomy interests, but if the patient is indeed incompetent,
      those interests have scant scope in any event and a truly neutral test
      that does not assume one choice to be better than another is perhaps
      impossible to find . These difficult cases, perhaps as much as any others,
      reflect something of the limits of law's ability to resolve real problems in
      morally acceptable ways.

                         § 100.      Mistake Negating Consent
             Consent negated by mistake or misrepresentation. The plaintiffs
       purported consent is ineffective to bar her claim if it is induced by
       misrepresentation 1 or is' gìven unde. r .J!...majgria~stake of' which the-
       Ueféllilant IS or should be aware. 2_ The mistake is frequently though not
       always mduced by the defendant's fraud or misrepresentation. Many
       cases decided in many settings summarize the point by sayrng that
       "fraud vitiates consent" 3 or that consent is ineffective if given as a result
      ·;;T&ai:J.~rnearung tb:'an;he plaintiff in such a case can recover.
           Relation to the manifested consent rule. These rules are often in-
      stances of the more generai principle that effectiveness of a consent is
      determined by appearances presented to the defendant. 5 The defendant
      who misrepresents the nature of the transaction, or who knows that the
      plaintiff is mistaken abou t it, knows that the plaintiff is not consenting
      to the defendant's acts. For ii1Stance, suppose the defendant offers the
      plaintiff a cup of coffee he knows to be contaminated with a poison or a
      deadly virus. The plaintiff takes the cup with no reason to know it is
      contaminated. Thè plaintiffs acceptance of the coffee manifest; consent -
      to take the cup and to drink coffee, but not consent to drink poison.
      Whether this is viewed as a mistake by the plaintiff or a misrepresenta-
      tion by the defendant, the important point is that the defendant cannot
      believe the plaintiff is consenting to the poison.
      Georgetown College, Inc., 118 U.S.App.D.C .       4. Janelsins v. Button, 102 Md.App. 30,
      80, 331 F.2d 1000, 9 A. L.R.3d 1367 (D.C.      648 A.2d 1039 (1994); Micari v. Mann, 126
      Cir. 1964).                                    Misc.2d 422, 481 N.Y.S.2d 967 (1984) (act-
                          § 100                      ing teacher represented that students' sexu-
                                                     al acts were needed as part of their drama
        l.   Restatement § 892B. The term fraud
                                                     training). Sometimes misrepresentation
      is often used as well as the term misrepre-
      sentation. Fraud is a form of misrepresenta-   counts as a separate tort and not merely a
      tion that imports intentional or knowing       means of dissolving the shield of consent.
      lies.                                          See John Ludington, Annotation, Medical
                                                     Malpractice: Liabi!ity Based on Misrepre-
         2. Restatement §§ 49 & 892B.
                                                     sentation of the Nature and Hazards of
         3. Neal v. Neal, 125 Idaho 617, 873 P.2d    Treatment, 42 A.L.R.4th 543 (1985). Mis-
      871 (1994); Slawek v. Stroh, 62 Wis.2d 295,    representation is most commonly an eco-
      215 N.W.2d 9 (1974) (consent to injections     nomie tort, not one related to battery, see
      on the misrepresentation that they would       Chapter 35. So it may be more felicitous to
      not cause miscarriage is no bar to battery     think of the misrepresentation in the pres-
      claim). There is a strange statement in
      Baugh v. CBS, Inc., 828 F.Supp. 745            ent context only as a way of negating con-
      (N.D.Cal.1993), that fraud does not affect     sent.
      the validity of consent; no cases are cited.     5.   § 96 supra.




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                                                                          Appendix 10
       232                 DEFENSES TO INTENTIONAL TORTS                                 Ch. 5

       Types of Mistake t.hat Will Negate Conse.nt
            Misrepresentations and mistakes as to collateral matters. The plain-
       tiffs mistake, whether induced by misrepresentation or not, must be
       ~aterial if it is to vitiate consent. More than that, the mistake must be
       about the nature of the transaction to which the plaintiff purportedly
       consents, not merely about some collateral matter of such as the transac-
       tion's value, cash cost, or method ofpayment. 6
             Collateral mistakes. To see a collateral mistake, suppose that a
        professar wishes to conduct experiments to determine whether people
        can distinguish between different stimuli applied to their shoulders and
      · agrees to pay the plaintiff "the university rate." The plaintiff consents to
        be part of the experiment in the belief the rate is $20 an hour when in
        fact it is only $10. The Restatement suggests that this mistake is
        collateral only and not a ground for ignoring the plaintiffs consent. 7 So
        the professar would not be liable for battery although the plaintiff might
        be permitted to rescind the contract.
            Mistakes about the nature or character of the transaction. The
       plaintiff is mistaken about the nature or character of the transaction
       when she is mistaken about a major feature of the transaction. Battery
       claims provide good examples. The pramtiffW11o professesconsent to a
       touching is mistaken about the nature of the touching if ber mistake
       relates to facts that make the touching harmful or offensive or prevent it
       from being so. For instance, the plaintiff who consents to- manipulation
       of her body in the belief that it is for medicai purposes when in fact it is
       only for the sexual gratification of the defendant, is mistaken about the
       nature of the touching, not merely about some collateral matter. 8 The
       same is true if the plaintiff consents to physical violence by ber psychia-
       trist in the belief that "sluggo" treatment was therapeutic. 9 A sexual
       seduction induced by misrepresentation such as the defendan~
      twn of an 1ntent to marry is understandable in the same way, as a
       battery in which fraud has vitiated the consent. 10
             Other plaintiffs who are mistaken about the nature of the transac-
        tion include those wbo cons_ent to sexual relations in t he.JDistaken-belief·
       -th.at the defendant is free of infection or that h e cannot cause pregganc .
        In such cases, if the defendant knows of the plaintiffs m1s         e or has
        induced it by a misrepresentation, he becomes liable for a battery, at
         6. Restaternent §§ 57 & 892, crnt. g.      en Understand So Little, They Cali My
         7. See Restaternent § 892B, lll. 9 & Re-   Good Nature 'Deceit' ": A Ferninist Re-
       staternent § 57 , Ill. l.                    thinking of Seduction, 93 CoLUM. L. REv. 374
         8. Bartell v. State, 106 Wis. 342, 82      (1993), proposes a rnuch expanded liability
       N.W. 142 (1900) (nude rnassage by "rnag-     to be irnposed not only when consent is
       netic healer" ostensibly for medica! pur-    secured by ·rnisrepresentation but also when
       poses).                                      it is secured by rnanipulation. The origina!
         9. Rains v. Superior Court (The Center     common law tort for seduction was main-
       Foundation), 150 Cal.App.3d 933, 198 Cal.    tainable only by the father of a minor fe-
       Rptr. 249 (1984).                            male and was based upon loss of her ser-
         10. See Piggott v. Miller, 557 S.W.2d      vìces resulting from the seduction.
       692 (Mo.App.1977). Jane E. Larson, "Worn-




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      least if disease or pregnancy actually results. 11 On the other hand, and
      quite apart from the plaintiffs consent, the defendant lacks the intent
      necessary far a battery if he neither knows nor should kriow that he 1s
      infected. 12
          The point is not limited to battery cases. In Copeland v. Hubbard
      Broadcasting, l ne., 13 a homeowner consented to the entry of a woman                                 ;.
      who identified herself as a student but who in fact was there to
      videotape scenes for a television station. The homeowner's consent to
      her entrance did not bar the trespass claim. Commonly held values
      suggest that the transaction consented to- entrance by a student-
      would be viewed as radically different in nature from the transaction
      that actually took place- invasion by a journalist with a video camera.
           At the borders and fringes of the problem. Some mistakes are not
      readily classified. Others present problems in adjudication because they
      become entangled with policy concerns that only happenstantially relate
      to mistakes.
           In a very unusual Idaho case/~ a divorcing wife sued her husband
      for battery, claiming that she had consented to sexual intercourse with
      him without kno\ving of his sexual relationship with another woman.
      She essentially clrumed that her ignorance should count as a mistake and
      that the mistake negated her consent. The infidelity of sexual partners is
      traditionally a matter of great moment, so i t was undoubtedly important.
      Quite possibly, however, its greatest importance was its bearing on other
      issue~ such as whether the marriage should continue or whether the
      parties should seek counseling. It seems far from clear that the wife's
      mistake was about the nature of acts she consented to. Nevertheless, the
      Idaho Court thought that i t was at least a jury question whether the wife
      made a "~istake concerning the nature of the contact or the harm to oe
      expected !rom it" and hence could recover for battery.
         11. Kathleen K. v. Robert B., 150 Cal.        the discussion with references to confiden-
      App.3d 992, 198 Cal.Rptr. 273, 40 A.L.R.4th      tiality, but the point seems simpler: the
      1083 (1984) (contracting herpes); Barbara        defendant caused or knew of the plaintiffs
      A v. John G., 145 Cal.App.3d 369, 193            mistake about a basic characteristic of the
      Cal.Rptr. 422 (1983) (lawyer telling client      transaction. One case treated sexual rela-
      he could get no one pregnant); Hogan v.          tions outside marriage as illegal and barred
      Tavzel, 660 So.2d 350 (Fla.App.1995) (geni-      the plaintiff because she was an participant
      tal warts not revealed); Crowell v. Crowell,     in the illegal act. Zysk v . Zysk, 239 Va. 32,
      180 N.C. 516, 105 S.E. 206 (1920) (it was an     404 S.E.2d 721 (1990). Distinguish cases
      "assault [battery] for the husband to com-       that assert negligent communication of sex-
      municate to his wife, while concealing from      ual diseases, e.g. , S.A.V. v. K.G.V., 708
      her the fact that he was infected therewith,
                                                       S.W.2d 651 (Mo.1986) (spousal immunity
      a foul and loathsome disease"); De Val! v.
                                                       abolished as to wife 's claim against husband
      Strunk, 96 S.W.2d 245 (Tex. Civ. App.
                                                       for negligently communicating sexual dis-
      1936) (implicitly recognizing that consent of
                                                       ease).
      the plaintiff was no bar to claim that she
      was infected with "crabs" by intercourse           12. McPherson v. McPherson, 712 A.2d
      with the defendant and expressly holding         1043 (Me.l998).
      that participation in an illegal act of inter-
                                                         13. Copeland v. Hubbard Broadcasting,
      course did not bar her claim); Restatement
                                                       Inc., 526 N.W.2d 402 (Minn.App.l995).
      § 892B, m. 5; cf. Doe v. Johnson, 817
      F.Supp. 1382 <W.D.Mich.1993) (suggesting           14.   Neal v. Neal, 125 Idaho 617, 873
      substantial certainty test). Some cases ]ace     P.2d 871 {1994).




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                                                                                                            d
           At the other end of the spectrum are the cases in which a patient
                                                                                                            tl
      consents to an invasive medicai procedure in ignorance of the fact that                               e
      the surgeon suffers from AIDS or HIV. If the patient is actually exposed                                  t
      to the virus or becomes infected, she has an action based on -~~~ doctor's
      negligence15 or failure to provide her with informed conse~f she is
      not infected or exposed, however, a battery claim might be a major
      option. 17 She could plausibly argue that consent to an appendectomy is
      not consent to an appendectomy performed by an HIV infected doctor
      with sores on his arms, that is, that she was mistaken about the
      essential nature of the operation she consented to. At this writing there
      are few cases, most of them hobbled by a concern to avoid allowing
      emotional distress damages when the plaintiff has suffered no actual
      exposure to a toxic substance. Perhaps with this concern in mind/ 8 one
      court has held that when the plaintiff did not actually suffer infection,
      the plaintiffs consent was a bar, even though she knew nothing of the
      doctor's infection19 and some other courts have reached similar results. 20

             § 101.         Consent Obtained by Duress or Coercion
         . Physical and unlawful threats. Duress includes physical coercion
      and threats of it, that is, force or coercive threats that are intended to
      and do prevent the plaintiffs free choice. 1 The defendant cannot arrest
         15. Cf. B.N. v. K.K., 312 Md. 135, 538           claìm, unlike some other tort claims, is
      A.2d 1175 (Md. 1988) (negligence, inten-            based on the plaintiff's right to make far
      tional infliction of distress and fraud ac-         herself all decisions about ner own body,
      tions cognizable when sexual partner fails          not about seeking the plaintiffs best's in-
      to reveal affirmatively bis active case of          terests against her will, or accommodating
      herpes) ; cf. R.A.P. v. B.J.P., 428 NW.2d 103       the interests of the defendant and those of
      (Minn.App.l988) (sexual partner was negli-          the plaintìff.
      gent in engaging in sexual activity without
      disclosing that she had herpes); Long v.               19. K.A.C. v. Benson, 527 N.W.2d 553
      Adams, 175 Ga.App. 538, 333 S.E.2d 852              (Mìnn.1995). The K.AC. court said: "In
      (1985) (disease communicated by sexual              medìcal malpractìce claims, battery consists
      partner, negligence claim recognized); cf.          of touching of a substantially different na-
      Mussivand v. David, 45 Ohio St.3d 314, 544          ture and character from that to whìch the
      N.E.2d 265 (1989) (sexual partner had duty          patìent consented .... T.M.W. does not al-
      to warn partner far benefit ofher husband).         lege that Dr. Benson performed a dìfferent
                                                          procedure from that to whìch she consent-
         16. See Faya v. Almaraz, 329 Md. 435,            ed. Moreover, because Dr. Benson's conduct
      620 A.2d 327 (1993) (doctor who has tested          did not significantly increase the risk that
      HIV positive must disclose that fact to the
                                                          T.M.W. would contract HIV, it cannot be
      patient before performing an invasive pro-
                                                          said that Dr. Benson failed to disclose a
      cedure). Whether fear of future harm from
      exposure is actionable, and what counts as          materìal aspect of the nature and character
      exposure to a disease are both difficult            of the procedure performed. Consequently,
      points considered elsewhere. See § 311.             plaìntìffs battery claim must fai!." Id. at
                                                          560.
         17. The difference is that a battery is
      actionable without proof of bodily harm or             20. Kerins v. Hartley, 27 Cal.App.4th
      economie loss; the offensive touchìng ìs            1062, 33 Cal.Rptr.2d 172 (1994) (polìcy to
      harm in itself.                                     limit emotìonal harm claims based on fear
                                                          of future harm ìs carried over to battery
         18. As to the problems of claims far fear
                                                          cases, even though surgeon ignores the lim-
      of future harm and of "exposure" in toxic
      tort cases, see § 311. I t is al so true that the   its ·or conditions of the plaintìff's consent).
      risk of spreadìng infection is extremely                                § 101
      small if the surgeon wears gloves, in which
      case ìnfection is likely to occur only if the         l.  Terms like free will, free choìce, gen-
      surgeon nicks himself. However, the battery         uìneness of consent and sìmìlar expressìons




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    § 101                    CONSENT OBTAINED BY DURESS                                     235

    the plaintiff at gunpoint and then assert that the plaintiff consented to
    the arrest because the plaintiff voluntarily chose confinement in prefer-
    ence to a bullet. Threats of physical force or confinement are commonly
    the basis for false imprisonment claims. That is, confinement may be
    achieved not only by locking the plaintiff in a room but by indicating
    that she will be physically· halted if she attempts to leave or that she will
    be subjected to worse forms of imprisonment. 2 On the other hand,
    threats to do acts that are not themselves illegal or tortious seldom
    render consent ineffective.
         Economie threats to produce purely economie gains. Economie
    threats that induce consent to economie transactions generally do not
    count as duress or improper coercion. 3 For example, transactions involv-
    ing buying and selling are based on implicit or express threats. The
    buyer who refuses to pay more than $25,000 for an automobile is in
    effect threatening not to buy at ali unless the seller lowers the price. If
    the selìer consents to sell at that price even though the car is worth
    more, the seller cannot later recover for conversion of the chattel on the
    ground that his consent was produced by duress. Similarly, the employer
    may threaten to discharge an unproductive employee unless her job
    performance improves. These threats are economie on both sides- they
    threaten to impose economie loss in order to obtain economie gain.
         Objectiuely non-coerciue threats without abuse of power. The difficult
    cases of duress or coercion lie in the middle ground between threats of
    physical force or illegal action on the one hand and simple threats of
    economie self-interest on the other. Many of the quotidian bargains by
    which we arrange our relationships are grounded in implicit or explicit
    threats. In the Restatement's example/ a friend says to you, "if you are
    no t stili h ere when I get back, our friendship is over." You remain in
    confinement because you value the friendship. You cannot recover for
    false imprisonment on the ground that your consent was obtained by
    duress or coercion.
         Several observations can be made about threats like this. One is that
    reciproca! demands are part of the give and take of life. If I cannot
    terminate our friendship, my own freedom is significantly diminished. If
    I can terminate it but cannot mention the conditions that willlead me to
    do so, communication between us is significantly diminished or left to
    murky implication. The threat in this example seems childish but it
    are eonventional in diseussions of duress.       tempted to leave. This was a false imprison-
    They may not be the best terms. What is          ment.
    perhaps objectionable is that the plaintiff is
    forced to make any choiee at all or the             3. This observation is part of the larger
    ehoice between the alternatives presented.       one that tort law generally treats economie
    See John Dalzell, Duress by Economie Pres-       aetivity differently from physical activity.
    sure, PartI, 20 N.C.L.REv. 237, 238 (1942 ).     However, some forms of economie duress
       2. In Marcus v. Liebman, 59 Ill.App.3d        are eonsidered abusive or dangerous and
    337, 16 Ill.Dec. 613, 375 N.E.2d 486 (1978)      may be irnportant elements in some eco-
    the plaintiff was a voluntary patient in a       nomie torts. Abuse of legal process and an-
    psychiatrie facility. When she wanted to         titrust violations are examples.
    leave, the defendant threatened involuntary        4.   Restatement § 892B, ernt. j.
    eommitment to a state hospital if she at-




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      represents a way of communicating about things that are important in a
      relationship. Although threats, express or implied, may not be gracious
      forms of communication, they do impart useful information and perform
      an important part of our social quid pro quo that permits cooperative
      behavior.
           Two other observations about the Restatement's example are that
      the threat, from an objective point of view, is not coercive in any serious
      way and i t involves no abuse of special power or position.
           Coerciue threats. As the observations above suggest, many threats or
      implicit threats are legitimate and others simply are not the basis for
      any legal response. There is a generai formula for determining which
      threats count as sufficiently coercive to negate consent. That formula
      says that duress is a threat of unlawful conduct that is intended to and
      does prevent the plaintiff, as a person of ordinary firmness, from
      exercising free will or choice. 5 The formula seems almost useless in
      practice and most cases in fact involve contracts or avoidance of transac-
      tions rather than claims for trespassory torts like battery or trespass to
      land.
           Aside from threats of physical harm and threats of torts or crime,
      most threats that negate consent or furnish an independent ground for a
      tort suit6 represent serious abuses of power in some form. Some impor-
      tant abuses of this kind include sexual demands by employer.s and others
      in special positions of power. These are considered in the next section.

       § 102.       Consent Obtained by Abuse of Power or Position
           Some threats are viewed either as inherently coercive or as an abuse
      of power or pos1tion or both. If the threats are coercive, the "consent" is
      not genuine as a matter of fact and must be given no legal effect. If the
      threats are an abuse of power, the profession of consent, whether
      genuine or not, might be denied any legal effect as a matter of policy.
      The possibility that consent should be disregarded for either of these
      reasons is not limited to any particular group of cases because that
      possibility turns on the facts of the individuai case. This section consid-
      ers the possibility that the profession of consent to sexual relations with
      one's employer, psychotherapist, doctor, lawyer, or religious leader is
      ineffective because of the abuse or potential for abuse of such a special
      relationship. Otfier rela"ti:OriSFiips, such as that betweenstudent and_,
      teacher, could raise the same kind of issue. 1
        5. Restatement § 871, cmt. f.                                       § 102

         6. If a public employee is forced by du-        l.   Cf. Micari v. Mann, 126 Misc.2d 422,
      ress to resign from her job, she may have a      481 N.Y.S.2d 967 (1984) (acting teacher in-
      civil rights claim for deprivation of "proper-   duced students to engage in a variety of
                                                       sexual acts as part of their drama training,
      ty" in the job without due process of law.
                                                       held actionable); P.L. v. Aubert, 527 N.W.2d
      See Angarita v. St. Louis County, 981 F.2d       142 (Minn.App.l995)(student sued the
      1537 (8th Cir.1992). Another example is the      school as well as the teacher for battery and
      abuse of process claim. See § 438.               intentional infliction of distress based upon
                                                       sexual touchings but the consent issue was




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                                                                                                                                                                                                       Appendix 10
                                                                       § 102                                       CONSENT OBTAINED BY ABUSE OF POWER                                                                               237

                                                                            Job threats and sexual harassment. Demands for sexual favors by
                                                                       employers or supervisors may be implicitly threatening because of the
                                                                       power of employers to affect jobs an d job benefits .. Such threats present ~
                                                                       the employee with choices she should not be required to make. Although
                                                                       an employer may properly make implicit or explicit economie' threats to
                                                                       gain economie performance,· the employer may not suggest that the job
                                                                       or its benefits in any way depend upon tne employee's agreement ~
                                                                       sexual relations wh;h the employer. To do so counts as quid pro quo
                                                                       sexual harassment under federaljob discrimination statutes. 2      ·

                                                                           Even a simple invitation by an employer or supervisor to engage in
                                                                      sexually related contact may imply a quid pro quo demand or threat and
                                                                      constitute harassment. 3 The consent professed by the employee in such
                                                                      cases does not bar her claim if the employer's sexual advances were in
                                                                      fact unwelcome. 4 So the employee proves a prima facie case by showing
                                                                      (a) that she was subject to unwelcome sexual conduct and (b) that her
                                                                      reaction to that conduct was used as a basis for decisions affecting
                                                                      compensation, terms, conditions or privileges of employment. 5
                                                                           Psychotherapists and counselors. Consent, especially consent to
                                                                      physical touching and sexual activity, is often induced by respect, affec-
                                                                      tion, or dependence. Such a consent is of course perfectly effective and
                                                                      one who consents to sexual activity normally has no claim based on the
                                                                      activity consented to. However, in some cases the defendant owes the
                                                                      plaintiff a duty to avoid a potentially harmful sexual contact even if the
                                                                      plaintiff consents or professes consent. This is most notably the case of
                                                                      psychiatrists and other therapists who routinely confront troubled and
                                                                      vulnerable patients. Such patients often become excessively attached to
                                                                      their therapists and often consent to sexual contact with them. Thera-
                                                                      pists label this commonly observed phenomenon as "transference" and
                                                                      elaborate a theory to explain it. 6
                                                                      not even raised or discussed on appeal; the                                                                           3.   See ALBA Co:<TE. SE.XUAL H..U<ASSMEKT IN
                                                                      school was subject to vicarious liabilityl.                                                                       THE WORKPLACE: L.-\W AND PRACTJCE § 3.15 (2d
                                                                                                                                                                                        ed. 1994).
                                                                        2. 42 U.S.C.A. § 2000e ("Title VII").
                                                                     Quid pro qua sexual harassment is a form                                                                              4. Meritar Savings Bank, FSB v. Vin-
                                                                     of job discrimination that occurs when an                                                                          son, 477 U.S. 57, 106 S.Ct. 2399, 91 L.Ed.2d
                                                                     employee's superiors either expressly or im-                                                                       49 (1986). The Supreme Court's comments
                                                                     pliedly make the employee's sexual conduct                                                                         are consistent with the view that a pro-
                                                                     a condition of job benefits. See Karibian v.                                                                       fessed consent by one whose choice is so
                                                                     Columbia University, 14 F.3d 773 (2d Cir.                                                                          constrained is likely to be no rea! consent at
                                                                     1994); Hicks v. Gates Rubber Co., 833 F.2d                                                                         ali. Hence, "[t]he correct inquiry is whether
                                                                     1406 (10th Cir.l987). A different form of                                                                          respondent by her conduct indicated that
                                                                     sexual harassment is the hostile work envi-                                                                        the alleged se:>.:ual advances were unwel-
                                                                     ronment, which does not ordinarily corre-                                                                          come, not whether her actual participation
                                                                     spond to any of the trespassory torts but                                                                         in sexual intercourse was voluntary." Id.
                                                                                                                                                                                        477 U.S. at 58, 106 S.Ct. at 2401.
                                                                     does bear some resemblance to, and may
                                                                     encompass, the tort cf intentional infìiction                                                                         5. Karibian v. Columbia Universit}', 14
                                                                     of emotional distress. See l CHARLES SULLI·                                                                        F.3d 773, 777 (2d Cir.l994).
                                                                     VA."i, MJCH.-\EL ZI~B!ER. & RICH.-\RD RJCH.-\RDS.                                                                     6. Some therapeutic theories explain the
                                                                     EMPLOD!E:-iT DISCRL\ll:-iAT!O:-i § 8.7 (2d ed.                                                                    " transference phenomenon" as a displace-
                                                                     1988); ALBA CoxTE. SEX UA.L H.-\R.ASS~!E:-<T I:-< THE                                                             ment of the patient's feelings about some
                                                                     WORKPLACE: L..;,w AJ\D PR.;.CTICE §§ 3.21 & 3.22                                                                  other persons. Those feelings are then redi-
                                                                     (2d ed. 1994). On intentional infìiction of                                                                       rected at the therapist. See B.-\RRY FuRRow.
                                                                     distress, see § 303.                                                                                              lVL-\l.PR.>,CTICE r:-: PsYCHOTHER.\PY 33 (1980).




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          The patient's consent in such cases may be the resuit of diminished
     capacity or possibiy the resuit of forces outside her controV but even if
     such a consent is as real as any other, it is usualiy assumed and aiways
     claimed that a patient's sexual behavior with her therapist is ultimateiy
     harmfui to the patient's recovery and deveiopment. 8 If that is in fact so,
     the therapist who engages in sexuai activity with his patient is actually
     breaching the professionai duty of care which includes a duty to avoid
     the risk of further emotional harm, even if the patient knowingly
     consents to it. For this reason, and because given the patient's vulnera-
     biiity, the "consent" is highly suspect, courts9 and Iegislatures 10 hold or
     provide that the therapist is Iiabie in spite of the patient's professed
     consent.
         The piaintiff in these cases often asserts the claim on a theory of
     negligence, no doubt because the therapist's liability insurance will cover
     negligence but not intended torts. 11 Some cases have suggested that the
     therapist is liable for breach of fiduciary duty. 12 In none of these cases is
     the patient's consenta bar to the claim.
         Physicians and attorneys. Medicai doctors treating patients for medi-
     cai conditions ordinariiy have Iittie roie in providing for the patient's
     mentai health. A physician who engages in sexual activity with a patient
     The legal theory is that since this is predict-   ference phenomenon); Bunce v. Parkside
     able, therapists should be prepared to deal       Lodge of Columbus, 73 Ohio App.3d 253,
     with it in professional ways and that the         596 N.E.2d 1106 (1991) (counselor at drug
     therapist is negligent in failing to do so.       rehabilitation center and patient, liabi!ity
        7. Cf. Roy v. Hartogs, 81 Misc.2d 350,         under statute); see Linda Jorgenson, Rebec-
     366 N.Y.S.2d 297 (1975) (allegations of con-      ca Randles, and Larry Strasburger, The Fu-
     sent to sexual relations obtained by "coer-       ror aver Psychotherapist-patient Sexual
     cion by a person in a position of overpower-      Contact: New Solutions to an Old Problem,
     ing influence and trust" stated a good            32 WM. & MARv L. REv. 645 (1991).
     claim).                                              10. CAL.CIV.CODE § 43.93 (b) (patient
        8. Plaintiffs always claim they have           may recover if there is therapeutic decep-
     been emotionally harmed at the breach of          tion); lLL.CoMP.8TAT. 140/2 (patient may re-
     trust, that they feel demeaned, depressive        cover if the patient was emotionally depen-
     or suicidai and suffer in other ways. Al-         dent or the therapist practiced deception);
     though the American Psychiatric Associa-          MINN. STAT. § 148A.02 (similar); Wis. STAT.
                                                       ANN. § 895.70 (patient may recover regard-
     tion condemns sex-with-patients as always
     unethical, a few therapists have claimed          less of emotional dependence or deception).
     that it can be useful therapy. See MICHAEL           11. See, e.g., Zipkin v. Freeman, 436
     PERLIN, LAw AND MENTAL DISABILITY § 3.04          S.W.2d 753 (Mo.1968). In spite of the "neg-
     (1994).                                           ligence" theory, the therapist's decision to
        9. Simmons v. United States, 805 F.2d          have sexual relations with a patient is obvi-
     1363 (9th Cir.1986); cf. MeNai! v. Summers,       ously intentional. Facts and allegations re-
                                                       cited in the cases seem to indicate that the
     25 Cal.App.4th 1300, 30 Cal.Rptr.2d 914
     (1994) (psychiatrist's sexual conduct with        therapist is sometimes cruel, sometimes
     patient, consent might have resulted from         greedy, and always abusive. So the negli-
     transference phenomenon, semble, and psy-         gence designation fails to capture the na-
                                                       ture of the serious wrongs perpetrated by
     chiatrist might have induced patient to be-
     lieve sexual relation was part of therapy);       therapists in these situations.
     Corgan v. Muehling, 143 Ill.2d 296, 158             12. Roy v. Hartogs, 81 Misc.2d 350, 351,
     Ill.Dec. 489, 574 N.E.2d 602 (1991) (one          366 N.Y.S.2d 297 (1975) ("This case in-
     holding himself aut as a registered psychol-      volves a fiduciary relationship between psy-
     ogist allegedly caused harmful emotional re-      chiatrist and patient and is analogous to the
     actions in patient as a resu!t of sexual activ-   guardian-ward relationship . . . 'Consent
     ities together; the claim is actionable if        obtained under such circumstances is no
     plaintiff proves negligent handling of trans-     consent, and should stand far naught' ") .




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     is thus not in the same position as a therapist. Courts have said that a
     medicai doctor, having no duty to protect the patient from her own
     consent or even to avoid risk of emotional harm that can result from
     sexual activities, can rely on the patient's consent in the absence of fraud
     or duress by the physician or- known incapacity on the part of the
     patient. 13 Lawyers are presumably in a similar position. They may find
     themselves discipline d for .violation of ethical rules if they engage in
     sexual relations with clients, -~ clients, no t relymg upon lawyers for
     emotional protection from themselves, are free to consent to sexual
     activities. J.l
          The rules about lawyers and medicai doctors, however, do not reflect
     privileges based upon status or profession. They reflect the professional
     roles undertaken. Ifa lawyer or medicai doctor were to initiate sexual
     relations as a form of treatment,l 5 or to engage in counseling or therap~
     then liability would become appropriate.16 Similarly, if these doctors or
     lawyers were to demand sexual favors as a condition of providing their
     best professional services/ 7 or to exact a profession of consent by
     duress/ 8 it seems reasonably clear that the professed consent would
     present no bar to the plaint iffs claim.
         Analogies to the federai employment harassment cases suggest that
     a lawyer's demand for sexual activities with a client could carry an
     implicit t hreat that zealous professional services would depend upon
     compliance. 19 The analogy would also suggest that the "consent" ob-
        13. Atienza v. Tàub, 194 Cal.App.3d                17. McDaniel v. Gile, 230 Cal.App.3d
      388, 239 Cal.Rptr. 454 (1987); Odegard v.         363, 281 Cal.Rptr. 242 (1991) (client
      ~in® , 500 N.W.2d 140 CMinn.App.1993).            claimed lawyer reduced or eliminated bis
      \J.4. ~uppressed v. Suppressed, 206 Ill.          representation of ber divorce claim wben
     App:&f-918, 151 Ill.Dec. 830, 565 N.E. 2d          she refused to bave sexual relations and
      101, 105 (1990) (!awyer, although fiduciary,      that be stat ed or implied he would repre-
      owed no duty comparable-.tG-a....th.e!:ggist 's   sent her zealously if she " played the game
     duty to improve patient's emotional well-          the rigbt way"; errar to give summary judg-
     being); cf. Vallinoto v. DiSandro, 688 A.2d        ment far defendant on tbe claims far inten-
     830 (R.I.l 997) (rejecting a malpractice           tional infliction of emotional distress and
     claim an the ground tbat client was not            rnalpractice); see Doe v. Roe, 756 F.Supp.
     coerced and emotional harm claim an the            353 (N.D.Ill.1991 ), affd, 958 F.2d 763 (7th
     ground that emotional harm may not bave            Cir.l992) (!awyer for divorce-suit plaintiff,
     been caused by sexual relationsbip wit b at-       caugbt in sexual situation witb bis client,
     torney).                                           lost ability to collect bis fee from tbe
        15. See Atienza v. Taub, 194 Cal.App.3d         client's husband and dernanded the fee
     388, 239 Cal.Rptr. 454 (1987) (citing cases        frorn tbe client; tbe federal racketeering
     imposing liability and distinguishing them         claim failed, but tbe court noted tbat the
     an the grounds that in those cases sexual          plaintiff might bave good state-law claims
     relations were "initiated by the physician         for breach offiduciary duty).
     purportedly in furtherance of bis treatment
     ofthe patient").                                     18. See Doe v. Roe, supra n. 17 (tbreats
                                                        ofbodily injury unless fee was paid).
        16. Dillon v. Callaway, 609 N.E.2d 424
     (Ind.App.1993) (medica! doctor began pro-             19. In divorce cases in particular, the
     viding " therapy" far patient, which turned        lawyer wbo seeks sexual relations with a
     into sadomasochistic sexual activities that        client may bave a conflict of interest, first
     eventually triggered severely harmful reac-        because he rnay consciously or unconscious-
     tions in the patient; the patient's compen-        ly oppose bis client's reconciliation witb ber
     sation fund was subject to liability because       spouse, and second because he may delay an                                                                       ..;
     the doctor was acting as a therapist and tbe       expeditious conclusion in arder to maintain
     transference phenomenon theories applied).         tbe sexual status qua. Otber possible con-




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      tained as a result should be suspect as a matter of reality and ineffective
      as a matter of policy. But an Illinois case has in effect rejected this idea,
      holding also that the attorney's fiduciary duty to his client does not
      extend to personal relationships with the client. 20
            It is also possible that as a matter of public policy a patient's or
      client's consent should be given no effect when consent would give the
      professional a conflict of interest. In a Canadian case, Norberg v. Wyn-
      rib,21 the plaintiff had become addicted to drugs. When her sources dried
      up, she sought prescriptions from the defendant, supposedly for her pain.
      The defendant prescribed drugs and also treated other complaints.
      Eventually he forced her to admit that she was addicted. Thereafter, he
      refused to prescribe drugs unless she would engage in sexual touchings.
      After this arrangement was broken up and the plaintiff rehabilitated,
      she sued the defendant. The Justices of the Supreme Court of Canada
      agreed that the plaintiff had a claim, but differed about the reasons for
      it. One group emphasized the power relationships between the parties as
      affecting either the reality of consent or the policy grounds for giving it
      legai effect. Another group thought that the doctor was liable in spite of
      the implied profession of consent because he acted in violation of
      fiduciary duty. There were other views as well.
           It seems clear that at the very least the doctor in Norberg put
      himself in a position of conflict of interest. His professional duty was to
      heal the patient's addiction if he could, but his personal interest would
      have been to keep her addicted so he could continue his drug-for-sex
      arrangement. Even if the consent was "rea!," i t would be very bad policy
      to permit professionals to deny their patients or clients the treatment
      they are entitled to or even to put themselves in a position of conflict of
      interest.
           Clergy. Serious sexual abuse by members of the clergy has been
      widely reported and a number of cases have reached the courts. When
      pastors or priests abuse minors, courts have sometimes imposed liabili-
      ty,22 although even in the child abuse cases courts have sometimes
      flicts can be seen in Suppressed v. Sup-        negligence thinking. Barbara A. v. John G.,
      pressed, supra n. 14 (allegation that after     145 Cal.App.3d 369, 193 Cal.Rptr. 422
      client's husband caught lawyer in sexual        (1983) held that if the client could prove a
      situation with client, husband refused to       "confidential relationship" on the facts of
      pay attorney fees, which lawyer then de-        her case, the lawyer would have the burden
      manded from client). Clouded judgment           of showing that the client' s consent to sexu-
      might be a significant result as well. On       al acts was fully informed and freely given
      conflict of interest, see Margit Livingston,    but refused to recognize that such a rela-
      When Libido Subverts Credo: Regulation of       tionship is always involved in lawyer-client
      Attorney-Client Sexual Relations, 62 FoRD-      cases.
      HAM L. REv. 5, 15 ff. (1993).
                                                        21. Norberg v. Wynrib, 92 D.L.R.4th
         20. Suppressed v. Suppressed, supra n.       449 (Can. 1992).
      14. The opinion is much shaped by the
      court's view that the claim was a claim for       22. See Fontaine v. Roman Catholic
      "malpractice" with characteristics of a neg-   Church of Archdiocese of New Orleans, 625
      ligence claim rather than one for an inten-    So.2d 548 (La.App.1993) (a priest allegedly
      tional tort. It discusses the requirement      sexually abused a 17-year old and later
      that the defendant owe a "duty of care"        published photographs in a magazine and
      and proof of actual damages both reflecting    circulated video tapes; held, these allega-




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      § 103                             INFORMED CONSENT
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      invoked immunities t o protect the religious organization from liability.23
      When a pastor or priest sexually exploits an adult, such as a member of
      the congregation or parish who seeks religious counseling, courts bave
      sometimes insisted t hat the adult's consent is a bar,ZJ and when the
      claim is based upon negligence, they have concluded that there is no tort
      of "clergy malpractice." 25 Such cases obviously reject the analogy to the
      abusive therapist/6 even though in most instances the clergy's sexual
      abuse originates in counseling situations in which confidence is reposed
      and authority is respected by the victim. However, at this point the cases
      are not numerous, so they mayy,..Q,J;J:.apresenf.P..roadly held views. 27 In any
      event, ~ does support..Jj.abil.i.tJ:--ot-crergyor their
      religious orgamzahon or superiors for battery or for breach of fiduciary
      àuty. 28

        § 103.       Informed Consent: Duty to Provide Information
            f..B already shown, the plaintiffs consent to an invasion is ineffective
      to bar a claim if the plaintiff is mistaken about the nature of the
      invasion and the defendant knows it.1 In some cases, however, the
      _!)laintiff is not so much mistaken about ·the nature of the proposed
       tions state a privacy invasion claim); Mroz-      rian Church of Sallisaw, 857 P.2d 789
       ka v. Archdiocese of St. Paul & Minne-            (0k1a.1993) .
       apolis, 482 N.W.2d 806 (Minn.App.l992).
                                                           25.    See § 258.
           23. See Schultz v. Rornan Catholic
       Archdiocese .of Newark. 95 N.J. 530. 472             26. See Hertel v. Sullivan, 261 Ill.
       A.. 2d 531 (1984) (forcibl~ sexual acts against   App.3d 156, 160, 198 Ill.Dec. 574, 633
       a member of priest's Boy Scout group, re·         N.E.2d 36, 39 (1994) ("We reject plaintiff's
       sulting in boy's suicide; held, the Archdio-      suggestion that the duties of a priest to his
       cese is a charity and imrnunity frorn tort        parìshioner or of a rninìster to his congrega-
       liability for ìts negligence in failing to pre-   tìon should be equated wìth the duties of a
       ,·ent such things); cf. Foreign Missìon           psychologìst to his patient. A priest or min-
       Board of the Southern Baptist Convention          ìster is not required to possess and apply
       v. Wade, 242 Va. 234, 409 S.E .2d 144 (1991)      the knowledge and use the skill and care
       (controlling employer of rnissionary had no       ordinarily used by a reasonably well-quali-
       duty to protect chiJdren from moJestation         fied psychologist").
       by their missionary-father, even though em-         27. See John Wagner, Jr., Annotation,
       ployer knew of the sexual abuses).                Cause of Action for Clergy Malpractice, 75
           24. Schieffer v. Catholic Archdiocese of      A.L.R.4th 750 (1990).
       Omaha, 244 Neb. 715, 718, 508 N.W.2d 907,            28. See Moses v. Diocese of Colorado,
       911 (1993): (''What is involved in this case      863 P.2d 310 (Colo.1993) (no separate tort
      is conduct between consenting adults.              of clergy malpractice but church might be
      There is no allegation that the defendant
                                                         liable for negligent hiring, negligent super-
      used force or fraud to accomplish his sexual
                                                         vìsion, and breach of fiducial duty when it
      relations"); but cf. F.G. v. MacDonell, 150
                                                         neither sought to prevent nor to ameliorate
      N.J. 550, 696 A2d 697 (1997) (clergy sexual
                                                         the effects of priestly sexual behavior with
      abuse of counseling situation is breach of
                                                         vulnerable parishioners); Destefano v.
      fiduciary duty; "troubled parishioners
                                                         Grabrian, 763 P.2d 275 (Co1o.1988) (clergy-
      should be able to seek pastoral counseling
      free from the fear that the counselors will        person gì"lring marriage counseling to hus-
      sexually abuse them. Our decìsion does no          band and wìfe and having sexual inter-
      more than extend to the defenseless the            cour•e wjtb one of them); F.G. v. MacDo-
                                                         n.é ll, 150 N.J. 550, 696 A.2d 697 (1997)
      sarne protection that the dissent would ex-
      tend to infants and incompetents"). When           (fiduciary duty).
      the adu!t is not in counseling with the
      minister, the consenting adults rule is clear-
                                                                                § 103
      ly applicable. See Bladen v. First Presbyte-         l.    § 100 supra.




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            242                     DEFENSES TO INTENTIONAL TORTS                           Ch. 5

            invasion as ignorant about its potential risks or consequences. In such a
            case, the mistake rules would riot vitiate the plaintiffs consent.
                 Medicai operations and procedures often involve this point. At one
            time it was thought that when a surgeon operated upon a plaintiff who
            did not know and had not been informed of the risks of the operation,
            the plaintiff might have a claim for battery because the consent would be
            ineffective. Such a claim would be a good one no matter how well the
            operation was performed or what benefits it conferred. It is clearly right
            to treat the operation as unconsented to if the plaintiff was mistaken
            about the nature of the operation and the defendant knew it. But the
            plaintiffs ignorance of the risks does not necessarily mean the plaintiff
            was mistaken about the nature of the operation.
                 Why is it that the plaintiff who is ignorant of the risks of a medicai
            procedure may not be mistaken about its nature? First, the patient is not
            mistaken at all if she knows that operations have risks and knows also
            that she does not know what they are. Mistake is a state of mind not in
            accord with the facts. A person who knows she does not know a fact is
            not mistaken about that fact at alP Second, the plaintiff might errone-
            ously believe she knows the risks when she does not; in that case, she is
            indeed mistaken, but not necessarilyabout the nature of the operation.
            The risks of a procedure and safer alternatives might not go to the
            nature of the operation, only to collateral matters of value. These ,POints
            indicate some of the reasons why ignorance is not always the equivalent
            of a mistake that will vitiate consent.
                   Even if the plaintiff is not mistaken, however, her consent to a
              medicai procedure might be ineffective to bar her suit for other reasons.
              Courts can impose upon the surgeon or physician a duty to use reason-
              able care to inform the plaintiff of the important or materia! risks or at
              least of risks that other doctors would explain to a patient. That is what
      <:\ ,l\ courts have come to ho ld un der the rules of negligence la w and un der
      ~ \ the specific rubric of informed consent. 3
        ~
    f
    \I'Ì.
                 The result is that in most courts, battery claims against the surgeon
            would be entertained only if the surgeon has exceeded the consent by
            performing an operation not consented to at all4 or by operating with
     "\     knowledge that the plaintiff was mistaken (not merely ignorant) about
                 nature of the operation. If the surgeon's fault is that he failed to
            pro · e information that should bave been provided, the plaintiffs
            consen ~olds good to bar the battery claim. In that case, the surgeon's
            liability, 1f any, must be based on a showing that he was negligent, either
            in failing to disclose materia! facts or in performing the operation itself.
            These claims are discussed in the context of medicai malpractice claims
            generally. 5
              2.   See 2 DAN B. DoBBS, LAw OF REMEDIES     4. E.g., Gerety v. Demers, 92 N.M. 396,
            § 11.2 (2d ed. 1993).                        589 P.2d 180 (1978).
              3. See §§ 250 & 251 below.                   5.   See Chapter 14.


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     } 104              SCOPE AND TERMINATION OF CONSENT                                     243

            The distinction between the plaintiffs ignorance of risks and her
     -'stake about the nature of the operation is slippery Ihe difficulty is
     =;) >V compounded because courts in recent years bave begun to use the
     : =nn "informed consent" both in discussing (a) the doctor's obligation to
     ;:.: vide information (the claim usually treated as a negligence claim) and
      :, his obligation to operate within the limits of the plaintiffs consent
       :he claim usually treated as a battery claim). 6 This difficulty requires
     ::.areful reading of the cases, some of which say the plaintiff did not give
     :.::formed consent but appear to mean that she did not give any consent
     ::: all to the operation or procedure that was performed.

                 § 104.       Scope and Termination of Consent
              Consent does not bar the plaintiff's claim (a) for any tortious
      - nduct that is outside the scope of the consent or apparent consent nor
        3 ) for any tortious conduct occurring after consent has been effectively
     : :-.:=voked and the defendant has an opportunity reasonably to avoid that
     :onduct.

     Scope of Consent
            Liability far exceeding the consent. The plaintiff may limit her
     2onsent as she likes, consenting to one act but not another, or to acts at
         ne time but not another, or to acts under some conditions but not
         thers.1 The scope of the defendant's protection is the scope of the
     .::-onsent . If bis conduct would be tortious except for consent and his
     .::onduct goes beyond the consent or its conditions, he is subject to
     :..:ability.2
            Determining the scope. The scope of the consent may itself be subject
     :o dispute because its scope, like its existence, depends heavily upon
     :..-nplications and the interpretation of circumstances. Consent to shoot
     rabbits in the landowner's woods is almost certainly not consent to shoot
     :nem in the landowner's front yard. 3 Possibly also a consent to operate
     on the right ear is not consent to operate upon the left one, 4 but it is not
     :trlpossible to believe that a patient about to undergo an operation
     consents by implication to extensions of the operation that become
         6. For instance, Fox v. Smith, 594 So.2d                       § 104
     59 6 (Miss.1992) speaks repeatedly of in-         l.   See Restatement § 892A (3).
     formed consent but appears not to involve a
     failure t o provide information but a medicai     2. E .g., Karl J . Pizzalotto, M.D. v. Wil-
     pr ocedure that simply was not even pro-        son, 437 So.2d 859 (La.1983).
     '"essedly consented to. Moure v. Raeuchle,        3. But in Florida Publishing Co. v.
     529 Pa. 394, 604 A.2d 1003 (1992) likewise      Fletcher, 340 So.2d 914 (Fla.1976) the court
     speaks throughout of informed consent, but      ignored the difference between consent-by-
     a major illustration in the opinion suggests
                                                     custom to enter land and consent far a
     the court has in mind, not a failure to
                                                     stranger to enter a dwelling piace in the
     provide information, so much as a scope of
                                                     owner's absence.
     consent issue. The illustration is Mohr v.
     Williams, 95 Minn. 261 , 104 N.W. 12              4. Mohr v. Williams, 95 Minn. 261, 104
     (1905), § 130 below- a case involving an        N.W. 12 (1905), overruled in part, Genzel v.
     operation different from the one consented      Halvorson, 248 Minn. 527, 80 N.W.2d 854
     t o.                                            (1957).

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                                     THE COMMON LAW BACKGROUND                                         259

                      5. Damages when a negligence claim is established. When the
               :;.".aintiff succeeds in establishing a negligence claim against the defen-
                dant, courts award damages for a wide range of injuries, including
                ' amages for emotional harm and financial loss. At first glance, this
               statement seems to contnidict those in the immediately preceding para-
               graph. But there is no contradiction. The preceding paragraph indicated
               -hat there is seldom a tort claim for stand-alone emotional or financial
               harm based on simple negligence. But once a negligence claim is estab-
    l          lished by showing that the defendant negligently caused property dam-
               age or bodily injury, the victim can recover ali damages that are
               r easonably foreseeable, including damages for such intangibles as pain, a
    ·.         sense of lost enjoyment of life, and emotional distress. Financial loss
               resulting from injury or property damage, such as lost wages or the costs
    :i         of medicai attention, is likewise recoverable, as are all proven future
               losses.

                      § 111.    Negligence: The Common Law Background
                    Strict liability far trespassary tarts? In the law of torts, the word
               negligence is old but its current content is relatively new. Although the
               concept of fault was important in the old action on the case, negligence
               did not appear as a somewhat generai system for resolving personal
               injury and property damage claims until the 19th century, mostly after
1,.            the American Civil War. The English common law of tort as it stood in
f              the 14th century was very largely the law of trespassory torts. 1 The
               traditional view is that strict liability was imposed when the writ of
               Trespass could be used. 2 That included cases of direct and immediate
               harm from the unauthorized use of physical force. Under this view, the
               defendant might be liable for an accidental shooting, even if the defen-
               dant was no t negligent.3
                    Actian an the case far indirect harms. By the direct harm test in
               Trespass cases, an ordinary vehicular collision might result in strict
:r             liability. But if that was the logic of the old Trespass action, i t was never
:>
               applied to such facts in America. Instead, negligence law developed from
               the action on the Case. 4 The action on the Case was proper (a) when the
l
               defendant inflicted injury that was not immediate and direct, 5 (b) when
                                 § 111                          3. Weaver v. Ward, Hob. 134, 80 Eng.
l                l.  See S.F.C. MILSOM, HISTORICAL FOUNDA·
                                                             Rep. 284 (K.B. 1616).
               TIONS OF THE COMMON LAw 305 (2d ed 1981).        4. See S.F.C. MILSDM, HISTORICAL FouNDA·
                                                             TIONS OF THE CoMMON LAw 283 (2d ed 1981).
                2. See § 14. Some scholars have chal-           5. The classic and much quoted example
              lenged this view. See Gary Schwartz, Tort      of the distinction between Trespass and
t             Law and the Economy in Nineteenth-Cen-         Case: if you throw a log and strike the
              tury America: A Reinterpretation, 9 YALE       plaintiff, he has an action in Trespass, but
s             L.J. 1717 (1981); Gary Schwartz, The Char-     if you leave a log in the road and the
              acter of Early American Tort Law, 26           plaintiff falls over it in the dark, the plain-
              U.C.L.A. L. REv. 641 (1989) ; Stephen          tiff has an action on the Case. Reynolds v.
e             Young, Reconceptualizing Accountability in     Clarke, l Str. 634, 93 Eng.Rep. 747 (K.B.
6             the Early Nineteenth Century: How the          1726). The direct-indirect t est for distin-
              Tort of Negligence Appeared, 21 CoNN. L.       guishing Trespass and Case is consistent
              REv. 197 (1989).                               with earlier decisions, but the explicit for-


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       injury arose out of consented-to invasions that were carried out badly, as
       where a veterinarian undertakes to cure the plaintiffs horse and fails as
       a result of his negligence or neglect; 6 and (c) when the defendant's fault
       lay in his failure to act rather than in some affirmative misconduct. 7 In
       the action on the Case, the plaintiff was required to prove both the
       defendant's fault and actual harm. Those requirements apply to the
       negligence action today.
            Relationship of parties in actions on the Case. The action on the
       Case originally involved parties who had a relationship with each other
       by contract or status.8 That setting differed from that found in the action
       of Trespass, which in contrast often involved strangers whose duties did
       not depend upon a relationship between the parties. In Case, for exam-
       ple, the defendant would be an innkeeper,9 the plaintiff a guest; or the
       defendant a surgeon, the plaintiff a patient. 10
           Significance of parties' relationship . The contract or relationship of
       the parties was doubly important in such cases. First, the relationship of
       the parties is important because that relationship may require the
       defendant to take affirmative steps to avoid harm to the plaintiff; hence
       the word neglect (the root for negligence) appears in these cases in the
       sense that the defendant should be liable for a failure to act.
            Second, the standard of care or duty owed by the defendant was
       implicitly set by accepted community practices and expectati'ons as
       incorporated in the contract itself; the defendant who holds himself out
       as an artificer of any kind implicitly says he will follow the standards of
       such artificers. The defendant who undertakes to move casks of brandy
       safely will be liable for spilling the brandy because that is a failure to
       perform as promised.U Equally, the parties' explicit or implicit expecta-
       mulation of the test does is not found unti!       ciation of Case and nonfeasance or nonac-
       around 1700. See M.J. PRICHARD. Scott v.           tion was Ogle v. Barnes, 8 T.R. 188, 101
       Shepherd (1773) AND THE EMERGENCE OF THE           Eng.Rep. 1338 (K.B. 1799).
       TORT OF NEGL!GENCE 5, 13 ff. (1976).                  8. See S.F.C. MILSOM, HISTORICAL FouNDA-
          6. Waldon v. Marshall, Y.B. Mich. 43            TIONS OF THE GOMMON LA.w 393 (2d ed. 1981);
       Ed. 3, f. 33, p!. 38 (1370), printed and           Percy Winfield, The History of Negligence
       translated in C.H.S. FIFOOT, HISTORY AND           in the Law of Torts, 42 L. Q. REv. 184
       SouRCES OF THE Co~ll>lON LAW: ToRT AND CoN-        (1926).
       TRACT 81 (1949) .                                     9. The Innkeeper's Case, Y.B. Easter 42
          7. C.H.S. FIFOOT, HISTORY AND SoURCES OF        Ed. 3, f. 11, p!. 13 (1369), printed and
       THE GOMMON LA.W: TORT AND GONTR.LI.CT 66           translated in C.H.S. FIFOOT, HISTORY AND
       (1949). See Steinson v. Heath, 3 Lev. 400,         SouRcEs OF THE Co~wN LAw: ToRT Al'ID CoN-
       83 Eng. Rep. 750 (K.B. 1694) (''case lies for      TRACT (1949); Burgess v. Clements, 4 M. &
       non-feasance, against my shepherd for neg-         S. 306, 105 Eng.Rep. 848 CK.B. 1815).
       ligent keeping my sheep, against my carter
       for negligent keeping my horses, and for              10. Dr. Groenvelt's Case, l Ld. Raym.
       not repairing a bridge by which I am to            213, 91 Eng. Rep. 1038 (1697) (dictum that
       pass . . . . against a chaplain, for not reading   case would lie against a surgeon for "mala
       prayers, against an innkeeper, who refuses         praxis," " his ili practice upon the body of
                                                          J .S. ") . .
       to lodge me ... "). One writer went so far as
       to say that the "primary meaning" of negli-           11. Coggs v. Bernard, 2 Ld. Raym . 909,
       gence in the early American cases was              92 Eng.Rep. 107 (1703) (a case actually
       "nonfeasance," that is, neglect of some pos-       pleaded as an action on the case with the
       itive duty imposed by law. MoRTON HoRWITZ,         language of " assumpsit" or undertaking,
       THE TRANSFORMATION OF AMERICA."' LA.w, 1780-       which was also the language of a contract
       1860 86 (1 977). A late example of this asso-      claim).

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.s             tions may relieve the defendant of liability; the guest may undertake to
LS             protect his own property and thus relieve the innkeeper of liability when
.t             it is stolen.12
n
                    Particularization ofduties in action on the Case. Given that duties in
.e
               Case tended to find their source in community custom and conduct of
.e
               the parties, courts naturally did not impose any universal principles of
               responsibility. They imposed liabilities they thought proportioned to the
te             parties' own contract or expectation. Doctors were to use the care of
               doctors, farriers the care of farriers and so on. Bailees who without
               charge accepted temporary custody of the plaintiffs property owed a
               duty to care for that property that was considerably different from the
l-             duty owed by a bailee who was paid to care for the propertyY In some
te             categories, the duty could be strict at times. Common carriers and
               innkeepers might be charged with loss of the guest's property even if the
Jf             innkeeper was not at fault. 14 So defendants might argue that they were
)[             not in any recognized category such as a common carrier and hence that
te             they owed no duty of care at all. 15
:e                  Stranger cases. But things were changing by 1700. Defendants who
1e             are not in a contractual relation with the plaintiff-strangers they are
               called-are beginning to cause serious harms. The stranger who causes a
3.S
               collision on the road is stili liable in trespass in 1700 and for a long time
3.S
               afterwards/ 6 but plaintiffs are beginning to bring suit in Case against
~t
               strangers who cause indirect or mediate harms. 17 Because the parties are
of                12. In Burgess v. Clements, 4 M. & S.         were "the action lay not," against a coach-
ìy             306, 105 Eng.Rep. 848 (K.B. 1815), the inn-      man who damaged or lost goods because the
to             keeper set up the guest in a speciai show        coachman was not a common carrier. The
               room, giving him a key. The guest left his       argument was rejected because the coach-
a-             sample case in the room without locking the      man was like a waterman who carries men
               door. Lord Ellenborough wanted to bar the        and goods as a common carrier.
i C-           guest in part because the property was lost
01             through the guest's own fault. But LeBlanc,        16. Leame v. Bray, 2 East. 593, 102
               J. had a different reason for barring the        Eng.Rep. 724 (K.B. 1803).
)A.            plaintiff. He thought the parties prescribed       17. A master improvidently sends his
l) ;           their own terms by their conduct, and that      servant to train ungovernable horses in a
ce
t
               in accepting the key, the plaintiff dis-        crowded piace; they cause injury to the
84             charged the innkeeper of responsibility. See    plaintiff, who successfully brings an action
               aiso Sanders v. Spencer, Dyer 226, 73 Eng.      on the Case. (Harm was considered indirect
               Rep. 591 CK.B. 1556).                           when the defendant acted through an agent
42
nd                13. See THOMAS M. CooLEY, THE LAw OF         or servant.) Michael v. Alestree, 2 Lev. 172,
               ToRTS 628-633 (1879). Cooley repeated the       83 Eng.Rep. 504 (1676). The classic log-in-
-'iD
               supposed rule requiring extreme care, ordi-     the-road example of the distinction between
ON·
               nary care, or slight care, depending upon       Trespass and Case aiso envisions a stranger
    &
               whether the bailment was for the benefit of     case. See Reynolds v. Clarke, l Str. 634, 93
               the bailee, mutuai benefit, or the benefit of   Eng.Rep. 747 CK.B. 1726). Or the defendant
m.             the bailor only, but he aiso attempts to fit    leaves a pile of lime in the street; the wind
1at            this to the generai formula of ordinary care    blows the lime, which startles the horse,
ala            by treating the benefit issue as part of the    which breaks the chaise in its frightened
    of         circumstances, and he recognizes, too, that     dash. Lord Mansfield tells the jury to decide
               the understanding of the parties is what        whether the defendant was guilty of
09,            ultimately governs.                             "blameable negligence." Flower v. Adam, 2
Jly               14. See Caiye's Case, 8 Co.Rep. 32a, 77      Taunt. 314, 127 Eng.Rep. 1098 (C.P. 1810).
che            Eng.Rep. 520 (K.B. 1584) (if the guest's        When the parties were neighbors, courts
ng,            goods are stolen, the innkeeper is liable).     might derive a duty of reasonable care from
aet              15. Lovett v. Hobbs, 2 Show. 127, 89          the maxim that you must enjoy your prop-
               Eng.Rep. 836 (K. B. 1680). The actuai words     erty in such a way as not to injure others,


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      strangers, not in a contractual relationship, the defendant's negligence is
      understood in a generai, or at least undefined sense. By the 1800s, there
      is nothing unusual about suing a stranger in Case rather than Trespass
      and the negligence standard necessarily ceases to arise from the parties'
      relationship. At some point, too, the plaintiff is given an option: he can
      sue in Case even if injury is direct, so long as he can actually prove
      negligence and actual harm. 18 The net result is that by 1800, plaintiffs
      sue in Case for road accident injuries. The older connection of Case (and
      negligence) to particular occupations and particular duties is no longer
      required. So negligence is already becoming a generai idea even though
      its standards have not been articulated.
           Coming to America. A great de al of the common Iaw of tort migrated
      to America with coionization. Even as the American revolution was
      being launched, Engiish judges were stili debating tort cases by debating
      the direct vs. indirect distinction. 19 After Independence, the Constitution
      allocateci Admiraity jurisdiction, 20 with its potential for covering mari-
      time torts, to the federai government. Otherwise, tort Iaw was the
      province of the States, which usually21 made formai provision for recep-
      tion of the English common Iaw as the basis of their own legai systems. 22
      The sparse American authority on torts in the generation or so after
      adoption of the Constitution seems to indicate that courts were routineiy
      thinking primariiy in terms of fauit or negligence. 23 Nevertheless, in the
      see Vaughan v. Menlove, 3 Bing. (N.C.) 468,        21. Later, Florida, Louisiana, Califo~r'!ia
      132 Eng.Rep. 490 (C.P. 1837), which is also      and some Southwestern States were
      used in nuisance cases. See M.J. PRICHARD,       brought into the union with varying de-
      Scott v. Shepherd (1773) AND THE EMERGENCE       grees of Spanish, or Spanish-French civil
      OF THE TORT OF NEGLIGENCE 15 ff. (1976)          rather than common law background. See
      (noting a few "straws in the wind" from          LAWRENCE FRIEDMAN, A HISTORY OF AMERICAN
      earlier times but identifying the late 17th      LAw 169, 171-76, 364-65 (2d ed. 1985).
      century as the beginning of "non-relation-
      ship" negligence cases).                           22. E.g., Cow. REv. STATS. .ANN. §§ 2--4-
                                                       211; 5 ILCS 50/1. See LAwRENCE FRIEDMA."', A
        18. Williams v. Holland, 10 Bing. 112,         HISTORY OF A.\!ERICAN LAw 107 ff. (2d ed.
      131 Eng. Rep. 848 (C.P. 1833). This view         1985). Less obviously but more importantly,
      was also followed in America. Dalton v.          what the states really adopted, at least over
      Favour, 3 N.H. 465 (1826) . See E.F. Rob-        time, was the common law process, not
      erts, Negligence: Blackstone to Shaw To ?        merely rules of particular cases. The com-
      An Intellectual Escapade in a Tort Vein, 50      mon law process contemplates continued
      CORNELL L. REV. 191, 201 (1965).                 development. See, e.g., Wright v. Grave Sun
         19. Scott v. Shepard, 2 Wm. BI. 892, 96       Newspaper Co., Inc., 873 P.2d 983 (Okla.
      Eng.Rep. 525 (1773) (Blackstone, J. dissent-     1994).
      ing at the court's allowance of Trespass            23. See Gary Schwartz, Tort Law and
      against a defendant tossed a lighted squib       the Economy in Nineteenth-Century Amer-
      at A, who batted it away towards B, who          ica: A Reinterpretation, 9 YALE L.J. 1717
      batted it towards the plaintiff, who lost        (1981). Many of the early cases seemed to
      sight of an eye as a result). If, however, the   involve indirect injury, so their discussion
      plaintiff showed both fault and actual           of negligence is no surprise. E.g., Colt v.
      harm, at least when harm was not intend-         M'Mechen, 6 Johns. 160 (N.Y.Sup.Ct.1810)
      ed, courts sustained the action on the case.     (common carrier's liability for loss of goods
      Slater v. Baker, 2 Wils. 359, 95 Eng.Rep.        except for act of God or the public enemy,
      860 (K.B. 1767) (surgeon's treatment of          considering whether loss resulted from neg-
      broken leg, plaintiff not required to sue vi     ligence as opposed to Act of God); Foot and
      et armis).                                       Reynolds v. Wiswall, 14 Johns. 304 (N.Y.
       20. l THOMAS 8CHOENBAUM, AnMIRALTY AND          1817) (the plaintiff's sloop was damaged by
      MARITIME LAw §§ 1-6 & 3-1 (2d ed. 1994).         a steamboat on the Hudson River on a dark


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      § 112                  ADOPTING FAULT-BASED LIABILITY                                     263

      early 1800s, negligence seems not to have become a widespread or
      generai system of adjudication.

                     § 112. Negligence: Adopting a Generai
                         Principle of Liability for Fault
           Growing into modern tort law. The older tort law, based on a
      distinction between Trespass with its direct invasion and Case with its
      indirect invasion, differed from modern tort law in three important
      ways. First, in contrast to contemporary law, strict liability was or may
      have been imposed in the Trespass/direct harm cases. Second, the
      liabilities imposed in Case, although based on fault of some kind, were
      not originally adjudicated under a generai fault standard applicable to
      everyone but under standards set by the particular profession or cailing
      of the defendant. Third, the lineaments of negligence itself had not been
      drawn clearly; what would count as fault in any generai system of fault
      was undetermined. All three of these things began to be altered signifi-
      cantly in the 19th century, mostly after 1850.
          (l) Eliminating or limiting the role of strict liability. If strict liabili-
      ty was imposed for direct injuries, such liability was limited or eliminat-
      ed in favor of a fault-based system. By around 1800 lawyers began
      arguing that a distinction existed between intentional or wilful torts on
      the one hand and merely negligent torts on the other. 1 The distinction
      was not immediately developed, but in another generation we find courts
      beginning to distinguish negligence from intent2 or at least to show a
      night in 1812, a jury charge in tenns of          riparian owner's dam broke, leading to
      negligence with the burden upon the defen-        damages of the lower owner's property. The
      dant to exonerate himself by proving free-        court considered the case in terms of negli-
      dom from fault was seemingly accepted by          gence, not strict liability. The case may be
      the parties). In Vincent v. Stinehour, 7 Vt.      distinguishable from Rylands v. Fletcher,
      62 (1835), the plaintiff alleged what might       L.R. 3 H.L. 330 (1868) where strict liability
      have been considered a direct and forcible        was imposed when a pond's waters flooded
      injury except that it may have involved the       the plaintiffs coal mine, but it would not
      intervening reaction of an animal: the de-        have been bizarre to suggest strict liability
      fendant ran aver the plaintiff with a car-        in Livingston. In Panton v. Holland, 17
      riage. The court refused to charge on liabili-    Johns. 92 (N.Y.1819) the defendant exca-
      ty without fault and required negligence to       vated his own land, with the result that the
      sustain a claim . The jury found for the          plaintiffs nearby house partially collapsed
      defendant. The Vermont Supreme Court              from lack of support. The court held that
      upheld a judgment for the defendant on the        liability turned solely on negligence, al-
      ground that " no one can be made responsi-        though here again strict liability for remov-
      ble, in an action of trespass, for conse-         al of lateral or subjacent support would not
      quences, where he could not have prevented        be inconceivable. See Restatement § 817.
      those consequences by prudence an d care."                           § 112
      For this broad statement, the court relied
      on cases in which the defendant had dane            l.  Ogle v. Barnes, 8 T.R. 188, 101 Eng.
      no act at ali with reference to the plaintiff,    Rep. 1338 (K.B. 1799); E.F. Roberts, Negli-
      as where his horse simply ran away with           gence: Blackstone to Shaw to ? An Intellec-
      him. In some other cases the setting in-          tual Escapade in a Tory Vein, 50 CoRNELL L.
      volved indirect injury but the facts might        Q. 191, 199 (1965).
      have been thought to suggest strict liability       2. E.F. Roberts, Negligence: Blackstone
      in a later generation; yet liability was limit-   to Shaw to ? An Intellectual Escapade in a
      ed by the fault principle. In Livingston v.       Tory Vein, 50 CoRNELL L. REv. 191, 200
      Adams, 8 Cow. 175 (N.Y. 1828) an upper            (1965).

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                   Conditions, State Power, and the Limits of Consent,
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Limits of Consent
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                                         THE SUPREME COURT
                                              1987 TERM


             FOREWORD: UNCONSTITUTIONAL CONDITIONS,
             STATE POWER, AND THE LIMITS OF CONSENT

                                                         Richard A. Epstein


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      UNCONSTITUTIONAL CONDITIONS, STATE POWER,
              AND THE LIMITS OF CONSENT

                                      Richard A. Epstein*


                                        I. INTRODUCTION


                                  A. A Ubiquitous Problem

    T he Supreme Court's decision in Lyng v. International Union,
          UAW,' decided during the 1987 Term, looks like a creature of
    the modern activist state. Lyng asked the Court to resolve the con-
    stitutional tension between the Food Stamp Program and the National
    Labor Relations Act (NLRA). Before the New Deal, the issues pre-
    sented by the case would not, and probably could not, have arisen.
    Politically, Congress did not have the will to pass either of these
    programs. If passed, each would likely have been found to fall outside
    Congress' commerce power. 2 It was also unresolved whether the Food
    Stamp Program could have been sustained under Congress' spending


          James Parker Hall Distinguished Service Professor of Law, University of Chicago. I would
    like to thank Larry Alexander, Albert Alschuler, Douglas Baird, Gerhard Casper, David Currie,
    Frank Easterbrook, Larry Kramer, Jonathan Macey, Michael McConnell, Frank Michelman,
    Charles Smith, David Strauss, and Cass Sunstein for their exhaustive and informative comments
    on portions of an earlier draft. I have tried to incorporate their insights and answer their
    objections as best I could. Richard Craswell, David Friedman, Stephen Shiffrin, and Alan
    Schwartz gave me valuable advice in working through some of the lines of argument developed
    in this Foreword. I also benefitted from comments at the University of Chicago Work in
    Progress Workshop, and from comments that I received in presenting the earlier draft at a
    luncheon workshop of the clerks and staff of the Seventh Circuit. The errors that remain in
    this Foreword are of my own invention.
        1 xo8 S. Ct. 1184 (t988). For further discussion of the case, see pp. 96-102 below.
        2 See, e.g., Schechter Poultry Corp. v. United States, 295 U.S. 495, 548-49 (1935) (holding
    that regulation of time and hours does not fall within Congress' commerce clause power); Carter
    v. Carter Coal Co., 298 U.S. 238, 308-09 (1936) (same); United States v. E.C. Knight Co., I56
    U.S. 1, 12 (1895) (holding that regulation of manufacturing monopolies does not fall within
    Congress' commerce clause power). The NLRA had indeed been held unconstitutional in the
    three unanimous circuit court decisions to pass on the question. See Fruehauf Trailer Co. v.
    NLRB, 85 F.2d 391 (6th Cir. 1936), rev'd, 301 U.S. 49 (i937); NLRB v. Friedman-Harry Marks
    Clothing Co., 85 F.2d I (2d Cir. 1936), rev'd, 301 U.S. 58 (I937); NLRB v. Jones & Laughlin
    Steel Corp., 83 F.2d 998 (5th Cir. 1936), rev'd, 301 U.S. i (1937). For my defense of E.C.
    Knight, see Epstein, The ProperScope of the Commerce Power, 73 VA. L. REv. 1387, 1432-54
    (1987). There had been some erosion of Knight in the pre-1937 period, but none that went
    nearly as far as Jones & Laughlin. For example, the Railway Labor Act of 1926, 45 U.S.C.
    §§ 151-I88 (1982), was found to fall within the scope of the commerce power in Texas & New
    Orleans Railroad v. Brotherhood of Railway Clerks, 281 U.S. 548, 570 (293o), but that statute
    was consciously limited to the instruments of interstate transportation, a proper subject of the
    federal commerce power since Gibbons v. Ogden, 22 U.S. (9 Wheat.) i (2824).


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    power. 3 For good measure, the NLRA might well have been held to
    work an impermissible infringement of the liberty of contract of both
                                      4
    employer and employee.
        The New Deal transformation and its aftermath have placed both
    statutes beyond political controversy, just as they have immunized the
    statutes from direct constitutional attack. When a 1981 amendment
    to the Food Stamp Program provided that food stamps would not be
    distributed to workers who go out on strike in a labor dispute other
    than an employer lockout,5 however, the stage was set to examine
    what first and fourteenth amendment principles apply to the interac-
    tion of these two complex statutory systems. The respondent union
    claimed that the statutory change "coerced" workers into sacrificing
    their first amendment right to freedom of association in order to obtain
    the food stamps that Congress provided to persons generally in need,
    and even to nonstriking workers who had quit their jobs. 6 Its equal
    protection claim covered much the same ground: although the Con-
    gress need not have provided any food stamp benefits at all, once it
    embarked upon such a program, it could not discriminate between
    striking workers and other needy recipients.
        Cast in this form, the respondent's case is a curious blend of old
    and new. While its setting may be novel, Lyng raises the basic
    structural issue that for over a hundred years has bedeviled courts
    and commentators alike under the mysterious title of "unconstitutional
    conditions." 7 In its canonical form, this doctrine holds that even if a


        3 The spending power authorizes Congress "to pay the Debts and provide for the common
    Defence and general Welfare of the United States." U.S. CONST. art. I, § 8, cl.x. Madison
    read the clause to authorize Congress to spend only for those purposes that fell within the other
    enumerated powers of article I, section 8. See United States v. Butler, 297 U.S. x, 65 (1936).
    Butler, however, rejected the Madisonian view in favor of Hamilton's and Story's construction,
    which allowed any expenditure that advanced the "general welfare of the United States" without
    limitation to the enumerated powers. See id. at 65-66. The food stamp program could not
    have survived if Madison's view had been adopted. The fate of a food stamp program under
    Hamilton and Story's position is uncertain. The legislation is "general" in the sense that it
    applies uniformly across the country, but it is not general in the sense of providing a public
    good shared by all citizens alike. With the 1937 expansion of the commerce clause, the system
    of enumerated powers collapsed and with it any concern over the contours of the spending
    power. For a defense of the Madisonian view, see Currie, The Constitution in the Supreme
    Court: The New Deal, 19J-1940, 54 U. CHi. L. Rav. 504, 529-36 (1987). For a discussion of
    that view in connection with unconstitutional conditions, see pp. 40-44 below.
        4See, e.g., Coppage v. Kansas, 236 U.S. i (i915); Adair v. United States, 2o8 U.S. 161
    (igo8). The Court in 1929 distinguished those cases in the context of the Railway Labor Act.
    See Texas & N.O.R.R., 281 U.S. at 570-71.
        5 Omnibus Budget Reconciliation Act of i98i, Pub. L. No. 97-35, § 1o9, 95 Stat. 361 (198i)
    (codified at 7 U.S.C. § 2015(d)(3) (1982)).
        6 The statute provides that when a worker has voluntarily quit his employment, the period
    of disqualification is only 90 days, and then only if the quitter is the head of a household as
    defined under the statute. See 7 U.S.C. § 2015(d)(i) (1982).
        7The phrase, for example, appears in Justice Bradley's dissent in Doyle v. Continental


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    state has absolute discretion to grant or deny a privilege or benefit, it
    cannot grant the privilege subject to conditions that improperly
    "coerce," "pressure," or "induce" the waiver of constitutional rights.
    Thus, in the context of individual rights, the doctrine provides that
    on at least some occasions receipt of a benefit to which someone has
    no constitutional entitlement does not justify making that person aban-
    don some right guaranteed under the Constitution.8 In other in-
    stances, the doctrine prevents the government from asking the indi-
    vidual to surrender by agreement rights that the government could
    not take by direct action. Thus, although a state may absolutely
    forbid foreign corporations from doing business within its borders, it
    cannot allow them in on condition that they waive their right to
    federal diversity jurisdiction, any more than it could divest them of
    this right by statute. 9 In still other instances, the doctrine closely
    resembles equal protection, barring the state from making certain
    privileges available to individuals only if they consent to terms more
    onerous than those demanded when the same privileges are made
    available to others. Again, the state may prevent foreign corporations
    from doing business in the state altogether, but it may not allow them
    to do business only on condition that they pay higher taxes than their
    local competitors.
        The problem of unconstitutional conditions arises whenever a gov-
    ernment seeks to achieve its desired result by obtaining bargained-for
    consent of the party whose conduct is to be restricted. There is, for
    example, an ordinary first amendment issue when the government
    seeks to impose prior restraints on publication. That question is
    transformed into an unconstitutional conditions issue when a govern-
    ment benefit is conditioned upon acceptance of prior restraint. Simi-
    larly, there is only a traditional equal protection claim when the
    government imposes heavier criminal penalties on blacks than it does


    Insurance Co., 94 U.S. 535 (1876): "Though a State may have the power, if it sees fit to subject
    its citizens to the inconvenience, of prohibiting all foreign corporations from transacting business
    within its jurisdiction, it has no power to impose unconstitutional conditions upon their doing
    so." Id. at 543 (Bradley, J., dissenting). An earlier hint of the doctrine is found in Lafayette
    Insurance Co. v. French, 59 U.S. (18 How.) 404 (1856): "This consent [to do business as a
    foreign corporation] may be accompanied by such conditions as Ohio may think fit to impose;
     ...provided they are not repugnant to the Constitution or laws of the United States ......
    Id. at 407. The condition involved in French, to accept service of process in order to do
    business in the state, was sustained.
        8 See generally Van Alstyne, The Demise of the Right-PrivilegeDistinction in Constitutional
    Law, 8I HARV. L. REv. 1439, 1445-49 (1968).
        9 At the time of Doyle, states were allowed to impose such conditions. Doyle was significantly
    restricted, however, by Barron v. Burnside, 121 U.S. 186 (1887), which returned to the earlier
    position of Home Insurance Co. v. Morse, 87 U.S. (20 Wall.) 445 (1874), by striking down a
    similar condition. Doyle was definitively overruled, and the position of Morse and Barron
    reaffirmed, in Terral v. Burke Construction Co., 257 U.S. 529, 533 (1922). See infra p. 38.


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    on whites or vice versa. The unconstitutional conditions overlay
    comes into play only when the government sells goods or services to
    blacks on more onerous contract terms and conditions than those it
    offers to whites.
        There is a special conceptual problem with the doctrine of uncon-
    stitutional conditions, however, that does not arise in connection with
    ordinary constitutional limits on government powers. Why does the
    doctrine exist at all? Why should there be any limitation at all on a
    system of government power that rests on the actual consent of the
    individuals whose rights are thereby abridged? To be sure, even the
    system of free markets recognizes some limitations upon the principle
    of consent in ordinary contracts between private individuals. Duress,
    force, misrepresentation, undue influence, and incompetence may be
    used to set aside contracts that otherwise meet the normal require-
    ments of offer, acceptance, consideration, and consent. But none of
    these conventional grounds accounts for the doctrine of unconstitu-
    tional conditions, which comes into play only after all these conven-
    tional hurdles to consensual union have been overcome.
        The analogies to ordinary contract law thus give rise to a persistent
    puzzle that can be formulated in both conceptual and practical terms.
    To revert to the foreign corporation cases, if a state can exclude a
    foreign corporation, why can it not admit the corporation subject to
    whatever conditions it wishes to impose? 10 Sometimes the puzzle is
    stated in terms of a greater and a lesser power. The greater power
    to exclude might be said to include the lesser power to admit on
    condition. "'
        The objection to the doctrine of unconstitutional conditions can
    also be stated in functional terms. How can striking workers complain
    that they have not received benefits to which they have no absolute
    entitlement? The state has made an offer that any worker may choose
    to accept or reject. There has been no use or threat of force. As long
    as individuals know what is best for themselves, they can enter into
    only those bargains that leave them better off after than before. Some


         10Justice Holmes dismissed the entire doctrine of unconstitutional conditions as a logical and
     conceptual error: "Even in the law the whole generally includes its parts. If the State may
     prohibit, it may prohibit with the privilege of avoiding the prohibition in a certain way."
     Western Union Tel. Co. v. Kansas, 216 U.S. i, 53 (Holmes, J., dissenting).
         11 Cf. Posadas de Puerto Rico Assocs. v. Tourism Co., 478 U.S. 328, 345-47 (1986) (holding
     that "greater" power to ban gambling includes "lesser" power to ban advertising promoting
     gambling). The formulation is somewhat misleading, however, because greater/lesser problems
     can arise even when the issue of consent or the form of a conditional grant is far removed from
     a case. For example, any case of selective enforcement of criminal or civil sanctions might be
     said to give rise to a greater/lesser problem: if the state has the greater power to punish both
     blacks and whites, then it has the lesser power to punish only blacks or only whites. Although
     such cases do not give rise to an unconstitutional conditions problem as that term is used here,
     the greater/lesser language is still applicable.


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    workers have taken the bargain and others have cast it aside. All
    workers are free to make whatever decisions they choose, but must
    live with the consequences of their decisions once made.1 2 The same
    point could be made about the case of race. Blacks cannot complain,
    because they are better off with the bargains they made than they
    were before the state contracted with either blacks or whites.
        These examples appear to justify the doctrine of unconstitutional
    conditions as a half-conscious adaptation of the classical Pareto su-
    periority test used in modern welfare economics to evaluate alternative
    social states. As originally developed, the Pareto criterion attempted
    to make social judgments about alternative states of the world without
    resorting to problematic interpersonal comparisons of utility. It
    avoided the necessity and awkwardness of such comparisons by pre-
    scribing a test that allowed each person to compare his own private
    welfare before and after the legal change. Thus if no person in state
    A is worse off than he was in state B, and at least one person is
    better off in state A than he was in state B, then state A must be
    judged as superior to state B. The criterion of judgment is social in
    the sense that the welfare of every individual is taken into account,
    yet the stringent condition that no person be worse off in state A than
    in state B obviates the need for any comparison of welfare across
    separate persons.
        The Pareto formula has often been attacked for being too restric-
    tive of the type of social changes that it allows.' 3 Nonetheless, where
    the relevant universe involves only two self-interested parties, any
    voluntary agreement or grant satisfies the test, for the agreement is
    formed only if it makes both sides better off than before, given that
    each is the best judge of his own welfare. The use of this Pareto
    formula presupposes that the status quo, ante is the baseline against
    which shifts in individual welfare are measured. Thus when people
    reject a bargain or grant offered by the state, they are no worse off
    than they were before. When they accept the bargain or grant on
    condition, they are better off. Either way, they are not in a position
    to complain. The state for its part is treated (and this assumption
    will become controversial) as though it were a single person that
    knows its own preferences, measured against the same baseline of the
    status quo ante. If its bargain or grant is rejected, then it will be no
    worse off than before; if that grant or condition is accepted, then it
    will be better off. Either way the stringent Pareto conditions are

        12 For a celebration of this bargain theory, see Merrill, Unconstitutional Conditions, 77 U.
    PA. L. REV. 879 (1929).
       There are shades of the same position in the dissenting opinion of Justice Rehnquist in First
    National Bank of Boston v. Bellotti, 435 U.S. 765, 823-27 (1978) (Rehnquist, J., dissenting).
                                                                        .-f
        13 See, e.g., Coleman, Efficiency, Utility, and Wealth Maximization, 8 HOFSTRA L. REV.
    509 (198).


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    satisfied so that there is no reason to worry about the terms and
    conditions that the government attaches to its bargain or grant. No
    matter what its outcome, the proposed transaction appears unassail-
    able.
        The implications of this reasoning for Lyng are clear: if Congress
    could grant or withhold food stamps at will, then it can do so on
    condition. Before the 1981 Amendments to the Food Stamp Program,
    Congress could have repealed the statute in its entirety, much the way
    a settlor can take back at will the property that he has placed in a
    revocable inter vivos trust. The baseline against which the conduct
    of individual union members must be measured, therefore, is not one
    in which they are entitled to food stamps as of right. Relative to the
    proper baseline, no worker can complain. A worker who bargains
    away his right to strike for food stamps does so because he values the
    latter more than the former; a worker who rejects that offer is no
    worse off than he would have been in the baseline situation. The
    situation is thus radically distinct from one in which the state uses
    force against any individual, for in that case one person is left worse
    off because of the application of state power and, at the very least,
    has a strong case to demand that the state justify its action.
        At first blush, then, a categorical rejection of the doctrine of
    unconstitutional conditions seems to square with both traditional con-
    ceptions of sovereign power and modern tests of social welfare. A
    position with so strong an apparent pedigree should be hard to dis-
    lodge on any ground. Yet the doctrine of unconstitutional conditions
    tenaciously endures, notwithstanding charges by figures no less distin-
    guished than Justice Holmes that it is both logically incoherent and
    corrosive of sovereign power.14 Originating in the nineteenth century,
    the doctrine of unconstitutional conditions is no new judicial concoc-
    tion in the post-New Deal welfare state. Nor is the doctrine anchored
    to any single clause of the Constitution. Like the police power, it is
    a creature of judicial implication. It roams about constitutional law

        14 Holmes' most famous statement of his position is found in McAuliffe v. Mayor of New

    Bedford, '55 Mass. 216, 29 N.E. 517 (1892):
        The petitioner may have a constitutional right to talk politics, but he has no constitutional
        right to be a policeman. There are few employments for hire in which the servant does
        not agree to suspend his constitutional right of free speech, as well as of idleness, by the
        implied terms of his contract. The servant cannot complain, as he takes the employment
        on the terms which are offered him.
    Id. at 220, 29 N.E. at 517-i8.
        A similar freedom of contract rationale is found in some of Holmes' tort opinions. See, e.g.,
    Lamson v. American Axe & Tool Co., 177 Mass. 144, 145, 58 N.E. 585, 585-86 (igoo) ("[The
    workman] complained, and was notified that he could go if he would not face the chance. He
    stayed, and took the risk. He did so none the less that the fear of losing his place was one of
    his motives." (citations omitted)). Justice Holmes reiterated these principles in the context of
    unconstitutional conditions in Western Union Telephone. See supra note io.




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    like Banquo's ghost, invoked in some cases, but not in others. It has
    been used as an aid in construing the scope of Congress' spending
    power' 5 and of the states' police power.16 It has been engrafted onto
    substantive protections afforded to speech, 17 religion,' 8 and prop-
    erty. 19 It also has found expression in decisions under the equal
    protection 20 and due process 2 1 clauses. About a dozen cases in the
    past two terms testify eloquently to the diverse and thorny issues that
    the doctrine raises.
        The importance of the unconstitutional conditions doctrine has
    brought forth an extensive array of academic literature to explain and
    justify it.22 The received writing sensibly recognizes the essential
    place that the doctrine occupies in modern constitutional law, but it
    makes far less sense when it attempts to explain how the doctrine
    arises or what it does. In part, the difficulties arise from the persistent
    efforts to make unconstitutional conditions cases resemble duress or
    coercion cases, 23 as is made evident by the discussion of differences
    between "penalties" or "fines" on the one hand, and "subsidies" or
    "benefits" on the other. 24 Yet if common law duress were present in
    these cases, the recipient of the grant would be able to attack the
    offending condition without resorting to any special doctrine of un-
    constitutional conditions.           As long as the condition is obtained by
    coercion or duress, it can be set aside as a matter of right, regardless
    of its content. In contrast, the doctrine of unconstitutional conditions


        Is See Child Labor Tax Case, 259 U.S.   20 (1922);   South Dakota v. Dole, 107 S. Ct. 2793
    (1987); infra pp. 40-47.
        16 See Nollan v. California Coastal Comm'n, 107 S. Ct. 3141 (1987); Posadas de Puerto Rico
    Assocs. v. Tourism Co., 478 U.S. 328 (1986); infra pp. 58-67.
        17 See, e.g., City of Lakewood v. Plain Dealer Publishing Co., 1o8 S. Ct. 2138 (1988);
    Arkansas Writers' Project, Inc. v. Ragland, 107 S. Ct. 1722 (x987). For discussions of these
    cases, see pp. 55-58 and pp. 76-77 below, respectively.
        18 See, e.g., Hobbie v. Unemployment Appeals Comm'n, 480 U.S. 136 (1987); Thomas v.
    Review Bd. of the Ind. Employment Sec. Div., 450 U.S. 707 (ig8i); Sherbert v. Verner, 374
    U.S. 398 (1963); see also infra pp. 79-89.
        19See, e.g., Nollan, 107 S. Ct. 3141; infra pp. 60-64.
        20 See, e.g., Southern Ry. Co. v. Greene, 216 U.S. 400 (i91o); see also infra note 65.
        21 See Frost & Frost Trucking Co. v. Railroad Comm'n, 271 U.S. 583 (2926); Western Union
    Tel. Co. v. Kansas, 216 U.S. i (iyio); infra pp. 47-54.
        22 See, e.g., Kreimer, Allocational Sanctions: The Problem of Negative Rights in a Positive
    State, 132 U. PA. L. REV. 1293 (1984); Shiffrin, Government Speech, 27 UCLA L. REv. 565
    (i98o); Van Alstyne, Cracks in "The New Property": Adjudicative Due Process in the Admin-
    istrative State, 62 CORNELL L. REV. 445 (1977); Van Alstyne, supra note 8, at 1-445-49.
       23 See, e.g., Child Labor Tax Case, 259 U.S. 20, 36-37 (1922); Van Alstyne, supra note 8,
    at 1445-49.
        24 See infra pp. 41-44 (discussing the Child Labor Tax Case); infra pp. 79-87 (discussing
    Sherbert v. Verner, 374 U.S. 398 (1963)); infra pp. 94-96 (discussing Bob Jones Univ. v. United
    States, 461 U.S. 574 (2983)); infra pp. 96-2o2 (discussing Lyng v. International Union, UAW,
    2o8 S. Ct. 1184 (1988)).




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    is directed toward the substance of various conditions, regardless of
    the course of negotiations between the individual recipient and the
    state.
        The balancing tests commonly suggested by commentators show
    that the doctrine of unconstitutional conditions cannot be explained
    by analogy to common law coercion. 25 This balancing is not eviden-
    tiary, as courts are not asked to weigh different sorts of evidence that
    might indicate whether a certain gesture is an implied threat of the
    use of force. Rather, its close involvement with the substantive terms
    and conditions of the statute - for example, whether the use of state
    highways is conditioned upon agreeing to service of process in all
    cases, or only in those arising out of use of the highways - distances
    us from the process-oriented issues that dominate ordinary duress
    cases. But without a strong substantive theory that explains both the
    use and the limits of individual consent, the use of balancing tests in
    this context leaves far too much room to the legal imagination. Bal-
    ancing must be in service of a general theory. It cannot be a substitute
    for one.
                                                                              26
        Efforts to explain the doctrine on the basis of "dignitary" interests
    are also unsatisfactory, running into the same difficulties in this con-
    text that they do in all others. First, it is unclear how individual
    dignity is advanced when restrictions are placed upon the individual
    right to contract. Can one respect the dignity of the individual, and
    at the same time hold that a person, although of full age and com-
    petence, cannot make the decisions of greatest importance to his or
    her life prospects? How does one enhance dignity by restricting
    choice? Theories of dignity are often used to support notions of
    individual autonomy, yet here they are invoked to limit the ability of
    the individual to enter into desired agreements with the state. Second,
    the dignitary theories are undermined by their exclusive focus on the
    individual upon whom the condition is imposed. As far back as
    Hohfeld, if not before, it has been understood that the creation and
    recognition of a right or privilege in one person will impose correlative
    obligations on others. 2 7 The art (or science) of government is to
    develop some social criterion, such as the Pareto test, that helps decide
    which interests, including dignitary interests, should be protected, and
    which not. In this inquiry, of course, it is useful from the individual's
    perspective to identify the benefits of having certain conditions re-
    moved from state bargains or grants. But the analysis is incomplete

       25 See Kreimer, supra note 22, at 1349-51 (criticizing attempts by Van Alstyne and others
    to defend this balancing approach).
        26 See, e.g., Mashaw, Administrative Due Process: The Quest for a Dignitary Theory, 61
    B.U.L. REv. 885 (1g8i).
       27 See Hohfeld, Some FundamentalLegal Conceptions as Applied in JudicialReasoning, 23
    YALE L.J. 6 (1913).


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   unless the correlative costs to other persons of their removal are taken
   into account as well. So long as resources are scarce, individual rights,
   even constitutional rights, must have some correlative duties. Thus,
   any complete analysis must take both sides of the same problem into
   account, but dignitary theories generally fail to do so.
       The most ambitious effort to organize the unruly law of unconsti-
   tutional conditions is that of Professor Kreimer, who recognizes that
   standard notions of coercion are unable to account for the doctrine. 28
   In Professor Kreimer's view, the greatest difficulty with the coercion
   question is to identify the appropriate baseline against which the
   possibly coercive effects of government action may be evaluated.
   When the baseline gives a right to the government, government may
   condition the benefits that it imposes. When it gives the right to the
   individual, then the government's extraction of a concession amounts
   to impermissible coercion. 29 Kreimer proposes three baselines against
   which the constitutionality of any government bargain can be mea-
   sured: history, equality, and prediction. 30 Although an account of
   baselines is essential to any general analysis of unconstitutional con-
   ditions, Kreimer's inability to offer a single baseline for assessing
   conditional government benefits renders his account problematic. For
   example, the historical baseline may allow the states selectively to
   grant access to the public highways in a way that the equality norm
   prohibits. Consistent and determinate baselines can be generated only
   with aid of a theory that links the substantive guarantees provided
   under the Constitution to the set of government practices and pro-
   cesses that can undermine them. The theory, moreover, has to be
   functional, not intuitive: it must explain how some social improvement


       28 Kreimer has also pointed out the limitations of simple contract models that focus exclu-
   sively on force and fraud. See Kreimer, supra note 22, at 1318 ("While there is a contemporary
   philosophical school that attaches unique status to rights of bodily integrity and freedom from
   physical force, it is hard to imagine any modern constitutional theorist taking the position that
   only a direct threat of violence would violate constitutional rights."). He attributes this model
   to Robert Nozick, Charles Fried, and me. See id. at 1318 n.77. In part, this Foreword is my
   effort to go beyond the simple libertarian model in the context of state grants and bargains.
   For my own concerns with the libertarian model, published after Kreimer's observation, see R.
   EPSTEIN, TAKINGS, 334-38 (z985), and Epstein, The Classical Legal Tradition, 73 CORNELL L.
   REV. 292, 298-99 (1988).
       29 See, Kreimer, supra note 22, at 1352 ("My conclusion is that the distinction between
   liberty-expanding offers and liberty-reducing threats turns on the establishment of an acceptable
   baseline against which to measure a person's position after the imposition of an allocation.").
       30 See id. at X359-74. History refers to the use of tradition and the status quo ante as a
   baseline, so that coercion occurs when a previously enjoyed benefit is lost. See id. at 1359-63.
   Equality refers to equal treatment under the law, and invokes equal protection ideals generally.
   See id. at 1363-71. Prediction is the hardest baseline of all to grasp because it requires a
   counterfactual judgment of what a government would have done had it been asked to adopt a
   policy without reference to the constitutional rights that it is asking the individual citizen to
   waive. See id. at 1371-74.


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     is obtained by striking down the condition in question. So much at
     least is demanded by any theory that treats the substance of bargains,
     not the process of their formation, as its subject matter. What is
     needed is a more systematic examination of the overall consequences
     of certain bargaining strategies undertaken by government.

                                     B. The Plan of Action
          In this Foreword, I hope to explain why the divisions and confu-
     sions in judicial and academic opinion on the subject of unconstitu-
     tional conditions do not rest upon simple error or naive misconception
     of the legal doctrine, but upon deep structural problems associated
     with both constitutional theory and the larger questions of proper
     political governance. There are no shortcuts to this form of analysis.
     In order to understand unconstitutional conditions, it is first necessary
     to understand the function and limitations of consent, and the bar-
     gaining processes by which it comes about.
          Part II of this' Foreword develops such a conceptual framework.
     Its inquiry is overtly functional and utilitarian. Bargains are inter-
     actions thought to advance some overall measure of social welfare.
     They are not regarded as absolutes in themselves. Essentially, we
     want to enforce bargains when and only when they satisfy two criteria.
     First, does the bargain create joint gains for the contracting parties?
     Second, does the bargain respect the interests of third persons who
     are not parties to the bargain? Within a libertarian framework, the
     first criterion is satisfied by refusing to enforce bargains induced by
     force and fraud. Similarly, the second criterion is met by refusing to
     enforce bargains that contemplate the use or threat of coercion or
     fraud against third parties. As stated, these criteria account for many
     of the necessary limitations on the common law regime of contractual
     freedom. Although this model addresses some of the possible exter-
     nalities that are created by contractual agreements, it ignores monop-
     oly and collective action problems, which also induce individuals to
     take actions that benefit their private, but not the social interest. 3 1
     Each of these phenomena offers compelling reasons why certain pri-
     vate bargains are not enforced. The problems each pose arise with
     equal or greater intensity in the context of state bargains. The reasons
     that lead us not to enforce some private bargains can thus explain
     why certain bargains between the government and the individual are
     not enforced. Once those reasons are explicated, we can provide a

        31 The closest example of the general approach I am proposing is found in Easterbrook,
     Insider Trading, Secret Agents, Evidentiary Privileges, and the Productionof Information, xg8i
     Sup. CT. REv. 309, 349. Judge Easterbrook presents a view of the doctrine of unconstitutional
     conditions as part of an elaborate effort "to control cases of externalities and monopoly." See
     id.


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   more systematic consequentialist argument for why the doctrine of
   unconstitutional conditions limits the ability of individuals to consent
   to the surrender of constitutional rights.
       With this framework in view, the remainder of the Foreword
   shows how the doctrine of unconstitutional conditions does, and
   should, function in a variety of contexts as a check against the political
   perils of monopoly, collective action problems, and externalities. In
   principle there are two ways to organize the discussion. The first is
   to examine how the doctrine works with respect to its distinct limi-
   tations upon the "prices" people have to pay in order to obtain benefits
   from the government. Thus there could be a discussion of the first
   amendment protections of speech and religion, the takings clause, the
   due process clause, and the like. I have chosen not to follow that
   course, at least not fully. Instead, I have adopted an approach that
   first identifies the different heads of government power and then shows
   how the doctrine of unconstitutional conditions plays itself out with
   respect to their exercise. By beginning with the powers and not the
   limitations, it is easier, I think, to follow both the doctrine's historical
   development and its institutional framework.
        Given this orientation, I begin with those areas in which the
   preservation of competitive markets has been regarded as an impor-
   tant social function. Part III thus concerns the use of the doctrine of
   unconstitutional conditions in the area of its birth, the nineteenth-
   century cases in which states sought to impose discriminatory taxes
   or regulations upon out-of-state corporations that sought to do business
   within their borders. Part IV pursues a question of federalism of great
   importance in the pre-1937 cases: how the doctrine of unconstitutional
   conditions might be used to ensure that the United States does not
   invade the area of powers reserved to the states. Part V then examines
   the role of the doctrine in limiting the power of the state to control
   access to public roads and highways. Part VI addresses the relation-
   ship between the doctrine of unconstitutional conditions and the police
   power, as it relates to the regulation of both property and commercial
   speech. Part VII then discusses the use of the doctrine in modern
   areas of tax benefits and welfare rights. It covers the receipt of
   conditioned exemptions for real estate and sales taxes, and the receipt
   of unemployment benefits, medical benefits, or, as was the case in
   Lyng, food stamp benefits for striking union workers. A brief conclu-
   sion follows.

                     IH. THE CONCEPTUAL FRAMEWORK

       In order to understand the limitations on bargaining, it is best first
   to sketch how bargains can lead to optimal social results. I thus begin
   with a brief discussion of perfect competition, and then move on to
   discuss monopoly, collective action, and externality problems as they

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    occur in private law contexts. Thereafter I shall show how these
    problems arise in the context of state power.


                                    A. Private Transactions

        .r. Perfect Competition. - We begin with an idealized spot market
    that contains many buyers and many sellers. Fraud and duress are
    rendered illegal, as is the power of either sellers or buyers to contract
    among themselves over output or price. In this type of market an
    optimal social equilibrium emerges in the sense that all the possible
    gains from trade are exhausted by voluntary exchanges. Within the
    ideal competitive equilibrium, there will be a unique price at which
    all goods will be traded, and that price will be set equal to the
    marginal cost of the marginal producer. 32 Accordingly, no seller and
    no buyer have any discretion over price. The seller who tries to raise
    his price above the market will find no takers. The seller who tries
    to lower his price below the market will find that he cannot make a
    profit on the sales that are concluded. A system of perfect economic
    freedom yields a set of rules in which no player finds it to his advan-
    tage to engage in any bargaining tactics at all. The ideal competitive
    market yields a situation in which all the gains from bargains are
    captured at zero bargaining costs.
        2. Monopoly. - The polar opposite to perfect competition is mo-
    nopoly. 33 Here the market has a single seller who can set terms for
    sale that maximize his own profits. In general the monopolist will
    seek to maximize his own profits by selling a smaller quantity of goods
    at a higher price than is found in the competitive market. This private
    strategy yields lower total social output than is achievable under pure
    competition. The social losses in question arise from three distinct
    sources. First, when the monopolist raises his price, he prevents some
    mutually beneficial exchanges. Thus, if the competitive price of a
    good is eight and the monopoly price is ten, any consumer who values
    that good at more than eight units but less than ten will no longer
    purchase it. The benefits of that foregone exchange are thus one form
    of loss created by monopoly.


        32 In real markets, nonprice terms introduce additional complexity that must be taken into
     account. These terms - such as warranties and delivery provisions - usually are accounted
     for by adjustments in the price term. Also, in practice, firms seek supracompetitive returns by
     finding new "niches" for their products that, in the short run at least, give them some discretion
     over prices. The resulting monopoly gains are typically subject to erosion in the long run by
     new entry, a phenomenon generally inapplicable to political markets.
         a3For an excellent general discussion of the differences between competitive and noncom-
     petitive markets, see D. FRIEDMAN, PRICE THEORY 215-6i (1986).




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         There is a second source of loss as well. With respect to trans-
    actions that do occur, the price increase of two units seems to result
    in a pure transfer of wealth from consumers to producers without any
    attendant social loss. Nonetheless, this transfer itself is not costless
    to achieve. Monopolies do not come down from heaven, but are
    acquired by purposive and costly human action. The prospect of
    obtaining increased prices is a private gain for which any prospective
    monopolist will pay. The costs of acquiring a monopoly, whether by
    buying out a competitor or obtaining government protection from
    competition, are real costs incurred to obtain simple wealth transfers.
    The result is that some fraction, and perhaps all, of the potential
    social gain from the transaction is always wiped out, creating a second
    form of loss.
         Finally, there is a third source of loss associated with monopolies.
    Outside a regime of pure competition, there is no unique price at
    which goods can be bought and sold. The advent of a bargaining
    range - a series of prices at which both buyer and seller are willing
    to transact - gives rise to a problem of "strategic bargaining," or
    more generally, "strategic behavior." Parties now have a tendency to
    "act strategically," to conceal preferences, to lie, to haggle, to holdout,
    to dicker, to build coalitions, and to price discriminate, all of which
    cost money but which produce no real gain.
         The losses that arise from strategic behavior can perhaps best be
    seen if we take an extreme situation, the bilateral monopoly, in which
    there is a single buyer and single seller. The buyer might be willing
    to pay 200 units to purchase, and the seller to accept ioo units to
    sell. A costless bargain at any price in the interval generates ioo
    units of total gain. If the price is 15o, each side obtains 50 units of
    that gain. But io does not offer a stable resting point. The seller,
    for example, may be to tempted to spend, say, io, to sell at 170,
    while the buyer may be tempted to spend io to purchase at 130.
    Both strategies cannot be successful. If each side's efforts cancel each
    other out, then the sale is still at iso, but bargaining behavior reduces
    the total gain by 20 units, or io per person. Nor is the overall result
    changed by any shift in the contract price from the even division at
    15o. The total gain is still reduced by the level of bargaining costs,
    which could exhaust much of the ioo units of potential gain. There-
    fore, any set of institutions that could reduce the bargaining costs
    without defeating the bargain would generate important social benefits
    that could be shared by both parties to the transaction.
         The dangers of monopoly have led to powerful legal restraints
    against freedom of contract. Thus, an aggrieved consumer may bring
    a private antitrust monopoly action. Such a consumer is better off
    having made a purchase from a monopolist than he would have been
    if he had done without the good. In the example above, he might


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    have valued at eleven units a good for which the monopolist charged
    ten, but for which the competitive price was eight. Nonetheless the
    antitrust damage action for two units (ignoring trebling of damages)
    is permitted, notwithstanding the consumer's consent to pay ten. The
    baseline norm is not the state of affairs before any contract, but the
    achievable state of affairs under the competitive equilibrium that is
    the social optimum. In effect, the plaintiff is regarded as a suitable
    private attorney general and can sue, notwithstanding his position as
    a willing party to the contract. Yet by the same token, the purchaser
    is not free of all obligations under the contract. He must, for example,
    treat goods with proper maintenance in order to maintain an action
    for breach of express warranty, just as he would in the competitive
    situation.
        Similar limitations on consent are often found in cases of bilateral
    monopoly. A good illustration of the process is the common law
    response to private necessity, as it relates to the law of both tort and
    contract. For example, when a ship is caught in a storm and the
    crew can save itself only by docking at a single dock, there is a
    powerful bilateral monopoly problem that invites the use of strategic
    bargaining. The dockowner may be able to make a gain if he allows
    the use of his dock for any sum greater than io units, while the ship's
    crew may be willing and able to pay iooo just for the temporary use
    of the dock. If the matter were resolved by a voluntary bargain, the
    price settled upon might be anywhere within the total range of io to
    iooo, leaving both sides better off. Worse still there might be no
    bargain at all, if the dockowner, who has so little to lose by holding
    out for a high price, refuses to accept a more reasonable offer.
        The doctrines of "conditional privilege," developed at common law,
    are a response to bargaining problems created by the necessity situa-
    tion. 34 In essence they allow the shipowner to use the dock upon
    payment of compensation equal to the rental value of the dock, plus
    damages for any loss inflicted during the storm. The right to exclude,
    a normal incident of property, is suspended under conditions of ne-
    cessity.
        Modifications of the law of contract parallel those in the law of
    property. For example, it has long been the law in admiralty that a
    salvor is not allowed to take advantage of the position of a ship in
    distress at sea by driving a hard bargain. Even if such a bargain has

        34 See Ploof v. Putnam, 81 Vt. 471, 71 A. 188 (igo8) (recognizing a privilege to enter the
    land of another when acting under private necessity); Vincent v. Lake Erie Transp. Co., 1o9
    Minn. 456, 124 N.W. 221 (I9IO) (requiring compensation to be paid for damage caused when
    using another's property under conditions of necessity). See generally Bohlen, Incomplete Priv-
    ilege to Inflict IntentionalInvasions of Interests of Property and Personality, 39 HARv. L. REV.
    307 (1926).




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    already been concluded, it will not be enforced, and compensation
    will be set in accordance with a formula that takes into account both
    the risk to the salvor and the gain to the rescued ship 35 - a principle
    easily extended to contracts made in the dock case. What goes for
    price terms applies equally to conditions that might otherwise be set.
    Thus a contract that said, "I will rescue you only if you agree not to
    enter into competition with me in the real estate market and to vote
    Republican" would not be enforced either.
        These limitations on contractual freedom could not be justified if
    the only reason to invalidate contracts were to counteract force and
    fraud, both of which are absent in the situations just described.
    Rather, the rules are a judicial effort to maximize the overall value
    of the dock or of salvage activities by preventing the gameplaying
    that parties might otherwise engage in, given the large bargaining
    range. The rules impose a single price at which the dock must be
    rented, or ships salvaged, which is set roughly to allow the rescuer a
    competitive return on his costs, while preserving the remainder of the
    cooperative surplus for the party subject to the external necessity.
    The legal rules are set in a way that best imitates the outcome that a
    competitive market would generate. The moment the crisis is over,
    the ordinary rules of property and contract are restored. The dock
    can be used by the shipowner only with the owner's consent; the
    salvage crew keeps full control over its equipment. Calm seas and
    safe journeys bring with them a return to the ordinary property rights
    regime. 3 6 Monopoly and necessity thus offer powerful reasons for
    limiting a regime of private freedom of contract.
        3. Collective Action Problems. - The problem of monopoly is
    closely associated with the so-called collective action problem that has
    now been studied in many private law areas. A bankruptcy situation


        35 The Supreme Court has stated the rule as follows:
        Courts of admiralty will enforce contracts made for salvage service and salvage compen-
        sation, where the salvor has not taken advantage of his power to make an unreasonable
        bargain; but they will not tolerate the doctrine that a salvor can take the advantage of
        his situation, and avail himself of the calamities of others to drive a bargain; nor will
        they permit the performance of a public duty to be turned into a traffic of profit. The
        general interests of commerce will be much better promoted by requiring the salvor to
        trust for compensation to the liberal recompense usually awarded by courts for such
        services.
    Post v. Jones, 6o U.S. (ig How.) iSo, 16o (1856) (citations omitted). For the determinants of
    salvage price, see Landes & Posner, Salvors, Finders, Good Samaritans, and Other Rescuers:
    An Economic Study of Law and Altruism, 7 J. LEGAL STUD. 83 (1978).
        36 In Calabresi's terms, the necessity situation reduces the dockowner's protection to that
    afforded by "liability rules" - a damage action against loss. "Property protection" means that
    control over the asset can only be lost by consent, the normal situation. See Calabresi &
    Melamed, Property Rules, Liability Rules and Inalienability: One View of the Cathedral, 85
    HARV. L. REv. O89, 1105-o6 (1972).



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    illustrates the problem as well as any other. 3 7 Suppose that there is
    a single common debtor with a large number of independent general
    creditors. Assume further that the debtor's business has a positive
    "going concern" value that could not be captured if its assets were
    sold off piecemeal in order to satisfy creditors' claims. If the business
    should become insolvent, the way to maximize the total return to the
    creditors would be to keep the business intact, and to provide each
    creditor with a portion of the earnings it generates prorated to his
    share of the debt. Nonetheless, any debtor has powerful incentives
    to take individual action that would defeat this ideal collective solu-
    tion. Thus, creditor A may prod the debtor for full payment of his
    obligation by threatening suit. To stave off disaster, the debtor may
    agree to make this payment, even at the cost of the piecemeal sale of
    assets. Once any given creditor takes this course of action, other
    creditors will also move to protect their assets. Each creditor will
    therefore race for early payment and seek a "preference" from the
    debtor. The debtor, who might have survived if the creditors stayed
    their hand, can be brought down by the onslaught. Acting individ-
    ually, the creditors will manage to destroy the going concern value of
    the business, probably ensuring that many creditors will receive only
    partial payment, and some none at all. Moreover, all of the jockeying
    consumes enormous resources, which could be spared if the creditors
    acted as a unit from the outset.
        The difficulties of this collective action problem have long been
    understood to require some form of legal modification of the simple
    common law rules of property, contract, and tort. Because the debt-
    or's property is a common pool asset, certain individual contracts or
    transfers between any single creditor and the debtor can be set aside
    to preserve the value of the whole. In essence, therefore, much of
    the bankruptcy law is designed to force otherwise independent actors
    to act together in a cooperative manner. Groups do not act in their
    collective interests in quite the same way that individuals act in their
    individual interests. The so-called problem of the prisoner's dilemma
    is a standard example of the problem of collective choice. 38 The legal


       37 See, e.g., D. BAIRD & T. JACKSON, CASES, PROBLEMS AND MATERIALS ON BANKRUPTCY
    31-35 (1985); T. JACKSON, THE LOGIC AND LIMITS OF BANKRUPTCY LAW 10-13 (1986).
        38 The prisoner's dilemma arises when each of two prisoners acting alone finds himself driven
    to confess, even though both prisoners would be better off if they could coordinate their efforts
    and remain silent. To see how this situation might arise, assume the following sentences await
    each prisoner: if both confess, each gets a five-year sentence; if prisoner A confesses but prisoner
    B does not, A gets a one-year sentence and B gets a ten-year sentence; if B confesses but A
    does not, B gets the one-year sentence and A gets the ten-year sentence; if neither prisoner
    confesses, each gets a two-year sentence. If A and B could coordinate their behavior, both
    would remain silent, and each would escape with a light two-year sentence. Acting separately,
    however, each will confess and therefore receive a five-year sentence. Consider A's situation.
    If B confesses, A should confess in order to receive a five-year sentence instead of a ten-year


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   doctrines addressing this problem provide yet another powerful limi-
   tation on consent even in the absence of force and fraud that cannot
   be ignored in the constitutional context.
       4. Externalities.3 9 - The last of the social problems that lead to
   limitations on freedom of contract is the need to protect strangers to
   the agreement. It is here that the libertarian prohibition against the
   use of force shows its greatest strength. Assume that A is not entitled
   to take the property of B without B's consent. Any contract between
   A and C that allowed A to take B's property would not be enforced,
   at least as against B. The prohibition is necessary in order to forestall
   destructive behavior that would otherwise undermine any stable sys-
   tem of social organization. If A and C could bargain away the rights
   of B, why would B and D not bargain away the rights of A? And
   so on ad infinitum. An unending series of costly bargains could be
   used to secure the transfer of wealth, but little would be done to
   secure the creation of wealth in the first instance. The legal rule
   allowing persons to exchange only those resources that they own
   creates powerful incentives for the creation of wealth, and with it the
   satisfaction of human desires. The rule that allows them to buy, sell,
   or consume resources owned by others only leads to the dissipation of
   wealth. Private law must therefore protect all individuals against the
   contractual machinations of strangers. The rights that A and B each
   have against C cannot be enlarged by an agreement between A and
   B alone. The temptations for strategic contracting would be too great.

                                   B. The Political Context
       The dangers inherent in a system of private contracting often carry
    over into the political arena. Thus, despite the traditional Hobbesian

    sentence. If B remains silent, A should confess in order to receive a one-year sentence instead
    of a two-year sentence. No matter what B does, therefore, A is better off confessing. Parallel
    arguments apply to B, so both A and B confess. A chart of the payoffs looks as follows, where
    the first entry in each box is A's expected sentence, and the second entry is B's:

                                                            B
                                                  confess    keep silent
                                  Confess           5,5          1,10
                                  Keep Silent      .0,i          2,2

        The prisoner's dilemma set out here is one that seems socially beneficial because it tends to
    forestall crime. But sometimes, as in the bankruptcy case, each creditor finds himself in a
    prisoner's dilemma game with his co-creditors that leads to a negative social outcome, namely
    the destruction of the going-concern value of the business. For various articles discussing the
    prisoner's dilemma, see RATIONAL CHOICE 34-107 (J. Elster ed. 1986).
       39 The seminal discussion of this issue is found in Coase, The Problem of Social Cost, 3 J.L.
    & ECON. I (ig6o). I have stated my own views more fully in Epstein, Causation- In Context:
    An Afterword, 63 CHI.-KENT L. REV. 653, 653-57 (1987).



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    insistence that the state must exercise a monopoly of force within its
    jurisdiction in order to prevent the war of all against all, the creation
    of that monopoly power in the hands of a few public officials itself
    poses a great danger of abuse. The major task of constitutionalism,
    therefore, has been to forge a system in which these government
    excesses are curtailed while leaving the state sufficient power to dis-
    charge the necessary tasks of governance. A system of unrestrained
    political power does a poor job in setting the right balance. In some
    markets the government has a high degree of monopoly power. It
    may be the only party that can operate the public roads, issue building
    permits, or allow firms to do business in corporate form. Unlike the
    private monopolist, its power cannot be eroded by the entry of new
    firms, but is perpetuated by a legal prohibition against entry by new
    rivals. The risks of resource misallocation identified in private trans-
    actions carry over to the political area as well. There is an obvious
    need for limitations on the direct use of coercion. By the same token,
    if the monopoly and necessity cases are any guide, there are obvious
    reasons to limit the capacity of the government to bargain with its
    individual citizens. Just as the dockowner in the private necessity
    case is limited to a fixed rate of return when the dock is used by
    others and forbidden from imposing collateral or unrelated conditions
    on that use, so too the state, when it provides resources of which it
    is the sole supplier, should be limited both in the concessions that it
    may exact from private owners and in the conditions it may impose
    on them.
         Similarly, government action often creates the risk of collective
    action problems. As a single unified entity, the state may be able to
    make offers to widely dispersed individuals who find themselves faced
    with a prisoner's dilemma game. Each person acting alone may think
    it in his interest to waive some constitutional right, even though a
    group, if it could act collectively, would reach the opposite conclusion.
    By barring some waivers of constitutional rights, the doctrine of un-
    constitutional conditions allows disorganized citizens to escape from
    what would otherwise be a socially destructive prisoner's dilemma
    game.
        Finally, the problem of externalities as it arises from majority rule
    must be taken into account. The state is an association of a large
    number of individuals with diverse interests and inconsistent desires.
    Yet it must make decisions that bind them all. In principle it would
    be ideal if all collective decisions could be made by unanimous con-
    sent, which would forestall the problem of the majority exploiting the
    minority. But any unanimous consent requirement would lead to
    government paralysis, because any single individual would be in a
    position to bargain strategically by holding out for a lion's share of
    the gain from social action. For better or for worse, some system of


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    majority rule is a necessary evil, and one that forces us to confront
    explicitly the expropriation problem in the political context.
        Left unregulated by constitutional limitations, a majority could use
    a system of taxation and transfers to secure systematic expropriation
    of property. Taxes could be used to purchase property, which could
    then be conveyed to some preferred groups-via "bargain sales," at a
    fraction of its true value. There would be no exploitation of the
    happy buyer, but there would be a risk that the state as trustee would
    have abused its power in relation to the other citizens it represents,
    all of whom received less than fair value in exchange for the property
    transferred. This pattern of abuse would result not only in a system-
    atic deprivation of the interests of some citizens but also in an overall
    efficiency loss, as the controlling group will not only expend resources
    to obtain the transfer, but will be willing to acquire the property even
    when they value it less than the state did. 40 The legal system tries
                                                                           41
    to combat this problem through the use of the public trust doctrine.
    Standing alone, the problem is not one of unconstitutional conditions
    because there is no effort to take advantage of the happy parties who
    prosper from doing business with the state.
        Externalities, however, become entwined with the problem of un-
    constitutional conditions when the state seeks to grant benefits or make
    contracts subject to conditions that some individuals find far more
    onerous than others. To be sure, conditions will not be imposed if
    everyone is hurt equally by them, but they may become part of a
    system of contracts or grants if they work to the benefit of a dominant

        40 To take a simple case, assume that there are five persons in the society at large, and that
    a majority faction of three arranges to buy a public asset worth $5oo for $300. In a static
    analysis, the wealth of each of the two' minority shareholders decreases by $40 (one-fifth of the
    state's $200 loss in the transaction), assuming that the asset has equal value for all concerned.
    The wealth of each of the three dominant shareholders, ignoring assets not involved in the
    transaction, increases from $2oo before the transaction ($ioo in cash, plus $ioo for his interest
    in the public asset) to $227 after the transaction ($6o, or one-fifth of the publicly held cash,
    plus $167, or one-third of the $5oo asset). As a first approximation there is only a redistribution,
    not substantially different from that of an ordinary takings case. In dynamic terms, however,
    there will be not only a simple shift of wealth, but a total reduction as well. Not only are
    transaction costs incurred in making the shift, but the winning coalition may be able to profit
    from the public sale if they value the asset at more than $300, even if they value it at less than
    $5oo. Hence there is a systematic divergence between private and social costs, analogous to the
    one found in the monopoly case. The winning coalition forces the transaction even when the
    property is worth less in private hands than it was in public hands. The insistence that full
    value be paid for any transfer of property from the state is necessary to stop this problem. See
    Epstein, The Public Trust Doctrine, 7 CATO J. 411 (1987).
        41 See Illinois Cent. Ry. Co. v. Illinois, 146 U.S. 387 (1892). Illinois Central does not locate
    the public trust doctrine in any particular clause of the Constitution. On the public trust
    generally, see Rose, The Comedy of the Commons: Custom, Commerce, and Inherently Public
    Property, 53 U. CHI. L. REV. 711 (1986), and Sax, The Public Trust Doctrine in Natural
    Resource Law: Effective JudicialIntervention, 68 MICH. L. REV. 471 (1970).




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    faction and against the interests of others. Assume, for example, that
    before the introduction of a government benefit program - say, the
    construction of a public highway - each of two factions has a welfare
    of 50 units. Construction of the highway can improve the position of
    each group from 5o units to ioo, and thus advance aggregate welfare
    from ioo to 2oo. Thus far it seems that going forward with the
    project is entirely unproblematic.
        Once use of the highway may be conditioned, however, the anal-
    ysis becomes far more complicated. Consider two polar scenarios.
    Under the first, building the highway and conditioning its use ad-
    vances total utility from ioo to 250 units, while that of each faction
    increases from 5o to 125. Here both sides are unambiguously better
    off with the imposition of the condition than they were without it, so
    that courts should accept the condition even if they could not compel
    its adoption.
        The second scenario, however, is far more problematic. Suppose
    that the total welfare involved increases from 100 to i75 units, but
    that the position of the dominant faction moves from 5o to 120, while
    that of the weaker faction moves only from 5o to 55. In essence the
    imposition of the condition is designed to secure factional gains, which
    are costly to obtain, shrinking the total size of the pie even while the
    size of the slice enjoyed by the dominant faction increases. A third
    scenario is possible, but unlikely: a one-sided condition might advance
    the welfare of one group from 5o to iio units, and that of the other
    from 5o to 120. In this case, the only inquiry is whether it is worth-
    while to equalize the expanded gains from benevolent collective action.
        The first two scenarios, then, are the ones that require closer
    attention. The doctrine of unconstitutional conditions is necessary to
    prevent the second alternative (unequal shares and smaller total gain)
    from prevailing over the first. Thus if the dominant faction cannot
    be prevented from conditioning use of the highway in the second
    scenario, other citizens will take the bitter with the sweet, and consent
    to the total package. Clearly, the world with the project and the
    condition is better than the world without any project at all. But, to
    use Kreimer's language, we have selected the wrong baseline, for the
    world of the project without the condition is better than either of
    these two alternatives. In the case given, there is social loss in that
    the total size of the surplus produced by government action is reduced
    from 200 units, if the latter condition is not allowed, to 175 units, if
    the condition is allowed. If the legal system focuses only on the
    consent of the individual citizen, it will not distinguish between these
    very different kinds of conditions and their very different allocative
    effects. The doctrine of unconstitutional conditions offers a way to
    pierce the consent by using as the baseline, not the status quo ante,
    but an achievable state of affairs in which the program is put forward
    without the conditions attached.

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        At this point, it becomes difficult to use a simple Pareto test to
    make the applicable distinction, for the dominant faction is left worse
    off when the condition is rejected than when the condition is imposed.
    Now the object of the inquiry is to maximize the total cooperative
    surplus from the government action. Some effort must be made to
    compare the size of the gains obtained by each of the rival groups,
    and for this task one convenient approach is to accept only conditions
    that tend to advance the welfare of all groups pro rata, as opposed
    to those having a differential effect.
        Given this complex inquiry, the trick is to fashion a test that can
    distinguish good conditions from bad ones. A rule that all persons on
    the highway must agree to answer for their torts seems to be the
    benevolent kind of condition. 42 In imposing it the state acts as a
    mutual agent of all citizens in a way that advances their ex ante
    welfare. Alternatively, a condition stipulating that all commercial
    haulers who use the highway must agree to accept the restrictions of
    common carriers looks like the type of condition that reduces the total
    size of the social surplus, by allowing it to be redistributed through
    factional intrigue. 4 3 A strong unconstitutional conditions doctrine,
    which like a strong equal protection argument insists that all parties
    be treated equally, is one effective way to control this public abuse
    and to ensure full preservation of the social surplus created from the
    use of highways.
        In dealing with unconstitutional conditions, the stakes are not
    limited only to dollars and cents, or even to property and economic
    liberties. Conditions might impinge upon individuals' political and
    religious liberties as well. It is therefore necessary carefully to examine
    the soundness of conditions for which consent has been obtained.
    Doing so once again requires the doctrine of unconstitutional condi-
    tions.

                                   C. Citizen Misconduct
        Thus far, all attention has been directed toward potential miscon-
    duct by government officials. But there is no reason to assume that
    government officials are any more self-interested than are the citizens
    with whom they do business. Thus the risk of strategic behavior is
    bilateral. In private dealings, any party to a complex transaction can
    engage in strategic behavior, and so too in the area of political action.
    Just as the government may seek to exploit the individual, so too a
    citizen may try to exploit the government. The flip-side, therefore, to
    the doctrine of unconstitutional conditions is the idea of "compelling

       42 See infra note 138 and accompanying text.
       41See infra pp. 47-54 (discussing Frost & Frost Trucking Co. v. Railroad Comm'n, 27,
    U.S. 583 (1926)).


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    state interest," which appears throughout all constitutional analysis.
    Typically the doctrine of unconstitutional conditions does not interfere
    with government bargains designed to prevent individual exploitation
    of some common pool assets. To revert to the above example, a user
    of the public highways can be required to abide by the rules of the
    road as a condition of entry. The control of public nuisance is an end
    that the government can seek not only by direct regulation of private
    property, but as a condition on the use of public property as well.

             D. Judicial Implementation of the Unconstitutional
                            Conditions Doctrine
        i. First Principles. - The analysis of any unconstitutional con-
    ditions problem requires an assessment of the relative strength of the
    three risks of abuse that can arise when the state bargains with its
    citizens. But even after the relevant factors are set out, several pieces
    of the puzzle must still be put in place.
        The first piece concerns the extent to which the Supreme Court
    will undertake this review of government behavior. Here, as in other
    contexts, the answer is heavily dependent upon its attitude toward
    the behavior of government officials. The private law response to
    monopoly, collective action problems, and externalities reflects the
    assumption that individuals will seek to makimize their own private
    returns, given the external constraints under which they labor. Its
    legal rules therefore have been set to minimize the likelihood that they
    will be able to achieve some private gain at some net social cost. To
    be sure these assumptions are overdrawn. There are many individuals
    who will come to the aid of those who are in trouble, without so
    much as the thought of payment to themselves. Many people would
    never think of abusing their partnership control to cheat their part-
    ners. These cases are important for any overall assessment of human
    nature, but they are not the cases against which the legal rules are
    directed. Honest and honorable people do behave well regardless of
    the legal framework in which they act. The law must be directed
    against that fraction of the total population for whom self-interest is
    the sole beacon of conduct. For such people, the assumptions of the
    law fit all too well with the behavior that the law seeks to control.
        The question what to make of human nature carries over to the
    constitutional context with equal significance. If it is assumed that
    government officials and the private parties who influence them are
    prone to the corrosive influence of self-interest, then the legal rules
    should strictly scrutinize whatever behavior they undertake. If the
    direct use of government coercion is subject to serious constitutional
    scrutiny, then government bargains should be subject to a similar
    level of scrutiny. The doctrine of unconstitutional conditions thus
    becomes an inseparable part of constitutional law, attendant to any

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    and all exercises of government power. Alternatively, if government
    officials are assumed to act with benevolent motives when they reg-
    ulate, then they should be assumed to act with similar motives when
    they contract. The low level of scrutiny found under rational basis
    review would carry over from regulation to bargains, and the doctrine
    of unconstitutional conditions would play only a marginal role in our
    legal firmament.
         There are today many competing general constitutional visions,
    which bear on the question of how courts should regard government
    figures. Some theories stress the virtues of republican self-govern-
                                                              45
    ment; 44 others the satisfaction of "dignitary" interests; still others the
    protection of economic liberty or the niceties of utilitarian calculation.
    Other constitutional theories rest upon the sanctity of private property
                                                                         46
    and the fear of the democratic excesses of the populist masses.          For
    present purposes, the correctness of the basic orientations is not the
    critical point. The various theories only direct attention to those areas
    in which the political process is viewed with distrust. It is precisely
    in those areas that the doctrine of unconstitutional conditions will take
    root and flourish.
         In this connection, the constitutional fault line of the post-1937
    period poses the same problem for the doctrine of unconstitutional
    conditions that it does for direct forms of government regulation. The
    weak protection of property and contract is juxtaposed with a strong
    suspicion of government regulation of preferred freedoms, such as
     speech and religion, and the government use of suspect classifications,
     such as those based upon religious and political views. Today there
     remains, to a lesser degree than before, an erratic fear of political
     aggrandizement by one state at the expense of another, or of the states
     at the expense of the federal government.
         This hierarchy of legal rights makes the doctrine of unconstitu-
     tional conditions especially difficult to apply to complex modern sta-
     tutory schemes that implement explicit or implicit transfers of wealth
     for purposes now regarded as unquestionably legitimate - for ex-
     ample, to regulate land use, or to help the needy or unemployed. Yet
     these programs, whether by regulation or taxation, often effect such
     transfers along forbidden lines, such as political or religious affiliation.
     Frequently, the question arises how to disentangle these two distinct
     strands of a single statutory scheme, subjecting each to its appropriate


       44 See, e.g., Michelman, The Supreme Court, z985 Term - Foreword: Traces of Self-
    Government, ioo HARV. L. REv. 4 (1986). For a more recent discussion, see Symposium:
    Republican Civic Tradition, 97 YALE L.J. (forthcoming i988).
       45 See, e.g., Mashaw, supra note 26.
       46 The Framers' concerns in this regard are set out in McConnell, Contract Rights and
    Property Rights: A Case Study in the Relationship Between Individual Liberties and Consti-
    tutional Structure, 76 CALIF. L. REv. 267, 270-71 (1988).



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    level of review - minimal scrutiny for ordinary rights, strict scrutiny
    for fundamental rights and suspect classifications. The coerced trans-
    fer of property from A to B may be allowed today in general economic
    areas, but it will not be tolerated along (say) religious or political lines.
    Where the state seeks those forbidden objectives through contracting,
    its actions will be met with the same hostility as when it proceeds
    through direct regulation or taxation. In such contexts, we find the
    continued, indeed expanded, vitality of the doctrine of unconstitu-
    tional conditions in modern times.
        2. Second Best. -     The doctrine of unconstitutional conditions is
    also beset with the serious problem of being a "second best" approach
    to controlling government discretion. In many cases, the Supreme
    Court has held that Congress or the states have absolute discretion
    with regard to matters such as allowing foreign corporations to do
    business within the state or allowing commercial vehicles to use public
    highways. This discretion increases the risks associated with monop-
    oly, collective action problems, and externalities in a wide variety of
    bargaining contexts. In some cases, the doctrine of unconstitutional
    conditions is used to "take back" some of the power which had been
    conferred upon government officials in the first instance. In principle,
    the doctrine's application would be unnecessary if the Court had
    restricted the scope of the government power in the first instance.
        Often the unsatisfactory nature of the doctrine of unconstitutional
    conditions arises from its status as a mop-up doctrine where other
    forms of constitutional restraint have been abandoned. Within these
    contexts, it is often very difficult to decide whether the doctrine does
    more harm than good. When the government is told that it cannot
    bargain with individuals, the empirical question arises whether gov-
    ernment will deny them a useful benefit altogether, or grant them the
    benefit without the obnoxious condition.

                        III. THE STATE INCORPORATION POWER
                        A. Nineteenth-Century Special Charters
        One of the most important powers of the state is to grant charters
    to those firms that wish to be incorporated within the state. Often
    since Chief Justice Marshall's pronouncements in Trustees of Dart-
    mouth College v. Woodward,4 7 the corporation has been said, some-
    what misleadingly, to be an "artifical being" that owes its existence to
    the state. But behind the corporate form lie the desires of ordinary

        47 17 U.S. (4 Wheat.) S18, 636 (i819) ("A corporation is an artifical being, invisible, intan-
    gible, and existing only in contemplation of law. Being the mere creature of law, it possesses
    only those properties which the charter of its creation confers upon it, either expressly, or as
    incidental to its very existence.").


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    human beings. Who receives the certificate, and on what terms, can
    raise all the potential for abuse associated with government discretion.
        Consider what happens in a regime in which the state has complete
    discretion in awarding charters. First, state legislators will be able to
    extract enormous payments (including bribes) from the private parties
    who wish to obtain the benefits of incorporation. Second, granting a
    certificate of incorporation to one firm while denying one to its com-
    petitors creates enormous externalities. The public at large is denied
    the benefits of competitive product markets, while the rival firms are
    relegated to doing business in the inferior partnership form, with
    unlimited liability for members.
        These two concerns are not simply hypothetical. One of the major
    political issues in the nineteenth century revolved around the once
    common practice of issuing individual, special charters of incorpora-
    tion, the abuses of which have been well documented. 48 The situation
    was corrected largely through competition between states in the chart-
    ering market, rather than through application of any constitutional
    principle. The result was a regime of general incorporation that es-
    sentially allows any group of individuals the benefit of the corporate
    form as long as they can meet certain minimum requirements designed
    to protect the public at large from abuse: minimum assets or insurance
    to protect tort creditors, and a willingness to accept service of process
                              49
    in the corporate name.
        Although not prompted by application of the doctrine of uncon-
    stitutional conditions, the shift in the method of chartering corpora-

        48 For a judicial account, see Louis K. Liggett Co. v. Lee, 288 U.S. 517, 557-64 (I933)
    (Brandeis, J., dissenting). For an explicit public choice analysis of the abuses under the special
    charter system, see Butler, Nineteenth-Century Jurisdictional Competition in the Granting of
    Corporate Privileges, 14 J. LEGAL STUD. 129, 138-52 (i985).
        49 Even within this framework there are opportunities for abuse. Thus, in First National
    Bank of Boston v. Bellotti, 435 U.S. 765 (1978), the Supreme Court struck down a Massachusetts
    criminal statute that prohibited corporations from making contributions or expenditures "for the
    purpose of ... influencing or affecting the vote on any question submitted to the voters, other
    than one materially affecting any of the property, business or assets of the corporation." MASS.
    GEN. LAws ANN. ch. 55, § 8 (West Supp. 1977). The statute also provided that matters
    concerning the general taxation of income or property shall be "deemed" not to affect the
    corporation. Here the restriction was struck down on first amendment grounds over the dissent
    of Justice Rehnquist, who argued, relying on Dartmouth College, that because the corporation
    is a creation of state law, the state can legitimately withhold from the corporation those liberties
    not "incidental" to the corporation's state-defined purpose. See 435 U.S. at 822-28 (Rehnquist,
    J., dissenting).
        In a sense this restriction applies evenhandedly to all corporations. But it is selective among
    business entities as a larger class, exacting an implicit tax on speech by corporations that reduces
    the gains from incorporation that private parties otherwise would obtain. The statute is not
    designed to prevent any abuse of the corporate form. In my view it could be struck downnot
    only on first amendment grounds, but as a differential tax that violates the takings clause. See
    R. EPSTEIN, supra note 28, at 283-305. The first amendment analysis in Bellotti is similar to
    that applicable in the highway cases, discussed below at pp. 47-58.


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    tions shows the social utility of limiting the state's discretion. It does
    make sense to say that the state may choose not to grant any individ-
    uals a charter of incorporation, or may choose to grant it to all comers
    on equal terms, but cannot use the ostensibly lesser power of picking
    and choosing among applicants. To see the point, consider a very
    simple and stylized example. Assume two firms - firm A and firm
    B - desire corporate charters. If neither firm A nor firm B gets a
    charter, then each will have a value of $ioo. If firm A gets a charter
    and firm B does not, then A will have a value of $12o and B a value
    of $9o. If firm B gets a charter and firm A does not, then B will
    have the value of $12o and A the value of $9o. If both firms get the
    charter, then each will have a value of $115. These values do not
    reflect the costs of getting a charter. The payoffs of the various
    alternatives are put in tabular form in the notes.5 0
        In a regime of selective incorporation firm A and firm B will both
    bid for a charter, and each would be prepared to pay up to $20 to
    the legislators to obtain an exclusive charter. If either party starts
    down this road then the other will have to respond because one rival's
    incorporation reduces its competitor's net worth from $oo to $9o.
    There will be a complex political struggle, the outcome of which is
    quite unclear. What is clear is that these bargaining costs reduce the
    total gains from incorporation, both for the firms and the society at
    large, even if the fourth outcome is achieved. In an extreme case,
    dual incorporation with bargaining costs taken into account could
    leave both firms with a value of only $zoo. Political intrigue can
    wipe out the efficiency gains of incorporation for firm members, sup-
    pliers, and customers.
        We can now see the value of a rule rejecting the argument that
    the greater power (to keep all firms from incorporating) includes the
    lesser power (to keep some firms from incorporating). If the state is
    forced to grant charters of incorporation to every firm if it grants a
    charter to any, then the second and third possibilities are eliminated.
    The state is forced to choose between scenarios one and four. The

       so
                                                                Value
                         Structure                      A         B        Total
                         i.No incorporation           $Ioo       $oo       $200

                         2.   A only                  $120        $90      $210

                         3. B only                     $90       $120      $210

                         4. Both A and B              $u15       $1i5      $230

        This chart underestimates the value of alternative 4 because it does not include the gains
    that the public achieves from general incorporation, including greater technical innovation and
    more competition in product markets. This point does not affect the analysis; if anything, these
    gains tend to show the greater social preference for alternative 4.


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    two firms will no longer be in a position to compete with each other
    for charters, so the level of intrigue will be diminished. In addition,
    political dynamics will tend to force the outcome to scenario four, as
    the legislators will be very hard-pressed to resist an outcome that
    benefits both firms and the public at large. The upshot is that the
    power of selective incorporation is the greater power, while the all-
    or-nothing choice is the lesser power. 5 1 Whatever the formal appear-
    ances, selective incorporation gives political actors a greater oppor-
    tunity to extract economic rents.5 2 The rule forcing the state to in-
    corporate all firms or none is, as a first approximation, a better
    protection against individual and public abuse.
        There is still one piece to the puzzle missing, for some conditions
    can and should be uniformly imposed upon all firms seeking incor-
    poration, for example those requiring insurance or minimum capital-
    ization to protect tort creditors, and those requiring firms to accept
    service of process. These requirements can be stated in a general
    form, however, so that public protection is possible without conferring
    enormous discretion upon state authorities. 53 Within the context of
    local incorporation, then, rejecting the greater/lesser dogma prevents
    political abuse and advances the overall competitive situation.

                                 B. Foreign Incorporation
        Although the battle over general incorporation laws during the
    middle of the nineteenth century showed the dangers of government
    discretion, it did not squarely raise the question of unconstitutional
    conditions. Rather, it was the conflict over whether a foreign corpo-
    ration had a right to do business in a state under the same terms and
    conditions as a domestic corporation that gave birth to unconstitu-
    tional conditions doctrine. A state's power to exclude foreign corpo-
    rations creates a monopoly situation, for no matter where a firm is
    incorporated, each state has the sole right to decide whether it can do
    business within its territory. The opportunities for political maneu-
    vering should be evident. Firms will compete to gain entrance for
    themselves and to exclude rivals, just as they did when special charters
    for incorporation within the home state were the general rule.
        The best way to combat this problem is through a strong, cate-
    gorical rule granting foreign corporations the same right to do business

        S Kreimer makes this point explicitly: "Often it is only by ripping a problem from its
    historical context that selective denial can be viewed as a lesser power. In reality, selective
    deprivation may be the less controlled and hence the more dangerous power." Kreimer, supra
    note 22, at 1313 (footnote omitted).
        S2 See McChesney, Rent Extraction and Rent Creation in the Economic Theory of Regula-
    tion, 6 J. LEGAL STUD. IOI (1987).
        S3 The conditions imposed in Bellotti do not address either of these concerns. See supra
    note 49.


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    in another state on the same terms and conditions available to its
    local corporations. In effect, the power to select between domestic
    and foreign corporations could be eliminated as long as no state would
    be prepared to disenfranchise its local firms in order to keep out
    foreign rivals. By forcing states to select between the first and fourth
    alternatives stated above, the doctrine of unconstitutional conditions,
    applied in this interstate context, again would result in the state
    choosing the fourth alternative.
       The obvious -         and correct -        constitutional vehicle for reaching
    this position is the privileges and immunities clause, which provides
    that "The Citizens of each State shall be entitled to all Privileges and
    Immunities of Citizens in the several States. '54 That line of attack,
    however, was decisively foreclosed in Paul v. Virginia,55 which held
    that corporations were not "citizens" within the meaning of that clause.
    The position so adopted necessarily conferred a broad range of dis-
    cretion upon the state, which Paul set out with extraordinary clarity:
       Now a grant of corporate existence is a grant of special privileges to
       the corporators, enabling them to act for certain designated purposes
       as a single individual, and exempting them (unless otherwise specially
       provided) from individual liability. The corporation being the mere
       creation of local law, can have no legal existence beyond the limits of
       the sovereignty where created. As said by this court in Bank of
       Augusta v. Earle, "It must dwell in the place of its creation, and
       cannot migrate to another sovereignty." The recognition of its exis-
       tence even by other States, and the enforcement of its contracts made
       therein, depend purely upon the comity of those States - a comity
       which is never extended where the existence of the corporation or the
       exercise of its powers are prejudicial to their interests or repugnant to
       their policy. Having no absolute right of recognition in other States,
       but depending for such recognition and the enforcement of its contracts
       upon their assent, it follows, as a matter of course, that such assent
       may be granted upon such terms and conditions as those States may
       think proper to impose. They may exclude the foreign corporation
       entirely; they may restrict its business to particular localities, or, they
       may exact such security for the performance of its contracts with their
       citizens as in their judgment will best promote
                                                    56
                                                             the public interest.
       The whole matter rests in their discretion.
        The Court thus took a very relaxed attitude toward the question
    of governmental abuse. The implicit repudiation of any form of ju-
    dicial scrutiny in Paul carried forward the original argument in Dart-
    mouth College that corporate privileges are the subject of legislative
    grace, and exposed the Achilles heel of that earlier decision which, in

      S4 U.S. CONST. art. IV, § 7.
      s575 U.S. (8 Wall.) 168 (1869).
      s6 Id.at i8i.


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    protecting existing charters, expanded the power of the state to reg-
                                                              57
    ulate business affairs of new corporations.
        Dartmouth College necessarily rejected the theory that the welfare
    of a corporation is simply the welfare of its individual shareholders,
    all of whom are collectively prejudiced by the inability to do business
    in other states.5 8 The sharp disjunction between the right of individ-
    ual traders to enter foreign states on equal terms with local citizens
    and the inability of foreign corporations to do the same constitutes a
    fundamental weakness in Paul that was not lost on the leading com-
    mentators of the time, all of whom reverted to aggregate theories of
    the corporation to conclude, in the words of Victor Morawetz:
        [T]he rights and duties of an incorporated association are in reality
        the rights and duties of the persons who compose it, and not of an
        imaginary being.

                 [T]here is no reason of immediate justice to others, why a
        number of individuals should not be permitted to form a corporation
        of their own free will, and without first obtaining permission from the
        legislature, just as they may form a partnership or enter into ordinary
        contracts with each other. 5 9
    Even if a corporation is not a "citizen," its shareholders surely are,
    and it is they who are denied legal protection against selective exclu-
    sion.
        Although Paul prevented the privileges and immunities clause from
    ensuring nondiscrimination, other constitutional avenues that could
    have constrained the level of state discretion conferred by Paul soon
    opened up. 60 Most notably, the term "person" as used in the due

        S7 The effects still linger. See CTS Corp. v. Dynamics Corp. of Am., 107 S. Ct. 1637,
    1649-5o (1987) (upholding state regulation of anti-takeover legislation, in part because corpo-
    rations are the creature of state regulation). For a brief discussion of the point, see Comment,
    The Personification of the Business Corporation in American Law, 54 U. CHI. L. REV. 1441,
    1442 n.3 (1988). It is also worth mentioning that one of the most horrible of the Supreme Court
    decisions on race relations, Berea College v. Kentucky, 211 U.S. 45 (xgo8), which allowed states
    to prohibit any incorporated educational institution from teaching black and white students
    together, rested in large measure upon the fact that corporations are creatures of the state. See
    id.; see also supra note 49 (discussing this analysis as applied in Bellotti).
        S8 The implication of Dartmouth College was made explicit in Bank of Augusta v. Earle, 38
    U.S. (x3 Pet.) 519 (1839), which held that the power of a corporation to act, within or beyond
    its home state, is limited by the provisions of its charter.
       5
       9 V. MoRAwETz, A TREATISE ON THE LAV OF PRIVATE CORPORATIONS OTHER THAN
    CHARITABLE § I, at 2 (1882); id. § 29, at 24. The development is outlined in Comment, cited
    above in note 57, at 1457-58. Note the use of natural right rhetoric to support market structures
    that can be justified on consequentialist grounds.
        60 The contract clause line of argument had already been foreclosed, with Chief Justice
    Marshall and Justice Story dissenting, by the earlier decision in Ogden v. Saunders, 25 U.S.
    (12 Wheat.) 213 (1827), which denied the clause any effect with respect to future contracts. I
    have defended the prospective view of the contract clause in Epstein, Toward a Revitalization
    of the Contract Clause, 51 U. CHI. L. REV. 703 (1984).


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    process clause had been construed to cover the same corporations
    deemed not to be "citizens" under the privileges and immunities
    clause. 6 1 By the I89o's it had been held that the words "without due
    process of law" were to be construed in some contexts to mean at
    least "without just compensation, '62 so that takings jurisprudence,
    which often uses a disproportionate impact test to determine whether
    just compensation has been provided, 63 now applied to the states.
    The disproportionate impact of a discriminatory tax seems clear
    enough. if the tax is a taking, then its discriminatory impact is clear
    evidence that the party so taxed has not received just compensation
    for the moneys paid to the state. The same kind of argument could
    be made in principle with respect to the equal protection clause. If
    foreign shareholders are entitled to the same rights as domestic ones,
    then any discrimination between them must be justified by the extra
    costs that foreign corporations impose on local governments, of which
    there seem to be none. Any sensible use of either due process or equal
    protection doctrine would have resulted in an end run around Paul,
    without recourse to the doctrine of unconstitutional conditions. Under
    this "strong rights" thesis, the state would not have the power either
    to exclude foreign corporations from doing business within its borders
    or to tax foreign corporations differently from local firms. The out-
    sider comes in on equal terms, and nothing more need be said.
        Because this position did not take hold in the late nineteenth or
    early twentieth century, however, the stage was set for the Court's
    use of the doctrine of unconstitutional conditions, under both the due
    process 64 and equal protection 65 clauses of the fourteenth


        61 See Santa Clara County v. Southern Pac. R.R. Co., 118 U.S. 394, 396 (x886). Note that
    Congress could not have limited state discretion during this period, because Paul had also held
    that local insurance contracts were matters of local commerce (or more decisively that they were
    not commercial transactions at all) and thus beyond the reach of the commerce clause. See 75
    U.S. (8 Wall.) i68, at 182-85 (I869).
        62 See Chicago, Burlington, & Quincy R.R. Co. v. Chicago, x66 U.S. 226, 235-4! (1897).
        63 See R. EPSTEIN, supra note 28, at 204-09.
        64 See Pullman Co. v. Kansas, 216 U.S. 56 (IgIO); Western Union Tel. Co. v. Kansas, 26
    U.S. i (xgio).
        65 See Southern Ry. Co. v. Greene, 2x6 U.S. 400 (1xo). Southern Railway acknowledged
    that the equal protection analysis follows a path similar to the earlier due process analysis. See
    id. at 413-18. There is good reason for the parallelism. Both the equal protection and due
    process clauses essentially follow the same path as the takings clause, as it applies to general
    taxation and regulation. In essence, it is virtually impossible to measure whether the benefits
    of taxation exceed the costs of the tax imposed. Hence unequal treatment or disproportionate
    impact should become the proxy by which to judge whether there is an illicit transfer of wealth
    between groups. Cf. Armstrong v. United States, 364 U.S. 40, 49 (ig6o) (holding that the
    takings clause was intended to prevent placing a disproportionate share of burdens on a few).
    For an extensive discussion, see R. EPSTEIN, supra note 28, at 195-2i5. The equal protection
    clause emphasizes equal treatment; the due process clause emphasizes the loss of property without
    compensation. In essence, they both look at different ends of the same set of issues.


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    amendment 66 as a "second best" means of controlling government
    discretion. In Western Union Telegraph Co. v. Kansas,67 for example,
    the Court struck down a discriminatory tax Kansas sought to impose
    upon Western Union, a New York corporation. The tax itself was
    based on the corporation's entire capital stock, not only on its local
    assets, and thus had a strong extra-territorial effect. Clearly, the due
    process clause would have struck down the tax if the firm had done
    no business in Kansas. The issue of unconstitutional conditions arose
    because the state conditioned its willingness to allow Western Union
    to engage in local commerce on its willingness to pay the discrimi-
    natory tax. 68 Without the doctrine of unconstitutional conditions, the
    consent of the firm would have cured the defects in extraterritorial
    treatment; with the doctrine in place, however, consent of the cor-
    poration did not prevent it from challenging the disputed condition.
        Important consequences flow from the choice of legal regimes. The
    key difference between the unconstitutional conditions argument and
    the strong rights argument set out above goes to the set of the choices
    left to the state. Under unconstitutional conditions doctrine, the state
    may choose either to exclude the foreign corporation altogether or to
    let it in on equal terms with the local corporations. By rejecting the
    greater/lesser analysis championed by Justice Holmes,6 9 the Court thus
    barred the state from allowing consenting foreign corporations to do
    business subject to a countless array of taxes or other burdens that
    did not apply to domestic corporations, 70 although it did not prevent
    the state from exercising the "greater" power of excluding foreign
    corporations altogether.
        The question arises how the state will behave under these two
    legal regimes. In order to answer that question, it is necessary to
    undertake a rough interest group analysis that takes into account three
    disparate sets of interests: local consumers, local businesses, and for-
    eign corporations. When the state has complete power to admit,
    exclude, or admit subject to conditions, it is highly likely that the
    state will often choose the third path, which Kansas adopted in West-
    ern Union, even though it enjoys an absolute right to exclude under
    Paul.
        Start with local consumers. These individuals both gain and lose
    from the admission of foreign corporations subject to the discrimina-

       66 See Merrill, supra note I2,   at 879-80; Oppenheim, UnconstitutionalConditions and State
    Powers, 26 MICH. L. REv. 176, 176 (1927).
       67 26 U.S.    i (igi).
        68 See id. at 4-8. The statutory decision excluding purely local business probably reflected
    the judgment that Western Union was indispensable for the interstate business, but not for the
    local markets, where other firms could compete. It fits in well with a public choice model of
    regulation.
        69 See supra notes ro & 14.
        70 See supra pp. 34-35; infra pp. 37-38.



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    tory tax, when measured against the alternative of admitting them
    subject only to normal taxes. On the positive side of the ledger, more
    taxes might be collected from the out-of-state firms, thus reducing the
    local tax burden. (Either alternative is preferable on this measure to
    exclusion, which would result in no tax revenue.) On the negative
    side, the discriminatory tax imposes burdens on local consumers who
    are forced to pay higher prices for some goods and services, and to
    forego the benefits of other bargains the higher tax renders uneconom-
    ical - the so-called excess burden imposed by the discriminatory
    tax. 7 1 (Again, either alternative is preferable to exclusion, which
    would result in no consumers' surplus from business with foreign
    corporations.) For local consumers as a group, it seems plausible that
    these effects will tend to offset each other. Local competitors for their
    part have far less ambivalence. They gain revenue and competitive
    advantages from the discriminatory tax and should support it strongly.
    While some might want total exclusion, the loss of both tax revenue
    and the opportunities to do business with foreign suppliers and cus-
    tomers make this an unlikely outcome. Given that political compro-
    mise is always possible on the level of discrimination embedded in
    the tax, discriminatory taxes such as found in Western Union should
    emerge.
        This calculus changes radically when the doctrine of unconstitu-
    tional conditions puts the state to an all-or-nothing choice. Now local
    consumers must be asked to support a total exclusion of out-of-state
    firms. Under this rule, these citizens receive no revenue offset from
    the foreign tax, and they lose in addition the possibility of doing
    business with efficient out-of-state firms who are able to overcome the
    tax disadvantage. Consumer losses become very large, with no ob-
    vious offsetting gains. We should thus expect that they would strongly
    support a repeal of the special tax when the doctrine of unconstitu-
    tional conditions puts them to the choice of nondiscriminatory entry
    or total exclusion of foreign firms.
        For their part, rival sellers of goods and services may well like the
    total exclusion, at least for their direct rivals, but they would not
    desire a similar exclusion for out-of-state firms that supply inputs that
    these firms purchase, or for firms that purchase their products. On
    balance, therefore, it will likely be difficult to assemble a broad in-
    state coalition of producers who will find it in their own self-interest
    to keep the outsiders out permanently, or even to impose taxes so high
    that most of them choose to stay out. The net result would be the

        71 The term "excess burden" is applied to any tax in which the amount received from the
    taxing authority is less than the private parties so taxed lose. The deadweight loss associated
    with such excess burdens is analogous to that which occurs when the price set by a private
    monopolist exceeds the competitive price. See generally J. GWARTNEY & R. STROUP, ECONOM-
    ICS: PRIVATE AND PUBLIC CHOICE IIO-iI (4 th ed. 1987).


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    desired one: out-of-state firms would be allowed to compete on even
    terms.
        Still to be considered are the interests of the out-of-state firms. In
    principle they would always prefer the nondiscriminatory taxes to the
    other two choices. But the prospect of supracompetitive profits may
    induce them to pay a discriminatory tax for the privilege of doing
    business. Thus the legal regime of Paul, before its demise in United
    States v. South-Eastern UnderwritersAssociation,72 created an exten-
    sive bargaining range between local governments and outside firms,
    with ample opportunities for strategic behavior on both sides. If the
    guess about local politics is correct, the use of unconstitutional con-
    ditions in this context would force the states to the proper social
    alternative -      letting outsiders in on an equal basis -                   by precluding
    the use of discriminatory taxes. The doctrine cuts out all intermediate
    positions, leaving the state only the all-or-nothing alternatives of total
    exclusion or nondiscriminatory admission. Forced to either of the two
    edges of the bargaining range, the local interests are better off allowing
                                                                             73
    out-of-state firms in on equal terms than excluding them entirely.
    The total exclusion option sanctioned by Paul is preserved, but as an
    empirical matter factional intrigue is forestalled, and the correct out-
    come of the ensuing political game is in most cases ensured. The
    subsequent histories of the decisions in both Western Union Telephone
    Co. v. Kansas74 and Southern Railway Co. v. Greene,75 both of which
    struck down discriminatory taxes, bear out this hypothesis, insofar as
    the modern versions of both statutes now apply nondiscriminatory
    rules to foreign corporations. 76 It was simply not viable to exclude
    either foreign railroad or foreign telegraph companies from doing any
    portion of their business within any state.
        This analysis applies not only to taxation of foreign corporations,
    but also to other kinds of regulation as well. Consider the common
    provisions that sought to restrict the ability of foreign corporations to

        7 322 U.S. 533, 543-49 ('944). South-Eastern Underwriters held that fire insurance com-
    panies were subject to prosecution under the Sherman Act, see id. at 553-62, and explicitly
    rejected any argument that the business of insurance was not commerce, see id. at 539-43.
    Congress responded to the decision by passing the McCarran-Ferguson Act, Pub. L. No. § 79-
    i5, 59 Stat. 33 (i945) (codified as amended at i5 U.S.C. 9 ioii-ioi5 (1982 & Supp I 1983)),
    which returned regulation of the insurance industry to state control. The local patterns of
    discrimination against foreign corporations are discussed in connection with Western & Southern
    Life Insurance Co. v. Board of Equalization, 451 U.S. 648 (ig8i). See infra pp. 38-40.
        73See supra notes 71-72.
        74 216 U.S. i (i9io).
        75 216 U.S. 400 (1910).
        76 In the aftermath of Southern Railway, Alabama law provides that foreign corporations
    are subject to the same "duties, restrictions, penalties, liabilities now or hereinafter imposed
    upon a domestic corporation of like character." ALA. CODE § Io-2A-227 (1987). Kansas, in the
    aftermath of Western Union, subjects domestic and foreign corporations to an identical franchise
    tax. See KAN. STAT. ANN. 99 17-7503(c), 17-7505(c) (Supp. 1987).


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    avail themselves of the federal courts' diversity jurisdiction. Terral v.
    Burke Construction Co. 77 overruled several earlier cases 78 by holding
    that:
       a State may not, in imposing conditions upon the privilege of a foreign
       corporation's doing business in the State, exact from it a waiver of
       the exercise of its constitutional right to resort to the federal courts,
       or thereafter withdraw the privilege of doing business because
                                                                    79
                                                                          of its
       exercise of such right, whether waived in advance or not.
    The justification for this result is identical to that in the tax cases.
    Foreign corporations presumably want access to federal courts to
    escape the local bias of state courts. To prevent them from exercising
    this option is to subject them to a disguised differential tax equal to
    their estimated additional burdens of litigating in a hostile forum. If
    forced to choose between exclusion and admission on equal terms, the
    states do the latter, as happened after Terral,80 which is as it should
    be. As with taxes, the doctrine serves in this context as an effective
    constraint on arbitrary power found in the absolute authority to ex-
    clude foreign corporations. 8 ' Again the proposition is not a necessary
    truth. The success of the doctrine rests solely on the empirical judg-
    ment that a state, when faced with the all-or-nothing choice, will
    choose to allow the outsider in on equal terms.
                  C. Overriding the NondiscriminationRule
        Although use of the doctrine of unconstitutional conditions in state
    taxation cases is now well established, its success depends on the
    steadfastness with which it is applied. That level of resolve in turn
    depends upon what justifications are found appropriate to displace its
    underlying principle - an issue not raised in the earlier cases. In
    this regard, the recent taxation cases are unsatisfactory.8 2 In Western

       77 257 U.S. 529 (1922).
       78 See, e.g., Security Mutual Life Ins. Co. v. Prewitt, 202 U.S. 246 (i9o6); Doyle v.
    Continental Ins. Co., 94 U.S. 35 (876).
       79 257 U.S. at 532.
        8o See ARK. CODE ANN. § 4-27-102 (1987). This statute, which corresponds to the Act of
    May 13, 1907, No. 313, sec. i, 1907 Ark. Acts 744, is identical to the 1907 Act, save for the
    elimination of the clause condemned in Terral.
        81 The result in the case has also been supported on the ground that it protects the jurisdiction
    of the federal courts from state encroachment, an argument invoked, but not explored at length,
    in Terral, see 257 U.S. at 532-33, and endorsed in Merrill, cited above in note 12, at 892. It
    was perhaps on this ground that Justice Holmes joined the decision notwithstanding his earlier
    dissents in Western Union, 216 U.S. at 52 (Holmes, J., dissenting), and Southern Railway, 216
    U.S. at 418 (Holmes, J., dissenting).
        82 See, e.g., Commonwealth Edison Co. v. Montana, 453 U.S. 609 (2981) (holding a sever-
    ance tax on the coal production to be nondiscriminatory even though 90% of the coal was
    shipped under contracts shifting the tax burden to out-of-state utility companies). But see
    Epstein, Taxation, Regulation and Confiscation, 20 OSGOODE HALL L.J. 433, 445-49 (1982)
    (criticizing the result in Commonwealth Edison).

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    & Southern Life Insurance Co. v. Board of Equalization,83 California
    imposed an overtly discriminatory tax on some out-of-state insurance
    companies. The tax was not a simple discriminatory tax like the one
    invalidated in Western Union. Rather, it was styled as a "retaliatory"
    tax that was imposed only when the state of incorporation of the
    foreign company, here Ohio, charged California companies higher tax
    rates for doing business in Ohio than the California companies paid
    in California. Ohio did not impose any discriminatory tax on Cali-
    fornia life insurance companies (which it could not do under Western
    Union).84 But Ohio did tax all insurance companies doing business
    in Ohio a premium tax at a higher rate (2.5%) than California charged
    for its local companies (2.35%). Thus, California's retaliation provi-
    sion, in effect, imposed a 2.5% premium tax on the California reve-
    nues of Ohio corporations. The differential tax was justified as a way
    to pressure Ohio corporations to use their influence to lower the
    general premium tax in Ohio to California levels.
        Despite the explicit discrimination revealed by these facts, Justice
    Brennan upheld the tax. He first made clear his unwillingness to
    reverse Paul's interpretation of the term "citizen" in the privileges and
    immunities clause. But he did accept - heartily, though without
    explanation - the unconstitutional conditions gloss used to mitigate
    the absolutism of that decision. 85 The shift from the privilege and
    immunities analysis to an equal protection analysis, however, allowed
    Justice Brennan to place an elastic "rational basis" construction on the
    doctrine of unconstitutional conditions, as permissive as the rational
                                                                       86
    basis review he had applied directly in equal protection cases.
        Applying this standard, he found that California's tax was justified
    as a device to induce other states to reduce the amount of taxes
    imposed on California businesses, and that the life insurance industry
    itself had supported the tax in question. In so doing, he left ajar the
    door to politics that had been shut more tightly by the earlier and
    more categorical versions of unconstitutional conditions doctrine. As
    Justice Stevens' dissent pointed out, the decision allows California
                                                                            87
    politicians to seek influence over the general level of taxes in Ohio.
    It is worth adding that the differential tax might be supported by


       83 451 U.S. 648 (198i).
       84 See id. at 675 (Stevens, J., dissenting); OHIO Rav. CODE ANN. § 5729.03 (Anderson
    1973).
        8s See 451 U.S. at 656-68, (endorsing the doctrine after reviewing the long line of confused
    precedent in the area).
        86 See, e.g., Minnesota v. Clover Leaf Creamery Co., 449 U.S. 456 (I981) (allowing the
    state to ban use of plastic milk containers). I have criticized that decision strongly in TAKINGS,
    cited above in note 28, at 143-44. Justice Brennan did not originate this line of analysis, which
    had reached its present form in earlier decisions. See, e.g., Ferguson v. Skrupa, 372 U.S. 726
    (1963); Williamson v. Lee Optical Co., 348 U.S. 483 (i955).
        87 See 45, U.S. at 677-78 n.7 (Stevens, J., dissenting).


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    insurance companies because of their determination to monopolize
    local markets. California's retaliatory statute is hauntingly reminiscent
    of New Jersey's effort, struck down in Gibbons v. Ogden,88 to get even
    with New York's restrictive steamboat monopoly. Its motivation also
    seems similar to the clearly protectionist sentiment underlying the
    system of retaliation in the trade legislation that Congress has just
    enacted.8 9 Ohio still keeps its old tax rate, 90 so that the Supreme
    Court's decision allows discrimination to flourish across states in a
    short-run that lengthens as the shadows of the evening. As elsewhere,
    the rational basis test leads only to constitutional confusion and to the
    release of political forces far better kept in check. It is often said that
    the Constitution does not impose categorical restrictions upon ineffi-
    cient or sneaky practices. But in hard cases, we can only make sense
    of the substantive provisions that it does contain in light of the social
    consequences generated by alternative interpretations of those provi-
    sions. We know that the creation of one national economic market
    was a major goal of the Framers, and it remains a goal worthy of
    our support. The per se rule of Western Union and Southern Railroad
    is superior to its watered-down modern alternatives.



                      IV. TAXING, SPENDING, AND FEDERALISM

         The unconstitutional conditions doctrine also limits the scope of
     government discretion under the federal taxing and spending power.
     As is well known, taxation is an effective way for governments to
     secure implicit transfers of both wealth and power. These transfers
     can be implemented by imposing higher rates on some persons, grant-
     ing exemptions to others, or by imposing conditions on the collection
     of taxes or on the grants of exemptions. The potential abuses in the
     taxing power are well captured by Chief Justice Marshall's famous
     dictum that the "power to tax involves the power to destroy." 91 If
     this tendency had been countered by a broad reading of the takings
     clause, then all selective taxes, exemptions, preferences, and condi-
     tions would be struck down as impermissible redistributions, unless
     supported by a narrow police power justification. 92 But even before
     the 1937 constitutional watershed, the Court had always taken a far
     more relaxed view on matters of selective taxation than Chief Justice

        88 22 U.S. (9 Wheat.) i (1824).
        89 See Omnibus Trade and Competitiveness Act of 1988, Pub. L. No. 100-48, x02 Stat.
     1107 (x988).
        90See OHIO REV. CODE ANN. § 5725.I8(B) (Anderson x986).
        991 McCulloch v. Maryland, 17 U.S. (4Wheat) 316, 427 (18i9).
        92 See generally R. EPSTEIN, supra note 28, at 283-305 (applying takings analysis to taxa-



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   Marshall's dictum might suggest is appropriate. 93 Only when taxation
   has been intimately tied, not to individual rights, but to the distri-
   bution of power within the federal system has this pattern of judicial
   deference been broken. In the context of federalism, the inquiry takes
   much the same form as it did with foreign corporations: does the
   doctrine of unconstitutional conditions operate as an effective "second-
   best" backstop to enforce constitutional limitations on congressional
   power? I shall address the use of the doctrine to limit Congress'
   power to regulate the states under the taxing and spending powers,
   both as they existed before 1937 and, in far less important form,
   today. I shall postpone a discussion of unconstitutional conditions and
   tax policy in the areas of individual liberties until Part VIII.
       In the Child Labor Tax Case, 94 Congress imposed a tax equal to
   ten percent of the profits of any firm that employed child labor in
   certain specified businesses. 95 The tax imposed in this case raises the
   paradox of unconstitutional conditions in th following fashion: Con-
   gress has the power to impose a general income tax equal to ten
   percent of the profits of any business; why, then, does this greater
   power not entail the lesser power to forgive that tax to anyone who
   chooses not to employ certain forms of child labor?
       The answer lies in concern over the distribution of power between
   the state and federal governments. Before 1937, the commerce clause
   was understood not to confer upon Congress the power to regulate
   the "internal affairs" of the states. Hammer v. Dagenhart96 had struck
   down a federal statute that forbade the shipment of goods in interstate
   commerce from any plant that had used prohibited forms of child
   labor, whether or not the labor was used on the goods so shipped.
   Hammer treated the regulation as invading the reserved powers of the
                                                                         97
   states as delineated under the tenth amendment to the Constitution:
   "The powers not delegated to the United States by the Constitution,



       93See, e.g., McCray v. United States, i95 U.S. 27 (19o4) (upholding a tax that discriminated
   against yellow margarine in favor of white margarine); Alaska Fish Salting & By-Products Co.
   v. Smith, 255 U.S. 44 (1921) (upholding a tax on fish produce that discriminated against the
   use of herrings); A. Magnano Co. v. Hamilton, 292 U.S. 40 (1934) (upholding a tax on butter
   substitutes alleged to discriminate against the oleo industry). The tendency continues apace
   today. See United States v. Ptasynski, 462 U.S. 74 (1983) (sustaining a windfall profit tax on
   crude oil that contained a geographically defined exemption for certain Alaskan producers).
       94259 U.S. 20 (1922).
       9SPersons under the age of i6 were not to be employed in mines and quarries. Persons
   under 14 were not to be employed in mills, canneries, workshops, factories, or manufacturing
   establishments. Persons between 14 and i6 could be employed in such outfits only if they
   worked less than a prescribed number of hours. The statute also provided protections to
   employers who hired underaged workers in good faith. See Title XII, Revenue Act of 1918,
   ch. i8, Pub. L. No. 65-254, 40 Stat. 1138, 1138-39 (I919).
      96 247 U.S. 251 (1918).
      97 See id. at 274-76.


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    nor prohibited by it to the States, are reserved to the States respec-
                                98
    tively, or to the people."
        Although Hammer was explicitly overruled in United States v.
    Darby,9 9 I believe that Hammer was correctly decided, 100 for reasons
    that rest on the doctrine of unconstitutional conditions. 10 1 The ability
    to regulate the shipment of goods in interstate commerce is tantamount
    to holding vast monopoly power over all the means of transportation
    -   highways, rails, sea, and, today, air. The analogy to the private
    necessity cases' 0 2 is thus compelling. In essence the federal govern-
    ment in Hammer tried to use its monopoly power to extract conces-
    sions from private firms to conduct their manufacture and mining
    operations in accordance with standards set by Congress, at a time
    when it was conceded that Congress could not set standards for local
    employment by direct regulation.' 0 3 The ability to close down all
    modes of interstate transportation threatened to work an enormous
    redistribution of wealth from firms that were unwilling to comply with
    the restrictions to firms that were not. The statute in Hammer cer-
    tainly had nothing to do with covering the costs of operating the
    interstate transportation system. If a robust form of either the takings
    or public trust'doctrine had been applied to highways, this restriction
    itself would have been found invalid, wholly without regard to the
    commerce clause, because of its disparate impact on the rights of
    individual citizens: some would have gained enormously from the use
    of public roads, while others would have had huge portions of their
    gains stripped from them. But these individual rights arguments
    would have failed even in 1918, because the prevailing account of the
    police power gave broad latitude to the states to impose child labor
           04
    laws.'
        Nonetheless, because concerns of federalism were very much alive
    at the time of Hammer, a transfer of power from the state to the
    federal government was subject to far greater scrutiny. The effect of
    the child-labor restriction on the interstate shipment of goods, a sub-
    ject admittedly within the scope of the federal commerce power, was
    to induce all private firms to abide by the federal regulation. The


        98 U.S. CONST.   amend. x.
        99 312 U.S.  oo, 116-17 (1941).
        100 See generally Epstein, supra note 2, at 1427-32.
        101 See id. at 1423-24 & 1429 n.io9.
        102 See supra notes 34-36 and   accompanying text.
        103 For another case concerned with the balance of state and federal power, see United States
     v. E.C. Knight Co., 156 U.S. 1 (1895). I have defended that decision in Epstein, cited above
     in note 2, at 1432-35.
         104 Cf. New York Cent. R.R. Co. v. White, 243 U.S. 188, 207 (1917) (recognizing state
     authority under the police power to enact workmen's compensation laws). All states did have
     child labor laws in 2917, so that the issue in Hammer was whether the more stringent federal
     standard was preferable to the lower state standard applicable in North Carolina. See Epstein,
     supra note 2, at 1430-33.

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   gains that any firm achieved from the interstate sale of its goods were
   far greater than the gains it could hope to achieve by hiring child
   labor in violation of the federal statute, especially in light of the
   applicable state restrictions. To enforce the statute, then, was nec-
   essarily to bring about a "voluntary" acceptance of federal power.
   The doctrine of unconstitutional conditions is the necessary counter-
   weight to the federal government's exercise of its monopoly power.
   Congress has the greater power to regulate interstate commerce and
   indeed to prohibit certain items from passing in interstate commerce
   at all.' 0 5 But in this instance, the greater power should not include
   the power to admit goods into interstate commerce subject to condi-
   tions that drastically shift the distribution of power within the federal
   system. Hammer reached the right result in striking down this statute
   while leaving the federal government the power to regulate the in-
   strumentalities of interstate commerce with regard to matters pertain-
   ing directly to their use: the weight of certain shipments and the like,
   which are designed to prevent abuse of common assets by private
   users. 106
       The Child Labor Tax Case10 7 raises the identical federalism issue
   as did Hammer, as Chief Justice Taft well understood. The only
   difference is that in the Child Labor Tax Case the federal government
   sought to condition its coercive powers to tax instead of its coercive
   power to regulate interstate commerce. The offer made was one that
   no firm could refuse, given that the marginal gains from using child
   labor in violation of the federal norm were no doubt far smaller than
   the ten percent tax on profits imposed by the statute. If this tax could
   have been applied, then similar taxes, with higher rates if necessary,
   could have been used repeatedly, thus obliterating any limitation on
   federal power. Chief Justice Taft tried to capture these concerns in
   the proposition that the federal government had the power to impose
   "taxes" but not "penalties" upon activities within the states.10 8 The
   language of penalty is troublesome, however, because taxes are as
   coercive as penalties, given that both are backed by the use of force.
   The effort to distinguish between them is designed to cast the case
   back into the familiar libertarian mode in which only force and fraud
   can set aside bargains, a model that is inadequate because it does not


      105 See, e.g., Champion v. Ames, x88 U.S. 321 (19o3) (lottery tickets); Hipolite Egg Co. v.
   United States, 220 U.S. 45 (19i) (adulterated foods). It seems clear that the power to regulate
   under the commerce clause allows Congress to prohibit the transfer of certain goods in interstate
   commerce, such as infected foods that threaten interstate commerce itself. But it is far more
   doubtful, even in these cases, that Congress can either regulate or prohibit the shipment of
   goods in interstate commerce in an indirect effort to seize the police power within any given
   state. See Epstein, supra note 2, at 1422-25.
      106 Cf. infra pp. 51-52 (describing conditions intended to minimize abuse of public highways).
      107 See 259 U.S. 20 (1922).
      108 See id. at 38-39.


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     take into account all of the risks associated with government discre-
     tion. An account of the line between penalties and taxes might delve
     into matters of motive - was the exaction designed to raise revenue,
     or to discourage primary activity, or to do both? Generally, one may
     conclude that a tax has some ulterior motive if its expected revenues
     are zero, as was the case with the child labor tax. But whether we
     call this exaction a tax or a penalty is quite beside the point. The
     federal power to tax can be used to the same end as its monopoly
     position over the public highways: to frame offers that extract a
     disproportionate share of the gain from some firms engaged in inter-
     state commerce. Because this was the case with the child labor tax,
     it should have been struck down, even if someone could have argued
     that the penalty characterization was somehow mistaken. 10 9 The
     greater power to impose a ten percent tax on all profits does not
     threaten the system of enumerated powers the way the "lesser" power
     to tax selectively does.
         Today, with the passing of Hammer, the issue in both child labor
     cases is moot. Since 1937, Congress has been acknowledged to have
     plenary powers of regulation over all aspects of the economy. Thus,
     what Congress was barred from achieving by indirection in Hammer
     and the Child Labor Tax Case, it can now achieve through direct
     regulation without constitutional impediment.
          One exception to Congress' plenary economic regulatory power,
     however, concerns the powers given to the states under the twenty-
     first amendment, which provides: "The transportation or importation
     into any State, Territory, or possession of the United States for deliv-
     ery or use therein of intoxicating liquors, in violation of the laws
     thereof, is hereby prohibited." 0 On the plausible assumption that
     this amendment reserves to the states the exclusive power over the
     transportation and shipment of intoxicating liquors within their bor-
     ders, there would remain, even after the revolution of i937, an area
     of commerce within the exclusive power of the state.
         Nonetheless, South Dakota v. Dole"' held, by a 7-2 vote, that
     Congress could work a statutory end run around the twenty-first
     amendment. At issue in the case was title 23, section 158 of the
     United States Code, which allowed the Secretary of Transportation


          109The decision to strike down this tax lends support to Madison's construction of the
     "spending power." See supra note 3. In the Child Labor Tax Case the government could have
     argued that the power to tax for the "general welfare of the United States" covered more
     territory than the commerce clause, and could certainly include the protection of young workers
     across the United States. The failure of this argument makes sense only if the general welfare
     is limited to the other enumerated powers, which must have been Chief Justice Taft's assumption
     when he linked this case so closely with Hammer.
          110 U.S. CONST. amend. XXI, § 2.
          111107 S. Ct. 2793 (1987).


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   to withhold up to five percent of the otherwise allocable federal funds
   for highway construction from states "in which the purchase or public
   possession ...       of any alcoholic beverage by a person who is less than
   twenty-one years of age is lawful." 1 12 South Dakota's law allowed
   19-year-olds to purchase 3.2% beer. Upholding the federal provision,
   Chief Justice Rehnquist, speaking for the Court, held that even if the
   twenty-first amendment prohibited Congress from directly regulating
   the age of beer drinking, Congress could do so indirectly through the
                                3
   use of its spending power."
       Chief Justice Rehnquist's opinion is unsatisfying. The Court noted
   the many occasions on which Congress had been able to attach con-
   ditions to the receipt of federal funds." 4 Where such conditions do
   not involve any efforts by Congress tq expand its effective power,
   however, these provisions are easily distinguishable." 5                          Where the
   conditions involve powers reserved to the states under the tenth
   amendment, the Court has traditionally required that the federal gov-
   ernment show a sufficiently compelling interest to override the state
   interest. 116 The danger that Congress will leverage its broad spending


       112 23 U.S.C. § 158(a)(i) (Supp. 1Il 1985). The five percent restriction was for fiscal year
   1986. For succeeding years the figure was ten percent. See id. § 158(a)(2).
        113 See 107 S. Ct. at 2796. Chief Justice Rehnquist then set out the rules determining the
   scope of Congress' spending power: that its "exercise be in pursuit of 'the general welfare,'"
   (although courts should defer to Congress' determinations of what expenditures promote the
   general welfare); that the federal government give fair notfce to the state of conditions attached
   to receipt of federal grants; and that such conditions not be "'unrelated to the federal interest
   in particular national projects or programs.'" 107 S. Ct. at 2796 (quoting Massachusetts v.
   United States, 435 U.S. 444, 461 (1978) (plurality opinion)). The first condition has been
   rendered trivial by the present broad construction of the "general welfare." See supra note 3.
   Nor is there any reason to give discretion to Congress in defining the scope of its own powers.
   The notice requirement is trivial because statutes can be made clear, although individual statutes
   may fall far short of the clarity required. See, e.g., Pennhurst State School & Hosp. v.
   Halderman, 451 U.S. i (ig8i) (holding that a grant of federal funds to state facilities for the
   disabled was not conditioned on the state's willingness to upgrade facilities). In this case,
   everything turns on the validity of the condition. All the other points are preliminary asides.
        114 See 107 S. Ct. at 2796.
        115 See, e.g., Fullilove v. Klutznick, 448 U.S. 448 (198o) (upholding against an equal pro-
   tection challenge a requirement that recipients of federal contracting grants set aside a certain
   portion of those grants for minority-owned subcontracting companies); Lau v. Nichols, 414 U.S.
   563 (1974) (holding that a school system is required under the 1964 Civil Rights Act to offer
   remedial help to Chinese students who do not speak English as a condition to receipt of federal
   assistance).
       116 See, e.g., Oklahoma v. Civil Serv. Comm'n, 330 U.S. 127, 143 (I947). The applicable
   statute there provided that:
       [N]o officer or employee of any State or local agency whose principal employment is in
       connection with any activity which is financed in whole or in part by loans or grants
       made by the United States or by any Federal agency shall ... take any active part in
       political management or in political campaigns.
   The Hatch Act ch. 410, 53 Stat. 1147 (1939), amended by Ch. 640, 54 Stat. 767 (1940). The
   Supreme Court, relying on the broad reading given the commerce power in United States v.


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     powers to subvert the twenty-first amendment is as great as the danger
     that it will leverage its power to subvert the tenth amendment, and
     should be met with the same judicial response. The state, in its effort
     to decide whether or not to accept the condition, has to decide whether
     it values the loss in federal revenues more than it values its own
     independence in setting the minimum age for liquor consumption. In
     principle, if Congress has the power to reduce highway revenues to
     the states by five or ten percent, there is no reason why it could not
     exclude any state from participation in the program by cutting off its
     revenues entirely. The power of discretion therefore allows the federal
     government to redistribute revenues, raised by taxes across the nation,
     from those states that wish to assert their independence under the
     twenty-first amendment to those states that do not.
         Chief Justice Rehnquist conceded in effect that the doctrine of
     unconstitutional conditions had to apply to the spending power when
     he noted that:

         [A] grant of federal funds conditioned on invidiously discriminatory
         state action or the infliction of cruel and unusual punishment would
         be an illegitimate exercise of the Congress' broad spending power.
         But no such claim can be or is made here. Were South Dakota to
         succumb to the blandishments offered by Congress and raise its drink-
         ing age to 21, the State's action in so doing would not violate the
         constitutional rights of anyone.1 17

     His defense, however, misses the essential point, because the doctrine
     of unconstitutional conditions is not limited to the protection of indi-
     vidual rights against encroachment by government power. So long as
     the twenty-first amendment identifies structural limitations upon fed-
     eral power, the doctrine of unconstitutional conditions should ensure
     that these limitations as well are not overridden by the vast discre-
     tionary power of the federal government over the distribution of its
     general revenues. The need to control federal power is not limited to
     cases of common law coercion, given the risks of strategic behavior
     so evident in Dole. As with the Child Labor Tax Case, the relevant

     Darby, 312 U.S. 100, 124 (194), sustained the statute on the ground that the tenth amendment
     is a truism. See 330 U.S. at 143. The case is far harder if the tenth amendment is construed
     as an effective limitation on federal power. This particular statute should be sustained against
     the challenge of unconstitutional conditions because it is designed to protect the United States
     against abuses by recipients of federal moneys. It is therefore parallel to a rule preventing
     private parties from obstructing public highways. The case would be quite different, however,
     if the statute provided that all state officials had to abide by this restriction if any state program
     received federal moneys. Then the overreaching by the federal government would become the
     greater abuse. This "relatedness" requirement as a limitation on the scope of conditions that
     the federal government may impose also crops up in the police power cases, see infra pp. 63-
     64, and the employment cases, see infra pp. 69-70.
          117 107 S. Ct. at 2798.



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   question is not the desirability of regulations the federal government
   seeks indirectly to impose. It is rather the proper demarcation of the
   division of powers between separate sovereigns.


                        V. PUBLIC ROADS AND HIGHWAYS
       If the federal government has always had an"effective legal mo-
   nopoly over the instrumentalities of interstate transportation, then
   similarly state governments have long enjoyed a powerful local mo-
   nopoly over public highways and roads. It should come as no sur-
   prise, therefore, that the doctrine of unconstitutional conditions also
   emerged in cases where the state demanded the release of constitu-
   tional rights as the price of access to public highways. Frost & Frost
   Trucking Co. v. Railroad Commission" 8 shows the halting and inef-
   fective development of the doctrine in the context of classic state
   economic regulation. City of Lakewood v. Plain Dealer Publishing
   Co.,119 decided this past Term, raises parallel issues in a first amend-
   ment context, thus resulting in a more forceful application of the
   doctrine. The framework of analysis is similar in the two areas, even
   if the protected constitutional rights differ. The first inquiry is to
   determine the extent of the government's monopoly power in its con-
   trol of public highways. The second inquiry is to determine the extent
   to which the conditions imposed upon entry or use are designed to
   upset the competitive balance between rival users. The third inquiry,
   which is the flip side of the second, is to determine whether the
   restrictions in question are designed to control against opportunistic
   behavior by individual citizens in their use of the common pool asset,
   the public roads.

                 A. Economic Regulation and Frost Trucking
       In 1917 the California Railroad Commission received the power
   to regulate the rates and charges of the common carriers who used
                                  0
   California public highways. 12   A common carrier - one who carried
   the goods of all comers over public highways for a fee - could gain
   access to the public highways only after first obtaining a permit from
   the Commission certifying that its business was for the "public con-
   venience and necessity.' 2 1 In i919 the Commission's statutory powers
   were extended to cover transportation companies that were not com-
   mon carriers. 122 Frost Trucking, which had a private contract to

     118 271 U.S. 583 (1926).
     119 io8 S. Ct. 2138 (1988).
     120 See Act of May io, 1917 § 3, 1917 Cal. Stat. 331.
     121 Id. § 5, I917 Cal. Stat. 333.
     122 See Act of May 13, 1919 § 2, i9ig Cal. Stat. 458.



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     transport citrus fruit for a single supplier, fell into this last category,
     but it refused to apply for the required permit and was then ordered
     by the Commission to suspend its operations.' 2 3 The Commission's
     decision was upheld by the California Supreme Court. Justice Suth-
     erland wrote:

        That court, while saying that the state was without power, by mere
        legislative fiat or even by constitutional enactment, to transmute a
        private carrier into a public carrier, declared that the state had the
        power to grant or altogether withhold from its citizens the privilege
        of using its public highways for the purpose of transacting businesses
        thereon; and that, therefore, the legislature
                                                  24
                                                      might grant the right on
        such conditions as it saw fit to impose.1

     In Justice Sutherland's words, the California court was willing to
     allow private carriers access to public roads only if they dedicated
                                                                         25
     their property to the "quasi-public use of public transportation.'1
         The stage was set for the familiar unconstitutional conditions ar-
     gument. Justice Sutherland assumed arguendo that the state could
     admit or exclude persons at will from the use of public highways.
     Then, however, by analogy to the foreign corporation cases, he held
     "that it may not impose conditions which require the relinquishment
     of constitutional rights"'12 6 - in this instance the right of a private
     carrier not to be compelled to assume the duties and burdens of a
     common carrier against its will.1 27 So stated, the argument proceeds
     at a very high level of abstraction and is subject to the standard
     objections based upon the "greater and lesser power" theory that lay
                                                                            28
     at the root of Justice Holmes' general opposition to the doctrine,1
     and to his dissenting opinion in this case.   129 If an individual values
     his constitutional rights less than he does the privilege that the state
     is offering, then why not allow the bargain to go forward? Persons
     have a constitutional right to keep property, yet they surrender it all
     the time in order to obtain alternative goods that they value more
     highly. Why not here?
         The proper analysis of the case begins with its historical context.
     The initial problem is the now familiar one of the adequacy of "second-
     best" response to government discretion. The doctrine of unconstitu-
     tional conditions becomes necessary only after it is settled that a state
     has the absolute right to exclude private firms from use of the high-

       123 See 271 U.S. at 590.
       124 271 U.S. at 591.
       12s Id.
       126 Id. at 594.
       127 See id. at 593.
       128 See supra notes IO & 14.
       129 See 271 U.S. at 6oi (Holmes, J., dissenting).


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   way. That conclusion was dictated by Buck v. Kuykendall, 130 a
   precedent established one year before Frost was decided. Buck had
   invalidated, under a dormant commerce clause analysis, regulatory
   restrictions upon interstate service between Seattle and Portland. 13 1
   Nonetheless, this part of Buck did not apply to Frost, which concerned
   purely intrastate movement (as the words were understood before
   1937) on state highways, and was therefore beyond the scope of the
   commerce power. Without the element of interstate commerce, Buck
   gave the states unfettered discretion to deny common carriers access
   to the highways:

       The right to travel interstate by auto vehicle upon the public highways
       may be a privilege or immunity of the citizens of the United States.
       A citizen may have, under the Fourteenth Amendment, the right to
       travel and transport his property upon them by auto vehicle. But he
       has no right to make the highways his place of business by using them
       as a common carrier for hire. Such use is a privilege which may be
       granted or withheld by the State in its discretion, without violating
       either the due process clause or the equal protection clause. The
       highways belong to the State. It may make provision appropriate for
                                                                              32
       securing the safety and convenience of the public in the use of them. 1

      The phrase "a privilege which may be granted or withheld by the
   State in its discretion" recalls the assertion of state power over foreign
   corporations justified by the Court in Paulv. Virginia.13 3 So too does
   the short shrift given to the privileges and immunities clause. The
   bald conclusion that "the highways belong to the State" does not begin
   to address the question of how their use should be allocated among
   the various members of the public. Yet it is just that question that
   the doctrine of unconstitutional conditions must address.                           To allow
   the state the power to exclude or admit at will from public highways
   raises the problems of externalities and strategic bargaining with

       130 267 U.S. 307 (1925).
        131 Justice Brandeis' reasoning in Buck was cryptic. See id. at 324 ("The federal-aid legis-
   lation is of significance not because of the aid given by the United States for the construction
   of particular highways, but because those acts make clear the purpose of Congress that the state
   shall be open to interstate commerce."). Nonetheless, the result was correct, for the alternative
   opens up enormous potential for strategic behavior by the states, which would be able to prevent
   all out-of-state common carriers from using any in-state road built without federal support. Had
   Buck gone the other way, then, short of congressional intervention, interstate business would
   be subject to all the intrigue and retaliation that surrounded the legislation at issue in Gibbons
   v. Ogden, 22 U.S. (9 Wheat.) i, 4-5 (1824), and that finds expression today in the politics of
   landing rights in international aviation. Buck and its companion case, Bush Co. v. Maloy, 267
   U.S. 317 (1925), which held that states could not exclude interstate commerce even from roads
   constructed solely with state funds, are thus uncelebrated but critical decisions that preserved
   a unified national market after the coming of automotive transportation.
        132 267 U.S. at 314 (citations omitted).
        133 75 U.S. (8 Wall.) 168 (1869); see supra p. 32.


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     which the doctrine is concerned. Those whose entry is subject to
     selective conditions are at a competitive disadvantage to their rivals,
     while the bargaining range for use of the roads between the state and
     any individual citizen is very broad. Political discretion over licenses
     can only encourage the dissipation of valuable resources to achieve
     partisan advantage. The same numerical illustrations presented in
     discussing the foreign corporation cases apply without change in this
     context. 134
         The object of a sound highway system is to maximize the gains
     that are attainable from use of the public roads. That goal is attain-
     able only if the selective power of admission to the roads is curtailed
     - an equal protection concern - and if the state revenues from the
     highways are limited to its costs of running the system - a takings
     or due process objective. What should be flatly prohibited is the
     covert redistribution of wealth between private parties in the funding
     and utilization of public roads by imposing unequal exactions for equal
     benefits. These rules are hardly novel, even at the constitutional level,
     for they found expression in the special assessment cases for funding
     local improvements, including roads and sewers, that routinely came
     before the Supreme Court under the due process clause between the
     end of the Civil War and the beginning of World War 1. 135
         Although the proper doctrinal rules here would deny the state the
     absolute power to admit traffic to or exclude it from the public road,
     Justice Brandeis' dictum in Buck set the stage for Justice Sutherland
     in Frost to use the doctrine of unconstitutional conditions as the next-
     best alternative. To his great credit, Justice Sutherland recognized
     the importance of market structure even in this context and accepted
     the dominance of the competitive equilibrium as a constitutional prin-
     ciple, despite the state's monopolistic control over the roads:
            It is very clear that the act, as thus applied, is in no real sense a
         regulation of the use of the public highways. It is regulation of the

        134 See supra note 5o and accompanying text.
         13S See Diamond, The Death and Transfiguration of Benefit Taxation: Special Assessments
     in Nineteenth-Century America, 12 J. LEGAL STUD. 201 (1983). I address this subject, within
     the generalized eminent domain framework utilized here, in TAKINGS, cited above in note 28,
     at 286-89.
         These cases held that the due process clause imposed some limitations on the funding devices
     that the state could use to finance local improvements, including local roads. In each case the
     total sum to be raised by taxes was limited to the cost of building the road in question: excess
     moneys could not be siphoned off into general revenues. The difficult question was finding the
     right formula to match costs with benefits once redistribution was in principle ruled out of
     bounds. Individualized (plot by plot) assessments of benefits were costly to make, and unreliable
     to boot. Yet automatic rules - such as assessment by front footage - could be unreliable
     because they missed large pockets of subjective gain in individual cases. In large measure this
     choice between rival benefit rules asks which set of errors is more debilitating, so that the state
     has some discretion in the choice of benefit formula as long as a consistent formula is used
     throughout.


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        business of those who are engaged in using them. Its primary purpose
        evidently is to protect the business of those who are common carriers
        in fact by controlling competitive conditions. Protection or conser-
        vation of the highways is not involved. 136
        Justice Sutherland therefore struck down the condition that the
    state tried to attach to the use of the roads. California could exclude
    Frost from the use of the highways altogether, but it could not con-
    dition its entry upon the company's willingness to assume the burdens
    of a common carrier. Here the right in question might have one of
    two sources. First, the right to enter into ordinary contracts for the
    carriage of goods could be regarded as a form of property protected
    by the takings clause. Alternatively, the right protected could be
    regarded as falling within the fourteenth amendment right to engage
    "inthe common occupations of the community." 137 The doctrine is of
    broader scope in the first instance than it is in the second, but both
    apply to the instant case. The effort to condition entry to the high-
    ways on the sacrifice of the right to remain a private carrier imposed
    a disproportionate burden on Frost, and would have worked an im-
    plicit transfer to the common carriers with which it was in competi-
    tion.
        The decision in Frost gives some indication of the type of condi-
    tions the state might be able legitimately to impose upon highway use.
    The clue comes from Justice Sutherland's reference to the "protection
    and conservation of the highways," and builds upon concerns about
    externalities and strategic behavior. Thus, the state can impose taxes
    and rules that are designed to promote the smooth flow of traffic, to
    prevent accidents, to resolve tort actions, and to ensure that individ-
    uals have to answer for their wrongs. These rules are necessary to
    prevent the exploitation of a common pool resource by its users. To
    be sure, these rules condition access to the roads upon the consent of
    the users, but the consent is for conditions that are justified by the
    need to curtail opportunistic behavior by the road users. 138 Similarly

       136 271 U.S.   583, 591 (1926).
        137 See, e.g., Truax v. Raich, 239 U.S. 33, 41 (,9,5) ("It requires no argument to show that
    the right to work for a living in the common occupations of the community is of the very
    essence of the personal freedom and opportunity that it was the purpose of the [Fourteenth]
    Amendment to secure.").
        138 Cf. Hess v. Pawloski, 274 U.S. 352 (1927). The statute at issue in Hess allowed out-of-
    state individuals to be sued for accidents that they caused within the state.
        Under the statute the implied consent is limited to proceedings growing out of accidents
        or collisions on a highway in which the non-resident may be involved.... It makes no
        hostile discrimination against non-residents but tends to put them on the same footing as
        residents. Literal and precise equality in respect of this matter is not attainable; it is not
        required.
    Id. at 356. The case is an easy one, given the user exploitation that the statute seeks to curtail.
    However, the opposite result would be required if users of the state's roads were required to
    submit to the jurisdiction of the state's courts in any case brought by the state's residents.


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    the state should be able to impose a system of weight restrictions (to
    control wear and tear), or tolls (to alleviate congestion). These are
    the kinds of conditions that would be imposed by the private owner
    of a road for his own benefit and for that of his customers. Such
    conditions closely parallel the incorporation rules on service of process
                         139
    and capitalization.
         It still remains to inquire how successful Justice Sutherland's in-
    vocation of the doctrine of unconstitutional conditions proved in con-
    trolling abuses of the state's power to control public highways. In
    order to answer that question, it is necessary to distinguish between
    two sets of cases. The first class involves situations like Frost, in
    which the state seeks to limit access to the system of public roads
    through general economic regulation. The second involves the poten-
    tial release of certain constitutional rights, such as the right to vote,
    to speak, to practice one's religion, to resist unreasonable search and
    seizures, and (perhaps) even to hold property without fear of confis-
    cation.
         On the economic issues, the unconstitutional conditions doctrine
    of Frost, in sharp distinction to the foreign taxation cases, has had
    little favorable effect in practice. Initially, Justice Sutherland regarded
    Frost as a kind of takings case (for a quasi-public use), because private
    carriers were subject to the regulation thought appropriate to common
    carriers. 140 But even as he applied the doctrine, he gutted its power.
    Justice Sutherland allowed the possibility that private carriers should
    themselves be "subject to regulations appropriate to that kind of car-
    rier,' 14 1 without indicating what they might be or what ends they
    might serve. It hardly seems worth the fuss to invoke the doctrine at
    all if private carriers can be regulated by independent commissions
    and forced to endure conditions and restrictions so onerous that they
    cannot compete with common carriers.

         139 See supra p. 29.
         140 See 271 U.S. at 591.
         141 Id. at 592. Today private carriers, called "contract carriers," are regulated in much the
    same fashion as common carriers. They are, for example, subject to regulation on maximum
    and minimum rates, see, e.g., CAL. PUB. UTIL. CODE §§ 350,-3800 (West 1975 & Supp. x988),
    and to strict licensing requirements, see, e.g., id. § 3571.
        The standard for obtaining a permit in California is no longer based on public convenience
    and necessity, but upon a showing of financial responsibility satisfactory to the public utilities
    board. Moreover, "[t]he commission may attach to the permit such terms and conditions as, in
    its judgment, are required to assure protection to persons utilitizing the operations." Id. § 3572.
    In practice Frost seems to have been read so narrowly as to have no practical effect on the
    course of the process of regulation. One California court, for example, declared: "It is obvious
    that the interests of the general public, as well as those of the trucking industry, are promoted
    by the establishment of fair and uniform rates which tend to give stability to the industry, and
    to protect operators against unfair and destructive competition." Orlinoff v. Campbell, 91 Cal.
    App. 2d 382, 387, 205 P.2d 67, 70 (i949). The case then quoted from the California decision
    in Frost, without referring to the Supreme Court case that reversed it.


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        If this regulatory option remains, then the state will not respond
    to the all-or-nothing requirement by choosing all, as it would in the
    foreign incorporation cases. Local political considerations are such
    that total exclusion of many potential commercial users of the highway
    often will prevail. We need think only of the airport transportation
    monopolies that are jealously protected by state regulations, or of
    private buslines and jitneys that have routinely been kept off city
    streets. 14 2 The power of state selection within classes of carriers and
    between classes of carriers was hardly curtailed at all by Frost. The
    right expression of the unconstitutional conditions doctrine would be
    far more restrictive: the state is under no duty to build public high-
    ways, just as it is under no duty to charter corporations; if it does
    build public highways, however, then all persons should have equal
    access to them, and the state powers of regulation and taxation should
    be directed to the sole end of preventing particular users from exter-
    nalizing the costs of their own operations upon the other users of the
    system. Frost provided a weak imitation of the desired rule, because
    it did not attack head-on, under either a takings or public trust
    rationale, the state's claim of absolute ownership of the highway.
        Nonetheless, Frost created a valuable legacy in the second class
    of cases, which involve the kinds of suspect classifications and fun-
    damental rights that are now closely scrutinized under the footnote-
    four rule of Carolene Products v. United States. 143 In principle the
    state could bargain for any number of ends. Justice Sutherland rec-
    ognized that each person acting by himself would have a strong
    incentive to sacrifice other protected rights in order to get the greater
    short-term benefit of being able to use the roads. He thus invoked in
                                                                            44
    Frost earlier language from Western Union Telegraph-Co. v. Foster,1
    to the effect that a state could not use its control over public streets
                                                                            45
    to regulate the messages that telegraph companies wished to send.1
    He also worried about the parade of horribles that might arise if the
    state could use its power to:

        impose conditions which require the relinquishment of constitutional
        rights. If the state may compel the surrender of one constitutional
        right as a condition of its favor, it may, in like manner, compel a
        surrender of all. It is inconceivable that guaranties embedded in the


       142 See Eckert & Hilton, The Jitneys, I5 J.L. & ECON. 293 (1972); Pashigan, Consequences
    and Causes of Public Ownership of Urban Transit Facilities, 84 J. POL. ECON. 1239 (2976).
       143 304 U.S. 144 (1938). See generally Ackerman, Beyond Carolene Products, 98 HARv. L.
    REV. 713 (1985) (dissecting the naive interest-group politics behind footnote four); Miller, The
    True Story of Carolene Products, 1987 SuP. CT. REV. 397 (giving the unhappy special interest
    history of the actual restrictions on filled milk upheld by the Court).
       144247 U.S. 2o5 (1918).
       145 See id. at 114.


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       Constitution of the United States may thus be manipulated out of
       existence. 146
         Justice Sutherland's concern is proper, even though his use of the
    term "compel" obscures the difference between the state's bargaining
    strategies and the state's outright use of force. The real danger is not
    coercion, but a collective action problem, hinted at by the word
    "manipulated." Voting rights, for example, may be of little value to
    any given individual, who would surrender them gladly for a right to
    do business on public highways. If many individuals did so, the
    combined effect would be to ensure a structural tyranny and the loss
    of many other liberties. State officials who push this deal are not
    selling things that they own. They are selling "things" - for example,
    access to roads - that belong to the public at large. Their success
    may be aided by the classical prisoner's dilemma, in which many
    unorganized users of the public highways find themselves. If all users
    could contract in advance, none would release his right to vote. The
    imposition of a rule that prevents the state from making certain
    bargains limits the power of the dominant coalition or faction within
    the state to engage in strategic threats to capture the private surplus
    from the use of the public highways. Although public officials may
    still act in breach of trust, they cannot obtain as much for their pains,
    because they possess fewer credible threats against citizens. Once the
    state cannot impose restrictions on fundamental rights upon those who
    want to gain access to the highways, then, in this context at least, it
    cannot impose them at all, for any such restrictions imposed directly
    would fall before particular constitutional commands. It makes no
    difference whether we talk about the state's threats to remove access
    to the roads ("coercion") or its promises to grant access to them ("ben-
    efit"). Whatever the nominal baseline, the strategic games are always
    destructive of the social fabric. The potentially catastrophic holdout
    problems of treating the state as the absolute owner of the public
    highways are dramatically moderated even by a restricted doctrine of
    unconstitutional conditions.

                B. Freedom of Speech and the Highways: Lakewood
        The doctrine of unconstitutional conditions as generalized in Frost
    involved access to public highways for economic uses. Frost was
    decided when the Court still afforded moderately strong constitutional
    protection of economic liberties, as shown by its willingness to probe
    into the state's asserted police power justification. With the waning
    of judicial concern with economic affairs, the regulatory issues raised
    in Frost dropped out of later cases. At the same time, Carolene

      146 271   U.S. at 594.


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   Products and its progeny dictated a higher level of scrutiny for leg-
   islation impinging upon fundamental rights or employing suspect clas-
   sifications. The doctrine of unconstitutional conditions migrated with
   the flow, and thus became entwined with modern issues of religion,
   speech, and equal protection.
       The public highway cases were thus transformed into the "public
   forum" cases, 147 and the renewed level of higher scrutiny once again
   proceeded from a presumption of distrust of legislative and executive
   behavior. Before this new orientation was adopted, there was some
   judicial support, again voiced by Justice Holmes, for the categorical
   position that the state owns the highway or park and therefore can
   exclude speakers at will. 148 But this absolutist position quickly fell
   when it was decided that state title to the public highways did not
   allow it to bar the distribution of literature, or to subject it to any
   special prior restrictions, license tax, or permits. 14 9 The end run
   tolerated in the context of economic regulation would not be allowed
   here.
       This welcome retreat from the principle of absolute public own-
   ership limits the need for the doctrine of unconstitutional conditions,
   but does not render it entirely unnecessary. There is often a capacity
   limitation - if not for lonely leafleteers on public roads and streets,
   then surely on public fairgrounds - that becomes critical as the
   demands on public space rise. i s ° Someone has to decide who will
    gain access and who will not. Given the level of scrutiny applied to
   such decisions, the issue of unconstitutional conditions should have
   been expected to reappear in the modern context of the public forum,
    and it did, in last Term's decision in City of Lakewood v. Plain Dealer
   Publishing Co. '51
         Lakewood's ordinance gave the town mayor the discretion to
    decide which newspaper companies would receive annual, nonassign-

       147 See generally Kalven, The Concept of the Public Forum: Cox v. Louisiana, 1965 SuP.
    CT. RFv. i; Stone, Fora Americana: Speech in Public Places, 1974 SuP. CT. REV. 233.
       148 While still on the Massachusetts Supreme Judicial Court, Justice Holmes stated:
       For the legislature absolutely or conditionally to forbid public speaking in a highway or
       public park is no more an infringment of the rights of a member of the public than for
       the owner of a private house to forbid it in his house. When no proprietary right
       interferes, the legislature may end the right of the public to enter upon the public place
       by putting an end to the dedication to public uses. So it may take the lesser step of
       limiting the public use to certain purposes.
    Commonwealth v. Davis, 162 Mass. 51o, 51I, 39 N.E. 113, 113 (1895), aff'd, 167 U.S. 43
    (1897).
        149 See Lovell v. Griffin, 303 U.S. 444 (1938). Marsh v. Alabama, 326 U.S. 501 (1946),
    took the far more controversial step of applying a similar analysis to privately owned company
    towns.
        150 See, e.g., Heffron v. International Soc'y for Krishna Consciousness, Inc., 452 U.S. 640
    (i98i) (allowing the state to impose on Krishna groups the same time, place, and manner
    restrictions applicable to all others at a state fair).
       Is' io8 S. Ct. 2138 (1988).



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    able permits to place its newsracks on public property. The decision
    was to be made after considering a range of factors, including the
    approval of the rack's design by the Architectural Board of Review,
    the willingness of the permittee to obtain insurance that would hold
    the city harmless for all liability arising from the use of the newsrack,
    and "such other terms and conditions deemed necessary and desirable
    by the Mayor.' 15 2 The issue of unconstitutional conditions arose when
    it was urged that the City was under no obligation to allow any
    newsracks at all on public streets, and could therefore make the right
    to place racks on public roads subject to whatever conditions the City
    wished to impose.
        Lakewood differs from Frost in two ways. First, in this context
    city ownership of the public streets gives government far less monop-
    oly power than was involved in Frost. While the public roads are
    the only available means of transportation, newspapers can be sold
    by subscription or in stores. The government power therefore is
    somewhat attenuated. Yet by the same token, it is by no means
    trivial, especially because some papers (such as those distributed with-
    out charge) rely heavily upon newsrack distributions. The scope of
    government power, although not absolute, is still large enough to give
    it substantial monopoly power. There is reason therefore to invoke
    the doctrine of unconstitutional conditions. Second, unlike the statute
    in Frost, Lakewood's ordinance contained no explicit requirement that
    the newspaper waive any constitutional right. It was not asked to
    agree to mayoral censorship as a condition for placing its racks on the
    public streets. Nonetheless, the wide level of discretion conferred
    upon the mayor raised the possibility that he would seek to impose a
    condition that would require the waiver of first amendment rights,
    such as softening opposition to one of the mayor's pet projects. The
    possibility that some papers might consent to this sub rosa condition
    could induce others to follow suit. The power to select who shall stay
    and who shall go made it possible for the mayor to prefer newspapers
    that supported his policies and to deny permits to those that opposed
    them, and the prospect of such mischievous behavior was far more
    troubling than a simple rule totally banning newspaper racks from
                        53
    the public street.'

         152 LAKEWOOD, OH., CODIFIED ORDINANCES § goI.i8i (1984) (cited and quoted in Lake-
    wood, io8 S. Ct. at 2142 n.2).
         1S3 Cf. Police Dep't v. Mosley, 408 U.S. 92 (1972) (invalidating a city's ban on all forms of
    picketing except those regarding a labor dispute). The case did not explicitly rest on the doctrine
    of unconstitutional conditions, and indeed the Court attached little weight to the fact that the
    Mosley's picketing took place on the public highways. Instead the Court undertook a combined
    first amendment and equal protection analysis which attacked the ordinance because it distin-
    guished among different types of speech by subject matter. See id. at 95-96. The subject
    matter distinctions gave the state officials more discretion than the simple all-or-nothing ban on
    picketing, but far less than that contemplated by Lakewood's statutory scheme. Mosley thus


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        The sound first amendment limitations on discretion do not, how-
    ever, answer all the questions of what newsracks, if any, must be
    placed upon public property. Surely the first amendment does not
    require that any newspaper company be allowed to place its racks on
    public property at will, without paying any fee at all. Public streets
    and roads are still a form of commons, and one risk associated with
    the maintenance of any commons is its overexploitation by private
    users who do not fully take into account the costs that their own
    behavior imposes upon other members of the public. Strategic be-
    havior by the mayor is only one form of abuse; excessive use by the
    newspaper companies must be reckoned with as well, which is why
    decisions preventing excessive noise and other similar nuisances have
    survived to the present day, under the rule that allows for appropriate
                                               54
    "time, place and manner" restrictions. 1
        Because of this dual hazard, there is surely some reason to allow
    the City to restrict the number of newsracks on public property, and
    perhaps even to confine them to certain locations within the town.
    Lakewood did not pass, for example, on whether a total ban on
    newsracks in residential areas would be constitutional. There is, of
    course, the risk that restrictions on the locations and number of news-
    racks could also be more severe than appropriate. Such a restriction
    might be attacked in extreme cases - for example, if the ordinance
    restricted all newsracks in order to punish one particular newspaper.
    Yet a facial attack on such a statute is surely out of place; some
    concrete evidence of official misconduct should be required. More
    generally, there comes a point at which the capacity to control gov-
    ernment abuse diminishes, while the gains from controlling that abuse
    are small. Then it is time to quit, under the first amendment just
    like anywhere else. The simple rule that the town can determine the
    number and location of newsracks, but must allocate .them by some
    nondiscretionary means goes a very long way toward controlling the
    most obvious forms of abuse.
        It is instructive to note that the first amendment principles appli-
    cable in this case are drawn from those developed in connection with
    the economic liberties cases. The concern with conditional admission
    to the roads that animated Frost had to do with implicit redistribution


    represents the hard intermediate case. The strongest argument for sustaining the Court's position
    is that there is so little that can be offered to justify the ban. See generally Stone, Restrictions
    of Speech Because of Its Content: The PeculiarCase of Subject-MatterRestrictions, 46 U. CHI.
    L. REv. 81 (1978) (exploring the relationship between subject-matter based and viewpoint-
    neutral regulation of speech). Note that Mosley becomes an unconstitutional conditions case if
    the use of the public road is conditioned on the willingness not to picket in nonlabor cases.
    Similar issues arise in the veterans' exemption context. See infra pp. 77-79 (discussing Regan
    v. Taxation with Representation, 461 U.S. 540 (1983)).
        154 See, e.g., Kovacs v. Cooper, 336 U.S. 77 (1949) (plurality opinion).



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    of wealth among separate common carriers, and across different sec-
    tors of the trucking business. The restrictions against excessive weight
    and the like were routinely allowed in order to control against the
    exploitation of a common resource by a single user. If that economic
    model had applied, Lakewood would have come out the same way
    even without resort to first amendment principles. Indeed under the
    economic liberties framework, it would not be enough to guard against
    the possibility of favoritism to firms within the class of newspapers.
    It would also be necessary to worry about a reciprocal risk: whether
    newspapers as a class received a subsidy from the rest of the public
    at large in the form of below-market rents of public space. That
    additional constraint would be very hard to administer because there
    is no strong economic theory that determines the optimal level of
    newsracks to be allowed on public property. The theory would, how-
    ever, suggest that once the number of spaces was determined by
    political means, their allocation to individual newspaper companies
    would have to take place by bid, just as in the common carrier case.
    Within the first amendment framework, the bid system seems clearly
    acceptable. But now other systems may be allowed as well. A lottery
    may not guarantee the most efficient use of public space, but it does
    eliminate (ex ante) redistribution among newspapers. A system that
    takes the total number of spaces and divides it by the number of
    applicants does the same thing, but may give a boost to papers with
    smaller circulations that a bidding system would not. The critical
    point is that the first amendment analysis of highway use generally,
    and the unconstitutional conditions analysis more concretely, proceed
    on identical terms as the previous analysis of Frost. The demise of
    economic liberties means in essence that we have to worry about only
    one form of error, the imposition of undue restrictions, but can ignore
    implicit subsidies to the newspaper companies. Government miscon-
    duct probably has far greater impact in the context of road regulation
    than it does in the context of speech. But whatever the Court's
    shortcomings in its protection for economic liberties, Lakewood itself
    is a welcome and correctly decided case.

                                      VI. THE POLICE POWER
        Skirmishes over the doctrine of unconstitutional conditions have
     recently arisen in connection with the state police power, most notably
     in Posadas de Puerto Rico Associates v. Tourism Co.15 5 and Nollan
     v. California Coastal Commission.'5 6 In order to set the stage for its

        155   478 U.S. 328 (1986).
        156 107S. Ct. 3141 (1987). Nollan has generated an enormous amount of controversy. For
     a more extended account of my views, see Epstein, Takings: Descent and Resurrection, 1987
     SuP. CT. REV. i, 31-44. See also The Jurisprudence of Takings, 88 COLUM. L. Rzv. (forth-
     coming x988).


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     use in this context, it is necessary first to give some brief account of
     the police power generally.' 5 7 The police power addresses the set of
     justifications that the state must put forward in order to override any
     of the substantive protections of the Constitution. Some recognition
     of the police power justification seems to be necessary if we are to
     make any sense of the Constitution at all. It is difficult to conceive
     of a defense of private property so absolute that ownership of a
     handgun allows its owner to kill or maim at will, or a defense of
     freedom of speech so pure as to countenance securities fraud or per-
     jury. One possible account of the police power therefore allows the
     state to override explicit constitutional guarantees when necessary to
     protect other persons from the threat or use of force or fraud. The
     relevant restrictions are often prospective in application, like a ban
     on the sale of firearms or the ban on printing a false prospectus.
     Typically, the states and their subdivisions have a monopoly over the
     use of the police power, creating a risk that exercise of this power
     will go beyond its stated purpose, and will be used to cloak protec-
     tionist efforts to raise the cost of entry of firms and individuals into
     what would otherwise be competitive markets. The effort to sort out
     appropriate police power measures from inappropriate ones typically
     requires an analysis of the "fit" between the ends to be served and the
     means to be used. The effective scope of the state power depends
     heavily, therefore, on the applicable level of scrutiny. So long as the
     perils of both overregulation and underregulation are about the same
     level of magnitude, some "intermediate" level of scrutiny seems ap-
     propriate.' 5 8 This analysis is perfectly general, and explains why in
     practice limitations on the police power must arise from the property,
     speech, contract, religion, and equal protection guarantees of the Con-
     stitution.
         Under current doctrine, the police power is typically afforded a
     construction that covers far more than the suppression of force and
     fraud, especially in land use cases, and, to a lesser extent, in com-
     mercial speech cases. In essence, the state is allowed to regulate in
     ways that are thought generally to advance the public good, and a
     very low level of scrutiny is applied both to the ends sought and to
     the connection between means and ends. In land use cases, the police
     power was extended far beyond the nuisance control rationale at least
     as early as Euclid v. Ambler Realty Co.'5 9 Today, it has been broad-
     ened still further to allow states to regulate levels of population
     growth, to force towns to provide some minimum percentage of low-

        157 For a longer discussion,  see R. EPSTEIN, cited above in note 28, at 107-45.
        5s8 See  id. at 128-29. A need to take a closer look at the police power arises whenever
     there is any fear of factional abuse. See generally Sunstein, Naked Preferences and the Consti-
     tution, 84 COLUM. L. REv. I689, 1723-27 (1984).
         1s9 272 U.S. 365 (1926).



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    income housing, to set rents, or to pursue aesthetic ends. 160 Yet even
    this broad construction of the police power does not give the state
    ordinary ownership rights over the property that it may restrict or
    regulate. Even today, the state could not pass a statute making it the
    owner of all development rights in property, which it could then turn
    around and sell for cash. But even subject to this important caveat,
    the use of the relaxed, rational basis standard of review necessarily
    increases the scope of government discretion, and thus opens the door
    to the perils associated with government monopolies. As before, the
    question arises whether the doctrine of unconstitutional conditions can
    control the risks of so expansive an account of government power.
    We turn first to land use, and then to commercial speech.

                                                A. Land Use
        Nollan v. California Coastal Commission1 6 ' illustrates how the
    generous contours of the police power in the land use context usher
    in a discussion of unconstitutional conditions as a second-best mea-
    sure. The Nollans owned a small, dilapidated beach house that they
    wished to tear down and replace with a larger home. Under the
    prevailing construction of the police power, the Court assumed, the
    state could have prevented the construction of the new house abso-
    lutely, in order to preserve the public's "viewing access" over the
    Nollans' land from the public highways to the waterfront.162 The
    Commission announced that it was prepared to grant the Nollans the
    right to build on their land, and consequently the right to obstruct
    that view, if the Nollans would surrender a lateral, beachfront ease-
    ment over their land for the benefit of the public at large. If the
    Nollans had accepted the deal, then the state would have gotten the
    easement without having to buy it for cash. However, it was also
    settled that this easement would have had to be purchased if taken
    by the government in a separate transaction. 163 Similarly, it seems
    clear that the Coastal Commission, having only limited powers, could
    not have simply declared itself the owner of the development rights
    over the Nollans' land solely to sell it back to them for cash.
        Within these contours, the question raised in Nollan was whether
    the state could force the Nollans to choose between their construction
    permit and their lateral easement. Justice Brennan argued that it
    could, resting his dissent on the model of the private bargain and

        160 See, e.g., Agins v. City of Tiburon, 447 U.S. 255 (198o) (holding that a zoning ordinance
    restricting development of land to open space or low-density residential use is a valid exercise
    of police power).
       161 107 S. Ct. 314I    (1987).
       162 See id. at 3147.
       163 See id. at 3145.




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    implicit rejection of the unconstitutional conditions doctrine. 16 4 If the
    state could ban construction of-the new house entirely, then it could
    grant permission to construct on condition that the lateral easement
    be deeded over to the state. 165 Justice Scalia, writing for the majority,
    invoked (in all but name) the doctrine of unconstitutional conditions
    to hold that this particular bargain between the state and two of its
    citizens was impermissible because the condition imposed - surrender
    of the easement - was "unrelated" to the legitimate interest used by
    the state to justify its actions - preserving the view. 166 The question
    is who is right, and why.
         One way to avoid the problem is to recognize that the scope of
    the police power gives the state far too much discretion even when it
    does not wish to bargain with citizens. Restrictions on height and
    bulk are unrelated to the prevention of any ordinary, common law
    nuisance, and can be obtained by neighbors (many of whom have
    built for themselves the very type of structures that they are trying
    to prevent others from building) only if they are able to purchase a
    restrictive covenant. There seems no reason why the state should be
    able to take for the public at large the same type of property interest
    that neighbors must buy. If so, then Nollan need not even reach the
    unconstitutional conditions question. The state cannot force a citizen
    who owns two plots of land to choose which one to keep and which
    to surrender to the state, for imposing such a choice amounts to taking
    property without just compensation. The issue is no different when
    the landowner is put to the choice of encumbering his land with a
    restrictive covenant or a lateral easement. The choice the state puts
    to-the citizen is no better than one which an uncommonly fastidious
    gunman puts by allowing his victim the choice between his watch
    and his wallet. Any sound delineation of property rights thus would
    vindicate the Nollans before even reaching the unconstitutional con-
    ditions question.
         Once this first line of defense has been overcome, why the doctrine
    of unconstitutional conditions? Here its use is best explained by re-

       164 Justice Brennan argued that:
       The Coastal Commission, if it had so chosen, could have denied the Nollans' request for
       a development permit, since the property would have remained economically viable
       without the requested new development. Instead, the State sought to accommodate the
       Nollans' desire for new development, on the condition that the development not diminish
       the overall amount of public access to the coastline.
    Id. at 3152 (Brennan, J., dissenting) (footnote omitted). The clear implication is that the greater
    power of preventing development altogether includes the lesser power of allowing development
    subject to surrender of the demanded easement. Note, however, that Justice Brennan accepts
    the unconstitutional conditions doctrine in the speech and religion contexts. See infra pp. 75-
    76 (discussing Speiser v. Randall, 357 U.S. 513 (1958)); pp. 8o-86 (discussing Sherbert v. Verner,
    374 U.S. 398 (1963)).
       165 See 107 S. Ct. at 3152 (Brennan, J., dissenting).
       166 See 107 S. Ct. at 3148.



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    verting to the basic social purpose behind the takings clause: to ensure
    that an interest in private property will pass into government hands
    only if it is worth more to the government, as representative of the
    public, than its market value in private hands.167 If the state has to
    purchase the lateral easement, this purpose is satisfied, because public
    officials have to raise the money to make the purchase. The protection
    so afforded is imperfect, however, because there is always the risk
    that one group (beach users) will be able to purchase the easement
    with money raised by taxes imposed upon the public generally. While
    the takings prohibition (unless extended to taxation) 6 8 does not stop
    this particular form of political externality, it does at least ensure that
    a separate constraint against resource misallocation is observed. Mak-
    ing the payment requires an imperfect set of political institutions to
    take into account the very large losses that the single owner will
    suffer, losses that can be downplayed or ignored when payment is not
    required.
        These institutional constraints against misbehavior tend, however,
    to break down if the state can link the fate of the lateral easement to
    the issue of visual access, as the Coastal Commission tried to do. The
    threat to impose development restrictions on the landowner does not
    require any budget appropriation by either California or the local
    municipality. If the losses that state regulation could inflict upon the
    owner are (as seems probable) far greater to the owner than the loss
    of a lateral easement, then there seems little prospect that the state's
    offer will be declined. Landowners will sacrifice an interest worth
    $iooo in order to preserve development rights that are worth a
    hundred times as much.169 Once this sequence runs its course, there-
    fore, all we know are the relative values that the landowner attaches
    to his two separate interests. We do not know whether the value of
    the lateral easement to the state is greater than its value to the owner,
    because no accountable political party has been forced to make that
    explicit judgment. One central allocative function of the eminent
    domain clause is effectively bypassed by allowing the state to couple
    the lateral easement with the construction permit.
        In this context, the doctrine of unconstitutional conditions limits
    the abuse of government discretion by severing the denial of the

        167 Ideally, the state should be required to pay not the market value, but the subjective
    value that the individual attaches to the property. Because the latter is difficult to determine,
    courts have moved to the market value standard. See, e.g., United States v. 546.54 Acres of
    Land, 441 U.S. 506, 5i (1979). The argument in the text, however, does not depend on which
    standard of private valuation is used.
        168 See R. EPSTEIN, supra note 28, at 283-305.
        169 The point is not one of idle speculation, for the Nollans were the only parties to fight
    the Commission, while 43 other landowners had capitulated. See 107 S. Ct. at 3158 n.9
    (Brennan, J. dissenting). The number would have been 44 if this constitutional challenge had
    not appeared viable.


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    construction permit from the taking of the lateral easement. This
    course of action is not without its dangers. It is quite possible that
    the easement will be purchased for cash (which is appropriate if the
    compensation levels are rightly set, although they often are not when
    severance damages are involved). It is also possible that the permit
    would be denied outright, so that people like the Nollans would be
    left worse off than they were when they could bargain away their
    rights. But in this case the empirical guess is that the government,
    as in the foreign incorporation cases,170 will choose not to exercise its
    greater power. Imposing the building restrictions necessarily deprives
    the community of the increased taxes generated by his new residence,
    which probably will not increase the demands on public facilities by
    the same amount. The groups who are interested in lateral access
    may be far less interested in visual access, so that the coalition pres-
    suring for visual access will disintegrate when the two issues are
    separated. Chances seem good that the "public" at large would not
    want this permit restriction in and of itself. The severance therefore
    calls the bluff of the Coastal Commission by preventing it from par-
    laying a threat of something that interest groups do not want into the
    acquisition of something they do want - for free. The "relatedness"
    requirement imposed by Justice Scalia thus has powerful functional
    roots, for it narrows the size of the bargaining range and hence reduces
    the state's ability to extract concessions from individual owners by
    coordinating separate types of government initiatives.
        The necessary prerequisite for undertaking this inquiry is that the
    takings clause limits the permissible level of redistribution between
    the public at large and landowners. Under the traditional rational
    basis test, that concern is so weak that state power (including the
    power to bargain) would remain unbridled. It is therefore no accident
    that Justice Scalia's implicit invocation of the doctrine followed a more
    general assertion that the deferential rational basis review does not
    carry over from equal protection to takings cases. 17 1 Even within
    Justice Scalia's formulation of the problem, the government's broad
    discretion over the nature and type of height, square footage, and
    exterior design regulations introduces various opportunites for abuse
    that a more rigorous account of the police power would preclude.
    But within very rough limits this invocation of unconstitutional con-
    ditions does have bite. With Nollan in place, the state cannot insist
    that the landowner deed over an easement in order to get an electrical
    hook-up for his house. In a cautious second-best sense, Nollan is a
    fit case for using the doctrine. But it is a far cry from the best


        170 See supra PP. 35-38.
        171 See 107   S. Ct. at 3147 n.3 (contesting Justice Brennan's advocacy of a rational basis
    test).


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    solution, which is a return of the police power to its traditional
    confines.


      B. Commercial Speech and the Morals Head of the Police Power

        A similar police power problem can arise in the first amendment
    context. In Posadas de Puerto Rico Associates v. Tourism Co.,172
    Puerto Rico wished to encourage tourists to come to Puerto Rico to
    gamble. It did not make gambling illegal for local citizens, but it did
    prevent any local advertisement of gambling on the island proper,
    leaving Posadas, a Holiday Inn franchisee, free to advertise its gam-
    bling facilities on the mainland. It was conceded that the control of
    gambling fell within the traditional "morals" head of the police power
    of the state, so that the state could have made gambling illegal had
    it so chosen. In upholding the statute, Justice Rehnquist implicitly
    rejected the doctrine of unconstitutional conditions when he argued
    that Puerto Rico's plenary power to ban gambling itself gave it the
    lesser power to license gambling, subject to the condition that the
    licensee accept a ban on local advertisement 173 - itself a limitation
    on a first amendment right. Do first amendment principles require
    that such advertisements be tolerated, given the decision to allow the
    gambling itself? Where the advertising was neither misleading nor
    fraudulent, the canonical version of the constitutional inquiry is that
    "the speech may be restricted only if the government's interest in
    doing so is substantial, the restrictions directly advance the govern-
    ment's asserted interest, and the restrictions are no more extensive
    than necessary to serve that interest."1 74 Justice Rehnquist's defer-
    ential exploration of these issues upheld the restrictions, which Justice
    Brennan, who championed the greater/lesser logic in his Nollan dis-
                                      175
    sent, would have struck down.
        For our purposes, the central question is whether the doctrine of
    unconstitutional conditions, as applied in this context, effectively
    checks government misbehavior. The picture is decidedly murky. In
    one sense it does. The Puerto Rican policy is cynical: gambling has
    terrible consequences for the social fabric, so Puerto Rico attempted

       172 478 U.S. 328 (1986).
       173 See   id. at 346.
       174 Id. at 340 (citing Central Hudson Gas & Elec. Corp. v. Public Serv. Comm'n, 447 U.S.
    557, 566 (ig8o)).
        175 See id. at 350 (Brennan, J., dissenting). Although he employed a high level of scrutiny,
    Justice Brennan claimed that he would have struck down the law even under the Court's more
    permissive standard. See id. at 350-51. For a spirited denunciation of Justice Rehnquist's
    opinion for its application of low-level scrutiny, see Kurland, Posadasde Puerto Rico v. Tourism
    Company: '"Twas Strange, 'Twas PassingStrange; 'Twas Pitifd, 'Twas Wondrous Pitifd.", 1986
    SUP. CT. REV. i.



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    to externalize its costs by taking the money of tourists, who will take
    their social and pyschological problems home with their other belong-
    ings. The possible interests of other states, which cannot prevent
    their citizens from gambling outside their borders, are not registered
    in the local political calculus, and in all likelihood are of faint impor-
    tance in the Congressional politics over Puerto Rico's status and pref-
    erences. On the domestic front, the ban on casino gambling does not
    extend to such noble pastimes as horse racing, cockfights, and the
    Puerto Rican lottery.' 76 In essence this exercise of the police power
    has a clearly anticompetitive component, for as Justice Brennan, writ-
    ing in the spirit of a public choice economist, suggested, "it is surely
    not far-fetched to suppose that the legislature chose to restrict casino
    advertising not because of the 'evils' of casino gambling, but because
    it preferred that Puerto Ricans spend their gambling dollars on the
    Puerto Rico lottery"'177 - which, it might be added, tourists are not
    very likely to play.
        Posadasis extremely difficult to make sense of because the statute,
    as applied to both Puerto Ricans and to visitors, can plausibly be
    characterized either as a traditional exercise of the police power or as
    an attempt by Puerto Rico to exploit those within its borders. The
    unconstitutional conditions inquiry in Posadas is in a sense the op-
    posite of the one in Nollan: should the Court require the bundling of
    the two issues -        casino gambling and casino advertising -                    in order
    to forestall the political abuse that threatens commercial speech?
        Perhaps it should. One advantage of the bundling is that the
    advertising ban, permissible only if gambling itself is banned, is of no
    consequence: who would advertise what he could not sell? This means
    that governments and citizens would not become comfortable with
    large bureaucracies whose sole function is to suppress or regulate
    speech. Yet in another sense this linkage is very hard to sustain.
    One reason to legalize gambling is simply damage control. It is better
    that people not gamble, not only for their own personal character, but
    also for the corrosive effect gambling has on family and business
    obligations. Nonetheless, it is just too costly to try to control gambling
    by criminal sanctions. Better therefore to legalize the "disfavored"
    activity, which can then be taxed to keep participation within reason.
    Disfavored activities, moreover, need not be treated like all other
    business activities. Advertisement stimulates business, so it might be
    proper for a state to decide that, while it should not ban gambling,
    it should nonetheless moderate its growth by banning advertising.
    Surely if the issue were the legalization of marijuana and other drugs,
    a respectable argument could be made to allow their sale, subject to


       176 See 478 U.S. at 342.
       177 Id. at 353-54 (Brennan,    J., dissenting).


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    a general tax and to prohibitions or restrictions on advertising, which,
    because of advertising's public visibility, should be reasonably easy to
    enforce. In effect we have adopted such a strategy with respect to
    cigarettes, which are sold, heavily taxed, and subject to advertisement
    restrictions, at least on television and radio. 178 Given the absence of
    any coherent social attitude toward gambling (or toward drugs, alco-
    hol, tobacco, or prostitution), courts should exercise some deference
    to state restrictions on such activities, which fall within the traditional
    "morals" head of the police power as it relates to both property and
    speech.
        Nonetheless there are reasons to doubt that the regulation at issue
    in Posadas meets that test. The social disruptions of gambling, if
    real, should be manifest in all its forms. When the state seeks to
    divide markets - with local customers directed toward the state's
    own lottery, and well-heeled out-of-state customers toward its posh
    casinos - it looks as if the anticompetitive motives dominate the
    protective motives. Forcing an all-or-nothing choice between banning
    all advertisement or banning none allows the state to pursue its legit-
    imate police power objectives without running the risk of rigging local
    markets. If total bans are thought to be too damaging to the pock-
    etbook, then it is still possible to have a rule that allows all forms of
    gambling to use print, but not media advertising, or perhaps the
    reverse. Perhaps the state should be able to disengage the decision to
    allow gambling from its decision to ban its advertisement, but some
    very powerful justification must be offered to show why different
    forms of gambling should operate under different regulatory regimes.
    Justice Rehnquist might have been correct in insisting that the doctrine
    of unconstitutional conditions is inapplicable to the connection be-
    tween gambling and advertising. But the explicit discrimination be-
    tween government-run and privately run gambling raises the prospect
    of abuse that calls for a stronger use of unconstitutional conditions in
    its equal protection guise.
        There is a second element of Posadasthat is still more disturbing.
    Present law freely allows general economic regulation of all sorts and
    descriptions. 179 Under Justice Rehnquist's logic, the power to ban an
    activity implies the power to ban its advertisement. It follows, there-
    fore, that first amendment protections afforded commercial speech can
    be no greater than the meager protections given to economic liberties.
    In order to provide adequate protection for speech, then, it becomes
    necessary to build a Maginot line between the relaxed attitude toward

        178 In my view, the justification for these restrictions should rest on the externalities these

    activities impose on third parties.
        179 See, e.g., City of New Orleans v. Dukes, 427 U.S. 297 (1976); Ferguson v. Skrupa, 372
    U.S. 726 (1963); Williamson v. Lee Optical Co., 348 U.S. 483 (1955); Kurland, supra note 175,
    at 13.


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    economic liberties and the stricter scrutiny on matters of speech. The
    doctrine of unconstitutional conditions again serves as a second-best
    tool to limit the ominous implications of the modern economic liberties
    cases. But this larger problem, and the horribles it suggests, would
    disappear if we returned to the older cases on occupational freedom,
    requiring the state to show a strong justification before banning any
    ordinary commercial activity.' 80
        Even if we do not take that hard line, it-is still possible to limit
    Posadas, which should be understood not as an ordinary commercial
    speech case, but as a police power morals case. Constitutionally, it
    should be a close question whether gambling may be banned, and
    hence a close case whether advertising of gambling can be banned,
    even if the gambling is allowed. The difficulty of these questions thus
    weakens the constitutional protection for gambling and its advertising
    alike. But these substantive doubts do not eliminate the equal pro-
    tection dimension of the case. It is still imperative that the state treat
    all forms of any suspect activity such as gambling under the same
    standard unless some powerful justification for differential treatment
    can be demonstrated. By this logic, Posadas should stand only for
    the proposition that constitutional protection of speech is at its lowest
    ebb in the morals cases. It need not overrun the constitutional pro-
    tection of commercial speech generally.


                                VII. EMPLOYMENT CASES
        The doctrine of unconstitutional conditions can also be applied to
    contracts of employment between the state and private individuals.
    In this context, application of the doctrine should generally be re-
    stricted. The doctrine of unconstitutional conditions is most impera-
    tive when the risk of government abuse is greatest, and least attractive
    when the risk of citizen abuse is greatest. If the state were to condition
    employment on the willingness of an employee to contribute a portion
    of his salary to the dominant political party, that condition would be
    struck down because of the systematic distortion that it would work
    upon the political process. The case is scarcely different from a direct
    transfer of public funds into party coffers. The worker may be better
    off with the job subject to the condition, but, as in the standard
    monopoly case, additional social gains are obtainable if the job is
    offered without the condition.
        Fortunately, such extreme abuses of government power are rela-
    tively infrequent, so that today unconstitutional conditions issues tend
    to be raised with respect to restrictions relatively germane to the work
    at hand: the terms and conditions of individual employment contracts.

      180 See, e.g., Truax v. Raich, 239 U.S. 33, 41 (1915).


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    The very statement of the doctrine suggests that most cases in this
    area satisfy the "relatedness" requirement that Justice Scalia spelled
    out in Nollan. Nonetheless, it is important to ask in each individual
    case whether the restriction in question represents a strategic gambit
    by the state, or whether it is designed to counter a parallel gambit by
    the individual worker. In order to decide which form of opportunism
    is dominant, a ready test is at hand: a court can simply ask whether
    the kinds of restrictions that the government seeks to impose on its
    own employees are similar to those that private firms in competitive
    labor markets impose on employees engaged in similar activities. Per-
    haps some positions in government are so unique that no private
    analogue applies, but even in this context, the large number of gov-
    ernment employers may help to create a competitive labor market. 181
    For the general range of office workers, executives, policymakers, and
    bureaucrats the connections are very close indeed. It is very hard to
    create monopolies in labor markets without explicit government inter-
    vention to block free entry. It follows therefore that the law should
    find fewer occasions to invoke the unconstitutional conditions doctrine
    in the context of government employment than in other contexts, and
    it does.
         In Snepp v. United States, 18 ' the Supreme Court held that the
    United States could hold Snepp, a CIA agent, to the terms of an
    employment contract in which he agreed, first, that he would "'not
     ... publish ... any information or material relating to the Agency,
    its activities or intelligence activities generally, either during or after
    the term of [his] employment, without specific prior approval by the
    Agency,"' and second, that he would not "'disclose any classified
                                                                           ' 83
    information relating to the Agency without proper authorization."
    Snepp published his book without the contractually required clear-
    ance, and the book may or may not have contained classified infor-
    mation - an issue that the CIA had a strong incentive to keep out
    of court. But wholly apart from the disclosures contained in the book,
    there was an evident breach of contract, assuming that the state could
    impose the contract condition consistent with the free speech clause.
    The case thus raises again the question of unconstitutional conditions,
    for the issue becomes whether the greater power not to hire at all
    includes the lesser power to hire subject to this condition on publi-
     cation. 184

        181 This theme is developed in Williams, Liberty and Property: The Problem of Government
    Benefits, 12 J. LEGAL STUD. 3, 27-31 (1983).
        182 444 U.S. 507 (i98o). The analysis given here is similar to that provided in Easterbrook,
    cited above in note 31, at 339-52.
        183 444 U.S. at 507-08 (quoting Appeal to Petition for Certiorari at 58a-59a, Snepp (No. 78-
    1871)).
       184 See generally Easterbrook, supra note 31, at 349 (arguing against the Court's use of
    unconstitutional conditions doctrine in Snepp).


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        Why shouldn't it? Any breach of the system of prior clearances
    creates the risk Qf improper disclosure, which can only undermine the
    ability of the CIA to obtain needed information from sources that rely
    on the review process for their protection. Thus the relatedness re-
    quirement seems met. More generally, the operation of any govern-
    ment agency requires the sharing of restricted information, which will
    be inhibited if personnel can obtain information for one purpose only
    to turn around and use it for another.18 5 The restriction in question
    is no doubt similar to ones private employers impose upon employees
    entrusted with sensitive information, and it is difficult to see how the
    public is ill-served by ensuring the confidentiality of its intelligence
    agents. Should the government through pre-publication review seek
    to stifle political criticism of the agency that does not rest upon clas-
    sified information, then the problem can be handled on a case-by-case
    basis, by in camera hearings if necessary, without disturbing the basic
    structure of the statute. As in the highway cases, one must worry
    about abuse not only by the government, but also by parties doing
    business with it. The bargain here does not seem to be a cloak for
    any hidden government abuse, and it thus should be sustained, as the
                                                              86
    Court held, absent some specific showing of misbehavior.1
        Other cases reveal the same pattern. In Connick v. Myers, 8 7 the
    plaintiff, an assistant district attorney in New Orleans, protested her
    transfer to another division and circulated questionnaires inside the
    office concerning office morale, the need for grievance committees,
    and the alleged misconduct of her supervisors. She was then dismissed


        185 This same concern explains why the Supreme Court was also correct not to apply the
    doctrine of unconstitutional conditions in Seattle Times Co. v. Rhinehart, 467 U.S. 20 (1984),
    in which the Court held that parties able to obtain discovery of sensitive documents under the
    Washington Superior Court Rules (identical to the Federal Rules of Civil Procedure) did not
    have a first amendment right to disclose those documents to the public at large. In essence the
    limited use imposed upon the discovery recognizes that there are powerful reasons to limit the
    dissemination of information by protective orders, as provided for in rule 26(c). As elsewhere,
    doctrines of unconstitutional conditions have to be sensitive to strategic behavior by private
    parties as well as by government. The prospect of filing a weak lawsuit in order to obtain
    documents for publication should not be dismissed in this age of high-stakes litigation. If the
    information obtained in discovery is relevant to the case at hand, it can be introduced at trial,
    where its dissemination can be assured. Note too that the party resisting the discovery has no
    obvious manipulative strategy at its disposal, so that the law should work to control the behavior
    of the party seeking discovery, which has all the discretion.
         186 See 444 U.S. at 5og n.3. There is the further issue of damages. The Court imposed a
    constructive trust and required Snepp to disgorge his full profits from the book. See id. at 515-
      6. The remedy is probably excessive if looked at from the point of view of the harm to the
    CIA in the individual case, but it has the desired institutional feature of ensuring compliance
    with the government procedures in cases where damage remedies calculated on actual loss from
    a given disclosure will not deter agents whose gain from publishing confidential information
    exceeds the actual loss they cause the Agency.
         187 461 U.S. 138 (1983).


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    for leading a "'mini-insurrection"' in the office.18 8 Here the question
    is whether the first amendment allows limitations on speech about
    office management. The government does not have anything like a
    monopoly position over the district attorneys it employs, for both local
    governments and private firms hire criminal lawyers. These condi-
    tions are similar to those private firms impose on the protests that
    their employees can make. As in Snepp, the need to control employ-
    ees' abuse must be weighed against the need to control official abuse.
    As long as the district attorney's office remains subject to external
    scrutiny and criticism, including criticism from Myers after her dis-
    missal, the normal rules of employment contracts should apply, as the
    Court held.
        In a more current vein, the issue of drug testing raises the question
    whether the government can require persons to "waive" their fourth
    amendment rights against unreasonable searches and seizures as a
    condition of employment. Here the risks that prompt application of
    the unconstitutional conditions doctrine do not seem to apply. The
    use of drugs is related to performance on the job, and private firms
    that have to operate within competitive labor markets insist on similar
    conditions. The conditions imposed do not seek to constrain private
    practices and relations of employees that are unrelated to their em-
    ployment. Nor do these cases involve the hypothetical danger of the
    government using taxpayer money generally to pay people to release
    their fourth amendment rights in general. That practice could not be
    tolerated precisely because, under the guise of multiple, separate pri-
    vate contracts, it would work a fundamental change in overall gov-
    ernment structure.' 8 9 But the close connection between employment
    and testing seems to preclude any system-wide loss. The doctrine of
    unconstitutional conditions has no obvious role to play in the context
    of drug-testing.
        The doctrine of unconstitutional conditions might also be invoked
    in the employment context to protect procedural rights. Assume that
    the government has offered an individual an at-will employment con-
    tract which by design provides the employee with no procedural pro-
    tections against government dismissal. The question is whether this

       188 See id. at 141.
        189 Taken to the limit, moreover, no cash compensation would be paid to any person in
    society. If the government pays $zoo to each person to waive his fourth amendment rights, it
    must raise those revenues from general taxes of an equal amount. Thus, what one person
    receives in direct payment has already been lost in taxes. Once the cross-payments are netted
    out, the compensation that is received is strictly in-kind. In exchange for the release of my
    fourth amendment rights, you hereby agree to release your fourth amendment rights. It is not
    clear that one person should regard the release of fourth amendment rights by others as a benefit
    to him, given its tendency to increase government powers. Clearly, if some system-wide shift
    is to be taken with search and seizures, an explicit amendment to the Constitution and not
    covert transfers should be required.


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    form of contract infringes the constitutional guarantee that no person
    shall be deprived of property without due process of law. In an early
    foray into the issue, Justice Rehnquist in Arnett v. Kennedy' 90 adopted
    a view containing strong freedom-of-contract strains: "where the grant
    of a substantive right is inextricably intertwined with the limitations
    of the procedures which are to be employed in determining that right,
    a litigant in the position of appellee must take the bitter with the
    sweet."' 19 1 In one sense this statement is surely too broad, for the
    government is surely not in the position of an employer under a
    contract at-will. If it is clear that the government cannot condition
    its offers of employment on the willingness of workers to support one
    political party or the other, then surely it cannot invoke those same
    reasons when it decides to fire. In both cases, the random use of
    power does not tend to distort or skew the political process in favor
    of entrenched interests, but appointments or dismissals with political
    (or religious) conditions attached will have just that impact. None-
    theless, despite the many sustained attacks on this position, 192 Justice
    Rehnquist's contractual logic is far stronger once cases involving for-
    bidden motives are put aside. Arnett itself involved the most attrac-
    tive facts for the dismissed employee, insofar as he was fired for
    allegedly defaming the very government official who was supposed to
    render an initial judgment on his case. Justice Rehnquist deliberately
    sidestepped the thorny constitutional question whether some indepen-
    dent party would be required to make the initial hearing determina-
    tion. 193
         Whatever the right result in cases of this sort, the basic logic of
    Arnett seems unassailable. The government here hires workers in an
    intensely competitive environment, which is why its own rules and
    procedures do in fact contain fairly extensive procedural protections
    for them, including the possibility of back-pay awards after an evi-
    dentiary trial-type hearing on appeal. 194 Given the wide range of
    possible employment opportunities outside the government, there is
    little danger of state monopoly power in this context, but considerable
    concern with substandard government service by lax, incompetent, or
    dishonest employees. The decision to steer clear of constitutional


       190 4x6 U.S. 134 (1974) (plurality opinion).
       191 Id. at 153-54. Arnett is one of many cases that raise this issue. See, e.g., Bishop v.
    Wood, 426 U.S. 341 (1976); Board of Regents v. Roth, 408 U.S. 564 (1972).
       192 See, e.g., Michelman, Formaland AssociationalAims in ProceduralDue Process, in DUE
    PROCESS, NoMos, XVIII, at 126 (3. Pennock & 3. Chapman eds. 1977); Van Alstyne, supra
    note 22, at 462-66. But see Williams, supra note x81, at 27.
       193 See 416 U.S. at x5 n.21. The issue is difficult because the presence of bias could, but
    need not, coincide with dismissal for the class of reasons prohibited to government officials.
       194See id. at 145-47. Because the plaintiff in Arnett chose not to participate in the hearing
    process at all because of his objections to the initial proceeding, it is unclear whether the
    procedural safeguards that the statute did contain could protect against abuse.


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    entanglements in the employment area removes a host of thorny issues
    from the judicial agenda, freeing the Court from having to determine
    what kind of hearing is required and when it should be offered. There
    are quite enough political pressures to turn government employment
    into a civil service sinecure without the Court placing its own unsteady
    thumb on the scales.
        The sound logic of Arnett, of course, has been soundly repudiated
    by the subsequent decision in Cleveland Board of Education v. Loud-
    ermill.195 Loudermill, a security guard who had been dismissed from
    his job on charges that he had dishonestly filled out his employment
    application, challenged the constitutional adequacy of the city's pro-
    cedures. His claim was sustained, 8 to i, with only Justice Rehnquist
    dissenting.
        Speaking through Justice White, the Court first noted that no one
    disputed that Loudermill's contract created the necessary "property
    right," because all state employees were allowed to retain their position
    "during good behavior and efficient service. ' 19 6 Justice White then
    concluded that the procedures necessary to protect this substantive
    right could not be determined solely by the Ohio statute, but had to
    be tested against constitutional requirements. He curtly rejected Jus-
    tice Rehnquist's "bitter with the sweet" rationale:

       The point is straightforward: the Due Process Clause provides that
       certain substantive rights - life, liberty and property - cannot be
       deprived except pursuant to constitutionally adequate procedures.
       The categories of substance and procedure are distinct. Were the rule
       otherwise the Clause would be reduced to a mere tautology. "Prop-
       erty" cannot be defined by the procedures provided for its deprivation
       any more than can life or liberty. 197

        Justice White's argument may capture the state of current doc-
    trine, 198 but it misses the point. The reason why life and liberty are
    not "defined by procedures" is that they are not, in any system of
    limited government, acquired by grant from the state. Property, to
    the extent that it is acquired by first possession or private purchase,
    should stand in exactly the same position as life or liberty. Because

       19' 470 U.S. 532 (1985).
       196 OHIo REV. CODE ANN. § 124.34 (Anderson 1984).       The statute in fact provided for a
    review procedure under which grievances could be filed with the state personnel board of
    review. The board could appoint a trial board to hold a hearing, from which appeals could be
    taken to the State Court of Common Pleas. The statute did not provide for a pretermination
    hearing.
       197 470 U.S. at 541.
        198 See, e.g., Logan v. Zimmerman Brush Co., 455 U.S. 422, 430-32 (1982) (holding that
    state law defines "property" interests, whereas the Constitution defines applicable procedural
    guarantees); Vitek v. Jones, 445 U.S. 48o, 488-90 (i98o) (holding that due process guarantees
    attach to "liberty interests" created by the states).


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   none is a grant from the state, ordinary procedural guarantees must
   be met before any may be taken away. In this context, it is imperative
   that the state not be allowed to "redefine" the private interest so as
   to remove constitutional protections. But contracts for public em-
   ployment do have their origins in transactions with government. So
   long as private contracts can specify both the terms of employment
   and the terms of their dismissal, public contracts should be able to
   do the same, absent the threat of abuse of government monopoly
   power. In this context, substance is not separate from procedure.
   Both are part of a complex package of contractual benefits that an
   employee receives in exchange for services rendered.
        The doctrine of unconstitutional conditions should not apply solely
   because the attached condition is important, or because it is good
   policy for the state to keep an employee on the job until the charges
   against him are fully resolved, 199 or because dismissal will impose
   some measure of hardship upon the worker 20°0 Nor does the validity
   of the condition turn upon some effort to advance individual dign-
   ity.2 0 1 The state does not need judicial oversight to make its own
   prudential judgment whether it is riskier to keep workers suspected
   of improper conduct on the job pending hearings, taking into account
   the costs of hiring substitutes or training replacements. Likewise,
   individual employees are capable of deciding whether procedural ben-
   efits are more important than the wage and other benefits provided
   by the job. Unconstitutional conditions doctrine should be invoked
   only when there are structural concerns relating to monopoly power,
   collective action problems, and externalities suggesting that individual
   consent will generally be an insufficient check against systematic gov-
   ernment misbehavior. Loudermill therefore is a case in which freedom
   of contract should have prevailed.


                              VIII. GOVERNMENT BENEFITS

       Each of the previous five Parts has examined the doctrine of
    unconstitutional conditions in connection with those types of govern-
    ment action routinely undertaken by the traditional minimal state.
    The New Deal has vastly expanded the catalogue of permissible gov-
    ernment functions. As if to celebrate that development, Professor
    Charles Reich, writing in 1964, spoke of the new role that government
    had taken, not only in protecting traditional interests in contract and

       199 See 470 U.S. at 543. The same theme is echoed in Justice Marshall's partial concurrence.
    See id. at 549 (Marshall, J., concurring in part and concurring in the judgment). Justice
    Marshall would have required a full-dress evidentiary hearing before any stopping of an em-
    ployee's wages. See id. at 548.
       200 See 470 U.S. at 544.
       201 For an attempt to develop such a dignitary theory, see Mashaw, cited above in note 26.



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    property, but also in creating various kinds of government "largess"
    in the form of "money, benefits, services, contracts, franchises, and
    licenses." 20 2 That increase in state power translates into an increase
    in official discretion, which in turn expands the scope of the principle
    of unconstitutional conditions. This Part traces that development in
    five celebrated areas of government benefits. The first section dis-
    cusses the use of tax exemptions conditioned on the content or subject
    matter of speech. The second section addresses the connection be-
    tween unemployment benefits and the constitutional guarantees under
    the religion clauses. The third section examines the relation between
    welfare benefits for medical services and the prohibition against use
    of public funds for abortions - an issue with heavy religious over-
    tones. The fourth section turns to the intersection of tax policy and
    religious liberty, and asks the extent to which Congress can condition
    tax-exempt charitable status on the willingness of private universities
    to adhere to the commands of the antidiscrimination laws. The last
    section returns to the issue with which this Foreword began, the
    relationship between the food stamp program and the labor strikes
    under the National Labor Relations Act. Throughout these cases it
    becomes necessary to analyze in close detail the claim that the refusal
    to provide some government benefit is tantamount to imposing a "fine"
    or "penalty" that the government could not impose by direct action.

                      A. Tax Exemptions and Freedom of Speech

        One way for the government to influence the pattern of private
    activities is through the imposition of selective taxes. People are less
    willing to engage in those activities that are taxed than in those that
    are not. The flip side of this power is the provision of tax exemptions,
    which have the reverse effect upon the pattern of activities. People
    are more likely to engage in activities that are exempt from taxes than
    in those that are not. The incentive effects of tax rules are evident
    across the entire spectrum of economic activities, although they nor-
    mally receive almost no constitutional examination under the prevail-
    ing rational basis test. If direct regulation proceeds largely without
    constitutional interference, then there is no reason to subject taxation
    to any higher level of review. The situation is quite the opposite when
    speech is affected. Here taxation and exemptions have the same effect
    as they do in other contexts, and are subject to the same high levels

        202Reich, The New Property, 73 YALE L.J. 733, 733 (1964); see also id. ("Increasingly,
    Americans live on government largess - allocated by government on its own terms, and held
    by recipients subject to conditions which express 'the public interest.'"). Reich's category of
    largess includes many of the traditional functions of government, such as licensure and regulation
    of highways, along with their modern counterparts in the welfare state. In this Part the greater
    emphasis is upon a subclass of the new property that is tied to the welfare state.


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   of scrutiny imposed on direct regulations generally. What is true of
   taxes is also true of exemptions.
       Speiser v. Randall 20 3 is an early manifestation of the problem, and
   it shows how the conditions attached to a tax exemption can properly
   be struck down on first amendment grounds. The California Consti-
   tution provided that World War H1 veterans were entitled to property
   tax exemptions only if they signed an oath stating that they did not
   advocate the overthrow of the governments of the United States or
   California by force or violence, or aid of hostile foreign states in time
   of war.204 The state argued that it could give its "privilege" or
   "bounty" to whomever it saw fit. 20 5 On this view, the exemption
   would withstand constitutional challenge even if a statute that sought
   to punish the same conduct by fine or imprisonment did not. Justice
   Brennan characterized the statute as though it was tantamount to a
   "fine," 20 6 and struck it down accordingly, for the want of the proper
   procedural protections. 20 7 The doctrine of unconstitutional conditions
   is implicated because the benefit conferred by the exemption is con-
   ditioned on the willingness of individual taxpayers to adhere to certain
   political views. The selective tax exemption, no less than a selective
   tax, necessarily results in a redistribution of wealth and political in-
   fluence from those who are unwilling to sign the oath to those who
   are. It may well be that the general property tax exemption for
   veterans is proper, 20 8 but redistribution on grounds of political belief
   generally is not. Coercive tax burdens cannot be waived selectively
   for those whose views conform to the dominant political position, any
   more than additional taxes can be imposed on those whose views do
   not. State gifts work as much of an illicit redistribution of wealth
   and power as state fines.
       The California Supreme Court recognized the point when it held
   that the exemption could be denied only for speech or advocacy that
   could be punished directly, thereby mooting the objection that the
   State was punishing indirectly what it could not punish directly. But


      203 357 U.S. 513 (i958).
      204 The full oath read: "I do not advocate the overthrow of the Government of the United
   States or of the State of California by force or violence or other unlawful means, nor advocate
   the support of a foreign government against the United States in event of hostilities." Id. at
   515.
       205 See id. at 518.
       206 See id.
      207 See id. at 520-29.
      208 Cf. Regan v. Taxation with Representation, 461 U.S. 540 (1983) (upholding against first
   amendment and equal protection challenges a statute that exempted from taxation charitable
   contributions to support lobbying by veterans groups but not to support lobbying by other
   groups); Personnel Adm'r v. Feeney, 442 U.S. 256 (1979) (holding that a statute giving preference
   to veterans in awarding civil service jobs does not discriminate against women in violation of
   the equal protection clause).



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    once the statutory exemption received that construction, it was then
    fair to ask whether the statute afforded the same procedural protec-
    tions as an ordinary criminal trial, which it did not. Hence the statute
    was rendered vulnerable to attacks on procedural due process grounds,
    as Justice Brennan's opinion demonstrates. 20 9 Speiser involved exces-
    sive reliance upon an unexplicated idea of fines or coercion.2 1 0 But
    its result is correct when tested against a theory of unconstitutional
    conditions designed to thwart the abuses arising from unchecked gov-
    ernment discretion.
        The question of tax exemptions came up in a somewhat more
    difficult form in the recent case of Arkansas Writers' Project, Inc. v.
    Ragland,2 11 a case decided in the 1986 Term. Here the statutory
    structure was more complicated. Arkansas exempted from its general
    sales tax the "[g]ross receipts or gross proceeds derived from the sale
    of newspapers" and from certain types of magazines, including "reli-
    gious, professional, trade and sports journals and/or publications
    printed and published in this State." 2 12 The plaintiff's general-pur-
    pose magazine fell into neither of these two categories, and hence had
    to pay the tax.
        Arkansas Writers' Project again raises the problem of unconstitu-
    tional conditions because Arkansas did not have to give any publi-
    cation an exemption. Thus, the sole issue was whether the state could
    condition the exemption on the willingness of a magazine to publish
    material of a particular subject matter. The statute would have been
    a manifest violation of the first amendment if it had tied the exemption
    to the adoption of any particular viewpoint, which it did not. None-
    theless, the statute did single out certain types of publications for
    benefits that other types of magazines were denied. By changing the
    relative costs of producing various kinds of magazines, the statute in
    effect brought about a mix of publications different from the one that
    would have arisen under either a tax-free world or one with a uniform
    tax on all types of publications. As a matter of marketplace econom-
    ics, these distortions deviate from the competitive ideal, and could be
    condemned on those grounds alone. But with the waning of economic
    liberties as a constitutional doctrine, this argument can be directed

        209 See 357 U.S. at 520-29.
        210 See id. at 518 ("To deny an exemption to claimants who engage in certain forms of
     speech is in effect to penalize them for such speech.").
        211 107 S. Ct. 1722 (1987).
        212 ARK. STAT. ANN. § 84-1904(f), (0)(1947), quoted in 107 S. Ct. at 1724-25.     This statute
     seems unconstitutional in its explicit discrimination against out-of-state newspapers. The issue,
     however, is more complicated, because it now seems that states may provide differential subsidies
     for local firms, but not impose differential taxes. See New Energy Co. of Ind. v. Limbach,
     io8 S. Ct. 08o3 (1988) (disallowing a discriminatory tax while appearing to tolerate discrimi-
     natory subsidies).




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   only to the legislature, not to the courts. Indeed, Justice Scalia would
   have upheld the tax because he regarded Arkansas Writers' Project as
   an economic regulation case, 2 13 scarcely distinguishable from other
   cases of selective exemption that have thus far survived constitutional
           2 14
   attack.
       Nonetheless, the evident connection between the exemption and
   speech makes this clearly a first amendment case. In this context, it
   is hard to demonstrate how any economic misallocation leads to an
   unwanted distortion in the marketplace of ideas, especially one that
   could be seized upon by political actors to advance their own interests.
   Still, the Court was correct to strike the statute down because there
   was so little to be said on its behalf. A uniform system of exemptions
   could end all objection to the statute without requiring a detailed
   analysis of its content, while still allowing the state to advance news-
   papers and magazines as against other activities. In the unlikely event
   that a uniform exemption created a budget shortfall, the state could
   adopt a partial uniform exemption as necessary to meet its revenue
   requirements. Finding the condition attached to the exemption un-
   constitutional thus achieves the right result, even in a case that seems
   to-present only limited opportunities for government abuse.
       The same analysis yields different results in the earlier case of
   Regan v. Taxation with Representation215 (TWR), in which a system
   of charitable exemptions was challenged on the ground that it could
   not be applied to moneys raised for lobbying activities. The taxpayer
   in TWR was a political organization that attacked two provisions of
   the Internal Revenue Code that failed to grant it tax-exempt status,
   and that failed to grant deductions to its contributors. 2 16 The uncon-
   stitutional conditions challenge came in two parts. The first was that
   it was impermissible to attach any limitations restricting the ability of
   otherwise exempt organizations to participate in lobbying. The second


       213 See 107 S. Ct. at 1730 (Scalia, J., dissenting).
       214 Thus, Justice Scalia pointed out the special mail rates given to religious, educational,
   scientific, philanthropic, agricultural, labor, veterans', and fraternal organizations. See id. at
   i732. These classifications are broader than those involved in Arkansas Writers' Project, and
   thus they probably would, and should, survive challenge.
      215 461 U.S. 540 (1983).
       216 The two provisions involved were § 501(c)(3) and § 501(c)(4) of the Internal Revenue
   Code. Both provide tax-exempt status for various kinds of charitable organizations. The Court
   specified two principal differences between organizations receiving § 5o1(c)(3) status and those
   receiving § 5o1(c)(4) status:
       Taxpayers who contribute to § 5o1(c)(3) organizations are permitted by § 17o(c)(2) to
       deduct the amount of their contributions on their federal income tax returns, while
      contributions to § 5o1(c)(4) organizations are not deductible. Section 5oi(c)(4) organiza-
      tions, but not § 5o1(c)(3) organizations, are permitted to engage in substantial lobbying
      to advance their exempt purposes.
   461 U.S. at 543.



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     part was that it was impermissible to permit veterans' organizations
     to operate free of the restrictions made applicable to other political
     groups.
          Justice Rehnquist, speaking for the majority, rejected both chal-
     lenges, relying heavily upon the norm of "broad discretion" in taxing
     matters. 217 "This Court has never held that Congress must grant a
     benefit such as TWR claims here to a person who wishes to exercise
     a constitutional right. '2 18 But this account suppresses the equal pro-
     tection component of the argument. The objection is not to the failure
     to grant the subsidy, as such, but to granting the subsidy to charitable
     organizations while denying it to lobbying organizations.
          Properly formulated, the critical question is whether this broad
     type of condition creates any distortion in the political process. It is
     doubtful that it does, even when the statute is tested against the more
     demanding first amendment standards of scrutiny. The religious, po-
     litical, and educational activities exempted under the statute cover the
     full range of activities without subject matter or viewpoint discrimi-
     nation, and the ban on lobbying is imposed at the same high level of
     generality. The differences in tax treatment may well induce some
     moneys to go into, say, academic work that would otherwise go into
     direct lobbying, but it is hard to see what political groups, if any,
     would gain systematic advantAge from this effect. Here, unlike the
     tax exemption situation posed by Arkansas Writers', there seems to
     be a powerful government counterweight on the other side. One great
     peril in political life today is that the broad discretion of federal and
     state government over economic affairs increases the potential gains
     to partisan activities, of which lobbying is only the most visible. Why
     that conduct must be subsidized, even if charitable organizations are
     subsidized, is therefore something of a mystery. The doctrine of un-
     constitutional conditions should be invoked precisely when the con-
     ditions attached to government action increase the risk of political
     polarization, the opposite of the case when lobbying efforts proceed
     without tax dollars. The distinction between lobbying and charitable
                                                                              219
     activities thus survives even a higher level of constitutional scrutiny.
          The standard of review becomes far more important on the second
     question: whether veterans' organizations alone should receive pre-
     ferred tax status for their lobbying activities. Justice Rehnquist, still
     employing a degree of judicial deference, simply noted that all vet-
     erans organizations qualified regardless of their views. 220 If veterans

        217 Id. at 547.
        218 Id. at 545.
        219 It is therefore unnecessary to adopt Justice Blackmun's position. Justice Blackmun, using
     a high level of scrutiny, allowed the denial of exemptions for lobbying organizations under
     § 5oI(c)(3), but only because of the ability of affiliate organizations to use tax-exempt funds to
     lobby under § 5oI(c)(4). See id. at 552-53 (Blackmun, J.,concurring).
        220 See 461 U.S. at 548.




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   groups only had disagreements among themselves on issues of no
   concern to others, a tax subsidy to them might not affect the denial
   of a parallel subsidy to other organizations. But although these groups
   may differ among themselves on some issues, they must surely act in
   concert on others, where they operate in direct competition with un-
   subsidized lobbying groups. In these cases the differential tax treat-
   ment does distort the outcome of the political process in ways that
   the first amendment and the equal protection clause should preclude.
   It appears therefore that Congress at least should be put to the all-
   or-nothing choice of granting exemptions to all lobbying organizations
   or to none.
       I reach that conclusion with a fair bit of trepidation, lest Congress
   take the bait and extend the tax benefit to all lobbying groups, in-
   cluding the vast number that are totally unconcerned with veterans'
   activities. The unconstitutional conditions doctrine again achieves
   only a second-best goal. The grant of universal tax exemptions to
   lobbying organizations subsidizes all special-interest groups at the ex-
   pense of the general public, introducing yet another set of tax distor-
   tions. There is a prisoner's dilemma game here, in which all persons
   can be made better off if no lobbying group receives a tax subsidy.
   Perhaps the proper response is to treat all tax subsidies of political
   lobbying as beyond the power of Congress to grant, in order to control
   not only tax distortions between lobbying groups, but tax distortions
   between lobbying and socially productive activities. 22 1 Lobbying may
   well be a protected constitutional right, 222 but in a system of limited
   government it is not one that is either deserving of or entitled to a
   political subsidy.

                                   B. The Religion Cases
        Unemployment compensation programs typically limit their bene-
   fits to people who are unemployed through no fault of their own and
   remain available for work. One question is whether the state can
   deny these benefits to people who will not work because the only jobs
   available require them to violate their religious beliefs. Can the state
   refuse to provide unemployment benefits to persons unwilling to take
   these jobs? The current answer is no. The major decision was Sher-
   bert v. Verner,22 3 which was followed in the I980 Term by Thomas

       221 It would of course be irresponsible for the Court to take such an extreme step in any
   case where veterans' organizations did not have a chance to present their side of the argument.
   Indeed the best justification for Regan is prudential: the Court did not want to resolve the
   various difficult issues that would have arisen if the veterans' tax exemption had been found
   unjustifiable.
      222See, e.g., Eastern R.R. Presidents Conf. v. Noerr Motor Freight, Inc., 365 U.S. 127,
   138 (ig6i) ("The right of petition is one of the freedoms protected by the Bill of Rights.").
      223 374 U.S. 398 (1963).



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    v. Review Board of the Indiana Employment Security Division,2 24
    and in the 1986 Term by Hobbie v. Unemployment Appeals Commis-
    sion.225
        Sherbert illustrates the basic pattern in all these cases. Mrs. Sher-
    bert, a Seventh-Day Adventist, was dismissed from her job because
    she refused to work on Saturday, in conflict with her religious con-
    victions. The state system of unemployment compensation restricted
    payments to persons who were unable to work through no fault of
    their own. 2 26 The state employment board decided that Mrs. Sherbert
    had quit for personal reasons, and that jobs were "available" to her
    within the region. Accordingly her claim for compensation was de-
    nied. 22 7 The Supreme Court was then forced to decide whether the
    refusal of the state to pay her benefits constituted a limitation on the
    free exercise of religion, or, alternatively, whether the decision to pay
    unemployment compensation would be a de facto establishment of
    religion. The case raised an unconstitutional conditions question be-
    cause it had been settled both that a state need not have any system
    of unemployment compensation at all and that any government system
    of unemployment compensation is unquestionably constitutional, at
    least since Carmichael v. Southern Coal & Coke Co., 228 which per-
    mitted redistributive policies aimed at promoting the "common good."
        Sherbert v. Verner brings to a head the tension between the religion
    clauses in the Bill of Rights on the one hand and one common form
    of "new property" on the other. In a world of limited government,
    each of the two religion clauses operates within a relatively self-defined
    sphere. The free exercise clause guarantees that the government can-
    not interfere with the "negative liberties" of the citizen with respect
    to religious practices. It cannot prohibit religious worship, and it
    cannot fine, license, tax, or punish religious practices in any way.
    The obligation of the state is to leave people alone. The establishment
    clause governs the other side of the line, prohibiting the state from
    going into the business of religion. Certainly it cannot support one
    religion to the exclusion of the others. In the modern view, neither
    can it give aid to all religions equally, if nonreligious groups are
    excluded. 2 29 In a world of limited state and federal power, the pres-
    sures on each of the religion clauses is tolerably small, and the pos-
    sibility of their collision reduced, being limited primarily to cases in


       224 450 U.S. 707 (i98i).
       225 480 U.S. 136 (1987).
       226 See 374 U.S. at 400-01.
       227 See id. at 401.
       218 301 U.S. 495 (1937). For my criticisms of that decision, see R. EPSTEIN, cited above in
    note 28, at 309-12.
       229 See, e.g., Everson v. Board of Educ., 330 U.S. i, 15-16 (1947).




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    which the government is forced to reconcile the religious interests of
                                                              23 0
    its employees with the requirements of public service.
        The situation becomes far more difficult once the government goes
    beyond its role as an enforcer of private rights to create and administer
    a system of positive welfare rights. The greater scope of government
    action necessarily makes it easier for the state to offend either or both
    of the religion clauses. Moreover, as long as the government remains
    in the business of managing all phases of the economy, a simple line
    that requires government "nonfeasance" in certain areas or a "strict
    separation" between the state and religion becomes indefensible. Some
    more sophisticated test to distinguish among government actions is
    needed. In 196i Professor Kurland proposed the following standard:
        [T]he thesis proposed here as the proper construction of the religion
        clauses of the first amendment is that the freedom and separation
        clauses should be read as a single precept that government cannot
        utilize religion as a standard for action or inaction because these
        clauses prohibit classification in
                                        23
                                           terms of religion either to confer a
        benefit or to impose a burden. '
    Reduced to a single catchword, "neutrality" becomes the guiding prin-
    ciple in religion cases.
        In Sherbert no Justice was able to give a satisfactory account of
    the clash between the religion clauses and the unemployment benefit
    programs. The Court, speaking through Justice Brennan, recognized
    that the state did not seek to impose "criminal sanctions, '23 2 but held
    in essence that the elimination of the unemployment benefits was a
    form of coercion:
            Here not only is it apparent that appellant's declared ineligibility
        for benefits derives solely from the practice of her religion, but the
        pressure upon her to forego that practice is unmistakable. The ruling
        forces her to choose between following the precepts of her religion
        and forfeiting benefits, on the one hand, and abandoning one of the
        precepts of her religion in order to accept work, on the other hand.
        Governmental imposition of such a choice puts the same kind of

       230 See, e.g., Goldman v. Weinberger, 475 U.S. 503 (1986) (upholding a military regulation
    barring the use of religious headgear).
       231 Kurland, Of Church and State and the Supreme Court, 29 U. CHI. L. REV. 1, 5-6 (296i);
    see also Katz, Freedom of Religion and State Neutrality, 20 U. CHI. L. REV. 426, 429 (1953)
    (noting the tension between the two clauses "where the state takes over the ordering of the lives
    of groups of citizens, as in the armed forces, in prisons, and in institutions to which delinquent
    or dependent children are committed. Here the effect of strict separation would be seriously to
    limit the religious freedom of the citizens concerned."). For a more modern treatment of the
    same issue, see McConnell, Neutrality Under the Religion Clauses, 81 Nw. U.L. REV. 146
    (1986).
       ...374 U.S. at 403.




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         burden upon the free exercise of religion as would a fine imposed
         against appellant for her Saturday worship.
             Nor may the South Carolina court's construction of the statute be
         saved from constitutional infirmity on the ground that unemployment
         compensation benefits are not appellant's "right" but merely a "privi-
         lege." It is too late in the day to doubt that the liberties of religion
         and expression may be infringed by the denial of or placing conditions
                                      233
         upon a benefit or privilege.
         Thus the doctrine of unconstitutional conditions surfaced to fill the
     void in Mrs. Sherbert's case. It is clear that the state need not provide
     any benefits at all. The "fine" becomes a measure of relative depri-
     vation: if the government chooses to provide those benefits at all, it
     cannot condition them upon the willingness of people to work in ways
     that contravene their religious beliefs.
         Justice Stewart's concurrence shows that Justice Brennan's "fine"
     analogy is far from dispositive. In Justice Stewart's view, any effort
     to apply the free exercise clause to these facts would conflict with the
     court's own establishment clause jurisprudence:
         If the appellant's refusal to work on Saturdays were based on indol-
         ence, or on a compulsive desire to watch the Saturday television
         programs, no one would say that South Carolina could not hold that
         she was not "available for work" within the meaning of its statute.
         That being so, the Establishment Clause as construed by this Court
         not only permits but affirmatively requires South Carolina equally to
         deny the appellant's claim for unemployment compensation when her
         refusal to work on Saturdays is based upon her religious creed....
         [T]he Establishment Clause forbids the "financial support of govern-
                                                                    234
         ment" to be "placed behind a particular religious belief.1

         In this passage, Justice Stewart treats the unemployment program
     as a subsidy to religion because people who do not work on Saturday
     for religious reasons obtain a benefit that other non-Saturday workers
     do not receive. Justice Brennan finds a penalty by comparing the
     claimant to other persons who actively seek work but cannot find it,
     while Justice Stewart identifies a subsidy by looking to the universe
     of persons who do not seek work on Saturdays. Justice Brennan's
     "penalty" suggests free exercise difficulties in upholding the statute as
     applied, while Justice Stewart's "subsidy" suggests establishment
     clause difficulties in striking it down. The neutrality principle could

        233 Id. at 404 (footnote omitted).
        234 Id. at 414-15 (Stewart, J., concurring in the result) (quoting Engel v. Vitale, 370 U.S.
     421, 431 (1962)). Justice Stewart concurred in the Court's result because he thought that "the
     Court's mechanistic concept of the Establishment Clause is historically unsound and constitu-
     tionally wrong." Id. at 415. His concurrence reflects his treatment of the free exercise clause
     as the dominant member of the partnership, see id. at 415-16; Braunfield v. Brown, 366 U.S.
     599, 6W6 (I96I) (Stewart, J., dissenting), a view that makes Sherbert a relatively easy case.


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    be invoked to support both positions or neither. Clearly something
    has to give. What?
        It is necessary again to return to fundamentals. Notwithstanding
    their differences, Justice Brennan and Justice Stewart share two prem-
    ises. Both start from the assumption that the unemployment compen-
    sation programs are constitutionally sound, for otherwise the uncon-
    stitutional conditions issue could never arise. Both then explore the
    limitations that the state might place upon receipt of the benefit.
    While they disagree about the proper analysis in Sherbert, neither
    Justice would tolerate a program that provided public unemployment
    compensation programs only to those who agreed to practice Judaism
    or Christianity, or only to those who agreed not to observe one of
    those faiths. They thus agree on the vital issue. They both reject the
    now familiar argument that because the state need not establish an
    unemployment compensation program at all, it can therefore choose
    the objects of its affections, for such selection confers too much power
    on the state. Thus the doctrine of unconstitutional conditions is not
    a point of contention between the two Justices. It is in fact their
    second common premise.
        The question arises, however, as to its scope. Here Carmichael's
    acceptance of redistribution through employment compensation is im-
    portant because it marks a clear break from Frost, whose imperfect
    efforts to preserve competition had an explicitly antiredistributive bias.
    Once general takings and public trust arguments are no longer suffi-
    cient to forestall any form of covert redistribution between A and B,
    then additional pressure is placed upon the religion clauses to forbid
    redistribution both from or to religion. Within this framework, I
    believe that the idea of neutrality can now be usefully reformulated
    into its more precise economic analogue: the government cannot en-
    gage in activities that either penalize or subsidize the practice of
    religion. Judicial scrutiny is high, for whether the government pro-
    gram is sustained or struck down, there is a substantial risk of con-
    stitutional error. 235 This test is more stringent than that found in the

        235 For a further discussion of the same point, see McConnell & Posner, Neutrality Toward

    Religion: An Economic Approach, 56 U. CHI. L. REv. (forthcoming 1989). Once this refor-
    mulation is made, it no longer follows that Kurland's test, see supra note 231 and accompanying
    text, is the best way to eliminate subsidies in either direction. There is always the risk that
    formally neutral rules will have powerfully disparate effects - for example, a rule that all
    soldiers must eat standard army rations, regardless of their religious dietary restrictions. It may
    well be possible to introduce explicitly religious distinctions into the law in ways that benefit
    both religious and nonreligious people, by a practice of "accommodation," which allows religious
    people to take certain types of employment, as long as they bear the additional costs that their
    religious practices impose on the system at large. In effect there may be deviations from a
    strictly neutral (or separationist) baseline that improve the welfare of all concerned, as in
    Goldman v. Weinberger, 475 U.S. 5o3 (1986). For a general discussion of the relationship
    between neutrality and accommodation, see McConnell, Accommodation of Religion, 1985 SuP.
    CT. REV. I.


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    speech area, where only restrictions that burden private speech are
    suspect, while those that subsidize it are not. 23 6 In contrast, every
    form of error in the religious context is subject to constitutional scru-
    tiny, for to avoid the perils of free exercise may be to land in the
    thicket of establishment, and vice versa. The question of subsidy or
    penalty then requires the selection of the right baseline, but that in
    turn is possible only after careful treatment of the insurance and
    funding issues in Sherbert.
        This approach allows us to go beyond the metaphor of the "fine"
    that appealed to Justice Brennan. The state does not take Mrs.
    Sherbert's money when she quits work. It refuses to pay her "its"
    money. Therein lies the rub. The state is not a person, but a complex
    network of arrangements among people, of which only some are vol-
    untary. As with public highways and foreign taxation, the state does
    not spend its own money. It spends money that it raises from private
    individuals, including this plaintiff. To make the analysis tractable,
    assume that all the funds to the unemployment system are collected
    from a tax imposed directly or indirectly on the workers and the firm.
    Assume further that random redistributions of wealth between, say,
    plumbers and pipefitters, are permitted under Carmichael. Divide the
    world now into two classes of people, those who might quit jobs for
    religious reasons and those who would not. The question that the
    religion clauses ask is whether there is an implicit redistribution of
    wealth across those two classes - either way. If the redistribution
    runs from religious persons to nonreligious persons, then we have a
    free exercise clause violation. If it runs in the opposite direction, then
    we have an establishment clause violation. Which is it?
        At first blush, the argument seems to be that there is an implicit
    subsidy conferred upon Mrs. Sherbert, and hence an establishment
    clause violation. She is entitled to recover for all the normal cases of
    unemployment specified in the statute, plus one additional type of
    case: not working because of religious conflict. If she pays the same
    premium as everyone else, but receives more extensive insurance cov-
    erage in exchange, then she looks like the net recipient of a forbidden
    state subsidy.
        This argument, however, is wrong, or at least incomplete. The
    proper insurance inquiry is whether Mrs. Sherbert is, other things
    equal, in the same risk classification as other people within the state.
    Thus, suppose it could be shown that people with religious beliefs
    have steadier work habits and therefore quit jobs far less frequently
    than those whose work habits are inferior in part because they are

        236 The case of government-sponsored speech is far more difficult, because it requires taking
    into account the roles of political leaders, program officers, and ordinary employees. The exact
    contours of this problem are beyond the scope of this Foreword. See generally M. YUDOF,
    WHEN GOVERNMENT SPEAKS (1983); Shiffrin, supra note 22.



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    not anchored in religious beliefs. If Mrs. Sherbert is denied benefits,
    then she is forced to subsidize nonreligious workers. Indeed, even
    after she is allowed to obtain coverage when she refuses to work on
    Saturdays, it remains unclear.whether that subsidy is fully reversed.
    It could be that the additional coverage afforded her is quite negligi-
    ble, 23 7 given her other personal characteristics, so that on balance she
    contributes far more to the unemployment fund than her expected
    payout from it. Alternatively, it may well be that the coverage for
    her refusal to work on the Sabbath gives her a better than expected
    deal from the fund. If one considers the religious benefit in isolation,
    then it looks as though there is an establishment clause violation. If
    one considers that benefit in the context of the entire program, then
    (combining effects) the outcome is unclear. It may well be that the
    plan is skewed against Seventh-Day Adventists. The only way to find
    out is to check the collections for and payments from the fund. Justice
    Stewart's establishment clause view is more defensible on the view
    that each item of coverage should be considered in isolation. Justice
    Brennan's is more defensible on the aggregate view. The problem
    simply could not arise if all premiums paid to any state unemployment
    compensation system reflected the risk of each covered worker accu-
    rately, for then any elements of systematic redistribution already
    would have been squeezed out of the system.
        What should be done when, as is now the law, one form of
    redistribution (between or within occupational groups) is allowed while
    another form of redistribution (between religious classes) is prohibited?
    The simple solution would be to create two separate risk pools at the
    outset.2 38 But how? One possibility is that individuals who want to
    have coverage against Sabbath layoffs can pay an additional premium
    with respect to that risk. The insurance should be viable because
    they can still be required to conduct a search for other employment.
    And they will be able to escape the terrible dilemma that Justice
    Brennan described, of having to choose between economic welfare
    and their religious beliefs. The small extra premium to cover this
    second class of risk can be imposed only upon those workers who
    think it important to get it, and the economic biases otherwise built
                                           239
    into the system can continue apace.


       237 The Court noted that of the [50 Seventh-Day Adventists in Spartanburg only two were
    unable to find non-Saturday employment. See 374 U.S. at 399 n.2.
       238 This approach was implicitly rejected in United States v. Lee, 455 U.S. 252 (1982), in
    which the Amish were required to contribute to the social security system, with its separate
    funding, despite a free exercise claim that any payment to or receipt of benefit from the system
    violated their religious beliefs. For a further discussion of Lee, see pp. 87-89 below.
        239 Another possibility is to place all such workers in a separate risk pool, with their own
    insurance premiums. This prospect is far more radical, and it might well result in a radical
    revision of premium payments for workers in both classes. There would still be some redistri-


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        This system of separate charges costs money, if only to administer
    the proper "pass-throughs" to individual employees. With modern
    actuarial and payroll techniques the costs should be small, but the
    cost of setting and collecting the premium might still exceed the
    premium itself, if that too is small. Even private insurance markets
    do not have perfect calibration of risk groups, because the costs
    involved in separating them are too high. If that situation exists, we
    are forced to decide which distortion, Justice Brennan's on the decision
    frontier, or Justice Stewart's on the equalization of covered events,
    appears the more serious. Justice Brennan's conclusion seems to be
    correct. The amount of redistribution from a failure to subdivide this
    risk pool is small, given the infrequency of unemployment payments
    necessitated by a recipient's religious beliefs. On the other hand, the
    ex post dilemma of religious people - who are forced to participate
    in this system against their will in the first place - seems palpable.
    Where some imperfection must be tolerated, better to choose the
    smaller, as Justice Brennan did.
        Even if it were feasible to charge Sabbatarians separate premiums
    for religious layoffs, or even to place them in their own separate risk
    group, one problem would remain. Suppose a worker takes a job
    when she has no religious convictions; she then acquires religious
    convictions only to be dismissed promptly because she will not work
    on Saturday. Does this case differ in any degree from Sherbert? The
    Supreme Court in Hobbie, following its earlier decision in Thomas,
    held that this new circumstance was immaterial. Justice Brennan's
    opinion is perfectly conclusory: "The First Amendment protects the
    free exercise rights of employees who adopt religious beliefs or convert
    from one faith to another after they are hired. The timing of Hobbie's
    conversion is immaterial to our determination that her free exercise
    rights have been burdened .... ",240
        From an insurance point of view, however, the difference between
    the two cases is critical. In a world in which conversions are random,
    it may make more sense to allow unemployment compensation benefits
    to people who convert after they were hired. If, when employment
    was undertaken, all persons had an equal chance of converting, then
    there would be no redistribution ex ante. In contrast, the redistri-
    bution problem in Sherbert arose precisely because the risk of Sabbath
    employment was known before employment had begun, when the
    separate premium could have been collected. Still, Hobbie is prob-
    lematic. Allowing the benefits may not work a redistribution across
    members of the nonreligious pool, but it will necessarily work a
    redistribution from nonreligious people (who pay into the system) to


    bution within each class on nonreligious grounds, but the total level of residual redistribution
    would probably be far smaller than it is under the present program.
        240 1o7 S. Ct. 1046, 1s5 (1987) (footnote omitted).


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    religious people (the only ones who collect) in the way the establish-
    ment clause prohibits. One way to solve that problem is to have the
    premium that covers this case paid for by persons who have signed
    up for the additional religious coverage, for now there will be redis-
    tribution across employees (which is allowed) but not across religions
    (which is prohibited).
         Admittedly, this approach to interpreting the religion clauses
    quickly becomes very technical, and it may seem odd that resolving
    particular religion clause cases should turn on the fine points of in-
    surance contracting as applied to unemployment compensation or so-
    cial security benefits. But this conclusion is really inescapable. To-
    gether the religion clauses function to prohibit redistribution, in either
    direction, between religious and nonreligious persons. Skewed insur-
    ance contracts and massive welfare systems offer almost unlimited
    opportunities for implicit redistribution, which must be policed if both
    clauses are to be given their full effect. In the days of limited gov-
    ernment action, the somewhat stricter separation of religious and
    government activities reduced the possibilities of redistribution. Now
    with the pooling of resources through government ventures, combat-
    ting redistribution on religious lines is far more difficult, for the ben-
    efits and burdens to both groups must be both identified and mea-
    sured. Even so, with the major normative premise set by the religion
    clauses, the rest is economic technique, for which a knowledge of
    insurance contracts and plans is indispensable. The simpler rhetoric
    of freedom, fines, and coercion must be replaced with a closer analysis
    of whether this state system of forced contribution and disbursal works
    implicit transfers along religious lines.
         This way of construing the religion clauses suggests that the Court
    made a serious mistake in United States v. Lee. 2 41 In Lee, the ap-
    pellee, a member of the Old Order Amish, refused to file the appro-
    priate social security returns or to withhold social security payments
    from his employees' paychecks. His argument, not contested, was
    that the Amish religion requires its followers to look after their own
    elderly and sick and considers it sinful either to pay any funds into,
    or to receive any benefits out of, the social security system. The
    statute is thus a more massive infringement on religious liberty than
    the unemployment statute in Sherbert because the social security tax
    means that the Amish can hire workers, and remain in business, only
    if they are prepared to violate their religious beliefs.
         The entire case for the statute therefore turns on the strength of
    the government interest in the social security system. The traditional
    requirement calls for the state to demonstrate an "overriding govern-
    mental interest,1242 but no reader of Lee can escape the impression


      241 455 U.S. 252 (1982).
      242 See id. at 257-58.


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    that the Court applied this ostensibly rigorous standard in a very
    relaxed fashion. The Court was content to quote a congressional
    report to the effect that mandatory participation was "indispensable"
    and that the social security system would collapse if participation were
    made "voluntary."24 3 Its argument, however, is woefully weak in this
    context.
        First, the concern with a voluntary social security system rests
    upon the obvious conclusion that younger workers (among others) will
    abandon a system in which the present value of their contributions is
    greater than the present value of their expected receipts. If everyone
    did this, the system would collapse, leaving the federal government
    unable to pay off benefits to present and future recipients without
    resorting to general taxation. But even if the Amish could opt out of
    the system as a group on religious grounds, all persons whose religious
    beliefs were not affronted would remain. The massive amounts of
    redistribution within the social security system could continue apace,
    without making the Amish be part of it. Indeed it is unclear whether
    the system would be stronger or weaker unless some detailed account-
    ing were made to determine whether the Amish as a group were net
    payors or recipients. (Because of their refusal to accept the money to
    which they are entitled, they are at present clearly net contributors to
    the system.)
        To be sure, the case would be different if the Amish wanted the
    benefit of the social security system without having to bear any of its
    costs. 244 A religious belief that it is blessed to receive but sinful to
    pay need not be funded by those who disagree. Similarly, the Amish
    claim would be suspect if some Amish opted into the system while
    others did not. But there is no hint of any selective participation
    designed to wring dollars from the system. Indeed, all self-employed
    Amish are already out of the system by virtue of a specific statutory
    exemption from Congress.2 45 Because the benefits received under
    social security are all separable, this issue is sharply distinguishable
    from the hypothetical cases put by the Court, in which tax funds are
    used to purchase public goods, such as defense and public order, 24 6


        243 See id. at 258.
        244 Lee is thus distinguishable from Bowen v. Roy, 476 U.S. 693 (1986), in which two
    applicants for welfare benefits claimed that their religious beliefs prevented them from having
    their two-year-old daughter's social security number used in processing their claims. That free
    exercise claim was rightly rejected. The applicants in Roy were seeking the benefits of the
    system without assuming its burdens, which in this instance were designed to prevent fraud.
    In Lee, the Amish made no effort to capture the sweet without the bitter.
        24s See 26 U.S.C. § 1402(g) (1982). The Court in Lee refused to reach the question whether
    the free exercise clause compels this exemption, or whether the establishment clause forbids it.
    See 455 U.S. at 26o n.xi.
        246 See 455 U.S. at 260 ("If, for example, a religious adherent believes war is a sin, and if
    a certain percentage of the federal budget can be identified as devoted to war-related activities,


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    from which the Amish benefit whether they contribute or not. By
    contrast, there is no free-rider problem in Lee at all.
        In sum, the Amish's case regarding social security is compelling
    because as a group they are willing to disaffirm both the benefits and
    the burdens of the social security system. The analysis of Sherbert
    showed that the best way to fend off both establishment clause and
    free exercise claims is to adopt a set of rules whereby religious groups
    neither receive a net subsidy nor suffer a net tax from participation
    in collective financing plans. In Lee, it was possible to guarantee that
    result by having a complete separation between social security and
    the Amish system of self-help for their own elderly. Why the Court
    should have found any overriding governmental interest in preventing
    this arrangement remains a mystery.

                           C. Medicaid Benefits and Abortions
        The Medicaid program established by the Social Security Act in
    1965 is generally designed to provide medical benefits for needy per-
    sons. 24 7 Since 1976 the Hyde Amendment to the statute has provided,
    subject to narrow exceptions, that Medicaid benefits could not be used
    to reimburse otherwise eligible women for the costs of obtaining abor-
    tions, 248 which had become constitutionally protected by the Court's
    1973 decision in Roe v. Wade. 24 9 The Hyde Amendment was spurred
    on by the widespread opposition to Roe, and represented an undis-
    guised legislative effort to limit Roe's impact by changing the rules
    for funding medical care. Roe manifestly prohibits any explicit fines
    or penalties to be placed upon a woman's right to have an abortion.

    such exemptions would have a similarly valid claim to be exempt from paying that percentage
    of the income tax.').
        247 Social Security Act, Pub. L. No. 89-97, tit. I, § 121(a), 79 Stat. 343, 343 (1965) (codified
    as amended at 42 U.S.C. § 1396 (1982 & Supp. IV 1986)).
        248 The amendment provides that:
        [N]one of the funds provided by this joint resolution shall be used to perform abortions
        except where the life of the mother would be endangered if the fetus were carried to
        term; or except for such medical procedures necessary for the victims of rape or incest
        when such rape or incest has been reported promptly to a law enforcement agency or
        public health service ....
    Joint Resolution of Nov. 20, 1979, Pub. L. No. 96-123, § 109, 93 Stat. 923, 926 (I979); see
    also Joint Resolution of Dec. 21, 1982, Pub. L. No. 97-377, § 204, 96 Stat. 1830, 1894 (1982)
    (providing that appropriated funds can be spent on abortions only when the mother's life is
    endangered).
        249 410 U.S. 113 (i973). For the record I should note that I view Roe as incorrect largely
    for the reasons that I set out in 1973. See Epstein, Substantive Due Process by Any Other
    Name: The Abortion Cases, 1973 SuP. CT. REv. 159. The literature on Roe of course continues
    to be produced at a fever pitch, but I do not wish to reargue any of the merits here. Instead
    the material that follows assumes that Roe is rightly decided and only asks about its implications
    for the abortion funding cases insofar as they depend upon the doctrine of unconstitutional
    conditions.


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    The Hyde Amendment sidesteps the obvious by offering the indigent
    woman a clear financial inducement to carry the fetus to term.
        The constitutional challenge to the Hyde Amendment, rejected in
    Harris v. McRae,2 50 presents the issue of unconstitutional conditions
    in yet another guise. The greater power is that the state can decide
    to have no Medicaid program at all, as was the case before 1965.
    The lesser power is that the state can exclude certain procedures -
    abortions - from coverage under the program. The question is
    whether, once Congress decides to commit itself to a Medicaid pro-
    gram, it must also commit itself to the funding of abortions. If one
    treats the state, as the Court did, like a private person, then the case
    becomes easy - too easy: there is no "coercion" in the form of either
    force or fraud. Those women who want to get an abortion can still
    do so, even if they do not receive the "subsidy" from the state. Those
    who now think that the provision of external benefits makes bearing
    a child worthwhile have their opportunities expanded, not contracted.
    While their choices may be shifted, as a group they are better off
    because they have received options that previously they had been
    denied; so too are the fetuses that survive. The fact that the public
    at large has to bear the costs of running a medicare system remains
    beyond constitutional scrutiny, given the explicit constitutional ap-
    proval of redistributing income and wealth to improve the health of
    the public at large.
        The hurdle faced by the dissenters is to show that the special
    powers of the state present prospects of illicit behavior sufficient to
    displace this simple model of the socially useful bargain. In his dissent
    Justice Brennan in effect relied upon two familiar strands of the
    unconstitutional conditions doctrine: Frost25 and Sherbert.252 Harris
    is critically different from both cases, however.
        In Frost, the unique power of the state lay in its ability to exclude
    everyone from the public highways, instrumentalities of commerce for
    which there are no clear substitutes - arguably no substitutes at all.
    The unconstitutional conditions doctrine was used, albeit ineffectively,
    to constrain that substantial monopoly power. But there is no mo-
    nopoly in the abortion market, for Roe in effect established a rule of
    free entry that ensures that indigent women, like all others, can receive
    abortions at a competitive price. The only pull the Hyde Amendment
    gives the state over the Medicaid recipient is its ability to withhold
    funds for an otherwise readily available abortion. The cost of an
    abortion, moreover, is relatively low, at least in comparison with

       250 448 U.S. 297 (1980).
       2S1 See id. at 336-37 (Brennan, J., dissenting). I do not discuss the dissents of Justices
    Marshall, Blackmun, and Stevens because they do not expressly address the unconstitutional
    conditions aspect of the case.
       252See id. at 334-36.


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    aggressive neonatal care, and there is nothing to prevent other private
    individuals or charitable organizations from making up the shortfall,
    and doing so in today's world with an implicit tax subsidy. We are
    far removed from a world in which private charity would have to
    construct an entire rival highway system in order to escape the
    clutches of the state monopoly.
        Sherbert poses the much closer challenge, for it too involved the
    provision of state financial benefits without the powerful monopolistic
    structure of the state. Read in one sense, Sherbert treats the differ-
    ential benefits between what one gets if she is willing to work on the
    Sabbath and what she gets if she is not as though it were a "fine."
    Analogously in Harris, the failure to provide medical payments for
    abortions also could be regarded as a "fine," bringing the case within
    the general prohibition of Roe, insofar as the state will pay in full for
    the alternative medical procedures.
        Yet the differences are also critical. Sherbert was decided within
    an extraordinarily strict constitutional framework, where the free ex-
    ercise and the establishment clauses worked as powerful pincers to
    constrain government action. The full analysis of Sherbert showed
    the weakness of the "fine" metaphor and required that one take into
    account both the incentive effects and the insurance consequences of
    the unemployment compensation system. That same analysis should
    be brought to bear here, where it points, cautiously but clearly, against
    the case for invalidation.
        Start with the problem of differential incentives. The winning
    argument in Sherbert was that the promise of unemployment benefits
    induced the applicant to behave in a manner that necessarily violated
    her religious convictions. The right to an abortion may be subject to
    constitutional protection, but having an abortion is not a religious or
    moral obligation. The state may have given the woman an incentive
    to do what she would otherwise not choose to do. But it has not
    forced her to sacrifice religious scruples in order to retain financial
    benefits, as happened in Sherbert. Can the two choices be regarded
    as the same?
        The answer, if at all, must come from what we think of as the
    constitutional status of the woman's choice to the abortion. It is here
    that the counterargument gains strength. Justice Brennan correctly
    insisted that Roe does more than just decriminalize abortion. Rather,
    Roe works a double transformation at a single leap: abortions move
    from the status of criminal acts into "fundamental rights," which are
    as strongly protected as religious beliefs. "It would belabor the ob-
    vious to expound at any great length on the illegitimacy of a state
    policy that interferes with the exercise of fundamental rights through
                                                      25 3
    the selective bestowal of governmental favors."

      253 Id. at 334.


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        This elevation of the abortion right must go down very hard with
    foes of abortion who believe both that the Constitution does not
    prevent abortions from being criminalized and that those who perform
    abortions should be punished criminally. These beliefs are critical to
    the funding side of the analysis, which was ignored by Justice Bren-
    nan, who silently assumed that government money is like manna from
    heaven: no individual has to pay for it. But once we pierce the
    government veil, it becomes necessary to examine what correlative
    duties that this expanded fundamental right of abortion may properly
    impose upon the opponents of Roe.
         On this side of the issue, we must confront the free exercise of
    religion. Suppose that a special tax to fund Medicaid abortions were
    placed upon only those individuals who opposed abortions for religious
    reasons. In principle, these people should be entitled to object to the
    tax on much the same ground that union members can object to dues
    payments that are used to support political programs and candidates
    to whom they are personally opposed.2 5 4 The free exercise of religion,
    like the free exercise of speech, 25 5 can be limited as much by direct
    taxation as it can by prohibitions.
         Recalling the analysis of Sherbert (and the intellectual bankruptcy
     of Lee), one can see the overwhelming free exercise objection against
     taxing religious people to pay for abortions. These people, whether
     few or many, are forced to fund programs that they oppose on religious
     grounds. The right to escape this coercion seems as "fundamental" as
     the woman's right to have the abortion in the first place: to put the
     claim in the baldest way possible, who wants to be coerced into paying
     for the murder of unborn children? Thus the flip side of the "fun-
     damental right" claim is far more powerful in McRae than the parallel
     establishment clause argument in Sherbert, for no one thinks that the
     modest subsidy, if any, to individuals like Mrs. Sherbert affronts the
     core religious beliefs of the persons who are made to pay it. Pushed
     to the limit, this free exercise argument would make it unconstitutional
     for the government to use public funds to fund abortions. Thus the
     unconstitutional conditions argument suggests that the Hyde Amend-
     ment is unconstitutional, given Roe, while the free exercise argument
     suggests that it is constitutionally mandated. Neither argument allows
     a middle ground.
         Are there also, however, religious grounds on which to oppose the
     Amendment? The argument, here under the establishment clause,
     seems to turn on motive, and no one can deny the importance of

        254 See Communications Workers of Am. v. Beck, xo8 S. Ct. 2641 (1988); Abood v. Detroit
     Bd. of Educ., 431 U.S. 209 (1977).
        255 For examples of taxes found to violate the free speech clause, see Minneapolis Star and

     Tribune Co. v. Minnesota Commissioner of Revenue, 460 U.S. 575 (1983), and Grosjean v.
     American Press Co., 297 U.S. 233 (1936).


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    motive in establishment clause cases.2 56 Many of those who oppose
    the funding of abortions do so on religious grounds. When they turn
    their preferences into law, they have established, at least in part, their
    religious beliefs under the Medicaid statutes. This argument, how-
    ever, seems more strained in this context than does its free exercise
    alternative. If the foes of abortion were able to exclude both abortion
    funding and all pregnancy and neonatal care from Medicaid solely for
    religious reasons, would federal funding of abortion (and other preg-
    nancy and neonatal care) then be required because of the motive
    behind its opposition, even with the entire issue of differential incen-
    tives no longer in the case?
        The funding issue thus reveals a house divided. Some substantial
    fraction of taxpayers objects to abortions on religious grounds. Other
    taxpayers strongly support abortion funding for indigent women, and
    counter the free exercise claim with an establishment claim of their
    own. The obvious lesson is that it is troublesome to use extensive
    government power to force collective decisions in the teeth of these
    wide and wholly irreconcilable divergences of opinions: any such de-
    cision leaves a minority, or perhaps a majority, deeply disaffected
    with the collective outcome. The deep moral and political divisions
    over abortion cannot be papered over simply by writing, as Justice
    Brennan did, solely about the differential incentives the Hyde Amend-
    ment places on Medicaid recipients.
        One problematic line of escape, analogizing to the proper treatment
    of unemployment benefits in Sherbert,25 7 would segregate contribu-
    tions to the Medicaid program. The state could determine in advance
    its budget requirements for Medicaid abortions, and then allow indi-
    vidual taxpayers to decide whether or not they wished their moneys
    spent on abortions. It could further insist that only those opposed to
    abortions on religious grounds may refuse to contribute to the fund.
    If the budget target were met without the contributions of those
    opposed to abortions, then the program could go forward. If not,
    then the program would have to cease, or operate on a reduced basis.
        The suggestion presents some serious internal difficulties of its
    own. It would be difficult to determine who refused to contribute out
    of sincere religious conviction and who simply wanted others to bear
    that portion of their social burden. Free-riding could thus distort
    collective choice. On the other side, if the abortions were so funded,
    then something would have to be done with the tax revenues from
    those people opposed to the program on religious grounds. If these
    moneys were simply put into general revenues, then nothing would


        2S6 See, e.g., Wallace v. Jaffree, 472 U.S. 38, 55-56 (1985) (discussing the permissible degree
    to which a statute can be motivated by a religious purpose).
        257 See supra pp. 79-86.



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    really have changed at all. If any substantial fraction of the popula-
    tion supported abortions, then all federal programs, whether for abor-
    tions or anything else, would be funded exactly as if no one were
    opposed to abortions for religious reasons. Perhaps money is too
    fungible for such a separation to work. Even if these difficulties could
    be addressed, one problem would remain: what is to be said to people
    who are opposed to their government paying for something that they
    find morally reprehensible?
        In the end, therefore, it seems quite difficult to protect the free
    exercise rights of opponents of abortion under a system that involves
    any affirmative government support of abortions. In this context, the
    funding of abortions through charitable contributions has at least the
    modest advantage of keeping the government from the middle of the
    abortion battle. Yet charitable deductions still make religious people
    bear part of the costs of the abortions, in effect, to which it can be
    said only that the current tax system uses charitable deductions that
    allow religious people to fund their institutions and practices at the
    expense of nonreligious ones. The only way to avoid these problems
    is to get the government out of both medicine and religion, which,
    although the only principled answer, is unlikely to be done in the near
    future. Until that day, however, the unconstitutional conditions ques-
    tion in Harris is far closer than the one in Sherbert, and far more
    divisive. The claim of indigent women to be free of financial incen-
    tives not to abort cannot be ignored. But it is not as important as a
    state policy offering a financial inducement to have an abortion in-
    consistent with her religious beliefs - which would be the precise
    Sherbert analogue. On the other side, the use of public moneys to
    support abortions taxes, and therefore coerces, other individuals to
    support practices that are against their religious convictions. As with
    Sherbert, none of these problems could arise in a constitutional order
    that imposed restrictions upon redistribution through taxation and
    state welfare benefits. Once that redistribution becomes part and
    parcel of the system as we know it, the proper strategy should be to
    choose the lesser of two evils, a very hard call here. On that uneasy
    note, the unconstitutional conditions challenge to the Hyde Amend-
    ment should fail - but perhaps only by a bare 5-4 vote.

                    D. Tax Exemptions, Free Exercise, and the
                           AntidiscriminationPrinciple
        The most recent free exercise tax-exemption case, Bob Jones Uni-
    versity v. United States, 25 8 is at sharp variance with Sherbert and
    Hobbie, but all too harmonious with Lee. In Bob Jones, the consti-
    tutional issue was whether Bob Jones University should be able to

      '5s 461 U.S. 574 (1983).


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    keep its charitable tax exemption, even though it had adopted, for
    genuine religious beliefs, a ban against interracial dating and marriage
    for its students. 25 9 For the Court, the case was easy. It started with
    the premise that "there can no longer be any doubt that racial dis-
    crimination in education violates deeply and widely accepted views of
    elementary justice, '260 and cited its decision in Brown v. Board of
    Education26 1 to show its opposition to any system of state-sponsored
    segregation. Set against this background, the free-exercise objection
    to the statute under the religion clauses received short shrift, given
    that "the Government has a fundamental, overriding interest in erad-
    icating racial discrimination in education." 26 2 The Court concluded
    that "[d]enial of tax benefits will inevitably have a substantial impact
    on the operation of private religious schools, but will not prevent
    those schools from observing their religious tenets." 263
         The decision in Bob Jones has generally received a warm re-
    sponse, 2 64 but is nonetheless clearly incorrect, once the problem of
    unconstitutional conditions is forthrightly considered. The initial in-
    quiry is whether the state could decide that its "compelling interest"
    in eradicating racial segregation in education is sufficiently strong to
    allow the state to impose a direct fine or criminal punishment on the
    school for imposing those conditions on its students. The answer, I
    take it, is no. The free exercise clause of the first ariendment does
    not pertain only to the liturgy but to the full range of religious activ-
    ities, of which schooling is most definitely a part. 2 65 Indeed, if Bob
    Jones is correct, then the government could claim that it has a "com-
    pelling state interest" to condition tax exemptions to religious institu-
    tions on their adherence to title VII prohibitions against gender dis-
    crimination, as practiced by Roman Catholics and Orthodox Jews, in
    the selection of religious leaders. 266 Even if it is assumed that the

        259 See id. at 58o-8i, 602-03. Also at issue in the case was whether the university's
    discriminatory practices disqualified it from tax exempt status under the "public policy" doctrine,
    a question that the Court answered affirmatively. See id. at 592-96.
        260 Id. at 592.
        261 See id. at 593 (citing Brown, 347 U.S. 483 (1954)).
        262 Id. at 604.
       263 Id. at 603-04.
        264 See, e.g., Selig, The Reagan Justice Department and Civil Rights: What Went Wrong,
    1985 U. ILL. L. REv. 785, 817-21; see also Freed & Polsby, Race, Religion, and Public Policy:
    Bob Jones University v. United States, 1983 SuP. CT. REV. I, 1-2 (noting the various editorials
    and columns of the New York Times and the Washington Post denouncing the University and
    the Reagan Administration position). Freed and Polsby attack Bob Jones for its analysis of the
    "public policy" doctrine in the field of tax exemptions. See id. at 50-71.
       265 See, e.g., Wisconsin v. Yoder, 406 U.S. 205 (1972).
       266 The tension between title VII and the religion clauses did surface in Corporation of
    Presiding Bishop v. Amos, 207 S. Ct. 2862 (1987), in which the Court held that the exemption
    from title VII for religious organizations, see 42 U.S.C. § 2oooe-i (2982), did not offend the
    establishment clause. The Court did not ask the harder question whether the exemption was


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    denial of a tax benefit does not operate like a "fine," there still remains
    the question whether the government can deliver its economic benefits
    in ways that favor one religious set of beliefs over another, given its
    obligation not to use its coercive powers to advance or retard reli-
    gion. 26 7 Under Bob Jones, the University and its supporters are forced
    to bankroll in part the subsidies provided for other institutions, with-
    out receiving any parallel subsidy of their 'own, thereby skewing the
    relative power of the two sets of institutions from what it would be
    in the tax-free world. The use of selective grants on matters of
    religious belief shows government power at its most dangerous. In
    this context it becomes idle to say that the greater power of withhold-
    ing tax exemptions includes the lesser power to condition an exemption
    on the sacrifice of the prospective recipient's own religious convictions.
    As is usually the case, the setting of conditions on government grants
    is the result of powerful political pressures against which the Bill of
    Rights was designed to guard. Bob Jones University may be unfash-
    ionable and perverse in its religious beliefs and practices, but it is
    entitled to the same level of constitutional protection as everyone else.

                                          E. Food Stamps
        We are at last in a position to reconsider the paradox of unconsti-
    tutional conditions as it applies to the case with which this Foreword
    began: Lyng v. International Union, UAW. 2 68 In Lyng, it will be
    recalled, the union argued that the legislative decision to exclude
    striking workers from the food stamp program constituted an imper-
    missible "burden" upon their first amendment rights of association,
    while the disparate treatment between these striking workers and
    other workers eligible for food stamps constituted an impermissible
    classification that offended equal protection guarantees.269 Stated oth-
    erwise, the union's claim is that the state uses impermissible "coercion"
    when it denies a benefit to striking workers that it grants to others.
    The rival position is that the state has chosen to "subsidize" certain
    kinds of workers, and is not duty-bound to extend that subsidy to
    workers who have chosen to strike. The case thus raises the uncon-
    stitutional conditions question whether the greater power - to elim-
    inate the entire food stamp program - entails the lesser power - to
    exclude striking workers from the receipt of this set of government
    benefits.

    required by the free exercise clause, to which I would answer in the affirmative. If that
    conclusion is correct, then Bob Jones must be clearly wrong. If the state cannot coerce com-
    pliance with the antidiscrimination norm against religious organizations by the use of force,
    then it cannot discriminate against them in the receipt of tax benefits.
        267 For a parallel discussion of the more difficult case of Sherbert, see pp. 79-86 above.
       268 108 S. Ct. 1184 (1988).
       269 See supra p. 6.


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         As before, the plaintiff's claim can be evaluated only if this leg-
    islative decision is placed within its larger constitutional context. The
    initial point of departure involves the National Labor Relations Act
    (NLRA). The statute itself represents a conscious program to displace
    market mechanisms with a system of collective bargaining, under
    which the majority of workers within a given bargaining unit are able
    to require their employer to negotiate with them in good faith. The
    central feature of this statute is that it explicitly repudiates the com-
    petitive norm and substitutes in its place a monopolistic structure
    whereby the employer is required to negotiate with the workers as a
    group. Ironically, the major historical opposition to the NLRA was
    that its duty to bargain in good faith violated the employer's right to
    freedom of association, by denying him the right to do business with
    whomever he saw fit. The inevitable consequence of the present labor
    statutes is to block free entry and exit, and thereby to increase the
    role of strategic behavior, given the attendant expansion in the size
    of the bargaining range. Hard, protracted negotiations over the di-
    vision of the gains from trade become the rule, with strikes resulting
    from breakdowns in negotiations that both create private losses for
    the parties and inffict extensive social costs on third parties. In my
    opinion, the pre-i937 law on the subject was sound: the NLRA should
    have been struck down on both commerce clause and takings
    grounds, 2 70 in which case the entire issue in Lyng quickly disappears.
    However, for present purposes, my views are quite irrelevant. The
    important point is that the explicit rejection of a strong system of
    property rights made possible a level of government discretion that
    had not previously existed. The question then becomes whether the
    doctrine of unconstitutional conditions can sensibly cabin the use of
    that power.
         Probably not, at least in this case. The doctrine of unconstitutional
    conditions was used in the contexts just considered to forestall redis-
    tribution of wealth along forbidden dimensions. In the foreign incor-
    poration cases and the early highway cases, the competitive ideal
    forbidding economic redistribution by government still held sway. In
    the religion and speech cases, the marketplace of ideas is more than
    an idle economic image, as redistribution along political or religious
    lines continues to be prohibited even though economic redistributions
    are allowed. However, once redistribution of wealth and power is
    tolerated under the rational basis test in all relevant dimensions, then
    there is no forbidden use of government power to which the doctrine
    of unconstitutional conditions could respond. The search for some

       270 On application of the commerce clause, see Epstein, cited above in note 2; on application
    of the takings clause, see R. EPSTEIN, cited above in note 28, at 279-82, and Epstein, A
    Common Law of Labor Relations: A Critique of the New Deal Legislation, 92 YALE L.J. X357
    (r983).


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    fundamental right or freedom falls short on both the question of
    economic liberties, given the NLRA, and of welfare benefits, given
    the food stamp program. The intersection between two programs over
    which Congress has an acknowledged broad discretion does not yield
    any principle under which the discretion over the whole is less than
    the discretion over the parts.
        Start with the legacy of the NLRA. The chief significance of the
    constitutional decisions in this area was the repudiation of the system
    of private property and competitive markets as the baseline against
    which permissible legislative enactments were measured. 27 1 Without
    accepting that baseline, the shift from competitive markets to cartel
    arrangements cannot be regarded as a "penalty" or a "taking" from
    employers made subject to the new restrictions. By the same token,
    the legal structure of the original Wagner Act 272 was held constitu-
    tionally permissible, although not constitutionally required. As long
    as union members have no "fundamental right" to the protection of
    labor statutes, then the current statutory framework, however well-
    established, does not establish any new definitive constitutional base-
    line against which subsequent legislative decisions must be tested.
    One immediate result was that the Taft-Hartley Act, 2 73 which pro-
    hibited a category of union unfair labor practices, could not be re-
    garded as a penalty or a taking from workers that must be subjected
    to any form of heightened constitutional scrutiny. Any number of
    structural permutations have equal constitutional dignity. There is no
    impediment against oscillating back and forth between different eco-
    nomic orders, just as there is none against the repeal of Taft-Hartley
    in its entirety. In response, it might be suggested that the collective
    interest of the workers presents a fundamental claim of associational
    freedom that requires continuation of the system of collective bargain-
    ing. Yet under present law it is impossible to see how that might be
    done without repudiating the modern understanding that the state's
    police power trumps all economic liberties. Unions are large and
    complex organizations, making it implausible to claim that their mem-
    bers enjoy an "intimate" right of association such as that found in
    marriage and perhaps certain other highly personal forms of associa-
    tion. 2 74 The function and structure of unions are driven by the same

       271 Cf. Sunstein, Lochner's Legacy, 87 COLUM. L. REv. 873, 880-83 (1987) (attributing the
    decline of Lochner to the rejection of common law baselines of private property and free
    contract).
       272 National Labor Relations (Wagner-Connery) Act, ch. 372, 49 Stat. 449 (x935) (codified
    as amended at 29 U.S.C. §§ i5I-166 (1982)).
       273 See Labor Management Relations Act of 1947, ch. 120, § 8, 6i Stat. 136, 140 (codified
    as amended at 29 U.S.C. § 158 (I982)).
        274 Cf. Roberts v. United States Jaycees, 468 U.S. 6o9, 62o (2984) (noting that "[a]s a general
    matter, only those relationships" that are "distinguished by such attributes as relative smallness,
    a high degree of selectivity in decisions to begin and maintain the affiliation, and seclusion from


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    economic considerations that govern ordinary business firms. In ad-
    dition, unions themselves are not organizations formed by unanimous
    consent, but they have the power to bind individual dissenters by
    their decisions. Even if economic liberties were protected, freedom of
    association for some would not make it onto the list.
        The new constitutional order thus comes to us bereft of the old
    common law baseline, and without a new baseline to replace it. Given
    this legal void, it is quite impossible to say that a certain reform
    introduces either a subsidy or a penalty that needs to be constitution-
    ally justified. Rather, it is just a change among the class of equally
    permissible permutations. Once all baselines are extinguished, the
    doctrine of unconstitutional conditions has nothing on which to anchor
    itself, for there remains no dimension along which strategic behavior
    or the redistribution of wealth is forbidden. If the state can limit the
    power of unions under the Taft-Hartley Act, 2 75 then it can also do so
    under the food stamp program. Neither side in Lyng mastered the
    appropriate constitutional discourse. The Court was wrong to de-
    scribe the food stamp program as a "subsidy."276 By the same token,
    the dissent improperly called the exclusion of striking workers from
    the program a "penalty. '2 77 Strictly speaking, both sides are wrong
    because the statutory changes, in the present constitutional setting,
    are neither.
        The two errors are not, however, of equal magnitude. Justice
    White, writing for the Court, need not have shown that the provision
    of food stamps to striking workers is a subsidy in order to sustain the
    statute's constitutionality. Rather, the btarden was on Justice Marshall
    in dissent to show that the withholding of the food stamps is a
    forbidden "penalty" - that is, that it works some redistribution of
    income or wealth along some forbidden dimension. The obliteration
    of all constitutional landmarks in the labor relations area therefore
    does no damage to Justice White's majority position, but is fatal to
    Justice Marshall's dissent.
        Justice Marshall tried to escape this problem by arguing that the
    mirage of government "neutrality" cannot possibly be used to uphold
    the statute. 278 After all, employers themselves receive many benefits
    from the welfare state that are in no way conditioned upon their
    behavior in labor disputes. To hit union workers with an exclusion
    from this program fits poorly with the maintenance of government


    others in critical aspects of the relationship" qualify as intimate associations protected by the
    first amendment).
        275 Labor Management Relations Act of 1947, ch. 120, § 8, 61 Stat. 136, 14o (codified as

    amended at 29 U.S.C. § 158 (1982)).
       276 See Io8 S. Ct. at Igo.
       277 See id. at 1I98 (Marshall, J., dissenting).
       278 See id. at 1197-98.




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    benefits on the other side. But the argument about "neutrality" fares
    no better in this context than the argument about either penalty or
    subsidy. The complete response to Justice Marshall's point is that in
    the present constitutional world of labor relations, Congress could
    exclude employers from a wide variety of economic benefits, whether
    or not they were enmeshed in a labor dispute, without fear of over-
    stepping constitutional limitations. In this case, for example, the
    statute places heavy pressure on employers not to lock out workers,
    who would then be able to receive their food stamp benefits, but
    surely no one would say that this provision is unconstitutional because
    it "coerces" employers (who have long been forced to surrender their
    freedom of association) to abandon their rights not to do business with
    the union. The conscious, systematic elimination of all recognizable
    baselines makes the idea of "neutrality," powerful in a common law
    world as an argument against the NLRA, as empty as that of "penalty"
    and "subsidy." Again this absence of constitutional principle presents
    no obstacle to the party that wants to sustain the statute. It is fatal
    only to the party, be it management or labor, that wants to strike it
    down.
         One must reach the same conclusion starting at the opposite pole
    with the food stamp program. Here too we have a system of in-kind
    benefits provided to recipients by the public at large. Yet there is a
    long line of Supreme Court cases holding that poverty is not a suspect
    classification, 2 79 and that the state is under no duty to redistribute
    wealth from rich to poor. Again there is no right to which the doctrine
    of unconstitutional conditions may be anchored. The decision to ex-
    clude striking workers from the program is based upon the sensible
    notion that the removal of payments to striking workers reduces the
    incidence of strikes. In turn, reducing the incidence of strikes is an
    end the state could pursue directly (as, for example, by repealing the
    collective bargaining rules), so it becomes one that the state may
    pursue by indirection as well. Looked at in retrospect, the exclusion
    of striking workers from the food stamp program may well treat
    persons with equal need differently, but it is hardly an instance of
                                                                          28 0
    failing to treat "like cases alike," as Justice Marshall suggested.
    There is still the question of incentives to be considered, and here
    Congress has decided that it is willing to suffer some inequality after
    the fact in order to reduce the frequency and severity of strikes. The
    weak rational basis test offers no reason to control the power of such
    state discretion, on which the entire unconstitutional conditions doc-
    trine rests.


       279 See, e.g., Kadrmas v. Dickinson Pub. Schools, 1o8 S. Ct. 2481, 2487 (1988) (citing Harris
    v. McRae, 448 U.S. 297, 322-23 (ig8o), and Ortwein v. Schwab, 40 U.S. 656, 66o (1973)).
       280 See Lyng, io8 S. Ct. at 1194 (Marshall, J., dissenting).



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        The same conclusion follows when the matter is considered from
    the point of view of its funding. Here there is no way to match the
    taxes paid by striking workers with the level of food stamp benefits
    that they are entitled to receive. It is quite possible that, even if they
    cannot recover benefits while on strike, they receive a net benefit from
    the system, because they are still covered for the same contingencies
    as all other recipients. 28 1 If so, then some other parties must be net
    losers, but they are not allowed to complain either, even if they are
    shareholders whose tax dollars are being used to support the workers
    striking against their businesses. Who wins and loses is all quite
    impossible to determine anyway. There is no tracing mechanism to
    allow us to decide which set of benefits were funded by which per-
    son.282 More fundamentally, there is no normative criterion to render
    any forms of redistribution impermissible. Without fundamental right
    or suspect classification, we remain mired in a constitutional waste-
    land.
        The case is thus a far cry from Sherbert. Outside the context of
    the establishment clause, there exists no general requirement that
    persons not be taxed for benefits they do not receive. Nor does Lyng
    involve a state-imposed choice between the receipt of a government
    benefit and the waiver of constitutionally protected rights. Without
    the food stamp program, the workers know that they will have to


        281 It would be a closer question if the statute purported to deny striking workers all food
    stamp benefits in perpetuity. That statute could no longer be justified on the ground that the
    government should not provide payments to workers locked in economic conflicts with their
    employers, but it might be justified (in a rational basis world) as an effort to reduce the number
    of strikes under the labor statute. This special exclusion of striking workers is far more difficult
    to sustain in a world without collective bargaining, where the question of strikes would be
    controlled by the common law of property, contract, and tort. But even in this case it would
    be important to distinguish between a world in which common law rules prevailed by legislative
    grace and one in which they prevailed by constitutional mandate. In the former, rational basis
    world, the statute would probably prove acceptable. But with any stricter scrutiny, the perpetual
    restriction would fall (assuming that the food stamp program itself would not fall).
        282 The existence of such a mechanism can influence the outcome of cases. Ohio Bureau of
    Employment Services v. Hodery, 431 U.S. 471 (1977), involved a statute providing that workers
    for an employer whose business was shut down as part of a labor dispute other than a lockout
    were not entitled to receive unemployment compensation, even if they were nonunion workers
    who had not participated in the dispute itself. See id. at 47,-77. The Supreme Court unani-
    mously upheld the statute under rational basis review. It noted that each employer's contribution
    to the unemployment compensation fund was otherwise triggered by the number of its employees
    who received benefits. That basic structure, if unaltered, would have allowed the union to
    inflict heavy costs upon the employer if its strike forced the employer to close down its nonunion
    divisions. Such a union strategy would clearly influence the settlement of the strike. The
    funding imbalance was avoided by denying compensation to the innocent workers laid off. The
    same competitive balance could have been achieved if the nonunion workers received ordinary
    compensation from general revenues, not from the employer. But the rational basis test only
    required a good reason to avoid the payments by the employer; it did not require the adoption
    of an ideal compensation program that also protected innocent employees.


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     fend for themselves. After the passage of the food stamp program
     with this exception, they still have to fend for themselves. Basically
     they face the same costs and benefits from striking with the statute
     as they did striking before the food stamp programs were first intro-
     duced. At most the statute works a tiny change in the incentives
     faced by union workers who might delay striking, in order to induce
     the employer to lock them out first. 28 3 The dominant feature of this
     case is that the unions have lost in a struggle over political power,
     and the broad gulf between power and entitlement cannot be crossed
     when judicial deference is the order of the day.


                                        IX. CONCLUSION
         The analysis of Lyng has brought us full circle in the analysis of
     unconstitutional conditions. It may now be useful to summarize where
     that journey has led. Initially it is useful to distinguish between the
     use of the doctrine as a matter of general legal theory and its use in
     connection with particular constitutional provisions. As a matter of
     theory, competitive markets and government power are often polar
     opposites. Within competitive markets, new entry is an effective
     check against private excesses. Accordingly, private contracts gener-
     ally both advance the interests of the parties and make a positive
     contribution to the total welfare of the social system at large. Within
     this competitive setting, the emphasis of the law is rightly on trans-
     actional justice: whether particular contracts have been tainted by
     coercion, duress, fraud, or incompetence.
         These transactional elements retain their importance whenever the
     government enters the market as an ordinary contracting party. But
     the traditional norms prohibiting coercion and duress are insufficient
     to police the legal monopoly that government exercises over certain
     critical domains. As a matter of general theory, the emphasis must
     shift from transactional to institutionaljustice, at which point three
     problems become paramount: monopoly, collective action dilemmas,
     and externalities. When the government uses only its monopoly of
     force to achieve its ends, classic constitutional questions arise under
     particular constitutional provisions. But when the government uses
     its power to contract or grant, then the issue of unconstitutional
     conditions proper is raised.
          First, government monopoly power creates a broad range of bar-
     gaining outcomes that will allow the state and any individual to be
     better off than they were before the bargain. The costs of achieving
     some bargaining outcome, however, can dissipate a large portion of
     the achievable social gains. Limits on the types of gains that the state

       283 Similarly, employers have a small incentive to delay a lockout in order to induce a strike.



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    can hope to extract by bargaining with its citizens can limit the social
    losses associated with strategic behavior. In general, if the govern-
    ment can cover the costs of running the instrumentalities that it
    controls, it should not be allowed to hold out for any portion of the
    general surplus. The imposition of a condition on a grant is often an
    attempt to shift some portion of that surplus from some persons or
    interest groups to others. The factional politics it encourages and the
    social losses that it imposes are good reasons to incorporate protections
    against such abuse at a constitutional level.
         Second, government regulation and taxation are means to effect
    implicit transfers of wealth between individuals. The bargain that is
    made with one citizen may have the effect of freezing other citizens
    out of the market or setting them at a competitive disadvantage. That
    is the lesson learned from both the corporate charter and the highway
    franchise cases. A firm cannot escape these external costs simply by
    reducing the prices it charges for goods and services. A legal rule
    that requires the government to make available to everyone on equal
    terms the privileges afforded to a few - for example, incorporation,
    or access to roads - largely controls this problem. The power to
    select confers greater powers on government officials than a rule that
    requires consistent treatment between rivals for government favors.
    At a normative level, the doctrine of unconstitutional conditions rep-
    resents the sound limitation on public discretion.
        Another part of the inquiry is not normative, but positive. How
    well do the cases conform to this model of unconstitutional conditions?
    In one sense they do not, because the language of externalities and
    strategic behavior is not drawn from Supreme Court cases. The
    Justices have worked more by hunch and intuition than by systematic
    theory. But the question is less one of words, and more one of judicial
    behavior. In this regard, the answer depends heavily on the extent
    to which the Supreme Court proceeds from the distrust of government
    power. In the pre-1937 period of the doctrine, there were clear hints
    that the preservation of a competitive system was an appropriate
    judicial function. The foreign incorporation cases and the regulation
    of highway cases both reflected that concern. Nonetheless, these pre-
    1937 cases showed at best an inconsistent and halting devotion to
    general principles of economic liberties. 28 4 Accordingly, unconstitu-
    tional conditions arguments were pressed forward with only modest
    vigor. In the foreign corporation cases, they achieved long-term ben-
    eficial outcomes, but in the highway cases they were easily circum-
    vented.


        284 See, e.g., Adkins v. Children's Hosp., 261 U.S. 525, 546-48 (1923) (listing four exceptions
    to the general principle of freedom of contract, most of which have little to do with the standard
    accounts of market failure).


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         In the post-I937 era, concern with economic liberties and compet-
     itive markets has been stripped of its normative constitutional au-
     thority. It is not surprising, therefore, that the doctrine of unconsti-
     tutional conditions has but weak application in these areas.
     Nonetheless, the far greater weight that has been attached to speech
     and religion has been matched by an increasing resort to unconstitu-
     tional conditions doctrine. The Court seems alert to the dangers that
     arise when governments externalize costs through regulation and tax-
     ation, and attempt to bargain strategically with individual citizens.
     Within specified subject matter areas, the emergent doctrine thus takes
     on the same contours that would have been imposed if the Court had
     continued to protect economic liberties and private property. Various
     forms of implicit transfers across religious or political groups are
     looked upon with deep suspicion, and controlled with a fair measure
     of sophistication and success. The efforts by the government to "lever"
     its monopoly advantage into protected areas are stoutly resisted.
          But the court will not generalize to all areas of government activ-
     ity. In order to account for its caution, we are thus brought back to
     the fundamental distinction that has dominated so much of constitu-
     tional law since the 1937 revolution. Why is the protection of eco-
     nomic liberties and property interests less a function of the judiciary
     than the protection of speech, religion, and other selected fundamental
     rights? To that question I think there is no satisfactory reply, because
     the same forms of government failure can pervade both areas. The
     object of government is to maximize the cooperative surplus of human
     activities in all domains, and the object of the Court is to help ensure
     effective government. The Court therefore should not sanction abuses
     of the political process, whether they offend speech, liberty, or prop-
     erty. Instead, a presumption of distrust should attach to all govern-
     ment action. That presumption should allow the Court to organize
     its thinking on unconstitutional conditions in particular and constitu-
     tional law in general around one proposition: where the Court rou-
     tinely allows strategic behavior and implicit wealth transfers by gov-
     ernment, there constitutionalism ends.




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                    COMMENT 331 (1985)




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                                Carrie Buck’s Daughter

                                    Stephen Jay Gould

                            (originally published in Natural History magazine, July 1984)




The Lord really put it on the line in his preface to that prototype of all prescription, the
Ten Commandments:

   for I, the Lord thy God, am a jealous God, visiting the iniquity of the fathers
   upon the children unto the third and fourth generation of them that hate me
   (Exod. 20:5).

The terror of this statement lies in its patent unfairness—its promise to punish guiltless
offspring for the misdeeds of their distant forebears.

A different form of guilt by genealogical association attempts to remove this stigma of
injustice by denying a cherished premise of Western thought—human free will. If
offspring are tainted not simply by the deeds of their parents but by a material form of
evil transferred directly by biological inheritance, then “the iniquity of the fathers”
becomes a signal or warning for probable misbehavior of their sons. Thus Plato, while
denying that children should suffer directly for the crimes of their parents, nonetheless
defended the banishment of a man whose father, grandfather, and great-grandfather had
all been condemned to death.

It is, perhaps, merely coincidental that both Jehovah and Plato chose three generations as
their criterion for establishing different forms of guilt by association. Yet we have a
strong folk, or vernacular, tradition for viewing triple occurrences as minimal evidence of
regularity We are told that bad things come in threes. Two may be an accidental
association; three is a pattern. Perhaps, then, we should not wonder that our own
century’s most famous pronouncement of blood guilt employed the same criterion—
Oliver Wendell Holmes’s defense of compulsory sterilization in Virginia (Supreme Court
decision of 1927 in Buck v. Bell): “three generations of imbeciles are enough.”

Restrictions upon immigration, with national quotas set to discriminate against those
deemed mentally unfit by early versions of IQ testing, marked the greatest triumph of the
American eugenics movement—the flawed hereditarian doctrine, so popular earlier in
our century and by no means extinct today (see my column on Singapore’s “great
marriage debate,” May 1984), that attempted to “improve” our human stock by
preventing the propagation of those deemed biologically unfit and encouraging
procreation among the supposedly worthy. But the movement to enact and enforce laws
for compulsory “eugenic” sterilization had an impact and success scarcely less


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pronounced. If we could debar the shiftless and the stupid from our shores, we might also
prevent the propagation of those similarly afflicted but already here.

The movement for compulsory sterilization began in earnest during the 1890s, abetted by
two major factors—the rise of eugenics as an influential political movement and the
perfection of safe and simple operations (vasectomy for men and salpingectomy, the
cutting and tying of Fallopian tubes, for women) to replace castration and other obvious
mutilation. Indiana passed the first sterilization act based on eugenic principles in 1907 (a
few states had previously mandated castration as a punitive measure for certain sexual
crimes, although such laws were rarely enforced and usually overturned by judicial
review). Like so many others to follow, it provided for sterilization of afflicted people
residing in the state’s “care,” either as inmates of mental hospitals and homes for the
feebleminded or as inhabitants of prisons. Sterilization could be imposed upon those
judged insane, idiotic, imbecilic, or moronic, and upon convicted rapists or criminals
when recommended by a board of experts.

By the 1930s, more than thirty states had passed similar laws, often with an expanded list
of so-called hereditary defects, including alcoholism and drug addiction in some states,
and even blindness and deafness in others. It must be said that these laws were
continually challenged and rarely enforced in most states; only California and Virginia
applied them zealously. By January 1935, some 20,000 forced “eugenic” sterilizations
had been performed in the United States, nearly half in California.

No organization crusaded more vociferously and successfully for these laws than the
Eugenics Record Office, the semiofficial arm and repository of data for the eugenics
movement in America. Harry Laughlin, superintendent of the Eugenics Record Office,
dedicated most of his career to a tireless campaign of writing and lobbying for eugenic
sterilization. He hoped, thereby, to eliminate in two generations the genes of what he
called the “submerged tenth”—“the most worthless one-tenth of our present population.”
He proposed a “model sterilization law” in 1922, designed

   to prevent the procreation of persons socially inadequate from defective
   inheritance, by authorizing and providing for eugenical sterilization of certain
   potential parents carrying degenerate hereditary qualities.

This model bill became the prototype for most laws passed in America, although few
states cast their net as widely as Laughlin advised. (Laughlin’s categories encompassed
“blind, including those with seriously impaired vision; deaf, including those with
seriously impaired hearing; and dependent, including orphans, ne’er-do-wells, the
homeless, tramps, and paupers.”) Laughlin’s suggestions were better heeded in Nazi
Germany, where his model act served as a basis for the infamous and stringently enforced
Erbgesundhetsrecht, leading by the eve of World War 11 to the sterilization of some
375,000 people, most for “congenital feeblemindedness,” but including nearly 4,000 for
blindness and deafness.

The campaign for forced eugenic sterilization in America reached its climax and height
of respectability in 1927, when the Supreme Court, by an 8-1 vote, upheld the Virginia

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sterilization bill in the case of Buck v. Bell. Oliver Wendell Holmes, then in his mid-
eighties and the most celebrated jurist in America, wrote the majority opinion with his
customary verve and power of style. It included the notorious paragraph, with its chilling
tag line, cited ever since as the quintessential statement of eugenic principles.
Remembering with pride his own distant experiences as an infantryman in the Civil War,
Holmes wrote:

   We have seen more than once that the public welfare may call upon the best
   citizens for their lives. It would be strange if it could not call upon those who
   already sap the strength of the state for these lesser sacrifices. . . . It is better
   for all the world, if instead of waiting to execute degenerate offspring for
   crime, or to let them starve for their imbecility, society can prevent those who
   are manifestly unfit from continuing their kind. The principle that sustains
   compulsory vaccination is broad enough to cover cutting the Fallopian tubes.
   Three generations of imbeciles are enough.

Who, then, were the famous “three generations of imbeciles,” and why should they still
compel our interest?

When the state of Virginia passed its compulsory sterilization law in 1924, Carrie Buck,
an eighteen-year-old white woman, was an involuntary resident at the State Colony for
Epileptics and Feeble-Minded. As the first person selected for sterilization under the new
act, Carrie Buck became the focus for a constitutional challenge launched, in part, by
conservative Virginia Christians who held, according to eugenical “modernists,”
antiquated views about individual preferences and “benevolent” state power. (Simplistic
political labels do not apply in this case, and rarely do in general. We usually regard
eugenics as a conservative movement and its most vocal critics as members of the left.
This alignment has generally held in our own decade. But eugenics, touted in its day as
the latest in scientific modernism, attracted many liberals and numbered among its most
vociferous critics groups often labeled as reactionary and antiscientific. If any political
lesson emerges from these shifting allegiances, we might consider the true inalienability
of certain human rights.)

But why was Carrie Buck in the State Colony, and why was she selected? Oliver Wendell
Holmes upheld her choice as judicious in the opening lines of his 1927 opinion:

   Carrie Buck is a feeble-minded white woman who was committed to the State
   Colony. . . . She is the daughter of a feeble-minded mother in the same
   institution, and the mother of an illegitimate feeble-minded child.

In short, inheritance stood as the crucial issue (indeed as the driving force behind all
eugenics). For if measured mental deficiency arose from malnourishment, either of body
or mind, and not from tainted genes, then how could sterilization be justified? If decent
food, upbringing, medical care, and education might make a worthy citizen of Carrie
Buck’s daughter, how could the State of Virginia justify the severing of Carries Fallopian
tubes against her will? (Some forms of mental deficiency are passed by inheritance in
family line, but most are not—a scarcely surprising conclusion when we consider the

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thousand shocks that beset fragile humans during their lives, from difficulties in
embryonic growth to traumas of birth, malnourishment, rejection, and poverty. In any
case, no fair-minded person today would credit Laughlin’s social criteria for the
identification of hereditary deficiency—ne’er-do-wells, the homeless, tramps, and
paupers—although we shall soon see that Carrie Buck was committed on these grounds.)

When Carrie Buck’s case emerged as the crucial test of Virginia’s law, the chief honchos
of eugenics knew that the time had come to put up or shut up on the crucial issue of
inheritance. Thus, the Eugenics Record Office sent Arthur H. Estabrook, their crack
fieldworker, to Virginia for a “scientific” study of the case. Harry Laughlin himself
provided a deposition, and his brief for inheritance was presented at the local trial that
affirmed Virginia’s law and later worked its way to the Supreme Court as Buck v. Bell.

Laughlin made two major points to the court. First, that Carrie Buck and her mother,
Emma Buck, were feeble-minded by the Stanford-Binet test of IQ, then in its own
infancy. Carrie scored a mental age of nine years, Emma of seven years and eleven
months. (These figures ranked them technically as “imbeciles” by definitions of the day,
hence Holmes’s later choice of words. Imbeciles displayed a mental age of six to nine
years; idiots performed worse, morons better, to round out the old nomenclature of
mental deficiency.) Second, that most feeblemindedness is inherited, and Carrie Buck
surely belonged with this majority. Laughlin reported:

   Generally feeble-mindedness is caused by the inheritance of degenerate
   qualities; but sometimes it might be caused by environmental factors which
   are not hereditary. In the case given, the evidence points strongly toward the
   feeble-mindedness and moral delinquency of Carrie Buck being due,
   primarily, to inheritance and not to environment.

Carrie Buck’s daughter was then, and has always been, the pivotal figure of this painful
case. As I stated before, we tend (often at our peril) to regard two as potential accident
and three as an established pattern. The supposed imbecility of Emma and Carrie might
have been coincidental, but the diagnosis of similar deficiency for Vivian Buck (made by
a social worker, as we shall see, when Vivian was but six months old) tipped the balance
in Laughlin’s favor and led Holmes to declare the Buck lineage inherently corrupt by
deficient heredity Vivian sealed the pattern—three generations of imbeciles are enough.
Besides, had Carrie not given illegitimate birth to Vivian, the issue (in both senses) would
never have emerged.

Oliver Wendell Holmes viewed his work with pride. The man so renowned for his
principle of judicial restraint, who had proclaimed that freedom must not be curtailed
without “clear and present danger”—without the equivalent of falsely yelling “fire” in a
crowded theater—wrote of his judgment in Buck v. Bell: “I felt that I was getting near the
first principle of real reform.”

And so the case of Buck v. Bell remained for fifty years, a footnote to a moment of
American history perhaps best forgotten. And then, in 1980, it reemerged to prick our
collective conscience, when Dr. K. Ray Nelson, then director of the Lynchburg Hospital

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where Carrie Buck was sterilized, researched the records of his institution and discovered
that more than 4,000 sterilizations had been performed, the last as late as 1972. He also
found Carrie Buck, alive and well near Charlottesville, and her sister Doris, covertly
sterilized under the same law (she was told that her operation was for appendicitis), and
now, with fierce dignity, dejected and bitter because she had wanted a child more than
anything else in her life and had finally, in her old age, learned why she had never
conceived.

As scholars and reporters visited Carrie Buck and her sister, what a few experts had
known all along became abundantly clear to everyone. Carrie Buck was a woman of
obviously normal intelligence. For example, Paul A. Lombardo of the School of Law at
the University of Virginia, and a leading scholar of the Buck v. Bell case, wrote in a letter
to me:

   As for Carrie, when I met her she was reading newspapers daily and joining a
   more literate friend to assist at regular bouts with the crossword puzzles. She
   was not a sophisticated woman, and lacked social graces, but mental health
   professionals who examined her in later life confirmed my impressions that
   she was neither mentally ill nor retarded.

On what evidence, then, was Carrie Buck consigned to the State Colony for Epileptics
and Feeble-Minded on January 23, 1924? I have seen the text of her commitment
hearing; it is, to say the least, cursory and contradictory. Beyond the simple and
undocumented say-so of her foster parents, and her own brief appearance before a
commission of two doctors and a justice of the peace, no evidence was presented. Even
the crude and early Stanford-Binet test, so fatally flawed as a measure of innate worth
(see my book The Mismeasure of Man, although the evidence of Carrie’s own case
suffices) but at least clothed with the aura of quantitative respectability, had not yet been
applied.

When we understand why Carrie Buck was committed in January 1924, we can finally
comprehend the hidden meaning of her case and its message for us today. The silent key,
again and as always, is her daughter Vivian, born on March 28, 1924, and then but an
evident bump on her belly. Carrie Buck was one of several illegitimate children borne by
her mother, Emma. She grew up with foster parents, J.T. and Alice Dobbs, and continued
to live with them, helping out with chores around the house. She was apparently raped by
a relative of her foster parents, then blamed for her resultant pregnancy. Almost surely,
she was (as they used to say) committed to hide her shame (and her rapist’s identity), not
because enlightened science had just discovered her true mental status. In short, she was
sent away to have her baby. Her case never was about mental deficiency; it was always a
matter of sexual morality and social deviance. The annals of her trial and hearing reek
with the contempt of the well-off and well-bred for poor people of “loose morals.” Who
really cared whether Vivian was a baby of normal intelligence; she was the illegitimate
child of an illegitimate woman. Two generations of bastards are enough. Harry Laughlin
began his “family history” of the Bucks by writing: “These people belong to the shiftless,
ignorant and worthless class of anti-social whites of the South.”

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We know little of Emma Buck and her life, but we have no more reason to suspect her
than her daughter Carrie of true mental deficiency. Their deviance was social and sexual;
the charge of imbecility was a cover-up, Mr. Justice Holmes notwithstanding.

We come then to the crux of the case, Carrie’s daughter, Vivian. What evidence was ever
adduced for her mental deficiency? This and only this: At the original trial in late 1924,
when Vivian Buck was seven months old, a Miss Wilhelm, social worker for the Red
Cross, appeared before the court. She began by stating honestly the true reason for Carrie
Buck’s commitment:

   Mr. Dobbs, who had charge of the girl, had taken her when a small child, had
   reported to Miss Duke [the temporary secretary of Public Welfare for
   Albemarle County] that the girl was pregnant and that he wanted to have her
   committed somewhere—to have her sent to some institution.

Miss Wilhelm then rendered her judgment of Vivian Buck by comparing her with the
normal granddaughter of Mrs. Dobbs, born just three days earlier:

   It is difficult to judge probabilities of a child as young as that, but it seems to
   me not quite a normal baby. In its appearance—I should say that perhaps my
   knowledge of the mother may prejudice me in that regard, but I saw the child
   at the same time as Mrs. Dobbs’ daughter’s baby, which is only three days
   older than this one, and there is a very decided difference in the development
   of the babies.

   That was about two weeks ago. There is a look about it that is not quite
   normal, but just what it is, I can’t tell.

This short testimony, and nothing else, formed all the evidence for the crucial third
generation of imbeciles. Cross-examination revealed that neither Vivian nor the Dobbs
grandchild could walk or talk, and that “Mrs. Dobbs’ daughter’s baby is a very
responsive baby. When you play with it or try to attract its attention—it is a baby that you
can play with. The other baby is not. It seems very apathetic and not responsive.” Miss
Wilhelm then urged Carrie Buck’s sterilization: “I think,” she said, “it would at least
prevent the propagation of her kind.” Several years later, Miss Wilhelm denied that she
had ever examined Vivian or deemed the child feebleminded.

Unfortunately, Vivian died at age eight of “enteric colitis” (as recorded on her death
certificate), an ambiguous diagnosis that could mean many things but may well indicate
that she fell victim to one of the preventable childhood diseases of poverty (a grim
reminder of the real subject in Buck v. Bell). She is therefore mute as a witness in our
reassessment of her famous case.

When Buck v. Bell resurfaced in 1980, it immediately struck me that Vivian’s case was
crucial and that evidence for the mental status of a child who died at age eight might best
be found in report cards. I have therefore been trying to track down Vivian Buck’s school
records for the past four years and have finally succeeded. (They were supplied to me by

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Dr. Paul A. Lombardo, who also sent other documents, including Miss Wilhelm’s
testimony, and spent several hours answering my questions by mail and Lord knows how
much time playing successful detective in re Vivian’s school records. I have never met
Dr. Lombardo; he did all this work for kindness, collegiality, and love of the game of
knowledge, not for expected reward or even requested acknowledgment. In a
profession—academics—so often marked by pettiness and silly squabbling over
meaningless priorities, this generosity must be recorded and celebrated as a sign of how
things can and should be.)

Vivian Buck was adopted by the Dobbs family, who had raised (but later sent away) her
mother, Carrie. As Vivian Alice Elaine Dobbs, she attended the Venable Public
Elementary School of Charlottesville for four terms, from September 1930 until May
1932, a month before her death. She was a perfectly normal, quite average student,
neither particularly outstanding nor much troubled. In those days before grade inflation,
when C mean “good, 81-87” (as defined on her report card) rather than barely scraping
by, Vivian Dobbs received A’s and B’s for deportment and C’s for all academic subjects
but mathematics (which was always difficult for her, and where she scored D) during her
first term in Grade 1A, from September 1930 to January 1931. She improved during her
second term in lB, meriting an A in deportment, C in mathematics, and B in all other
academic subjects; she was on the honor roll in April 1931. Promoted to 2A, she had
trouble during the fall term of 1931, failing mathematics and spelling but receiving A in
deportment, B in reading, and C in writing and English. She was “retained in 2A” for the
next term—or “left back” as we used to say, and scarcely a sign of imbecility as I
remember all my buddies who suffered a similar fate. In any case, she again did well in
her final term, with B in deportment, reading, and spelling, and C in writing, English, and
mathematics during her last month in school. This offspring of “lewd and immoral”
women excelled in deportment and performed adequately, although not brilliantly, in her
academic subjects.

In short, we can only agree with the conclusion that’Dr. Lombardo has reached in his
research on Buck v. Bell—there were no imbeciles, not a one, among the three
generations of Bucks. I don’t know that such correction of cruel but forgotten errors of
history counts for much, but it is at least satisfying to learn that forced eugenic
sterilization, a procedure of such dubious morality, earned its official justification (and
won its most quoted line of rhetoric) on a patent falsehood.

Carrie Buck died last year. By a quirk of fate, and not by memory or design, she was
buried just a few steps from her only daughter’s grave. In the umpteenth and ultimate
verse of a favorite old ballad, a rose and a brier—the sweet and the bitter—emerge from
the tombs of Barbara Allen and her lover, twining about each other in the union of death.
May Carrie and Vivian, victims in different ways and in the flower of youth, rest together
in peace.




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September 19, 2022                           Respectfully submitted,


                                       BY: /s/ Deana Pollard Sacks
                                           DEANA POLLARD SACKS, ESQ.
                                           CA Bar No. 145192
                                           Sacks Law Firm
                                           2323 S. Shepherd Drive, Suite 825
                                           Houston, Texas 77019
                                           Telephone: 713.927.9935
                                           deanapollardsacks@icloud.com
                                           Attorney for Amicus Curiae



                         CERTIFICATE OF SERVICE


      I hereby certify that on this date, I filed Nations in Action’s Supplemental

Appendix to the Amicus Curiae Brief with the Clerk of the Court for the Third

Circuit of the United States Court of Appeals using the Appellate CM/ECF system,

which will automatically serve electronic copies upon all counsel of record.

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                                           DEANA POLLARD SACKS, ESQ.
                                           CA Bar No. 145192
                                           Sacks Law Firm
                                           2323 S. Shepherd Drive, Suite 825
                                           Houston, Texas 77019
                                           Telephone: 713.927.9935
                                           deanapollardsacks@icloud.com
                                           Attorney for Amicus Curiae
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                                           DEANA POLLARD SACKS, ESQ.
                                           CA Bar No. 145192
                                           Sacks Law Firm
                                           2323 S. Shepherd Drive, Suite 825
                                           Houston, Texas 77019
                                           Telephone: 713.927.9935
                                           deanapollardsacks@icloud.com
                                           Attorney for Amicus Curiae



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                                           CA Bar No. 145192
                                           Sacks Law Firm
                                           2323 S. Shepherd Drive, Suite 825
                                           Houston, Texas 77019
                                           Telephone: 713.927.9935
                                           deanapollardsacks@icloud.com
                                           Attorney for Amicus Curiae
